Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25   Page 1 of 703 Page ID
                                      #:1688


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15                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
16
     T-MOBILE US, INC., CLEARWIRE             Case No. 2:23-CV-4347-AH(Ex)
17   SPECTRUM HOLDINGS LLC,
     CLEARWIRE SPECTRUM                       Hon. Anne Hwang, Ctrm 7D
18   HOLDINGS II LLC, CLEARWIRE
     SPECTRUM HOLDINGS III LLC,               DECLARATION OF R. KENNON
19   FIXED WIRELESS HOLDINGS LLC,
     NSAC LLC, TDI ACQUISITION SUB            POTEAT III IN SUPPORT OF
20   LLC, AND WB SY LICENSING LLC,            PLAINTIFFS’ REQUEST FOR
                                              JUDICIAL NOTICE
21                   Plaintiffs,
     vs.
22
     WCO SPECTRUM LLC, SCH LLC,               Complaint Filed: June 2, 2023
23   ACADEMIA SPECTRUM LLC,                   Counterclaims Filed: March 31, 2025
     KAREN WINNICK AS TRUSTEE OF              Hearing Date: September 17, 2025
24   GKW TRUST, EXECUTOR OF THE
     ESTATE OF GARY WINNICK AND               Time: 1:30 p.m.
25   GARY WINNICK’S SUCCESSOR-IN-             Courtroom: 7D
     INTEREST, CARL KATERNDAHL,
26   ASHOK VASUDEVAN, ANDREAS                 REDACTED VERSION OF DOCUMENT
     BITZARAKIS, AND TYLER KRATZ,
27                                            PROPOSED TO BE FILED UNDER
                   Defendants.                SEAL
28

                  DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF
                      PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25       Page 2 of 703 Page ID
                                       #:1689


 1            I,      R. Kennon Poteat III, hereby state and declare as follows:
 2            1.   I am an attorney admitted to practice pro hac vice before this Court and
 3   am a partner at Williams & Connolly LLP, counsel of record for Plaintiffs T-Mobile
 4   US, Inc., Clearwire Spectrum Holdings LLC, Clearwire Spectrum Holdings II LLC,
 5   Clearwire Spectrum Holdings III LLC, Fixed Wireless Holdings LLC, NSAC LLC, TDI
 6   Acquisition Sub LLC (“TDI”), and WBSY Licensing LLC (collectively “Plaintiffs”). I
 7   submit this declaration in connection with Plaintiffs’ Request for Judicial Notice.
 8            2.   I have personal knowledge of the facts stated in this Declaration, and, if
 9   called to testify as a witness, could and would testify competently under oath to these
10   facts.
11            3.   Attached hereto as Exhibit 1 is a true and correct copy of the publicly
12   available, redacted version of TDI’s First Amended Complaint for Breach of Contract
13   and Declaratory Judgment against Albright College filed on July 7, 2021 in the Court
14   of Common Pleas of Berks County, Pennsylvania, Civil Action No. 21-04881
15   (“Albright Lawsuit”).
16            4.   Attached hereto as Exhibit 2 is a true and correct copy of the publicly
17   available, redacted version of Exhibit A to TDI’s First Amended Complaint in the
18   Albright Lawsuit, which is the Educational Broadband Service Long-Term De Facto
19   Transfer Lease Agreement with Albright College, dated March 2, 2007 (“Albright
20   Lease”).
21            5.   Attached hereto as Exhibit 3 is a true and correct copy of TDI’s
22   Opposition to Academia Spectrum LLC’s Motion to Quash and Objection to Foreign
23   Subpoena Duces Tecum, filed on January 7, 2022 in the Circuit Court of Virginia
24   Beach, No. CL21-3972.
25            6.   Attached hereto as Exhibit 4 is a true and correct copy of an Order filed
26   on March 22, 2022, entered by Judge Nevius under seal in the Albright Lawsuit.
27
28
                                           1
                    DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF
                        PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 3 of 703 Page ID
                                      #:1690


 1         7.     Attached hereto as Exhibit 5 is a true and correct copy of an Order dated
 2   April 29, 2022, entered by Judge West in the Circuit Court of Virginia Beach, No.
 3   CL21-3972.
 4         8.     Attached hereto as Exhibit 6 is a true and correct copy of TDI’s Motion
 5   to Compel Production of Documents against Academia Spectrum LLC filed on
 6   May 20, 2022, in the Circuit Court of Virginia Beach, No. CL21-3972.
 7         9.     Attached hereto as Exhibit 7 is a true and correct copy of an Order dated
 8   August 23, 2022, entered by Judge West in the Circuit Court of Virginia Beach, No.
 9   CL21-3972.
10         10.    Attached hereto as Exhibit 8 is a true and correct copy of TDI’s Motion
11   to Compel Production of Documents from WCO Spectrum LLC, filed on May 20, 2022
12   in the Superior Court of the State of Delaware, No. K21M-08-007 (JJC).
13         11.    Attached hereto as Exhibit 9 is a true and correct copy of a letter from
14   counsel for WCO Spectrum to Judge Clark and Commissioner Freud filed on
15   August 11, 2022, in the Superior Court for the State of Delaware, No. K21M-08-
16   007 (JJC).
17         12.    Attached hereto as Exhibit 10 is a true and correct copy of the Praecipe
18   to Discontinue Without Prejudice filed by TDI under seal on August 26, 2022, in the
19   Albright Lawsuit.
20         13.    Attached hereto as Exhibit 11 is a true and correct copy of the Complaint
21   filed against The School Board of St. Lucie County, Florida on March 25, 2022, in the
22   U.S. District Court for the Southern District of Florida, No. 2:22-cv-14107.
23         14.    Attached hereto as Exhibit 12 is a true and correct copy of an Order dated
24   September 30, 2022, entered by Judge Cannon in the U.S. District Court for the
25   Southern District of Florida, No. 2:22-cv-14106.
26         15.    Attached hereto as Exhibit 13 is a true and correct copy of a Writ of
27   Summons filed on May 6,2022, in the Court of Common Pleas of Philadelphia County,
28   No. 000629, May Term 2022.
                                          2
                   DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF
                       PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25      Page 4 of 703 Page ID
                                       #:1691


 1          16.   Attached hereto as Exhibit 14 is a true and correct copy of a Motion to
 2   Compel Defendants to Produce Documents in Response to Plaintiffs’ First Set of
 3   Requests for Production of Documents, filed on September 2, 2022, in the Court of
 4   Common Pleas of Philadelphia County, No. 000629, May Term 2022.
 5          17.   Attached hereto as Exhibit 15 is a true and correct copy of an excerpt of
 6   the transcript of a hearing held on November 10, 2022, in the Court of Common Pleas
 7   of Philadelphia County before Judge Patrick.
 8          18.   Attached hereto as Exhibit 16 is a true and correct copy of the Complaint
 9   against Lorain County Community College filed on April 14, 2023, in the U.S. District
10   Court for the Northern District of Ohio, Case No. 1:23-cv-00752-JG.
11          19.   Attached hereto as Exhibit 17 is a true and correct copy of an Order
12   entered on June 26, 2023, approving a Stipulation of Dismissal Without Prejudice in
13   the U.S. District Court for the Northern District of Ohio, Case No. 1:23-cv-00752-JG.
14
15         I declare under penalty of perjury under the laws of the United States that the
16   foregoing facts are true and correct.
17         Executed on this 30th day of May, 2025 at Washington, DC.
18
19
                                                      R. Kennon Poteat III
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                   DECLARATION OF R. KENNON POTEAT III IN SUPPORT OF
                       PLAINTIFFS’ REQUEST FOR JUDICIAL NOTICE
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 5 of 703 Page ID
                                    #:1692




                          Exhibit
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 6 of 703 Page ID
                                    #:1693
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 7 of 703 Page ID
                                    #:1694
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 8 of 703 Page ID
                                    #:1695
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 9 of 703 Page ID
                                    #:1696
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 10 of 703 Page
                                  ID #:1697
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 11 of 703 Page
                                  ID #:1698
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 12 of 703 Page
                                  ID #:1699
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 13 of 703 Page
                                  ID #:1700
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 14 of 703 Page
                                  ID #:1701
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 15 of 703 Page
                                  ID #:1702
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 16 of 703 Page
                                  ID #:1703
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 17 of 703 Page
                                  ID #:1704
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 18 of 703 Page
                                  ID #:1705
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 19 of 703 Page
                                  ID #:1706
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 20 of 703 Page
                                  ID #:1707
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 21 of 703 Page
                                  ID #:1708
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 22 of 703 Page
                                  ID #:1709
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 23 of 703 Page
                                  ID #:1710
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 24 of 703 Page
                                  ID #:1711
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 25 of 703 Page
                                  ID #:1712
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 26 of 703 Page
                                  ID #:1713
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 27 of 703 Page
                                  ID #:1714
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 28 of 703 Page
                                  ID #:1715
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 29 of 703 Page
                                  ID #:1716
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 30 of 703 Page
                                  ID #:1717
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 31 of 703 Page
                                  ID #:1718
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 32 of 703 Page
                                  ID #:1719
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 33 of 703 Page
                                  ID #:1720




                          Exhibit 2
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 34 of 703 Page
                                  ID #:1721
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 35 of 703 Page
                                  ID #:1722
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 36 of 703 Page
                                  ID #:1723
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 37 of 703 Page
                                  ID #:1724
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 38 of 703 Page
                                  ID #:1725
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 39 of 703 Page
                                  ID #:1726
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 40 of 703 Page
                                  ID #:1727
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 41 of 703 Page
                                  ID #:1728
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 42 of 703 Page
                                  ID #:1729
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 43 of 703 Page
                                  ID #:1730
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 44 of 703 Page
                                  ID #:1731
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 45 of 703 Page
                                  ID #:1732
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 46 of 703 Page
                                  ID #:1733
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 47 of 703 Page
                                  ID #:1734
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 48 of 703 Page
                                  ID #:1735
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 49 of 703 Page
                                  ID #:1736
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 50 of 703 Page
                                  ID #:1737
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 51 of 703 Page
                                  ID #:1738
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 52 of 703 Page
                                  ID #:1739
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 53 of 703 Page
                                  ID #:1740
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 54 of 703 Page
                                  ID #:1741
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 55 of 703 Page
                                  ID #:1742
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 56 of 703 Page
                                  ID #:1743
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 57 of 703 Page
                                  ID #:1744
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 58 of 703 Page
                                  ID #:1745
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 59 of 703 Page
                                  ID #:1746
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 60 of 703 Page
                                  ID #:1747
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 61 of 703 Page
                                  ID #:1748
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 62 of 703 Page
                                  ID #:1749
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 63 of 703 Page
                                  ID #:1750
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 64 of 703 Page
                                  ID #:1751
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 65 of 703 Page
                                  ID #:1752




                          Exhibit 3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 66 of 703 Page
                                  ID #:1753
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 67 of 703 Page
                                  ID #:1754
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 68 of 703 Page
                                  ID #:1755
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 69 of 703 Page
                                  ID #:1756
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 70 of 703 Page
                                  ID #:1757
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 71 of 703 Page
                                  ID #:1758
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 72 of 703 Page
                                  ID #:1759
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 73 of 703 Page
                                  ID #:1760
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 74 of 703 Page
                                  ID #:1761
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 75 of 703 Page
                                  ID #:1762
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 76 of 703 Page
                                  ID #:1763
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 77 of 703 Page
                                  ID #:1764
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 78 of 703 Page
                                  ID #:1765
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 79 of 703 Page
                                  ID #:1766
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 80 of 703 Page
                                  ID #:1767
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 81 of 703 Page
                                  ID #:1768
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 82 of 703 Page
                                  ID #:1769
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 83 of 703 Page
                                  ID #:1770
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 84 of 703 Page
                                  ID #:1771
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 85 of 703 Page
                                  ID #:1772
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 86 of 703 Page
                                  ID #:1773
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 87 of 703 Page
                                  ID #:1774
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 88 of 703 Page
                                  ID #:1775
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 89 of 703 Page
                                  ID #:1776
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 90 of 703 Page
                                  ID #:1777




                          Exhibit 1
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 91 of 7031 Page
                                  ID #:1778



 1         IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 2

 3    TDI ACQUISITION SUB, LLC,         )
                                        )
 4                Plaintiff,            ) K21M-08-007 (JJC)
             v.                         )
 5                                      ) C.A. No. 21-04481
      ALBRIGHT COLLEGE,                 )
 6                                      )
                  Defendant.            )
 7

 8                               * * * * *

 9    BEFORE:     HON. ANDREA M. FREUD, Commissioner

10                               * * * * *

11       Motion to Quash or Modify Out-of-State Subpoena
                        December 16, 2021
12    APPEARANCES:

13                   PETER B. LADIG, ESQUIRE
                     KENNETH J. BROWN, ESQUIRE, pro hac vice
14                   DENIS R. HURLEY, ESQUIRE, pro hac vice
                     on behalf of the Plaintiff
15

16                   RYAN M. ERNST, ESQUIRE
                     MICHAEL J. DUFFY, ESQUIRE, pro hac vice
17                   on behalf of Third-Party WCO Spectrum LLC

18

19                        Michelle D. Webb, RPR
                             Court Reporter
20

21

22

23
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 92 of 7032 Page
                                  ID #:1779



 1    12-16-2021
      2:00 p.m.
 2    Chambers via Zoom

 3                THE COURT:    Good afternoon, Mr. Ernst. And the

 4    other two people on the call are the clerk and my bailiff

 5    who are recording this.      Is there anyone else in this that

 6    we need to have on?

 7                MR. ERNST:    Not from our side, Your Honor.

 8                MR. BROWN:    Not for us.

 9                THE COURT:    Then whoever wants to go and start

10    with the motion to quash can proceed.

11                MR. ERNST:    Good afternoon, Your Honor.       For this

12    current introduction, I'm Ryan Ernst from Bielli & Klauder

13    on behalf of the movant, WCO Spectrum, LLC.          Also, in the

14    hearing today is Michael Duffy from the Mitts Law, LLC, law

15    firm, and he was admitted pro hac vice and will be

16    addressing the Court today.

17                THE COURT:    Thank you, Mr. Ernst.

18                All right.    Mr. Duffy, if you want to get started.

19                MR. DUFFY:    Sure.   Thank you, Your Honor.      So as

20    stated in our motion, the primary defect in this subpoena,

21    and there are many, but I won't get into everything that's

22    said in the papers, it speaks for itself.           The primary

23    defect is the lack of subpoena power by this Court because
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 93 of 7033 Page
                                  ID #:1780



 1    there is no documents in Delaware, and there are no

 2    personnel in Delaware WCO.       And we provide authoritative

 3    case law on this point, and that is the Hallamore case that

 4    it's -- directly what's happening here, WCO, is a company

 5    that is registered here in Delaware, but it has no

 6    personnel, it has no documents, and there is nothing for a

 7    Delaware Court to be able to enforce its subpoena power to

 8    order it to be produced or to go get something to produce.

 9    And their opposition, TDI, which is -- it's T Mobile

10    effectively.    It stated that there is no distinction made

11    between personal and subject matter jurisdiction, and that's

12    because that's not what's at issue here at all.

13                And in some of the cases that are cited in our

14    motion and which TDI tries to ignore, but they do state this

15    distinction, I think, thoroughly enough that it would be

16    useful.   So, for example, in the Phillips Petroleum Company

17    v. OKC case -- and that's a Louisiana Supreme Court case

18    from 1994, and it's fully cited in our motion -- that Court

19    states the concepts and/or underlying purposes of personal

20    jurisdiction and subpoena power are simply different.

21    Personal jurisdiction is based on conduct which subjects the

22    non-resident to the power of the Louisiana Court to

23    adjudicate its rights and obligations in a legal dispute
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 94 of 7034 Page
                                  ID #:1781



 1    sometimes arising out of that very conduct.

 2                On the other hand, the subpoena power of a

 3    Louisiana Court over a person which is not a party in a

 4    lawsuit is based on power and authority of the Court to

 5    compel the attendance at a deposition of that person in a

 6    legal dispute between other parties.        And it goes on,

 7    whereas the Long Arm Statute extend's Louisiana's personal

 8    jurisdiction over personal persons and legal entities beyond

 9    Louisiana's borders, there is no civil authority for

10    extending the subpoena power of a Louisiana Court beyond

11    state lines that command instate dependence of nonresident,

12    nonparty witnesses.

13                So that is what the Hallamore case discusses, and

14    it is exactly what is happening here.        It is a business

15    that's registered in Delaware and has a registered agent in

16    Delaware, but otherwise, has no business contacts, personnel

17    or documents in Delaware, and that's what's reflected in the

18    declaration that's appended to the motion.          And it goes on

19    in the declaration to explain where the business of WCO is,

20    it's in Connecticut and it has that information.           So if TDI

21    wanted, they could, and to my knowledge, have not yet, go to

22    Connecticut where that power exists with the Connecticut

23    Court.   So there is no ability for the Court to order any
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 95 of 7035 Page
                                  ID #:1782



 1    compliance with this subpoena, given the lack of subpoena

 2    power, and directly in line with the cases cited in the

 3    motion.   And beyond that, TDI is left to rely on allegations

 4    of technicalities saying that it wasn't a full enough or

 5    prompt enough response for objections.

 6                The objections were served as timely.         It was

 7    really as soon as possible.       The registered agent had the

 8    prior law firm on file and sent the subpoena.          And this was

 9    only discovered after we had received this subpoena directly

10    from TDI's counsel.      Then after an investigation, that's

11    what happened, it was sent to another law firm.           As soon as

12    WCO learned about it, action was taken, there were

13    objections that were served, the objections were detailed.

14    But it was an objection ultimately to the totality of the

15    subpoena given the central issue of the lack of power to

16    enforce it.

17                And there was a meet-and-confer process that

18    occurred, a four-page letter that is attached as an exhibit

19    to the motion, as well, that goes into all these issues

20    before anything was filed.       And yes, that meet-and-confer

21    process took time.      TDI clearly wanted it to take more time,

22    often complaining that WCO waited too long to take action.

23    But every effort was made to do that, and ultimately, there
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 96 of 7036 Page
                                   ID #:1783



 1    was not an agreement and this motion was promptly filed.             So

 2    there's no basis to deprive WCO of its rights.           As a

 3    nonparty to this action, this is not a matter that directly

 4    concerns WCO.       This is a third-party subpoena going to

 5    another state, and it needs to be, at least, served in a

 6    state that has power to enforce it, and then the merits of

 7    the subpoena itself can be addressed which, as stated in the

 8    motion, there are deep -- beyond that, but those shouldn't

 9    be reached at this time.        Thank you.

10                THE COURT:     I have a question, Mr. Duffy.        Given

11    Delaware's status as a corporate case and many corporations

12    being located in this, I'm surprised that if your argument

13    that we lacked jurisdiction was, in fact, a strong argument,

14    that you wouldn't have something from the Chancery Court

15    that would back that up.        And I don't see any Chancery Court

16    cases or any Delaware Supreme Court cases that says under

17    these facts that we wouldn't have jurisdiction, because I

18    would imagine that this very issue comes up, would come up

19    quite frequently in those courts.

20                MR. DUFFY:     Yes, Your Honor.     And likewise, if it

21    was something that there was ordered compliance with it,

22    historically, one would expect to see decisions to that

23    effect as well, but there's not.         It's not necessarily
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 97 of 7037 Page
                                  ID #:1784



 1    something that has been litigated to any previous stand, but

 2    the Courts that have, these are the decisions that they have

 3    made, including the Hallamore Court which says that it does

 4    not exist.    To my experience, many of the larger

 5    corporations do specify procedures, and they make them

 6    public to serve subpoenas on their custodians of records at

 7    the location where the records and the personnel are.

 8                So my experiences from many of the corporations

 9    that are registered in Delaware, but not operating here,

10    that they take steps so that it can be facilitated without

11    that type of litigation or may handle it otherwise.           But the

12    fact is, that the case law that exists, both in other states

13    and as it concerns Delaware law, is clear.          And I think it's

14    consistent with what Delaware would want as a state that

15    does have this capacity for registration in the state, but

16    not necessarily operation there, that it's not necessarily

17    the Delaware Courts' concern if there's no documents, no

18    personnel, nothing to enforce the subpoena power over these

19    nonparties in these cases.

20                THE COURT:    Thank you.    And counsel for TDI,

21    whoever wants to respond.

22                MR. LADIG:    Your Honor, before, let me just

23    introduce Mr. Brown and Mr. Hurley.        This is Peter Ladig
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 98 of 7038 Page
                                  ID #:1785



 1    from Bayard on behalf of TDI, and with me on the line are

 2    Ken Brown and Dennis Hurley from Williams & Connolly, and

 3    Mr. Brown has been admitted pro hac vice and will be making

 4    the argument today.

 5                THE COURT:    Thank you.

 6                MR. BROWN:    Thank you, Your Honor, and may it

 7    please the Court, I am Ken Brown from Williams & Connolly

 8    for TDI.    Let me start by getting to the threshold issue of

 9    waiver, and then I'm happy to dive right into the

10    jurisdictional issue that Mr. Duffy raises.          So as a

11    threshold matter, WCO failed to timely object to the

12    subpoena.    And when it did file objections, almost a month

13    later, those objections were purely boilerplate.           They

14    literally could have been filed in any case about any

15    subject matter anywhere in the United States.          I believe

16    there are others on the call who have been practicing longer

17    than I, I've been doing this for 20 years, I have never seen

18    such boilerplate objections in my practice.          Those

19    objections say nothing about the subject matter of this

20    case.   They say nothing about any of TDI's documents

21    requests, and they say nothing about any of the issue raises

22    in the motion to quash.      Even if they had been timely, they

23    would be of no legal effect, so the question of, was there a
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25    Page 99 of 7039 Page
                                  ID #:1786



 1    good reason why TDI couldn't respond within the time period

 2    allotted by the rules is completely besides the point,

 3    because it's undisputed that after they did have notice of

 4    the subpoena, they served boilerplate objections that are of

 5    no legal effect as a matter of law.        Then for reasons that I

 6    must say are unclear to us, we tried to meet and confer with

 7    them about the subpoena.       They refused to subsequently

 8    participate.    And there was nominally a meet-and-confer

 9    process, but they wouldn't engage with us on any particular

10    request.    They told us that no further discussions would be

11    useful and they filed a motion to quash.            That motion, in

12    our view, deceptively consists of a sort of "throw

13    everything at the wall" program in an effort to avoid the

14    DCO's waiver, but none of those arguments are effective.

15                It seems to me that the Court can go in one of two

16    different directions here.       Either it can simply apply the

17    law under which WCO's objections, including all of their

18    objections and including all of the arguments that we just

19    heard from Mr. Duffy and have been waived, and I'd simply

20    ask to comply with our subpoena in full, or the Court can

21    order us to have a real meet-and-confer or we try to work

22    these issues out.     We would have expected that process to

23    have occurred before now, but it hasn't.            And again, we
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 100 of 70310 Page
                                    ID #:1787



  1   tried it, but to no effect.         We're happy to try again if WCO

  2   is willing to seriously participate.          But we're fine with

  3   the former approach, too.        And to that, let me address the

  4   argument, the principal argument that Mr. Duffy made.

  5   Mr. Duffy said evidently -- I just want to make sure I wrote

  6   it down correctly -- that our observations about subject

  7   matter jurisdiction and personal jurisdiction are -- because

  8   jurisdiction is not at all -- I'm sorry -- is not at issue

  9   here at all.        That's what I wrote down, and we agree with

 10   that.    The point in talking about subject matter

 11   jurisdiction and personal jurisdiction was simply to note

 12   that this argument that WCO is making is not jurisdictional

 13   in nature, and the Court, obviously, has jurisdiction here,

 14   is subject matter to situation over a subpoena issued in

 15   this, personal jurisdiction over WCO, it's the Delaware LLC.

 16   And WCO, obviously, is subject to subpoena in Delaware

 17   having been registered here, having a registered agent here.

 18   That's relevant because, as in non-jurisdictional argument,

 19   it's been waived, that's the point.

 20               So let me address the merits of the point now.

 21   And I have sort of three points to make here.            First, the

 22   whole arguments have been silly.         The documents we're

 23   talking about are electronic, and they can be accessed from
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 101 of 70311 Page
                                   ID #:1788



  1   Delaware just as easily as from Connecticut or anywhere

  2   else.    That's No. 1.    No. 2, WCO resides in Delaware because

  3   it's formed under Delaware law.        You can always subpoena a

  4   Delaware resident in Delaware for its own documents even if

  5   it happens to have locations elsewhere.         And third, the

  6   argument is flat wrong.       It's overly practical and it's

  7   quite dangerous, especially in the context of the kind of

  8   complex commercial litigation that's so ubiquitous in

  9   Delaware.

 10               First of all, it's in-practical.        But if you're in

 11   the position that we are in this case where we're litigating

 12   in Pennsylvania, we need to subpoena a third party, we have

 13   no earthly idea where that third party happens to keep its

 14   documents.     So, you know, what do you do in that situation?

 15   You look to whether the entity is incorporated or where it's

 16   formed, which in this case is Delaware, and you issue the

 17   subpoena through that court.        And there are good practical

 18   reasons for that, right.       It is hardly uncommon for Delaware

 19   entities to have multiple locations around the United

 20   States, I'll give you a hypothetical, and naturally subpoena

 21   a Delaware LLC for documents that it keeps at its local

 22   branch offices in 30 different states.         And by WCO's

 23   rationale, I would have to issue 30 different subpoenas.
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25    Page 102 of 70312 Page
                                   ID #:1789



  1   That's silly.       It doesn't work that way.       There has to be a

  2   place where you can subpoena, and its need to get all of

  3   these documents, and that is the state or states where that

  4   entity resides.

  5               And also -- and this is really, an important

  6   point, I think -- there are lots of documents that maybe

  7   Delaware would prefer never to have to be subpoenaed at all,

  8   right.    And so you can really miss the case that a Delaware

  9   entity could avoid having its documents be subject to

 10   subpoena just by locating elsewhere.         Delaware business

 11   entities would start parking their documents not in

 12   Connecticut, but in the Caymans, and in China, and in

 13   Madagascar, and take whatever jurisdiction you want that's

 14   the least amenable to serve as a process.           Right, the

 15   Delaware entity would still maintain control over the

 16   documents, and it could recall them at any time as it needed

 17   them, but it would be functionally, a need for a subpoena,

 18   and that totally is not the law.

 19               So Mr. Duffy talked about the Hallamore case.             A

 20   couple of distinctions and a couple of similarities.              First,

 21   the entity received the subpoena in Hallamore timely

 22   objected.    All right.     So there was no waiver in Halimore,

 23   that's No. 1.       No. 2, Hallamore says the test is control,
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 103 of 70313 Page
                                   ID #:1790



  1   right.    We agree with that, right.       WCO doesn't claim it

  2   lacks control over its own documents, nor could it possibly.

  3   Third, I would also note that Hallamore is based on an

  4   outdated version of Rule 45.        They're citing the version

  5   that was in place prior to the 2013 amendments.           It cites

  6   specifically, Rule 45(a)(2)(c) all over their pleadings, but

  7   that rule doesn't even exist anymore.         The rule now is clear

  8   that the key is control over the documents, not their

  9   location, which makes perfect sense.

 10               But the one aspect of Hallamore that doesn't quite

 11   make sense, and that I must say has to be, is the fact that

 12   it purports to focus on whether the registered agent has

 13   control.    So in this case, currently, the registered agent

 14   for WCO is CT Corporation.       As Your Honor may know, at the

 15   time of the subpoena, it was the -- CT's competitors, but

 16   now it's CT Corporation.       As Your Honor may know, CT

 17   Corporation and its competitors represent millions of

 18   business entities both in Delaware and around the country.

 19               Everybody on this call knows that CT Corporation

 20   has one function only; it receives subpoenas and it sends

 21   them to the entity that was subpoenaed.         It doesn't control

 22   the documents of any of the entities, it just forwards

 23   documents for a nominal fee, right.         So the question cannot
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 104 of 70314 Page
                                   ID #:1791



  1   possibly be, does CT Corporation have control over the

  2   documents?     Everybody knows it doesn't.      All right.     That's

  3   true for every entity.

  4               The question is, does the entity in Delaware have

  5   control over the documents subpoenaed in Delaware?            And the

  6   answer in this case is, of course, it does, because WCO, as

  7   a Delaware LLC, is a resident of Delaware, right.            WCO, in

  8   sum and substance, it is formed under Delaware law is

  9   irrelevant because the Court should only look to where the

 10   documents are kept.

 11               But the standard form under Delaware law is hardly

 12   irrelevant.     WCO is taking full advantage of all of the

 13   benefits, and there are many, of the Delaware LLC Act,

 14   right.    It's subject to the burdens of that Act, too, which

 15   there are few; one of which, though, is if you were subject

 16   to subpoena in Delaware, right, no matter where you might

 17   choose to keep your documents or move them to, the bottom

 18   line is that you can only subpoena a Delaware resident for

 19   its own documents in Delaware -- correction, I should

 20   probably say that a slightly different way -- you can only

 21   subpoena a Delaware resident in Delaware for its own

 22   documents.

 23               I'm happy to -- so there are a couple of other
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 105 of 70315 Page
                                   ID #:1792



  1   issues that were raised in their papers having to do with

  2   over-broad and unduly burdened, and does Pennsylvania permit

  3   free-answer discovery and things like that.          I think we

  4   covered those issues in our papers.         They are just flat

  5   wrong on all of those issues, and they have never met and

  6   conferred with us, you know, in a way that would enable the

  7   parties to flesh out these sort of these issues.            These

  8   should be sort of request specific, right.          If they want to

  9   claim that a particular request is overly broad and unduly

 10   burdensome, they would need to have a meet-and-confer, they

 11   need to tell us the request they're talking about, they need

 12   to tell us why it's overly broad or unduly burdensome, and

 13   then we can try and work that out, but they have done not

 14   nothing like that here.

 15               So I'm happy to answer any questions the Court

 16   has, but if there aren't any, then the argument is that the

 17   motion to quash should be denied, and they should be

 18   required to comply with their subpoena.

 19               THE COURT:    Thank you, Mr. Brown.

 20               Mr. Duffy, do you have anything to add?

 21               MR. DUFFY:    Yes, thank you, Your Honor.        Just

 22   addressing a few items.       With respect to the

 23   meet-and-confer, if there is no basis to enforce a subpoena
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 106 of 70316 Page
                                   ID #:1793



  1   in the first place because there is no documents that are

  2   responsive to a subpoena that could be a subject, there is

  3   nothing further to go into details about what documents are

  4   and aren't appropriate for each request when the answer is

  5   there are no documents that are subject to that subpoena.

  6   It was an extensive meet-and-confer process again.            The one

  7   letter out of it is attached to the motion, but there were

  8   conferences, and it was a real effort that was made, but the

  9   bottom line was there was not the power behind it to get

 10   into those details.

 11               With respect to the Hallamore case,

 12   Mr. Brown, he misconstrues it.        The Court did do a

 13   thoughtful and thorough analysis of the applicable

 14   law, and the issue is not just where the documents

 15   live, the issue -- and Mr. Brown did also state

 16   this -- is whether the recipient of the subpoena has

 17   the power, the degree of control over the documents.

 18   And that's what the Hallamore case says it's citing, a

 19   case out of Colorado.       It makes clear that these

 20   are -- this is a well-reasoned issue that other Courts

 21   have considered, and it states, when dealing with a

 22   corporation located in multiple states, the proper

 23   inquiry is whether the agent possesses the degree of
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 107 of 70317 Page
                                   ID #:1794



  1   control over the documents to enforce the subpoena.

  2   And it was yes, registered agents generally would not

  3   have that degree of control.        The party that wishes to

  4   subpoena the non-party can go to an agent that does

  5   have that degree of control and get the documents

  6   wherever they're located on earth.         And that's exactly

  7   what the Hallamore Court says.

  8               And it goes on to state that, although the

  9   party is registered as an agent in Delaware, the

 10   subpoenaing party has not alleged that the agent

 11   possesses the degree of control over the documents,

 12   which would allow this district to issue a subpoena

 13   for production of documents located in the Eastern

 14   District of Pennsylvania foreign jurisdiction where

 15   they were, but the acquisition, the subpoena, as

 16   issued, is denied with respect to the document

 17   production.     And that Court goes on to state

 18   jurisdictional defects from a subpoena issued in the

 19   wrong Court cannot be waived.

 20               So it is akin to a jurisdictional defect when a

 21   Court lacks the subpoena power over nonparties to produce

 22   documents that are not in Delaware without anyone that

 23   possesses the degree of control to have them produced in
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 108 of 70318 Page
                                   ID #:1795



  1   Delaware, and that objection, among others, was raised in

  2   the objections that we served on TDI initially.           They're

  3   also attached to the motion, and that's Objection No. 2.

  4   With respect to this jurisdictional issue, the respondent

  5   objects to Plaintiff's subpoena because the issuing Court

  6   lacks jurisdiction over the matter, and other objections

  7   also apply, but they were asserted at the outset, they were

  8   stated during the course of meet-and-confer.           And they're

  9   about maintained here.       And otherwise, WCO should not be

 10   deprived of this basic right to not be subjected to a

 11   subpoena where there's no power to do so.           Thank you, Your

 12   Honor.

 13               THE COURT:    Thank you.    Do you have any response?

 14               MR. BROWN:    I'll just respond by saying, as a

 15   Delaware LLC, WCO has no basic right not to be subpoenaed in

 16   Delaware, it's the exact opposite under the law.            And then

 17   the Court has our position.

 18               THE COURT:    Right.    First, as a punitory matter

 19   concerning the waiver of any defenses, when I read through

 20   the motions and everything, it appears to me that there was,

 21   unfortunately, against the registered agent, the original

 22   one sent the original subpoena to an attorney that was no

 23   longer representing WCO, and I guess that was the reason why
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 109 of 70319 Page
                                   ID #:1796



  1   WCO didn't respond initially.        And I guess what happened was

  2   they reached out to WCO's -- somebody there, and then they

  3   responded.     Interestingly, they had also changed their

  4   registered agent that same day, which I found interesting.

  5   In any event, I guess I'm going to say that they haven't --

  6   that they can make their arguments, and it's not just cut

  7   and dry for -- because they didn't respond in time.            I think

  8   there, obviously, was some confusion that was out of the

  9   control of WCO, initially.       So for that respect, I'm going

 10   to allow them to make their arguments.

 11               Turning to their arguments, however, I don't think

 12   that the arguments hold water.        I think that the arguments

 13   from Mr. Brown and the papers that were submitted by TDI, I

 14   do think Delaware has the authority to issue a subpoena.

 15   And to the extent that Hallamore is different, I don't think

 16   that that is -- as either Mr. Brown said, inapplicable, or I

 17   would not agree with it if it says that we cannot do it.              I

 18   think Delaware does have the power to do it.           I think for

 19   the reasons Mr. Brown stated, he had some very good reasons

 20   as to how this would be entirely impractical in a number of

 21   different circumstances, and the fact, to me, that there is

 22   nothing from the Court of Chancery, or the Superior Court,

 23   or anywhere else in Delaware that holds what Mr. Duffy is
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 110 of 70320 Page
                                   ID #:1797



  1   arguing, it screams to me that that is not the case.             So for

  2   that reason, I do think that the TDI has the authority to

  3   subpoena WCO in Delaware for these documents.           And I think

  4   that Mr. Brown's suggestion of having, at this point in

  5   time, now that I have made that initial ruling, that there

  6   should be a meet-and-confer on this.         We, obviously, can't

  7   go through all the requests today because there has been

  8   nothing presented to me as far as all that.

  9               I did read the complaint in the underlying matter,

 10   I am familiar with the case, and I can let all the parties

 11   know that, it seems to me that, under the facts of this

 12   particular case, it seems to me that information concerning

 13   WCO and whether it is, in fact, a competing entity in the

 14   underlying case is important.        I agree with Mr. Brown that

 15   Pennsylvania has pretty early discovery, that they should be

 16   entitled to get that matter, that information, at this point

 17   in time.    Whether or not the requests are overbroad, taking

 18   too much -- covering a larger amount of time than is

 19   necessary, and it may not be specific enough, the request,

 20   that's something that you guys can discuss in a

 21   meet-and-confer now that you know where I stand on it.             Of

 22   course, the parties are free to appeal my decision to Judge

 23   Clark as a threshold matter if they wish to, and that's up
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 111 of 70321 Page
                                   ID #:1798



  1   to you.    I do note that if you are planning on appealing it,

  2   you do need to get a transcript of this, and we do not

  3   have -- our bailiff is recording this in the courtroom, and

  4   it's a big recording, but you have to go through a court

  5   reporter to get it done.       So just to let you know that up

  6   front, we don't have an actual reporter on the call today.

  7               So I'm going to deny the motion to quash today,

  8   but without prejudice for a subsequent motion after a

  9   meet-and-confer.      Okay.   Any questions?    Anything I need to

 10   address that I didn't address?

 11               MR. BROWN:    Not from our perspective, Your Honor.

 12               MR. DUFFY:    Thank you, Your Honor.

 13               THE COURT:    Thank you, gentleman.      Have a

 14   wonderful holiday season.       Court is in recess.

 15                 (Whereupon the Court recessed.)

 16                                 */*/*

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Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 112 of 70322 Page
                                    ID #:1799



  1                       CERTIFICATION OF REPORTER

  2

  3            I, Michelle D. Webb, RPR, Official Reporter of the

  4   Superior Court, Kent County, State of Delaware, do hereby

  5   certify that the foregoing is an accurate transcript of the

  6   testimony adduced and proceedings had, as reported by me, in

  7   the Superior Court of the State of Delaware in and for Kent

  8   County in the case herein stated, as the same remains of

  9   record in the Office of the Prothonotary of Kent County at

 10   Dover,    Delaware.

 11            The certification shall be considered null and void

 12   if this transcript is disassembled in any manner by any

 13   party without authorization of the signatory below.

 14            WITNESS, my hand, this 28th day of December, A.D.,

 15   2021.

 16

 17

 18

 19                                       /s/ Michelle D. Webb
                                          Michelle D. Webb, RPR
 20                                       Official Reporter

 21

 22

 23
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 113 of 703 Page
                                   ID #:1800




                          Exhibit 2
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25      Page 114 of 703 Page
                                    ID #:1801



       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 TDI ACQUISITION SUB, LLC,             :            OUT OF STATE
                                       :            SUBPOENA IN A
       Plaintiff,                      :            CIVIL ACTION
                                       :
       v.                              :            K21M-08-007 (JJC)
                                       :
 ALBRIGHT COLLEGE,                     :
                                       :            C.A. No. 21-04481
       Defendant.                      :            (pending in Berks County, PA)

                             NOTICE OF MOTION

        TO: Eric J. Schreiner, Esq.
            KLEINBARD LLC
            Three Logan Square
            1717 Arch Street
            5th Floor
            Philadelphia, PA 19103


       PLEASE TAKE NOTICE that the undersigned will present the attached

 Third-Party WCO Spectrum, LLC’s Motion to Quash or Modify Out-of-State

 Subpoena on November 18, 2021, at 2:00 p.m., or as soon thereafter as may be heard.



 Dated: October 21, 2021                   BIELLI & KLAUDER, LLC

                                           /s/ Ryan M. Ernst, Esquire
 OF COUNSEL:                               Ryan M. Ernst, Esquire (No. 4788)
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25    Page 115 of 703 Page
                                   ID #:1802



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                                      2
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25        Page 116 of 703 Page
                                     ID #:1803



       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE

 TDI ACQUISITION SUB, LLC,              :            OUT OF STATE
                                        :            SUBPOENA IN A
       Plaintiff,                       :            CIVIL ACTION
                                        :
       v.                               :            K21M-08-007 (JJC)
                                        :
 ALBRIGHT COLLEGE,                      :
                                        :            C.A. No. 21-04481
       Defendant.                       :            (pending in Berks County, PA)

              THIRD-PARTY WCO SPECTRUM, LLC’S
      MOTION TO QUASH OR MODIFY OUT-OF-STATE SUBPOENA

       COMES NOW, pursuant to Delaware Superior Court Civil Rule 45(c)(3),

 third-party WCO Spectrum, LLC (“Third-Party WCO”), respectfully moves this

 Honorable Court for an order quashing an out-of-state subpoena to produce

 documents or things (the “Subpoena”) (attached hereto as Exhibit A) purportedly

 served upon Third-Party WCO’s Delaware registered agent by Plaintiff TDI

 Acquisition Sub, LLC, a subsidiary of T-Mobile (“TDI”), and/or modify it by

 precluding or limiting the discovery sought by the Subpoena (this “Motion”). As

 grounds for this Motion, Third-Party WCO states as follows: 1



 1
  In submitting this Motion, Third-Party WCO (1) does not submit to the subpoena
 enforcement jurisdiction of this Court, but enters an appearance only for the limited
 purpose of objecting to the Court’s jurisdiction to enforce a subpoena against Third-
 Party WCO; (2) does not concede that the Delaware Superior Court Civil Rules
 apply; (3) reserves its right to contest the Subpoena in the courts of Pennsylvania
 and/or any other appropriate forum; and (4) does not waive, and instead expressly
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25        Page 117 of 703 Page
                                          ID #:1804



I.      SUMMARY

           1.     Both Third-Party WCO and TDI seek to acquire certain licenses for

 Educational Broadband Service (“EBS”) radio spectrum bands from educational

 institutions. TDI also leases such licenses from educational institutions while WCO

     does not.

           2.     In the underlying litigation, TDI is attempting to exploit an anti-

     competitive clause in its lease that purportedly restricts Albright College from selling

     EBS spectrum licenses to telecommunication competitors of TDI – even though Third-

     Party WCO does not engage in the business of telecommunications and is not a

     competitor of TDI in that business arena and, by TDI’s assertion, Third-Party WCO

 never even made a bona fide offer to Albright for an EBS spectrum license. See ¶¶

 11-12 of the Declaration of Carl Katerndahl (attached as Exhibit B).

           3.     On that basis, through the Subpoena, TDI is seeking an exceedingly

 broad scope of highly sensitive documents from Third-Party WCO related to Third-

 Party WCO’s pursuit and acquisition of EBS spectrum licenses, which would provide

 TDI with a monumentally unfair business advantage over Third-Party WCO, stifling

 competition from Third-Party WCO and others like it for acquisition of EBS licenses,




 reserves, its right to object to specific requests and instructions if required to respond
 to the Subpoena.

                                                2
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25        Page 118 of 703 Page
                                      ID #:1805



 to allow TDI to acquire EBS licenses from schools at lower prices and ultimately

 provide less funds to the schools and students. The Court should quash the Subpoena

 because:

       4.     The Delaware Superior Court lacks jurisdiction to enforce the Subpoena

 because there are no documents of Third-Party WCO within the State of Delaware

 over which the Superior Court of Delaware possesses jurisdiction to enforce the

 Subpoena.

       5.     There is no actual controversy in the underlying case because the

 predicate acts, upon which the allegations of breach of contract are based, never

 occurred.

       6.     The Subpoena is a transparent attempt by TDI to improperly use third-

 party discovery to obtain an all-encompassing scope of confidential, highly sensitive

 business documents of Third-Party WCO regarding acquisition of EBS spectrum

 licenses, and for TDI to receive an unfair business advantage as a result.

       7.     The Subpoena is otherwise grossly overbroad on its face and far exceeds

 the bounds of fair discovery.

       8.     Third-Party WCO properly asserted its objections to the WCO Subpoena,

 which were not waived, which fundamental objections cannot be waived and which

 issues are properly and timely raised in this Motion.



                                            3
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25      Page 119 of 703 Page
                                        ID #:1806



 II.      PROCEDURAL AND FACTUAL BACKGROUND

     A.         TDI’s Contrived Complaint Against Albright College to Obtain
                Documents and Information About Third-Party WCO.

          9.      The Subpoena originates from a Berks County, Pennsylvania lawsuit (the

 “Berks County Action”) in which, by complaint filed on May 27, 2021, TDI sued

 Defendant Albright College (“Albright”) for an alleged breach of a March 2, 2007

 lease agreement between TDI and Albright regarding an EBS spectrum license owned

 by Albright, which license Third-Party WCO sought to acquire from Albright, subject

 to the rights of TDI under the lease agreement. 2 On July 7, 2021, TDI filed a First

 Amended TDI Complaint for Breach of Contract and Declaratory Judgment (the “TDI

 Complaint”), which is attached hereto as Exhibit C.

          10.     TDI generally alleges that, under its lease with Albright, (1) TDI has

 certain rights to receive information about Third-Party WCO from Albright because

 Third-Party WCO made an offer for an EBS spectrum license, and (2) TDI has a period

 of time to exercise a right of first refusal for any binding offer made to acquire the

 EBS spectrum license, which TDI never exercised.


 2
   Any references to TDI’s allegations in its pleadings are solely for illustrative
 purposes, and while TDI’s averments constitute judicial admissions with respect to
 TDI, binding TDI, and are referenced herein as such, WCO does not admit, accept
 or otherwise endorse any allegation of fact or conclusion of law in TDI’s TDI
 Complaint. WCO reserves all rights with respect to asserting, and opposing,
 factual allegations and legal arguments with respect to TDI’s pleadings or
 otherwise.
                                              4
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25       Page 120 of 703 Page
                                        ID #:1807



         11.     Critically, although TDI’s right of first refusal time period would have

 elapsed based on the date of offer, according to TDI, Third-Party WCO never

 actually made a bona fide binding offer to Albright that would trigger TDI’s right of

 first refusal, so the period for TDI to exercise its right has not expired – but then

 neither would it trigger TDI’s entitlement, if any, to documents or information

 regarding an offer.

         12.     Third-Party WCO never entered into a contract with Albright, and

 never acquired the EBS spectrum license. See ¶¶ 13-14 of the Declaration of Carl

 Katerndahl (attached as Exhibit B).

         13.     Albright has not yet filed an answer in the Berks County Action and can

 seek to dismiss the TDI Complaint on the basis of a demurrer or otherwise at any time.

         14.     Third-Party WCO anticipates the TDI Complaint will be dismissed in

 whole, or at least in part, on the basis of a demurrer, resulting in the dismissal of the

 Berks County Action in its entirety, or winnow the issues that require resolution, and

 thus eliminate or substantially narrow the scope of permissible discovery.

    B.         TDI’s Out-of-State Subpoena, Third-Party WCO’s Proper Service of
               Objections Thereto and Good Faith Meet-and-Confer Efforts.

         15.     With pleadings still open, TDI caused the Berks County, Pennsylvania

 Prothonotary to issue the Subpoena to Third-Party WCO on July 12, 2021. Counsel

 for TDI (“TDI Counsel”) subsequently filed the Subpoena in this Court on August


                                             5
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25       Page 121 of 703 Page
                                      ID #:1808



 6, 2021.

       16.    Attachment A to the Subpoena sets forth fifteen exceedingly broad

 categories of documents 3 (the “Document Requests”) that TDI demanded Third-

 Party WCO produce. Attachment A also included a set of definitions meant to inform

 and control the interpretation of the Document Requests, which applies

 Pennsylvania law to the Subpoena.

       17.    TDI states that it served the Subpoena on or about August 19, 2021

 (affidavit of service is attached hereto as Exhibit D), on Cogency Global, Inc., Third-

 Party WCO’s then-registered agent in Delaware (the “Registered Agent”).

       18.    Third-Party WCO never received notice from the Registered Agent

 regarding the Subpoena. See ¶¶ 8-9 of the Declaration of Carl Katerndahl (attached

 as Exhibit B).

       19.    Third-Party WCO learned of the Subpoena for the first time through an

 e-mail from TDI’s Counsel to Carl Katerndahl of Third-Party WCO, on September

 16, 2021, asserting responses were late, objections were waived and demanding a

 production. Id., ¶ 10 (attached as Exhibit B).

       20.    Upon further inquiry, Third-Party WCO was informed by the

 Registered Agent that:


 3
  References to specific Document Requests herein shall be identified as follows:
 “RFP #___.”
                                           6
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25      Page 122 of 703 Page
                                      ID #:1809



             a. The Registered Agent e-mailed a copy of the notice to Third-
             Party WCO’s prior counsel, DLA Piper, which firm was no longer
             employed by Third-Party WCO, and which e-mail was never opened
             by the recipient DLA Piper, according to the Registered Agent (a
             copy of the October 15, 2021 e-mail from the Registered Agent is
             attached hereto as Exhibit E); and

             b. The Registered Agent sent a copy to DLA Piper by FedEx which,
             presumably, was also never opened, particularly if the Registered
             Agent’s e-mail was never opened, and in any event was never
             provided to WCO.

 See ¶¶ 8-10 of the Declaration of Carl Katerndahl (Exhibits B, E).

       21.      In any event, Third-Party WCO never received a copy, or any notice,

 of the Subpoena from DLA Piper, the Registered Agent or anyone else prior to

 Thursday, September 16, 2021.

       22.      Promptly upon learning of the Subpoena for the first time, WCO

 forwarded the subpoena to its counsel, and on September 21, 2021, counsel for

 Third-Party WCO (“WCO Counsel”) e-mailed TDI Counsel, to request an

 agreement for the timeline to respond to the Subpoena, but did not receive a response

 from TDI Counsel.

       23.      On September 24, 2021, WCO Counsel again e-mailed TDI Counsel,

 but again did not receive a response from TDI Counsel.

       24.      On September 29, 2021, WCO Counsel again e-mailed TDI Counsel,

 to request a meet and confer discussion regarding the Subpoena.

       25.      TDI Counsel finally responded later that day, again erroneously

                                           7
  Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25    Page 123 of 703 Page
                                          ID #:1810



   asserting that a response was untimely and that Third-Party WCO waived its

   objections, but agreeing to discuss the Subpoena with WCO Counsel, without waiver

   or admission.

            26.     On September 30, 2021, without admission or waiver, WCO Counsel

   submitted thirteen specific objections to the Subpoena (the “WCO Objections”)

   (attached as Exhibit F). The WCO Objections are incorporated herein as if set forth

   at length.

            27.     WCO Counsel was thereafter in communication with TDI Counsel,

   telephonically and in writing, in an effort to resolve the issues regarding the WCO

   Objections, including, in good faith, and at TDI Counsel’s request, without waiver

   or admission, on further detailing detailed WCO’s positions, and demanded the

   subpoena be withdrawn, in a letter dated October 8, 2021 (attached as Exhibit G and

   incorporated herein as if set forth at length).

            28.     Despite Third-Party WCO’s request, TDI has refused to withdraw the

   Subpoena and Third-Party WCO has therefore been obligated to file this Motion.

III.   ARGUMENT

       A.         The Out-of-State Subpoena Cannot Be Enforced in Delaware
                  Because There Are No Documents of Third-Party WCO in
                  Delaware.

            29.     As a threshold matter, this Court lacks jurisdiction to enforce the

   Subpoena.

                                               8
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25        Page 124 of 703 Page
                                     ID #:1811



       30.    Typically, a subpoena for production of documents must issue from the

 jurisdiction where the documents are located. See Fed. R. Civ. P. 45(a)(2)(C).

       31.    The geographic limitation in Federal Rule 45(a)(2)(C), and in Delaware

 Rule 45 (a)(2), relates principally to the “location” of the documents to be produced,

 rather than the specified location on the subpoena.

       32.    When dealing with corporations located in multiple states, the proper

 inquiry for determining the validity of a subpoena for the production of documents

 is “whether the agent for service of process possesses the degree of control over the

 documents which would make it appropriate to enforce a subpoena over a

 corporation from a court in one state, when the corporation’s documents are located

 in another state.” Hallamore Corp. v. Capco Steel Corp., 259 F.R.D. 76, 79–80 (D.

 Del. 2009) (citing City of St. Petersburg v. Total Containment, Inc., 2008 WL

 1995298, at *3 (E.D. Pa. May 5, 2008)); see also AARP v. Am. Family Prepaid Legal

 Corp., Inc., 06 CVS 10216, 2007 WL 2570841, at *3–4 (N.C. Super. Feb. 23, 2007);

 Phillips Petroleum Co. v. OKC Ltd. P’ship, 634 So. 2d 1186 (La. 1994) (state courts

 had no statutory or other authority to compel a non-party corporation to attend or

 produce documents at a deposition to be held in the state).

       33.    Other than its registration, Third-Party WCO has no contacts with the

 State of Delaware.

       34.    Third-Party WCO maintains no records or documents and has no

                                           9
Case 2:23-cv-04347-AH-E       Document 149-3 Filed 05/30/25      Page 125 of 703 Page
                                       ID #:1812



 personnel within the State of Delaware over which this Court could exercise

 jurisdiction. See ¶¶ 5-7 of Exhibit B.

         35.     A registered agent alone does not provide the Court with the power to

 enforce a subpoena when there are no documents in Delaware. Even if a subpoenaed

 party “is registered and has an agent in Delaware, [if] the agent [does not] possess[]

 the degree of control over the documents which would allow this district to issue a

 subpoena for production of documents located in the Eastern District of

 Pennsylvania …. the subpoena as issued is invalid with respect to the document

 production command.” Hallamore Corp., 259 F.R.D. at 80.

         36.     Accordingly, where there are no documents of Third-Party WCO in

 Delaware, see ¶¶ 5-6 of Exhibit B, this Court is without jurisdiction to enforce the

 Subpoena and must therefore quash the Subpoena.

    B.         There Is No Actual Underlying Case in Controversy Upon
               Which Third-Party Discovery May Be Properly Based.

         37.     TDI bases its complaint, and entitlement to information about Third-

 Party WCO, on allegations that Albright breached terms in its lease with TDI that

 are triggered by a binding offer, agreement to purchase and/or acquisition of an EBS

 spectrum license, but none of these things has taken place.

         38.     According the TDI Complaint, Third-Party WCO never actually made

 a binding, bona fide offer to Albright to purchase an EBS spectrum license.


                                            10
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25         Page 126 of 703 Page
                                           ID #:1813



            39.     There was never a contract entered into between Third-Party WCO and

 Albright, for the purchase of an EBS spectrum license or otherwise, and Third-Party

 WCO never acquired the EBS spectrum license from Albright. See Exhibit B ¶¶ 12-

 13.

            40.     Lacking any binding offer (according to TDI), contract or acquisition

 of the subject EBS spectrum license, each of which are prerequisites for the

 contractual terms upon which TDI relies in the TDI Complaint, there is no basis for

 TDI’s claims, and no basis whatsoever to obtain third-party discovery thereupon.

       C.         The Subpoena Is an Improper Attempt to Obtain Highly
                  Confidential Business Records of Third-Party WCO.

            41.     When a subpoena seeks the discovery of confidential commercial

 information, as TDI’s does, TDI must demonstrate, pursuant to Super. Ct. Civ. R.

 45(c)(3)(B), a “substantial need” for such confidential commercial information.

            42.     Particularly in light of the lack of an underlying case in controversy that

 would provide a legitimate basis for any discovery, there is no need whatsoever for

 Third-Party WCO’s confidential commercial information.

            43.     The Document Requests are really a calculated effort by TDI to invade

 Third-Party WCO’s most sensitive, highly confidential and commercially sensitive

 business practices regarding the acquisition and/or use of any EBS spectrum license.

 See, e.g., RFPs nos. 11-15.


                                                 11
Case 2:23-cv-04347-AH-E       Document 149-3 Filed 05/30/25       Page 127 of 703 Page
                                       ID #:1814



       44.      In fact, TDI’s claims in the Berks County Action appear so contrived

 as to suggest that the real purpose of TDI’s prosecution of the Berks County Action

 against Albright is (1) to obtain, through the overly broad scope of the Subpoena,

 highly confidential information of Third-Party WCO, and, (2) to deter Third-Party

 WCO and other spectrum buyers and other educational institutions from engaging

 in future transactions for such licenses, so TDI can acquire and utilize them more

 cheaply and easily to the detriment of educational institutions and students.

       45.      TDI, by judicial admission, seeks to acquire, and has acquired, the same

 EBS spectrum licenses as Third-Party WCO, as it avers in the TDI Complaint and,

 while Third-Party WCO does not operate as a telecommunication company or

 compete in that marketplace with TDI, both TDI and Third-Party WCO compete to

 acquire the same EBS spectrum licenses. See Exhibit B, at ¶¶’s 38-58.

       46.      Through the Subpoena, TDI is seeking every document of Third-Party

 WCO related to those same EBS spectrum license transactions, and countless other

 documents, representing hundreds of thousands of documents (and related ESI),

 imposing an expensive and undue burden upon Third-Party WCO in a case where it is

 not even a party.

       47.     Specifically, by example and without limitation, the Document

 Requests seek:

             a. RFP #11 – all documents concerning Third-Party WCO’s actual,

                                            12
Case 2:23-cv-04347-AH-E       Document 149-3 Filed 05/30/25      Page 128 of 703 Page
                                       ID #:1815



             proposed, planned or contemplated acquisition or use of any EBS
             and BRS spectrum license;

             b. RFPs #12-15 – all documents concerning various statements
             made by Third-Party WCO in communications with Albright which
             are not limited in scope and which could result in the required
             production of all documents and records in the possession of Third-
             Party WCO.

       48.      Courts, both those applying the Delaware Rules, as well as those

 applying the analogous Federal Rules, protect third parties in similar situations by

 quashing, or substantially limiting, subpoenas seeking to force a non-party to

 produce operationally sensitive information to another business in the same

 marketplace, such as TDI and Third-Party WCO as it concerns the acquisition of

 EBS spectrum licenses. See Anaqua, Inc. v. Bullard, 2015 WL 2208978 (Del. Super.

 May 11, 2015) (quashing in part and modifying in part an out-of-state subpoena

 directed to a third-party that sought the production of confidential information);

 Atlantech, Inc. v. American Panel Corp., 2011 WL 2078222 (E.D. Mich. 2011)

 (quashing third-party subpoena seeking the production of confidential commercial

 information to a party who operated in the same marketplace); Cytodyne

 Technologies, Inc. v. Biogenic Technologies, Inc., 216 F.R.D. 533 (M.D. Fla. 2003)

 (granting motion to quash on grounds that a party’s subpoena to a third-party sought

 irrelevant confidential and proprietary information that, if disclosed, would give the

 party an unfair advantage).


                                           13
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25      Page 129 of 703 Page
                                        ID #:1816



         49.     Indeed, courts have acknowledged that disclosure of confidential

 information to another business in the same marketplace is presumed to be harmful

 to the disclosing entity. See American Standard, Inc. v. Pfizer Inc., 828 F.2d 734,

 741 (Fed. Cir. 1987) and cases cited therein.

    D.         The Subpoena Is Unduly Burdensome, Without Limitation,
               Unlimited in Scope, Overbroad and Otherwise Improper.

         50.     The party propounding a subpoena has an affirmative obligation to “take

 reasonable steps to avoid imposing undue burden or expense on a person subject to

 that subpoena.” Super. Ct. Civ. R. 45(c)(1).

         51.     “When a subpoena should not have been issued, literally everything

 done in response to it constitutes ‘undue burden or expense.’” Builders Ass’n of

 Greater Chicago v. City of Chicago, 2002 WL 1008455, at *4 (N.D. Ill. May 13,

 2002).

         52.     Likewise, a third-party should not be burdened by producing documents

 when the subpoenaed information can be secured from a party to the underlying

 litigation. See, e.g., Gemalto, Inc. v Merchant Customer Exchanges LLC, 2015 WL

 5168261, at *2 (Del. Super. Sept. 3, 2015) (“[recipient of subpoena] should not be

 placed in a position of providing discovery that is duplicative, cumulative or could

 more conveniently and reasonably be located in the possession of [a party litigant]”);

 LVI Group Invs. LLC v. NCM Grp Holdings, LLC, C.A. No. 12067-VCG (Del. Ch.


                                            14
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25         Page 130 of 703 Page
                                        ID #:1817



 June 23, 2017) (transcript) (“...any burden on Alcoa of producing these documents,

 in light of the fact that they are all communications with a party and that that party

 should have them all, leads me to find that that burden would be unreasonable.”).

       53.      The documents TDI seeks are more conveniently in the possession of

 Albright, and TDI should at least be required to first seek the documents from

 Albright or another more convenient source before burdening Third-Party WCO.

       54.      The Subpoena is further riddled with infirmities that militate in favor

 of quashing the Subpoena.

             a. Even as averred in TDI’s complaint, the Document Requests have
             little relevance to the actual claims being asserted in the Berks County
             Action, as set forth above, are instead crafted to invade the most
             sensitive business information of a competing participant in the
             market for EBS spectrum licenses.

             b. None of the Document Requests contain any temporal limitation
             and seek, for example, related to Gary Winnick’s companies (RFP
             #15), which necessarily span decades.

             c. The Document Requests also seek extensive documents that are
             subject to the attorney-client privilege and/or the work product
             doctrine, such as requests seeking everything related to legal
             documents, including contracts, offers and licenses.

             d. The Document Requests require legal conclusions, such as
             interpreting the terms of TDI’s agreement with Albright.

       55.      In fact, because the Berks County Action is still in the pleading stage,

 Third-Party WCO is not even reasonably able to discern the full, final claims and

 defenses in the Berks County Action, which establish the bounds of what discovery

                                              15
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25     Page 131 of 703 Page
                                        ID #:1818



 is appropriate.

    E.          Third-Party WCO Has Not Waived Its Objections, and Its
                Objections Are Not Waivable, Which Compel This Court to
                Quash the Subpoena.

          56.     TDI cannot trample the rights of Third-Party WCO on a procedural

 basis by insisting that the WCO Objections have been waived, particularly given the

 fundamental failures surrounding the Subpoena, through no fault of its own.

          57.     Third-Party WCO never received notice of the Subpoena from the

 Registered Agent or anyone else prior to September 16, 2021, and at all times acted

 promptly and in good faith, and the WCO Objections should be heard on an equitable

 basis. See Ex. C §§ 8-9.

          58.     The WCO Objections further cannot be waived, and are not waived,

 because this Court lacks jurisdiction over the Subpoena and, further, the

 circumstances here are unusual and Third-Party WCO has acted at all times in good

 faith.

          59.     Jurisdictional defects emanating from a subpoena issued in the wrong

 court, is the case here, cannot be waived. See Doe I. v. Pauliewalnuts, 2008 WL

 4326473, at *3 (W.D. Va. Sept. 19, 2008); Kupritz v. Savannah Coll. of Art and

 Design, 155 F.R.D. 84, 88 (E.D. Pa. 1994) (“The subpoena issued from the wrong

 court and, although a timely motion to quash would have been the preferable

 procedure, this court lacks jurisdiction to enforce it.”).

                                            16
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25        Page 132 of 703 Page
                                      ID #:1819



       60.    Even if there is not compliance with the timeline for service of

 objections to a Rule 45 subpoena duces tecum, “[i]n unusual circumstances and for

 good cause, ... the failure to act timely will not bar consideration of objections [to a

 Rule 45 subpoena].” McCoy v. Southwest Airlines Co., Inc., 211 F.R.D. 381, 385

 (C.D. Cal. 2002) (citations and internal quotation marks omitted);

       61.    Courts have found unusual circumstances where, for instance, (i) the

 subpoena is overbroad on its face and exceeds the bounds of fair discovery and (ii)

 the subpoenaed witness is a non-party acting in good faith. See McCoy, 211 F.R.D.

 at 385; American Elec. Power Co. v. United States, 191 F.R.D. 132, 136 (S.D. Oh.

 1999); In re Motorsports Merchandise Antitrust Lit., 186 F.R.D. 344, 349 (W.D. Va.

 1999); Alexander v. Federal Bureau of Invest., 186 F.R.D. 21, 34 (D. D.C. 1998);

 Concord Boat Corp. v. Brunswick Corp., 169 F.R.D. 44, 48 (S.D.N.Y. 1996).

       62.    As set forth above, such unusual circumstances exist in this case not

 only because this Court lacks jurisdiction to enforce the Subpoena, and there is no

 actual case in controversy in the underlying action, but also because the Subpoena

 improperly seeks confidential business information, is grossly overbroad on its face,

 far exceeds the bounds of fair discovery and the burdens that can properly be

 imposed upon a third-party to litigation, all of which was set forth in the WCO

 Objections and elsewhere.

       63.    Third-Party WCO has acted in good faith at all times.

                                           17
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25     Page 133 of 703 Page
                                    ID #:1820



       64.   Through no fault of its own, neither the Registered Agent, nor anyone

 else, notified, informed or provided a copy to Third-Party WCO of the Subpoena,

 until September 16, 2021, and Third-Party WCO then proceeded promptly,

 expeditiously and in good faith since that time, including engaging in meet and

 confer communications with TDI. See Ex. C §§ 8-9.

       65.   This Motion is properly and timely filed (particularly where the

 Subpoena did not provide a response or production date), the WCO Objections were

 properly asserted, cannot be waived and are before this Court, and the Subpoena

 must be quashed accordingly.

       WHEREFORE, based on the foregoing, Third-Party WCO respectfully

 requests that this Court GRANT its Motion to Quash or Modify the Subpoena and

 enter an order in the form proposed.

 Dated: October 21, 2021                  BIELLI & KLAUDER, LLC

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                                        18
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 134 of 703 Page
                                   ID #:1821




                          Exhibit 3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 135 of 703 Page
                                   ID #:1822
                                               EFiled: Dec 16 2021 04:12PM EST
                                               Transaction ID 67174202
                                               Case No. K21M-08-007 JJC
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 136 of 703 Page
                                   ID #:1823




                          Exhibit 4
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 137 of 703 Page
                                   ID #:1824
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 138 of 703 Page
                                   ID #:1825
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 139 of 703 Page
                                   ID #:1826
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 140 of 703 Page
                                   ID #:1827
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 141 of 703 Page
                                   ID #:1828
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 142 of 703 Page
                                   ID #:1829
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 143 of 703 Page
                                   ID #:1830
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 144 of 703 Page
                                   ID #:1831
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 145 of 703 Page
                                   ID #:1832
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 146 of 703 Page
                                   ID #:1833
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 147 of 703 Page
                                   ID #:1834
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 148 of 703 Page
                                   ID #:1835
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 149 of 703 Page
                                   ID #:1836
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 150 of 703 Page
                                   ID #:1837
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 151 of 703 Page
                                   ID #:1838
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 152 of 703 Page
                                   ID #:1839
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 153 of 703 Page
                                   ID #:1840
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 154 of 703 Page
                                   ID #:1841
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 155 of 703 Page
                                   ID #:1842
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 156 of 703 Page
                                   ID #:1843
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 157 of 703 Page
                                   ID #:1844
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 158 of 703 Page
                                   ID #:1845
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 159 of 703 Page
                                   ID #:1846
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 160 of 703 Page
                                   ID #:1847
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 161 of 703 Page
                                   ID #:1848
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 162 of 703 Page
                                   ID #:1849
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 163 of 703 Page
                                   ID #:1850
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 164 of 703 Page
                                   ID #:1851
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 165 of 703 Page
                                   ID #:1852
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 166 of 703 Page
                                   ID #:1853
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 167 of 703 Page
                                   ID #:1854




                          Exhibit 5
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 168 of 703 Page
                                   ID #:1855
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 169 of 703 Page
                                   ID #:1856
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 170 of 703 Page
                                   ID #:1857
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 171 of 703 Page
                                   ID #:1858
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 172 of 703 Page
                                   ID #:1859
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 173 of 703 Page
                                   ID #:1860
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 174 of 703 Page
                                   ID #:1861
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 175 of 703 Page
                                   ID #:1862
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 176 of 703 Page
                                   ID #:1863
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 177 of 703 Page
                                   ID #:1864




                          Exhibit 6
Case 2:23-cv-04347-AH-E                  Document 149-3 Filed 05/30/25                            Page 178 of 703 Page
                                                  ID #:1865

  From:               Jenna Smalley
  To:                 "PSchuchman@kozloffstoudt.com"
  Cc:                 Brown, Kenneth; Mandernach, Christopher; Hurley, Denis; Eric Schreiner; Steve Engelmyer
  Subject:            TDI Acquisition Sub LLC v. Albright College, Berks County CCP, No. 21-04881
  Date:               Thursday, July 22, 2021 10:35:23 AM
  Attachments:        image001.jpg
                      image002.jpg
                      image003.png
                      image004.png
                      Berks Co. Subpoena Package to Academia Spectrum, LLC (2021-07-22).pdf


  SENT ON BEHALF OF ERIC J. SCHREINER, ESQ.

  Mr. Schuchman:

  Attached please find a Notice of Intent to Serve Subpoena to Produce Documents or Things for
  Discovery Pursuant to Rule 4009.22, with the proposed subpoena attached. Kindly advise if you will
  agree to waive the 20-day notice period. You will also receive a hard copy of the attached via Federal
  Express.

  Thank you,




  Jenna Smalley
  Paralegal
  Kleinbard LLC


  Three Logan Square, 5th Floor
  1717 Arch Street |Philadelphia, PA 19103
  D | 267.443.4108
  F | 215.568.0140
  E | jsmalley@kleinbard.com
  W| www.kleinbard.com
                                   Best 2021




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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 179 of 703 Page
                                   ID #:1866




                          Exhibit 7
                                                                                                         Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25             Page 180 of 703 Page
                                                                                                                                                     ID #:1867



                                                                                                           KLEINBARD LLC
                                                                                                           By: Steven J. Engelmyer, PA ID No. 42840
                                                                                                           sengelmyer@kleinbard.com
                                                                                                           Eric J. Schreiner, PA ID No. 76721
                                                                                                           eschreiner@kleinbard.com
                                                                                                           Three Logan Square
                                                                                                           1717 Arch Street, 5th Floor
                                                                                                           Philadelphia, PA 19103
                                                                                                           Telephone: 215-568-2000
                                                                                                           Attorneys for Plaintiff
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881




                                                                                                           TDI Acquisition Sub LLC



                                                                                                           TDI ACQUISITION SUB LLC,                           :   IN THE COURT OF COMMON PLEAS
                                                                                                                                                              :   OF BERKS COUNTY, PENNSYLVANIA
                                                                                                                     Plaintiff,                               :
                                                                                                                                                              :
                                                                                                           v.                                                 :   CIVIL ACTION/DECLARATORY
                                                                                                                                                              :   JUDGMENT
                                                                                                           ALBRIGHT COLLEGE,                                  :
                                                                                                                                                              :   NO. 21-04881
                                                                                                                     Defendant.                               :
                                                                                                                                                              :
                                                                                                                                                              :
                                                                                                                                                              :

                                                                                                                CERTIFICATE PREREQUISITE TO SERVICE OF SUBPOENA TO PRODUCE
                                                                                                                DOCUMENTS OR THINGS FOR DISCOVERY PURSUANT TO RULE 4009.22


                                                                                                                   As a prerequisite to service of a subpoena for documents and things pursuant to Rule

                                                                                                          4009.22, Plaintiff, TDI Acquisition Sub LLC, certifies that:

                                                                                                                   1.       A Notice of Intent to Serve the Subpoena with a copy of the Subpoena attached

                                                                                                          thereto was mailed or delivered to Defendant Albright College at least twenty (20) days prior to

                                                                                                          the date on which the Subpoena is sought to be served;

                                                                                                                   2.       A copy of the Notice of Intent, including the proposed Subpoena, is attached to this

                                                                                                          Certificate as “Exhibit A”;

                                                                                                                   3.       No objection to the Subpoena has been received; and


                                                                                                          {02122848;v1 }
                                                                                                         Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 181 of 703 Page
                                                                                                                                                    ID #:1868



                                                                                                                   4.      The Subpoena that will be served is identical to the Subpoena that is attached to the

                                                                                                          Notice of Intent to serve the Subpoena, except that it will be converted to a Virginia subpoena

                                                                                                          form in accordance with Virginia law because the subpoena will be served in that state pursuant

                                                                                                          to the Uniform Interstate Depositions and Discovery Act, as adopted by the Commonwealth of

                                                                                                          Virginia, Va. Code § 8.01-412.10.
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881




                                                                                                          Dated: August 13, 2021                         /s/ Eric J. Schreiner
                                                                                                                                                         Steven J. Engelmyer, Esq. (ID No. 42840)
                                                                                                                                                         Eric J. Schreiner, Esq. (ID No. 76721)
                                                                                                                                                         1717 Arch Street, 5th Fl.
                                                                                                                                                         Three Logan Square
                                                                                                                                                         Philadelphia, PA 19103
                                                                                                                                                         Telephone: 215-568-2000
                                                                                                                                                         Facsimile: 215-568-0140
                                                                                                                                                         sengelmyer@kleinbard.com
                                                                                                                                                         eschreiner@kleinbard.com

                                                                                                                                                         WILLIAMS & CONNOLLY LLP
                                                                                                                                                         Kenneth J. Brown*
                                                                                                                                                         Christopher J. Mandernach*
                                                                                                                                                         Thomas K. White*
                                                                                                                                                         Denis R. Hurley*
                                                                                                                                                         725 Twelfth Street, N.W.
                                                                                                                                                         Washington, DC 20005
                                                                                                                                                         Telephone: (202) 434-5000
                                                                                                                                                         kbrown@wc.com
                                                                                                                                                         cmandernach@wc.com
                                                                                                                                                         twhite@wc.com
                                                                                                                                                         dhurley@wc.com
                                                                                                                                                         * application for admission pro hac vice
                                                                                                                                                         forthcoming

                                                                                                                                                         Attorneys for TDI Acquisition Sub LLC




                                                                                                          {02122848;v1 }
                                                                                                         Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 182 of 703 Page
                                                                                                                                                    ID #:1869



                                                                                                                                            CERTIFICATE OF SERVICE


                                                                                                                   I, Eric J. Schreiner, Esq., hereby certify that on this 13th day of August, 2021, I caused a

                                                                                                          true and correct copy of the foregoing Notice of Intent to Serve Subpoena to Produce Documents

                                                                                                          and Things for Discovery Pursuant to Rule 4009.22 to be served upon the following counsel via

                                                                                                          email and first-class mail:
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881




                                                                                                                                          Peter F. Schuchman, Esq.
                                                                                                                                          Kozloff Stoudt, P.C.
                                                                                                                                          2640 Westview Dr.
                                                                                                                                          Wyomissing, PA 19610
                                                                                                                                          Attorney for Defendant Albright College


                                                                                                                                                         /s/ Eric J. Schreiner
                                                                                                                                                         Eric J. Schreiner, Esq.




                                                                                                          {02122848;v1 }
                                                                                                         Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 183 of 703 Page
                                                                                                                                            ID #:1870
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881




                                                                                                                           EXHIBIT A




                                                                                                          {02122848;v1 }
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
                                                                                                                  ID #:1871
                                                                                                         Document 149-3 Filed 05/30/25
                                                                                                                       Page 184 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
                                                                                                                  ID #:1872
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                                                                                                                       Page 185 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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                                                                                                                       Page 191 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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                                                                                                                       Page 192 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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                                                                                                                       Page 193 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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                                                                                                                       Page 194 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
                                                                                                                  ID #:1882
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                                                                                                                       Page 195 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
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                                                                                                                       Page 196 of 703 Page
Received County of Berks Prothonotary’s Office on 08/13/2021 10:39 AM Prothonotary Docket No. 21-04881                 Case 2:23-cv-04347-AH-E
                                                                                                                  ID #:1884
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                                                                                                                       Page 197 of 703 Page
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 198 of 703 Page
                                   ID #:1885




                          Exhibit 8
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 199 of 703 Page
                                   ID #:1886
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 200 of 703 Page
                                   ID #:1887
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 201 of 703 Page
                                   ID #:1888
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 202 of 703 Page
                                   ID #:1889




                          Exhibit 9
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 203 of 703 Page
                                          ID #:1890



 ____________________________________
                                       :
  TDI Acquisition Sub, LLC,            :
                                       :
           Plaintiff,                  :
                                       :
                v.                     :
                                       :
  Albright College,                    :
                                       :
           Defendant.                  :
  ____________________________________ :

                                 OBJECTIONS TO SUBPOENA

        Academia Spectrum, LLC (“Respondent”) hereby objects to the subpoena (the

 “Subpoena”), issued by Plaintiff, TDI Acquisition Sub, LLC (“Plaintiff”), in regard to the matter

 of TDI Acquisition Sub, LLC v. Albright College, and Respondent avers as follows:

        1.      These Objections are made with respect to the Plaintiff’s Subpoena and each and

 every definition, instruction, and request contained therein. The assertion of the same, similar, or

 additional objections does not waive any of Respondent’s Objections.

        2.      Respondent objects to Plaintiff’s Subpoena because the issuing Court lacks

 jurisdiction over the matter.

        3.      Respondent objects to Plaintiff’s Subpoena because it is facially defective, and

 fails to conform to the applicable Rules of Civil Procedure.

        4.      Respondent objects to Plaintiff’s Subpoena due to ineffective and improper

 service.

        5.      Respondent objects to Plaintiff’s definitions, instructions and Document Requests

 (collectively referred to as “Document Requests”) in the Subpoena to the extent that they seek to

 impose unfair, overly broad and/or unreasonable obligations upon Respondent beyond the

 requirements of the applicable Rules of Civil Procedure and any other applicable rule or law.
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 204 of 703 Page
                                           ID #:1891



        6.      Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 disclosure of information protected from discovery by the attorney-client privilege, work-product

 doctrine, spousal privilege, self-critical analysis or investigative privilege, consulting expert

 exemption or any other privilege or exemption, or to the extent the Document Requests seek

 disclosure of confidential, proprietary or trade secret information protected from disclosure by

 applicable law. To the extent that any information is inadvertently provided, which information

 is properly the subject of the attorney-client privilege or the work-product privilege, such

 disclosure is not to be construed as a waiver of the attorney-client privilege or the work-product

 privilege. In the event that inadvertent disclosure occurs, Plaintiff shall make no use of the

 contents thereof, nor premise any further discovery on information learned therefrom.

        7.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 inaccurate, ambiguous, misleading or argumentative, assume facts that have no evidentiary basis,

 are unduly vague and incomprehensible or are unreasonably cumulative or duplicative.

        8.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 irrelevant and/or seek information not reasonably calculated to lead to the discovery of

 admissible evidence.

        9.      Respondent objects to Plaintiff’s Document Requests to the extent that they call

 for or seek legal conclusions and/or analysis.

        10.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 documents and/or information not within Respondent’s knowledge, possession, custody or

 control.

        11.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 any document and/or information that is readily available to Plaintiff from its own records, from



                                                   2
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 205 of 703 Page
                                          ID #:1892



 a party to the litigation or is obtainable from publicly available sources that are more convenient,

 less burdensome and/or less expensive than if obtained from Respondent.

        12.     By objecting to Plaintiff’s Document Requests, Respondent specifically does not

 waive any rights under applicable statutes or laws, and does not consent to any court’s

 jurisdiction. No incidental or implied admissions are intended by the responses herein. The fact

 that Respondent has objected to any Document Request herein is not intended and shall not be

 construed as a waiver of any part of any objection, whether general or specific. In particular,

 Respondent does not in any way waive any objection but, rather, intends to preserve and does

 preserve all objections as to competency, relevancy, materiality and admissibility, any right to

 object to any use of the responses herein in any subsequent proceedings, including the trial of

 this or any action, all objections to vagueness, broadness and ambiguity, and all rights to object

 on any ground to any further discovery in this action.

        13.     Respondent expressly reserves its right to supplement or modify its objections

 with such pertinent information as it may hereafter discover and will do so to the extent required

 by the applicable Rules of Civil Procedure and any other applicable rule or law. Respondent also

 expressly reserves the right to raise supplemental objections.




                                                  3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 206 of 703 Page
                                   ID #:1893




                          Exhibit 10
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 207 of 703 Page
                                          ID #:1894



                      IN THE CIRCUIT COURT OF VIRGINIA BEACH
                                   CIVIL DIVISION


  TDI ACQUISITION SUB, LLC,                           FOREIGN SUBPOENA IN A CIVIL
                                                      ACTION
                 Plaintiff,
                                                      No. CL21-3972
  v.
                                                      C.A. No. 21-04481
  ALBRIGHT COLLEGE,                                   (pending in Berks County, Pennsylvania)

                 Defendant.


                              DECLARATION OF DENIS R. HURLEY

 I, Denis R. Hurley, state as follows:

        1.      I am over the age of 18 and understand the meaning of an oath. The statements set

 forth herein are based on my personal knowledge.

        2.      I am an associate employed at Williams & Connolly LLP, one of the law firms of

 record for Plaintiff TDI Acquisition Sub LLC (“TDI”) in the action TDI Acquisition Sub LLC v.

 Albright College, No. 21-04481, currently pending in the Court of Common Pleas, Berks County,

 Pennsylvania (“the Pennsylvania action”), and in this miscellaneous action before the Circuit Court

 of Virginia Beach.

        3.      I make this declaration in support of TDI Acquisition Sub LLC’s Opposition To

 Academia Spectrum LLC’s Motion to Quash and Objection to Foreign Subpoena Duces Tecum.

        4.      As one of the attorneys of record for TDI, I participated in a meet and confer call

 on October 5, 2021, between counsel for TDI and counsel for Academia Spectrum LLC

 (“Academia”) with respect to the subpoena served on Academia on September 8, 2021, in the

 above-captioned case (“the Subpoena”).
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25                Page 208 of 703 Page
                                         ID #:1895



        5.       During that phone call, counsel for TDI, including myself, asked counsel for

 Academia to offer specific objections to the particular document requests in the Subpoena.

 Counsel for Academia refused to offer any objections to the particular document requests. Counsel

 for Academia still has not communicated any such objections.

        6.       During the same October 5, 2021 meet and confer call, counsel for Academia

 accused TDI of litigating in bad faith and abusing the discovery process.

        7.       During the same October 5, 2021 meet and confer call, Academia erroneously

 stated that TDI has not attempted to request pertinent documents from Albright College

 (“Albright”), Defendant in the Pennsylvania action.

        8.       In the course of discovery in the Pennsylvania action, TDI served document

 requests on Albright on July 8, 2021. On September 7, 2021, counsel for Albright stated that

 Albright had already provided to TDI all responsive documents in its possession, custody, or

 control.



        I declare under penalty of perjury that the foregoing is true and correct to the best of my

 knowledge, information, and belief.



  Dated:     1/7/2022
                                               Denis R. Hurley
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 209 of 703 Page
                                   ID #:1896




                          Exhibit 11
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25            Page 210 of 703 Page
                                           ID #:1897
                                    MITTS LAW, LLC
                                        1822 Spruce Street
                               Philadelphia, Pennsylvania 19103
                              Tel: (215) 866-0110 Fax: (215) 866-0111
     mmitts@mittslaw.com
     mduffy@mittslaw.com
     Phone: 215.866.0110
     Fax: 215.866.0111

                                                       October 8, 2021

 VIA ELECTRONIC MAIL (to: dhurley@wc.com)
 Denis R. Hurley, Esq.
 Williams & Connolly LLP
 725 Twelfth Street, N.W.
 Washington, DC 20005

 Re:        Subpoenas Issued to WCO Spectrum, LLC and Academia Spectrum, LLC
            TDI Acquisition Sub, LLC v. Albright College
            Court of Common Pleas of Berks County, Pennsylvania, Case No. 21-04481

 Dear Mr. Hurley:

         We are writing in response to your request for a further written statement of the positions
 of our clients, WCO Spectrum, LLC (“WCO”) and Academia Spectrum, LLC (“Academia”),
 with respect to the subpoenas of TDI Acquisition Sub, LLC (“TDI” or “T-Mobile”) issued to
 WCO and Academia in the matter of TDI Acquisition Sub, LLC v. Albright College out of the
 Court of Common Pleas of Berks County, Pennsylvania, Case No. 21-04481 (the “Berks County
 Action”). 1 This is without waiver or admission, and reservation of rights, concerning any
 previously asserted objections or otherwise, and is a courtesy, good faith response to TDI’s
 inquiry through the course of the meet-and-confer process in which the parties are engaged.
         TDI cannot trample the rights of a non-party on a procedural basis by insisting all
 objections were waived and thereby foreclose any challenge to an otherwise unenforceable
 subpoena. WCO’s objections to the WCO Subpoena are properly asserted, are not waived and
 must be resolved by a court, which would ultimately result in TDI’s subpoena being rendered
 unenforceable. WCO properly and timely contacted TDI’s counsel upon learning of the WCO
 Subpoena and further detailed objections to the WCO Subpoena on September 30, 2021 (the
 “WCO Objections,” a copy of which is appended hereto as Exhibit “3”).



 1
   Specifically, (1) the subpoena to produce documents or things issued to WCO on July 12, 2021
 in the Berks County Action, upon which an out-of-state subpoena was issued in the Superior
 Court of Delaware on August 6, 2021, Case ID No. K21M-08-007 ( the “WCO Subpoena”), a
 copy of which is appended hereto as Exhibit “1;” and (2) the subpoena to produce documents or
 things issued to Academia on July 22, 2021 in the Berks County Action, upon which a foreign
 subpoena was issued in the Virginia Beach, Virginia Circuit Court on August 23, 2021, Case No.
 CL21003972-00 (the “Academia Subpoena”), a copy of which is appended hereto as Exhibit “2.”
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 211 of 703 Page
                                         ID #:1898
Denis R. Hurley, Esq.
October 8, 2021
Page 2

         Regardless of the timing of the service of the objections, WCO’s Objections cannot be
 waived because the circumstances here are unusual and WCO has acted at all times in good faith.
 The circumstances here are unusual particularly because the Delaware Superior Court lacks
 jurisdiction to enforce the WCO Subpoena, and the WCO Subpoena otherwise violates basic
 principles of third-party discovery, being overbroad on its face and far exceeding the bounds of
 fair discovery.
        Critically, as set forth in the WCO Objections, and as a threshold matter, the Superior
 Court of Delaware does not have jurisdiction to enforce the WCO Subpoena. There are no
 documents of WCO within the State of Delaware over which the Superior Court of Delaware
 may exercise jurisdiction. Necessarily, there are no documents in Delaware responsive to any
 request within the WCO Subpoena. Notwithstanding the foregoing, WCO is in possession of
 documents outside of Delaware responsive to certain of TDI’s all-encompassing, overbroad and
 improper requests, in the State of California – which documents are outside of the subpoena
 power of the Superior Court of Delaware, and not subject to production there. The WCO
 Subpoena cannot be enforced by the Superior Court of Delaware.
        The WCO Subpoena is facially defective, for example lacking any date and time as to
 when a production is due, and intermingling instructions and rules of discovery under Delaware
 and Pennsylvania law in a manner that is fatally contradictory and confusing. A non-party
 cannot be expected to untangle the applicable rules and procedures surrounding a document it
 received concerning out-of-state third-party litigation, particularly where such divination is
 ultimately impossible, as is the case here.
         None of the requests in the WCO Subpoena contain any limitation in time. Lacking that
 limitation in time, the WCO Subpoena seeks documents, for example, related to Gary Winnick’s
 companies (request no. 15), which necessarily spans decades. WCO’s requests seek documents
 subject to attorney-client privilege and are attorney work product, such as requests seeking
 everything related to legal documents, including contracts, offers and licenses. WCO’s requests
 require legal conclusions, such as interpreting the terms of WCO’s agreement with Albright
 College. WCO’s requests seek privileged documents concerning all of these subjects and
 otherwise. All of this far exceeds the bounds of fair discovery and is otherwise impermissible.
         TDI is improperly seeking, at the first instance, discovery from non-parties, which should
 not be unduly burdened with discovery that could be, and should be, first obtained through party
 discovery in the Berks County Action, and is otherwise already available to TDI through other
 sources. WCO is not even reasonably able to discern the claims and defenses in the Berks
 County Action, which establish the bounds of what discovery is appropriate. TDI has already
 amended its complaint once in apparent response to preliminary objections. It remains
 undecided by the court whether TDI’s claims will be allowed to proceed past a potential
 subsequent demurrer or, if so, to what extent. Instead of placing this unclear, unfair burden on a
 non-party such as WCO, TDI should not be entitled to seek any third-party discovery until at
 least the close of pleadings in the Berks County Action, and then only to the extent it cannot
 obtain such discovery first from parties to the Berks County Action or other sources.
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 212 of 703 Page
                                         ID #:1899
Denis R. Hurley, Esq.
October 8, 2021
Page 3

         Disturbingly, the requests in the WCO Subpoena generally seek to invade WCO’s most
 sensitive, highly confidential business practices, such as all documents and communications
 concerning WCO’s actual, proposed, planned or contemplated acquisition or use of any EBS and
 BRS spectrum license (request no. 11). As TDI knows, acquisition of such spectrum licenses is
 a central component of WCO’s business operations. TDI is thereby demanding WCO produce
 effectively every document related to WCO’s business. There can be no greater overreach.
         Even with the claims as presently stated in TDI’s first amended complaint, it paints a
 deeply troubling picture of an underlying purpose to wrongfully stifle fair competition, which
 impairs any entitlement by TDI to the discovery it seeks. T-Mobile is, by judicial admission in
 the pleadings in the Berks County Action, a counterparty to bidding on and acquiring the same
 EBS spectrum licenses as WCO. T-Mobile also leases and utilizes such spectrum bands.
 Through the WCO Subpoena, T-Mobile is seeking an exceedingly broad scope of documents
 from WCO related to those transactions, which would provide T-Mobile with a monumentally
 unfair competitive advantage over WCO.
          The claims of T-Mobile in the Berks County Action appear so contrived as to suggest
 that the real purpose may be of initiating the Berks County Action is (1) to obtain, through
 discovery, highly confidential information of a fellow bidder for such spectrum licenses, to
 which T-Mobile would otherwise have no entitlement, and (2) to deter WCO and other spectrum
 buyers and other educational institutions from engaging in future transactions for such licenses,
 so T-Mobile can utilize and acquire them more cheaply and easily. To that end, T-Mobile seeks
 to stifle competition for acquisition of such spectrum licenses and place a chilling effect on the
 willingness of educational institutions to sell such licenses to anyone other than T-Mobile. That
 not only undermines basic principles of a free market, but it undermines the FCC’s intent in
 deregulating the EBS spectrum and allowing educational institutions to sell their licenses to other
 parties.
         Ultimately, T-Mobile's actions here will ensure that the schools will receive less money
 for their licenses, thereby causing harm to the schools and their students - who are the intended
 beneficiaries of the FCC’s actions - while at the same time, T-Mobile enriches itself. Certainly,
 T-Mobile is not entitled to obtain effectively all of WCO’s business documentation through the
 WCO Subpoena for that purpose.
         At all times WCO, a non-party to the Berks County Action, has acted in good faith.
 WCO properly asserted, and has not waived, all of its objections to the WCO Subpoena. WCO’s
 objections, including, but not necessarily limited to, the above objections, were previously
 asserted and served upon TDI in the WCO Objections and otherwise.
         All of the above objections apply equally, and at times more so, to the Academia
 Subpoena, which is even broader and more inappropriate. Academia’s objections include, but
 are not necessarily limited to, the above objections, which objections were previously asserted
 and served upon TDI in Academia’s prior objections and otherwise, including without limitation
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 213 of 703 Page
                                   ID #:1900
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 214 of 703 Page
                                   ID #:1901




                            Exhibit 2
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 215 of 703 Page
                                   ID #:1902
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 216 of 703 Page
                                   ID #:1903
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 217 of 703 Page
                                   ID #:1904
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 218 of 703 Page
                                   ID #:1905
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 219 of 703 Page
                                   ID #:1906
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 220 of 703 Page
                                   ID #:1907
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 221 of 703 Page
                                   ID #:1908
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 222 of 703 Page
                                   ID #:1909
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 223 of 703 Page
                                   ID #:1910
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 224 of 703 Page
                                   ID #:1911
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 225 of 703 Page
                                   ID #:1912




                            Exhibit 3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 226 of 703 Page
                                   ID #:1913
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 227 of 703 Page
                                   ID #:1914
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 228 of 703 Page
                                   ID #:1915
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 229 of 703 Page
                                   ID #:1916
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 230 of 703 Page
                                   ID #:1917
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 231 of 703 Page
                                   ID #:1918
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 232 of 703 Page
                                   ID #:1919
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 233 of 703 Page
                                   ID #:1920
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 234 of 703 Page
                                   ID #:1921
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 235 of 703 Page
                                   ID #:1922
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 236 of 703 Page
                                   ID #:1923
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 237 of 703 Page
                                   ID #:1924
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 238 of 703 Page
                                   ID #:1925
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 239 of 703 Page
                                   ID #:1926
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 240 of 703 Page
                                   ID #:1927




                            Exhibit 4
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 241 of 703 Page
                                          ID #:1928



 ____________________________________
                                       :
  TDI Acquisition Sub, LLC,            :
                                       :
           Plaintiff,                  :
                                       :
                v.                     :
                                       :
  Albright College,                    :
                                       :
           Defendant.                  :
  ____________________________________ :

                                 OBJECTIONS TO SUBPOENA

        WCO Spectrum, LLC (“Respondent”) hereby objects to the subpoena (the “Subpoena”),

 issued by Plaintiff, TDI Acquisition Sub, LLC (“Plaintiff”), in regard to the matter of TDI

 Acquisition Sub, LLC v. Albright College, and Respondent avers as follows:

        1.      These Objections are made with respect to the Plaintiff’s Subpoena and each and

 every definition, instruction, and request contained therein. The assertion of the same, similar, or

 additional objections does not waive any of Respondent’s Objections.

        2.      Respondent objects to Plaintiff’s Subpoena because the issuing Court lacks

 jurisdiction over the matter.

        3.      Respondent objects to Plaintiff’s Subpoena because it is facially defective, and

 fails to conform to the applicable Rules of Civil Procedure.

        4.      Respondent objects to Plaintiff’s Subpoena due to ineffective and improper

 service.

        5.      Respondent objects to Plaintiff’s definitions, instructions and Document Requests

 (collectively referred to as “Document Requests”) in the Subpoena to the extent that they seek to

 impose unfair, overly broad and/or unreasonable obligations upon Respondent beyond the

 requirements of the applicable Rules of Civil Procedure and any other applicable rule or law.
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 242 of 703 Page
                                           ID #:1929



        6.      Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 disclosure of information protected from discovery by the attorney-client privilege, work-product

 doctrine, spousal privilege, self-critical analysis or investigative privilege, consulting expert

 exemption or any other privilege or exemption, or to the extent the Document Requests seek

 disclosure of confidential, proprietary or trade secret information protected from disclosure by

 applicable law. To the extent that any information is inadvertently provided, which information

 is properly the subject of the attorney-client privilege or the work-product privilege, such

 disclosure is not to be construed as a waiver of the attorney-client privilege or the work-product

 privilege. In the event that inadvertent disclosure occurs, Plaintiff shall make no use of the

 contents thereof, nor premise any further discovery on information learned therefrom.

        7.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 inaccurate, ambiguous, misleading or argumentative, assume facts that have no evidentiary basis,

 are unduly vague and incomprehensible or are unreasonably cumulative or duplicative.

        8.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 irrelevant and/or seek information not reasonably calculated to lead to the discovery of

 admissible evidence.

        9.      Respondent objects to Plaintiff’s Document Requests to the extent that they call

 for or seek legal conclusions and/or analysis.

        10.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 documents and/or information not within Respondent’s knowledge, possession, custody or

 control.

        11.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 any document and/or information that is readily available to Plaintiff from his own records, from



                                                   2
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 243 of 703 Page
                                          ID #:1930



 a party to the litigation or is obtainable from publicly available sources that are more convenient,

 less burdensome and/or less expensive than if obtained from Respondent.

        12.     By objecting to Plaintiff’s Document Requests, Respondent specifically does not

 waive any rights under applicable statutes or laws, and does not consent to any court’s

 jurisdiction. No incidental or implied admissions are intended by the responses herein. The fact

 that Respondent has objected to any Document Request herein is not intended and shall not be

 construed as a waiver of any part of any objection, whether general or specific. In particular,

 Respondent does not in any way waive any objection but, rather, intends to preserve and does

 preserve all objections as to competency, relevancy, materiality and admissibility, any right to

 object to any use of the responses herein in any subsequent proceedings, including the trial of

 this or any action, all objections to vagueness, broadness and ambiguity, and all rights to object

 on any ground to any further discovery in this action.

        13.     Respondent expressly reserves its right to supplement or modify its objections

 with such pertinent information as it may hereafter discover and will do so to the extent required

 by the applicable Rules of Civil Procedure and any other applicable rule or law. Respondent also

 expressly reserves the right to raise supplemental objections.




                                                  3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 244 of 703 Page
                                   ID #:1931




                          Exhibit 12
 Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25            Page 245 of 703 Page
                                          ID #:1932




DENIS R. HURLEY
  (202) 434-5374
 dhurley@wc.com




                                          October 14, 2021

   Via Email

  Michael J. Duffy
  Mitts Law LLC
  1822 Spruce Street
  Philadelphia, PA 19103

            Re:    Subpoenas Issued to WCO Spectrum LLC and Academia Spectrum LLC in
                   TDI Acquisition Sub LLC v. Albright College, No. 21-4481

   Dear Mr. Duffy:

          We are in receipt of your letter dated October 8, 2021 (the “October 8 Letter”) concerning
  the subpoenas served by TDI Acquisition Sub LLC (“TDI”) on your clients WCO Spectrum LLC
  (“WCO”) and Academia Spectrum LLC (“Academia”). As you know, because your clients
  disregarded their deadlines to respond to their respective subpoenas, they have waived all
  objections and must produce all responsive documents in their possession. Your letter consists of
  a series of ”kitchen sink” assertions aimed at avoiding that result, none of which has any merit.
  Nevertheless, in the interest of avoiding litigation, our client, TDI Acquisition Sub LLC (“TDI”),
  remains willing to meet and confer as to WCO and Academia’s respective document productions.

  The WCO Subpoena

         By way of background, TDI properly served the WCO subpoena. On July 12, 2021, in
  accordance with Pennsylvania law, TDI served Defendant Albright College (“Albright”) with a
  Notice of Intent to Serve Subpoena to Produce Documents or Things for Discovery Pursuant to
  Pennsylvania Rule 4009.22. See Ex. A. That notice triggered a 20-day period during which
  Albright had the opportunity to object on any grounds. See 231 Pa. Code § 4009.21. Albright did
  not do so. Accordingly, on August 4, 2021, TDI filed a Certificate of Prerequisite to Service of
  Subpoena to Produce Documents or Things for Discovery Pursuant to Pennsylvania Rule 4009.22.
  See Ex. B. TDI domesticated the Pennsylvania subpoena in Delaware according to Delaware’s
  version of the Uniform Interstate Discovery and Deposition Act. See 10 Del. Code § 4311. The
  Superior Court of Delaware for Kent County issued the subpoena on August 6, 2021. On August
  19, 2021, TDI served the subpoena on WCO’s registered agent, Cogency Global, Inc. See Ex. C.
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 246 of 703 Page
                                          ID #:1933



 October 14, 2021
 Page 2

         Under Delaware law, WCO was required to serve objections by September 2, 2021. See
 Del. Super. Ct. Civ. R. 45(c)(2)(B) (providing for 14 days to serve objections). WCO did not
 respond by that deadline. Instead, having received no response for almost a month, on September
 16, 2021, TDI contacted WCO Managing Partner Carl Katerndahl directly, asserting that WCO
 had failed to respond to the subpoena and that it had therefore waived objections, and demanding
 production of the relevant documents. See Ex. D. Five days later, WCO acknowledged receipt of
 the subpoena and requested a 20-day extension to respond. See Ex. E. WCO then asserted that
 the subpoena had not been served properly, alleging that WCO’s registered agent is The
 Corporation Trust Company, not Cogency Global. See Ex. F. TDI investigated this claim, and,
 according to records kept by the Delaware Secretary of State, WCO changed its registered agent
 from Cogency Global to The Corporation Trust Company on September 16, 2021, approximately
 one hour after TDI emailed Mr. Katerndahl. Compare Ex. D (Email from D. Hurley to C.
 Katerndahl (Sept. 16, 2021)) with Ex. G (Record of WCO’s Change of Registered Agent) and Ex.
 H (Record of WCO’s Original Registered Agent). TDI responded on September 29, 2021, noting
 that Cogency Global was WCO’s registered agent on the date of service—August 19, 2021—and
 therefore, WCO was properly served. See Ex. I. WCO did not respond to that email and since
 that time has not asserted that service was improper.

         The next day, WCO sent TDI a list of boilerplate objections and asked to meet and confer.
 See Ex. J; Ex. K. The parties 1 held a meet and confer call on October 5, 2021, during which WCO
 accused TDI of litigating in bad faith; refused to answer whether WCO possessed responsive
 documents; and refused to answer whether it intended to produce any documents. WCO still has
 not provided particularized objections to the subpoena or attempted to meaningfully meet and
 confer with respect to the individual requests in the subpoena. See In re Oxbow Carbon LLC
 Unitholder Litig., No. CV 12447-VCL, 2017 WL 959396, at *1 (Del. Ch. Mar. 13, 2017) (“When
 a party objects to providing discovery, the burden is on the objecting party to show why and in
 what way the information requested is privileged or otherwise improperly requested. Generic and
 formulaic objections are insufficient.” (quotation and citations omitted)). TDI re-stated its position
 that WCO failed to timely respond to the subpoena and therefore had waived any objections to it.

        Nothing in your October 8 Letter remotely suggests otherwise.

         First, many of WCO’s assertions can be quickly dispatched as simply untrue. WCO’s
 statement that it “timely contacted TDI’s counsel” is false, as discussed. Similarly false is WCO’s
 assertion that a Delaware LLC is not subject to service of process through its registered agent in
 Delaware. See 6 Del. Code § 18-105 (authorizing service of process on the registered agent of
 Delaware limited liability companies); Wirth v. Avondale IQ, LLC, No. CV N10J-03776, 2018 WL
 2383578, at *2 (Del. Super. Ct. May 25, 2018) (“Every [LLC] in Delaware is required to have a
 registered agent to receive service of process.”). WCO’s assertion that third-party discovery is
 unavailable in Pennsylvania until the pleadings are closed is likewise false. See 231 Pa. Code
 § 4003.08 (expressly authorizing pre-answer discovery). WCO’s assertion that TDI is seeking

 1
   Counsel for WCO also represents Academia. The October 5, 2021 meet and confer included
 both entities. See Ex. J.
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 247 of 703 Page
                                          ID #:1934



 October 14, 2021
 Page 3

 third-party discovery in the first instance is false as well—TDI requested documents from
 Albright, and Albright has informed TDI that it has provided all relevant documents.

        Second, WCO’s assertions that TDI is seeking sensitive information, litigating for an
 improper purpose, and trying to stifle competition are nonsense. TDI’s subpoenas seek
 information about the core issues implicated by its breach of contract action against Albright.

         Third, to the extent WCO claims the subpoena is overly broad or seeks irrelevant materials,
 TDI is willing to meet and confer. To be clear, TDI is willing to do so solely in an effort to avoid
 the cost of litigation, and without waiving any right, claim, or argument concerning WCO’s
 waiver.

 The Academia Spectrum Subpoena

        TDI completed a similar process with respect to Academia’s subpoena. It served Albright
 with a Notice of Intent to Serve Subpoena on July 22, 2021. See Ex. L. Albright did not object.
 TDI filed the Certificate of Prerequisite to Service of Subpoena to Produce Documents or Things
 for Discovery Pursuant to Pennsylvania Rule 4009.22 on August 13, 2021. See Ex. M. TDI
 domesticated the subpoena through the Virginia Beach Circuit Court on August 23, 2021. The
 subpoena was served on Academia through its registered agent on September 8, 2021. See Ex. N.
 The deadline to respond was September 28, 2021. Academia provided no response by that
 deadline. Instead, it contacted TDI on September 29, 2021, requesting a meet and confer. See Ex.
 O. On September 30, Academia sent TDI a list of boilerplate objections, which are legally
 improper. See Ex. J; Ex. P; Loudoun Cty. Asphalt, L.L.C. v. Wise Guys Contracting L.L.C., 79 Va.
 Cir. 605 (2009) (granting motion to compel noting that party’s “general objections” to discovery
 requests were “confusing and not related to any particular discovery request”). Like WCO,
 Academia has not yet answered whether it possesses responsive documents and, if so, whether it
 intends to produce them.

                                              *****

         In the interest of avoiding litigation, TDI remains willing to meet and confer with WCO
 and Academia regarding their respective productions. Please let me know by October 19, 2021
 whether your clients are prepared to participate in a substantive meet and confer process and make
 a meaningful document production. If they are unwilling to do so, we will pursue the appropriate
 legal remedies. TDI continues to reserve all rights in enforcing the WCO and Academia
 subpoenas, including without limitation its assertion that WCO and Academia have waived all
 objections to their respective subpoenas by failing to timely object and never providing legally
 cognizable objections.

                                                       Sincerely,



                                                       Denis R. Hurley
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25   Page 248 of 703 Page
                                      ID #:1935



 October 14, 2021
 Page 4



 Enclosures

 cc:   Kenneth J. Brown
       Christopher J. Mandernach
       R. Kennon Poteat III
       Maurice R. Mitts
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 249 of 703 Page
                                   ID #:1936




                          Exhibit 13
Case 2:23-cv-04347-AH-E                  Document 149-3 Filed 05/30/25                           Page 250 of 703 Page
                                                  ID #:1937

  From:               Michael Duffy
  To:                 Hurley, Denis
  Cc:                 Mandernach, Christopher; Poteat III, R. Kennon; David Sugden; Marlynn Howe; Maurice Mitts; Brown, Kenneth;
                      Hurley, Denis
  Subject:            RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas
  Date:               Thursday, October 21, 2021 9:29:17 AM


  Denis,

  Following up regarding the below, it does not appear that further meet and confer efforts will be
  productive given the parties’ respective positions. Thank you.

  Michael James Duffy | Mitts Law, LLC
  1822 Spruce Street | Philadelphia, PA 19103
  p 215.866.0125 | f 215.866.0111
  mduffy@mittslaw.com | www.mittslaw.com

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  the sender and delete the e-mail and any attachments. Thank you.


  From: Michael Duffy <MDuffy@mittslaw.com>
  Sent: Tuesday, October 19, 2021 7:14 PM
  To: Hurley, Denis <dhurley@wc.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
  Subject: Re: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Denis,

  We are waiting to hear back from the client to be able to respond to your communication.
  We expect to be able to do so by tomorrow at the latest. Thanks.

   Michael James Duffy | Mitts Law, LLC
   1822 Spruce Street | Philadelphia, PA 19103
   p 215.866.0125 | f 215.866.0111
   mduffy@mittslaw.com | www.mittslaw.com

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   please notify the sender and delete the e-mail and any attachments. Thank you.

  From: Hurley, Denis <dhurley@wc.com>
  Sent: Thursday, October 14, 2021 8:10:06 PM
  To: Michael Duffy <MDuffy@mittslaw.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                       Page 251 of 703 Page
                                                ID #:1938

  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
  Subject: RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Michael,

  Please see the attached correspondence and accompanying exhibits.

  Denis R. Hurley
  Associate | Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  (P) 202-434-5374 | (F) 202-434-5029
  dhurley@wc.com | www.wc.com


  From: Michael Duffy <MDuffy@mittslaw.com>
  Sent: Friday, October 8, 2021 6:16 PM
  To: Hurley, Denis <dhurley@wc.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>
  Subject: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Denis,

  Please find correspondence attached. Thank you.

  Michael James Duffy | Mitts Law, LLC
  1822 Spruce Street | Philadelphia, PA 19103
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  mduffy@mittslaw.com | www.mittslaw.com

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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 252 of 703 Page
                                   ID #:1939




                          Exhibit 14
Case 2:23-cv-04347-AH-E                  Document 149-3 Filed 05/30/25                           Page 253 of 703 Page
                                                  ID #:1940

  From:               Michael Duffy
  To:                 Hurley, Denis
  Cc:                 Mandernach, Christopher; Poteat III, R. Kennon; David Sugden; Marlynn Howe; Maurice Mitts; Brown, Kenneth
  Subject:            RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas
  Date:               Thursday, October 28, 2021 12:18:54 PM


  Denis,

  Thank you for the outreach.

  With respect to both WCO and Academia, the subpoenas appear improper in their entirety. As
  stated more fully previously, neither DE nor VA courts have the power to enforce the subpoenas,
  which suffer many other infirmities. There also does not appear to be a genuine controversy in
  the underlying PA case since, according to T-Mobile, there was never a bona fide binding offer,
  and no agreement or transaction has otherwise taken place between WCO and Albright. The case
  instead appears to be a vehicle to invade the sensitive business information of another party
  seeking to acquire EBS licenses for the channels T-Mobile leases, interfere with WCO’s business
  relationships, stifle competition for acquisition of EBS licenses and, ultimately, to convert T-
  Mobile’s monopoly on leasing the EBS spectrum into a far more potent monopoly of ownership
  of the underlying licenses – at the expense of the educational institutions and students the FCC’s
  recent deregulation was intended to benefit.

  We would be willing to resolve this discovery matter as we previously proposed, with both of the
  subpoenas withdrawn and no further discovery sought from WCO or Academia until at least the
  close of the pleadings in the underlying Pennsylvania case, and then only to the extent T-Mobile
  cannot first obtain such discovery from parties to the Berks County action or from other sources.
  Even if the subpoenas were withdrawn, WCO and Academia reserve all rights to object to, and
  oppose, any subsequent subpoenas issued to, or discovery sought regarding, WCO and Academia,
  and otherwise to take such action as WCO and Academia may deem appropriate concerning this
  matter. Again, these statements are made without waiver or admission, reserving all rights and
  objections presently and previously asserted, in this case and otherwise.


  Michael James Duffy | Mitts Law, LLC
  1822 Spruce Street | Philadelphia, PA 19103
  p 215.866.0125 | f 215.866.0111
  mduffy@mittslaw.com | www.mittslaw.com

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  From: Hurley, Denis <dhurley@wc.com>
  Sent: Wednesday, October 27, 2021 1:31 AM
  To: Michael Duffy <MDuffy@mittslaw.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                       Page 254 of 703 Page
                                                ID #:1941

  Subject: RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Michael,

  Please confirm that your statement that further meet and confer efforts would not be productive
  applies to both the WCO subpoena and the Academia Spectrum subpoena. While reserving all of
  our rights and arguments, our offer to meet and confer on both subpoenas remains open.

  Thank you,

  Denis R. Hurley
  Associate | Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  (P) 202-434-5374 | (F) 202-434-5029
  dhurley@wc.com | www.wc.com


  From: Michael Duffy <MDuffy@mittslaw.com>
  Sent: Thursday, October 21, 2021 9:27 AM
  To: Hurley, Denis <dhurley@wc.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
  Subject: RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Denis,

  Following up regarding the below, it does not appear that further meet and confer efforts will be
  productive given the parties’ respective positions. Thank you.

  Michael James Duffy | Mitts Law, LLC
  1822 Spruce Street | Philadelphia, PA 19103
  p 215.866.0125 | f 215.866.0111
  mduffy@mittslaw.com | www.mittslaw.com

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  From: Michael Duffy <MDuffy@mittslaw.com>
  Sent: Tuesday, October 19, 2021 7:14 PM
  To: Hurley, Denis <dhurley@wc.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
Case 2:23-cv-04347-AH-E               Document 149-3 Filed 05/30/25                     Page 255 of 703 Page
                                               ID #:1942

  Subject: Re: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Denis,

  We are waiting to hear back from the client to be able to respond to your communication.
  We expect to be able to do so by tomorrow at the latest. Thanks.

   Michael James Duffy | Mitts Law, LLC
   1822 Spruce Street | Philadelphia, PA 19103
   p 215.866.0125 | f 215.866.0111
   mduffy@mittslaw.com | www.mittslaw.com

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  From: Hurley, Denis <dhurley@wc.com>
  Sent: Thursday, October 14, 2021 8:10:06 PM
  To: Michael Duffy <MDuffy@mittslaw.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>; Brown, Kenneth <KBrown@wc.com>; Hurley, Denis
  <dhurley@wc.com>
  Subject: RE: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Michael,

  Please see the attached correspondence and accompanying exhibits.

  Denis R. Hurley
  Associate | Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  (P) 202-434-5374 | (F) 202-434-5029
  dhurley@wc.com | www.wc.com


  From: Michael Duffy <MDuffy@mittslaw.com>
  Sent: Friday, October 8, 2021 6:16 PM
  To: Hurley, Denis <dhurley@wc.com>
  Cc: Mandernach, Christopher <CMandernach@wc.com>; Poteat III, R. Kennon <kpoteat@wc.com>;
  David Sugden <dsugden@calljensen.com>; Marlynn Howe <mhowe@calljensen.com>; Maurice
  Mitts <MMitts@mittslaw.com>
  Subject: TDI v. Albright: WCO Spectrum, LLC & Academia Spectrum, LLC Subpoenas

  Denis,

  Please find correspondence attached. Thank you.
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                       Page 256 of 703 Page
                                                ID #:1943

  Michael James Duffy | Mitts Law, LLC
  1822 Spruce Street | Philadelphia, PA 19103
  p 215.866.0125 | f 215.866.0111
  mduffy@mittslaw.com | www.mittslaw.com

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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 257 of 703 Page
                                   ID #:1944




                          Exhibit 15
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 258 of 703 Page
                                          ID #:1945



 ____________________________________
                                       :
  TDI Acquisition Sub, LLC,            :
                                       :
           Plaintiff,                  :
                                       :
                v.                     :
                                       :
  Albright College,                    :
                                       :
           Defendant.                  :
  ____________________________________ :

                                 OBJECTIONS TO SUBPOENA

        WCO Spectrum, LLC (“Respondent”) hereby objects to the subpoena (the “Subpoena”),

 issued by Plaintiff, TDI Acquisition Sub, LLC (“Plaintiff”), in regard to the matter of TDI

 Acquisition Sub, LLC v. Albright College, and Respondent avers as follows:

        1.      These Objections are made with respect to the Plaintiff’s Subpoena and each and

 every definition, instruction, and request contained therein. The assertion of the same, similar, or

 additional objections does not waive any of Respondent’s Objections.

        2.      Respondent objects to Plaintiff’s Subpoena because the issuing Court lacks

 jurisdiction over the matter.

        3.      Respondent objects to Plaintiff’s Subpoena because it is facially defective, and

 fails to conform to the applicable Rules of Civil Procedure.

        4.      Respondent objects to Plaintiff’s Subpoena due to ineffective and improper

 service.

        5.      Respondent objects to Plaintiff’s definitions, instructions and Document Requests

 (collectively referred to as “Document Requests”) in the Subpoena to the extent that they seek to

 impose unfair, overly broad and/or unreasonable obligations upon Respondent beyond the

 requirements of the applicable Rules of Civil Procedure and any other applicable rule or law.
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 259 of 703 Page
                                           ID #:1946



        6.      Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 disclosure of information protected from discovery by the attorney-client privilege, work-product

 doctrine, spousal privilege, self-critical analysis or investigative privilege, consulting expert

 exemption or any other privilege or exemption, or to the extent the Document Requests seek

 disclosure of confidential, proprietary or trade secret information protected from disclosure by

 applicable law. To the extent that any information is inadvertently provided, which information

 is properly the subject of the attorney-client privilege or the work-product privilege, such

 disclosure is not to be construed as a waiver of the attorney-client privilege or the work-product

 privilege. In the event that inadvertent disclosure occurs, Plaintiff shall make no use of the

 contents thereof, nor premise any further discovery on information learned therefrom.

        7.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 inaccurate, ambiguous, misleading or argumentative, assume facts that have no evidentiary basis,

 are unduly vague and incomprehensible or are unreasonably cumulative or duplicative.

        8.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 irrelevant and/or seek information not reasonably calculated to lead to the discovery of

 admissible evidence.

        9.      Respondent objects to Plaintiff’s Document Requests to the extent that they call

 for or seek legal conclusions and/or analysis.

        10.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 documents and/or information not within Respondent’s knowledge, possession, custody or

 control.

        11.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 any document and/or information that is readily available to Plaintiff from its own records, from



                                                   2
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 260 of 703 Page
                                          ID #:1947



 a party to the litigation or is obtainable from publicly available sources that are more convenient,

 less burdensome and/or less expensive than if obtained from Respondent.

        12.     By objecting to Plaintiff’s Document Requests, Respondent specifically does not

 waive any rights under applicable statutes or laws, and does not consent to any court’s

 jurisdiction. No incidental or implied admissions are intended by the responses herein. The fact

 that Respondent has objected to any Document Request herein is not intended and shall not be

 construed as a waiver of any part of any objection, whether general or specific. In particular,

 Respondent does not in any way waive any objection but, rather, intends to preserve and does

 preserve all objections as to competency, relevancy, materiality and admissibility, any right to

 object to any use of the responses herein in any subsequent proceedings, including the trial of

 this or any action, all objections to vagueness, broadness and ambiguity, and all rights to object

 on any ground to any further discovery in this action.

        13.     Respondent expressly reserves its right to supplement or modify its objections

 with such pertinent information as it may hereafter discover and will do so to the extent required

 by the applicable Rules of Civil Procedure and any other applicable rule or law. Respondent also

 expressly reserves the right to raise supplemental objections.




                                                  3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 261 of 703 Page
                                   ID #:1948




                          Exhibit 16
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                             Page 262 of 703 Page
                                                                                                          1911510356
                                                ID #:1949
                                    COMMONWEALTH OF VIRGINIA
                                  STATE CORPORATION COMMISSION

                                                  Office of the Clerk

                                                                                                                   November 4, 2019


 ROBERT FINCH
 820 GREAT CUMBERLAND RD
 MCLEAN, VA 22102




                                                         RECEIPT


 RE: Academia Spectrum LLC



 ID: S8636161

 DCN: 19-11-04-6650

 Dear Customer:


 This is your receipt for $100.00 to cover the fee(s) for filing articles of organization for a limited
 liability company with this office.

 The effective date of the filing is November 4, 2019.

 If you have any questions, please call (804) 371-9733 or toll-free in Virginia, (866) 722-2551.



                                                     Sincerely,




                                                    Joel H. Peck
                                                    Clerk of the Commission




 RECEIPTLC
 LLNCD
 CISECOM
                                          P.O. Box 1197, Richmond, VA 23218-1197
                        Tyler Building, First Floor, 1300 East Main Street, Richmond, VA 23219-3630
                Clerk's Office (804) 371-9733 or (866) 722-2551 (toll-free in Virginia) www.scc.virginia.gov/clk
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 263 of 703 Page
                                                                                    1911510356
                                          ID #:1950

                                COMMONWEALTH OF VIRGINIA
                              STATE CORPORATION COMMISSION

                              AT RICHMOND, NOVEMBER 4, 2019


 The State Corporation Commission has found the accompanying articles submitted on behalf of

 Academia Spectrum LLC


 to comply with the requirements of law, and confirms payment of all required fees. Therefore, it
 is ORDERED that this

 CERTIFICATE OF ORGANIZATION
 be issued and admitted to record with the articles of organization in the Office of the Clerk of the
 Commission, effective November 4, 2019.


                                           STATE CORPORATION COMMISSION




                                                  Judith Williams Jagdmann
                                                  Commissioner




 DLLC ACFT
 CISECOM
 19-11-04-6650
        Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25               Page 264 of 703 Page
                                                                                              1911510356
SCC eFile                                         ID #:1951
                                        ARTICLES OF ORGANIZATION
                                                        OF
                                         ACADEMIA SPECTRUM LLC




   The undersigned, pursuant to Chapter 12 of Title 13.1 of the Code of Virginia, states as follows:


   1.     The name of the limited liability company is Academia Spectrum LLC.


   2.     The purpose for which the limited liability company is formed is to engage in any lawful business,
          purpose or activity for which a limited liability company may be formed under the Virginia Limited
          Liability Company Act.


   3.     The name of the limited liability company's initial registered agent is Robert Finch. The initial
          registered agent is an individual who is a resident of Virginia and a member or manager of the
          limited liability company.


   4.     The address of the limited liability company's initial registered office, which is identical to the
          business office of the initial registered agent, is 820 Great Cumberland Rd, McLean, VA 22102.
          The initial registered office is located in Fairfax County, Virginia.


   5.     The address of the limited liability company's principal office where the records of the limited
          liability company are to be kept is 820 Great Cumberland Rd, McLean, VA 22102.


   ORGANIZER:
        Isi      Haley Pople Date: November 4, 2019
                 Haley Pople
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 265 of 703 Page
                                   ID #:1952




                          Exhibit 17
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25            Page 266 of 703 Page
                                         ID #:1953



  KLEINBARD LLC
  Steven J. Engelmyer, PA ID No. 42840
  sengelmyer@kleinbard.com
  Eric J. Schreiner, PA ID No. 76721
  eschreiner@kleinbard.com
  Three Logan Square
  1717 Arch Street, 5th Floor
  Philadelphia, PA 19103
  Telephone: 215-568-2000
  Attorneys for Plaintiff
  TDI Acquisition Sub LLC


  TDI ACQUISITION SUB LLC,                       :   IN THE COURT OF COMMON PLEAS
                                                 :   OF BERKS COUNTY, PENNSYLVANIA
         Plaintiff                               :
                                                 :
  v.                                             :   CIVIL ACTION/DECLARATORY
                                                 :   JUDGMENT
  ALBRIGHT COLLEGE,                              :
                                                 :   NO. 21-04881
         Defendant.                              :
                                                 :
                                                 :
                                                 :

       PLAINTIFF TDI ACQUISITION SUB LLC’S FIRST SET OF REQUESTS
    FOR PRODUCTION OF DOCUMENTS TO DEFENDANT ALBRIGHT COLLEGE


        Plaintiff TDI Acquisition Sub LLC (“TDI”), by its attorneys, submits the following First

 Set of Requests for Production of Documents (“Requests”) to Defendant Albright College

 (“Albright”). The documents must either be made available for inspection and copying as they are

 kept in the ordinary course of business, including labeling as to the source of the documents, or

 provided and categorized by specific response to the individual requests. Please produce all

 documents to Kleinbard LLC, Three Logan Square, 1717 Arch Street, 5th Floor, Philadelphia,

 Pennsylvania 19103, attention: Eric J. Schreiner, Esq., within thirty (30) days of service, in

 accordance with Pennsylvania Rule of Civil Procedure 4009.12(a).


                                                1
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 267 of 703 Page
                                          ID #:1954



                                            DEFINITIONS

        1.      The term “Albright License” means Albright’s license for Educational Broadband

 Service (“EBS”) spectrum channels D1, D2, D3, and D4 under call sign WND475 in the Reading,

 Pennsylvania area, as granted to Albright by the Federal Communications Commission (“FCC”).

        2.      The term “Albright Lease Agreement” means the Educational Broadband Service

 Long-Term De Facto Transfer Lease Agreement between TDI, as successor in interest to original

 signatory Nextel Spectrum Acquisition Corporation, and Albright, which was entered into on

 March 2, 2007.

        3.      The term “all” means all or any, and the term “any” means all or any.

        4.      The term “Communication” means any oral, written, or electronic exchange of

 words, thoughts, information, or ideas with another person. “Communication” includes statements

 made in person, by telephone, letter, envelope, telegram, facsimile, electronic mail, attachment to

 electronic mail, text message, instant message, voice mail, social media, or the Internet.

        5.      The term “Complaint” means the complaint filed by TDI in this lawsuit on May 27,

 2021, and any amended version thereof.

        6.      The term “Computer System” means any computer software (including source

 code, executable code, databases and related documentation), computer firmware, computer

 hardware (whether general or special purpose), or any other automated, computerized, and/or

 software system or device, including any item, device, or system provided in a “software-as-a-

 service,” “cloud computing,” or hosted arrangement.

        7.      The term “concerning” means referring to, relating to, describing, demonstrating,

 evidencing, reflecting, or constituting.




                                                  2
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 268 of 703 Page
                                           ID #:1955



        8.      The terms “Defendant,” “You,” and “Your” mean Albright, including any of its

 divisions, subsidiaries, affiliates, directors, officers, principals, employees, attorneys, agents, and

 representatives.

        9.      As used herein, the term “Document” shall be interpreted in the most

 comprehensive and inclusive sense in light of Pennsylvania Rule of Civil Procedure 4009.1(a) and

 includes the original and any non-identical copies (including those with any notations, marks,

 alterations, comments, or other changes) of any written, typed, printed or otherwise recorded

 matter, however produced or reproduced, of every kind and description, in whatever form (e.g.,

 draft and final version) that are in Your actual or constructive possession, custody, care, or control,

 including but not limited to all writings, devices, components, computer data, computer generated

 Documents, computer disks or data tapes, electronically stored information (“ESI”), or any other

 writings or tangible things. The Documents requested include all attachments to the specifically

 described Documents and all other materials that originally accompanied them. The term

 “Document” specifically includes ESI and all recorded or retrievable electronic data or

 Communications such as electronic mail (Email), metadata, voicemail messages, and attachments,

 and all translations thereof.

        10.     The terms “includes” and “including” mean includes and including without

 limitation. The terms “includes” and “including” do not limit the scope of any request.

        11.     The term “Offer” shall mean any bid, proposal, or offer.

        12.     The term “person” means any natural person or any legal entity, including any

 business entity, corporation, partnership, or association.

        13.     The terms “TDI” and “Plaintiff” mean TDI Acquisition Sub LLC, a Delaware

 limited liability company, as well as any of its predecessors in interest, including Nextel Spectrum



                                                   3
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25             Page 269 of 703 Page
                                            ID #:1956



 Acquisition Corporation, and all officers, directors, attorneys, advisors, representatives,

 employees, agents, accountants, or any other person(s) acting on behalf of any of these entities.

        14.     The term “WCO” means “WCO Spectrum LLC,” including its predecessors and

 successors in interest, parents, subsidiaries, affiliates, divisions, departments, officers, directors,

 members, and for each of the foregoing, any present or former principals (including all partners

 therein), officers, directors, attorneys, advisors, representatives, employees, agents, accountants,

 or any other person(s) acting on its or their behalf.

        15.     The term “WCO’s Offer” means the April 30, 2021 non-binding offer letter from

 WCO to Albright, including Exhibit A attached thereto, which is entitled “Material Terms for

 License Purchase Offer.” The term “WCO’s Offer” also includes any modified, supplemented, or

 revised version of the April 30, 2021 non-binding offer letter, and any subsequent Offer from

 WCO concerning the Albright License.

                                           INSTRUCTIONS

        1.      You are to respond to these Requests in accordance with the requirements of the

 Pennsylvania Rules of Civil Procedure, the Berks County Court Local Rules, and any other

 applicable laws, rules, or regulations.

        2.      These Requests call for all Documents and Communications within Your

 possession, custody or control.

        3.      If, in responding to any of these Requests, You encounter any ambiguity in

 construing either the Request or a definition or instructions relevant to it, set forth the matter

 deemed ambiguous and the construction selected or used in responding to the Request.

        4.      Documents and Communications produced in response to these Requests should be

 produced as they are kept in the usual course of business or should be organized and labeled to



                                                   4
Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25              Page 270 of 703 Page
                                              ID #:1957



 correspond with the categories in the Request. All Documents and Communications produced in

 response to these Requests should be Bates stamped or otherwise marked in sequential order. If

 there are no Documents or Communications responsive to any particular Request, You should so

 state in writing.

           5.       You must produce ESI responsive to these Requests in the form in which the data

 is ordinarily maintained, or in a form that is reasonably usable and able to be stored or recovered

 with all metadata intact. Pa. R. Civ. P. 4009.1(b).

           6.       References to any natural person shall be deemed to include that natural person’s

 agents, attorneys, representatives, current and former employees, successors, and any person

 acting or purporting to act on that person’s behalf.

           7.       References to any non-natural person (e.g., a corporation, partnership, or other legal

 entity) shall be deemed to include any of that entity’s predecessors or successors in interest,

 parents, subsidiaries, affiliates, divisions, departments, officers, or members, and for each of the

 foregoing, any present or former trustees, officers, directors, attorneys, advisors, representatives,

 employees, agents, accountants, or any other person(s) acting on its or their behalf.

           8.       These Requests call for the production of all responsive Documents and

 Communications in Your possession, custody, or control, or in the possession, custody, or control

 of Your employees, divisions, subsidiaries, affiliates, directors, officers, principals,

 representatives, attorneys, and agents, or other persons acting on Your behalf, without regard to

 the physical location of such Documents and Communications.

           9.       In responding to these Requests, include Documents and Communications obtained

 on Your behalf by Your counsel, employees, agents, or any and all other persons acting on Your

 behalf.        If Your response is that the Documents or Communications are not within Your



                                                      5
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25                Page 271 of 703 Page
                                          ID #:1958



 possession, custody, or control, describe in detail the unsuccessful efforts You made to locate each

 such Document or Communication. If Your response is that the Documents or Communications

 are not under Your control, identify the name and address of the person(s) in control of, and the

 location of, the Documents or Communications.

        10.     These Requests are continuing in character and require further response if

 additional Documents or Communications are obtained or located after the time of initial

 production. Pa. R. Civ. P. 4007.4.

        11.     Each Request contemplates production of all Documents and Communications in

 their entirety. If only a portion of a Document or Communication is responsive to one or more

 Requests, the Document or Communication shall be produced in its entirety.

        12.     If any Document or Communication is withheld in whole or in part for any reason

 including a claim of privilege, set forth separately with respect to each:

                a.      each and every ground of privilege or protection claimed;

                b.      the author and all recipients;

                c.      the type of Document or Communication;

                d.      the Document or Communication’s general subject matter;

                e.      the Document or Communication’s date; and

                f.      any other information sufficient to enable a full assessment of the

                        applicability of the privilege or protection claims, as required by

                        Pennsylvania Rule Civil Procedure 4009.12(b)(2).

        13.     To the extent that You assert that a Document or Communication contains both

 information that should be protected from disclosure and non-privileged information, the non-

 privileged portions of the Document or Communication must be produced. For each, indicate the



                                                   6
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 272 of 703 Page
                                          ID #:1959



 portion of the Document or Communication withheld by stamping the words “MATERIAL

 REDACTED” in an appropriate location that does not obscure the remaining text.

         14.    The use of the past tense includes the present tense and vice versa, as necessary to

 bring within the scope of each Request all responses that might otherwise be considered outside

 its scope.

         15.    To the extent not otherwise defined, all words shall have their usual and ordinary

 meaning as the context of the Request would indicate.

         16.    If You find any of the Requests to be unclear, overbroad, or unduly burdensome,

 Plaintiff is prepared to meet and confer regarding the issue.

                              DOCUMENTS TO BE PRODUCED

         1.     All Documents and Communications concerning the actual, proposed, planned or

 contemplated sale or assignment of the Albright License.

         2.     All Communications with WCO.

         3.     All Documents and Communications concerning WCO.

         4.     All Documents and Communications concerning WCO’s Offer.

         5.     All Documents and Communications concerning whether WCO’s Offer is capable

 of being accepted.

         6.     All Documents and Communications concerning about whether Albright could,

 would, or should accept WCO’s Offer.

         7.     All Documents and Communications concerning T-Mobile’s Right of First Refusal

 (“ROFR”) to purchase the Albright License as provided for in Section 3(b) of the Albright Lease

 Agreement.




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Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25           Page 273 of 703 Page
                                          ID #:1960



        8.        All Documents and Communications concerning whether WCO is or is not a

 “Competing Entity,” as that phrase is used in Section 10(c) of the Albright Lease Agreement.

        9.        All Documents and Communications concerning WCO’s actual, proposed,

 planned, or contemplated offering, provision, or delivery of any telecommunications service in the

 United States.

        10.       All Documents and Communications concerning WCO’s actual, proposed,

 planned, or contemplated acquisition of (except a less than 1% interest in a publicly traded

 company) any interest in any entity which offers, provides, or delivers any telecommunications

 service within the United States.

        11.       All Documents and Communications concerning WCO’s actual, proposed,

 planned, or contemplated grant of the right or option to use EBS or BRS spectrum to any provider

 of a telecommunications service within the United States.

        12.       All Documents and Communications concerning WCO’s affiliation with any entity

 which has granted, proposed, planned, or contemplated granting the right or option to use EBS or

 BRS spectrum to any provider of a telecommunications service within the United States.

        13.       All Documents and Communications concerning WCO’s actual, proposed,

 planned, or contemplated acquisition or use of any EBS and BRS spectrum license.

        14.       All Documents and Communications concerning WCO’s assertion that the

 “principals of WCO have sourced and deployed billions of dollars to fund transformative

 technologies and corporate innovation, providing capital and counsel to dozens of companies in a

 wide range of industries, including Wireless Telecommunications Operations.”

        15.       All Documents and Communications concerning WCO’s claim that is a “specialist

 in financing and operating telecommunications assets and companies.”



                                                 8
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 274 of 703 Page
                                          ID #:1961



        16.     All Documents and Communications concerning WCO’s claim that it “has

 previously been active in the telecom industry.”

        17.     All Documents and Communications concerning WCO’s claim that Gary

 Winnick’s companies “have consistently received FCC transfer approvals.”

        18.     All Documents and Communications concerning TDI’s right under Section 3(f)(v)

 of the Albright Lease Agreement to receive copies of any open bids, proposals, offers, counter-

 bids and counter-offers for the Albright License.

        19.     All Documents and Communications concerning TDI’s right under Section 3(f)(ii)

 of the Albright Lease Agreement to receive information with respect to any bids, proposals, offers

 and counters thereto for the Albright License.

        20.     All Documents and Communications concerning TDI’s right under Section 3(f)(iii)

 of the Albright Lease Agreement to discuss with You any information with respect to any bids,

 proposals, or counters thereto for the Albright License.

        21.     All Documents and Communications concerning any counteroffer from Albright

 for the Albright License in response to WCO’s Offer.

        22.     All Documents and Communications concerning the requirement in Section 10(c)

 of the Albright Lease Agreement that any assignee of the Albright License must agree to assume

 all of Albright’s obligations and acknowledge TDI’s rights under the Albright Lease Agreement.

        23.     All Documents and Communications concerning WCO’s efforts to purchase any

 EBS spectrum license other than the Albright License.

        24.     All Documents and Communications concerning any actual, potential, planned, or

 contemplated Offer to purchase the Albright License made by any person other than WCO.

        25.     All Documents and Communications concerning Parkview Consulting.



                                                    9
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 275 of 703 Page
                                           ID #:1962



          26.     All Documents and Communications concerning “The Protect the People Project.”

          27.     All Documents and Communications concerning any Pennsylvania Right to Know

 Law request for the Albright Lease Agreement or any related documents.

          28.     All Documents and Communications with or concerning any person that is advising

 or otherwise working with WCO with respect to the Albright License, or EBS spectrum licenses

 generally. This includes all Documents and Communications with or concerning Select Spectrum

 LLC and Academia Spectrum LLC.

          29.     All Documents identified in Your response to Plaintiff’s First Set of Interrogatories

 Addressed to Defendant.

          30.     All reports or opinions generated by any expert witness or consultant that You

 intend to call at trial.

          31.     All Documents relied upon by any expert or consultant that You intend to call as

 an expert witness at trial.

          32.     All resumes or curriculum vitae of any expert witness that You intend to call at

 trial.

          33.     All Documents that evidence, reflect, refer or relate to Communications between

 You (but not including Your counsel) and any expert or consultant You intend to call as an expert

 witness at trial.



 Dated: July 8, 2021                            KLEINBARD, LLC
                                                Steven J. Engelmyer, PA ID No. 42840
                                                Eric J. Schreiner, PA ID No. 76721
                                                Three Logan Square
                                                1717 Arch Street, 5th Floor
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                                                   10
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25        Page 276 of 703 Page
                                   ID #:1963



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                                    forthcoming

                                    Attorneys for Plaintiff TDI Acquisition Sub LLC




                                      11
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 277 of 703 Page
                                         ID #:1964



  KLEINBARD LLC
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  Attorneys for Plaintiff
  TDI Acquisition Sub LLC


  TDI ACQUISITION SUB LLC,                        :   IN THE COURT OF COMMON PLEAS
                                                  :   OF BERKS COUNTY, PENNSYLVANIA
         Plaintiff                                :
                                                  :
  v.                                              :   CIVIL ACTION/DECLARATORY
                                                  :   JUDGMENT
  ALBRIGHT COLLEGE,                               :
                                                  :   NO. 21-04881
         Defendant.                               :
                                                  :
                                                  :
                                                  :

                                 CERTIFICATE OF SERVICE



        I hereby certify that on July 8, 2021, I caused a true and correct copy of the foregoing

 Request for Production to be served as stated on the following:

                                  Via Mail and Email:

                                  Peter Schuchman, Jr.
                                  Kozloff Stoudt
                                  2640 Westview Dr.
                                  Wyomissing, Pennsylvania 19610
                                  PSchuchman@kozloffstoudt.com
                                  Attorney for Defendant Albright College
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25       Page 278 of 703 Page
                                   ID #:1965



 Dated: July 8, 2021

                                    Eric J. Schreiner, PA ID No. 76721
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                                    Attorney for Plaintiff TDI Acquisition Sub LLC
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 279 of 703 Page
                                   ID #:1966




                          Exhibit 4


                REDACTED VERSION OF DOCUMENT PROPOSED TO
                           BE FILED UNDER SEAL
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 280 of 703 Page
                                   ID #:1967




                          Exhibit 5
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 281 of 703 Page
                                   ID #:1968




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 282 of 703 Page
                                   ID #:1969




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 283 of 703 Page
                                   ID #:1970




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 284 of 703 Page
                                   ID #:1971




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 285 of 703 Page
                                   ID #:1972




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 286 of 703 Page
                                   ID #:1973




                          Exhibit 6
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25                Page 287 of 703 Page
                                           ID #:1974


                                                                          HUNTON ANDREWS KURTH LLP
                                                                          500 EAST MAIN STREET
                                                                          SUITE 1301
                                                                          NORFOLK, VIRGINIA 23510

                                                                          TEL 757 • 640 • 5300
                                                                          FAX 757 • 625 • 7720

                                                                          ROBERT M. TATA
                                                                          DIRECT DIAL: 757 • 640 • 5328
                                                                          EMAIL: btata@HuntonAK.com

  May 20, 2022                                                            FILE NO: 125071.1



  Via Hand Delivery

  Honorable Tina E. Sinnen
  Clerk of Court
  Virginia Beach Circuit Court
  2425 Nimmo Parkway
  Building 10 & 10B
  Virginia Beach, VA 23456-9017

                         TDI Acquisition Sub LLC v. Albright College
                                        No. CL21-3972
                               Foreign Subpoena in a Civil Action
                   Pending in Berks County, Pennsylvania at C.A. No. 21-04481

  Dear Ms. Sinnen:

         Enclosed for filing please find TDI Acquisition Sub LLC’s Motion to Compel
  Production of Documents that Academia Spectrum LLC Improperly Unredacted.

         Thank you for your assistance.

                                                     Sincerely,



                                                     Robert M. Tata
  Enclosures

  cc:    (w/encl. – via email & first class mail)
         Wyatt B. Durette, Jr., Esq.
         Maurice R. Mitts, Esq.
         Denis R. Hurley, Esq.




           ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON LONDON
    LOS ANGELES MIAMI NEW YORK NORFOLK RICHMOND SAN FRANCISCO THE WOODLANDS TOKYO TYSONS WASHINGTON, DC
                                              www.HuntonAK.com
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 288 of 703 Page
                                         ID #:1975



                      IN THE CIRCUIT COURT OF VIRGINIA BEACH
                                   CIVIL DIVISION


  TDI ACQUISITION SUB, LLC,                          FOREIGN SUBPOENA IN A CIVIL
                                                     ACTION
                 Plaintiff,
                                                     No. CL21-3972
  v.
                                                     C.A. No. 21-04481
  ALBRIGHT COLLEGE,                                  (pending in Berks County, Pennsylvania)

                 Defendant.


     TDI ACQUISITION SUB LLC’S MOTION TO COMPEL PRODUCTION OF
  DOCUMENTS THAT ACADEMIA SPECTRUM LLC IMPROPERLY UNREDACTED

        Sadly, Plaintiff TDI Acquisition Sub LLC (“TDI”) must return to this Court now for the

 fourth time to seek a reasonable response to a simple subpoena because Academia Spectrum LLC

 (“Academia”) so heavily redacted the key “deal memo” and certain other documents for no legally

 valid reason. These documents should be produced immediately in unredacted form.

        Specifically, on March 22, 2022, Academia represented to this Court that it had produced

 all documents related to WCO Spectrum LLC (“WCO”) and Defendant Albright College

 (“Albright”), but to address TDI’s concerns, the Court directed Academia to produce all additional

 documents and communications concerning Albright in response to TDI’s September 2021

 subpoena. Notwithstanding its representation that it already had produced all such documents (a

 mere 70 pages), Academia proceeded to produce an additional 541 pages in response to the Court’s

 Order. Academia’s supplemental production, however, was riddled with redactions, rendering it

 mostly useless for TDI. Indeed, Academia redacted nearly 200 pages without any explanation.

 Most egregiously, Academia improperly redacted key portions of WCO’s “deal memo”

 concerning Albright, including parts that address the contemplated transaction’s “Strategic
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 289 of 703 Page
                                          ID #:1976



 Importance to TMO [T-Mobile, TDI’s parent company]” and “Potential TMO Strategy,” thereby

 concealing information TDI was entitled to receive.

        TDI immediately raised the impropriety of these redactions, but Academia has refused to

 produce the unredacted “deal memo,” claiming it to be off limits as “transaction strategy,” not

 because of any valid privilege. There is, of course, no legal protection for business information

 like “transaction strategy.” Academia has no basis for its withholding of this critical document, as

 it goes to the heart of the remaining dispute in this case—whether, as a self-described

 whistleblower alleges, WCO and Albright are engaged in a scheme to defraud TDI and its parent

 company, T-Mobile.

        As a result, TDI seeks an order compelling Academia to (i) produce the unredacted “deal

 memo” concerning Albright, which is plainly responsive and should be produced in its entirety,

 and (ii) produce in unredacted form certain communications sent or from T-Mobile because

 Academia has no plausible reason for redacting such documents.

                                         BACKGROUND

        1.      On March 22, 2022, this Court heard argument on TDI’s efforts to enforce the

 subpoena served on Academia back in September 2021, and make Academia finally produce

 documents and communications in response. TDI explained that the Pennsylvania state court,

 where the underlying litigation remains pending, had recently declined to interfere with TDI’s

 outstanding subpoenas, including this one. The Pennsylvania court decided as much because a

 self-described whistleblower had asserted that WCO and certain EBS spectrum licensees like

 Albright are engaged in a scheme to defraud TDI and T-Mobile. WCO’s alleged scheme involves

 making sham offers to purchase licenses, which T-Mobile leases from thousands of educational

 institutions across the country, in order to trigger T-Mobile’s Right of First Refusal (“ROFR”) to



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Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 290 of 703 Page
                                          ID #:1977



 purchase those licenses and collect kickbacks on the purchase amounts when T-Mobile exercises

 its ROFR.

        2.      At the March 22 hearing, in an effort to try to persuade this Court not to order

 Academia to produce any additional documents beyond its initial paltry 70-page production,

 Academia represented to this Court multiple times that Academia had produced all it had related

 to Albright. See 3/22/2022 Tr. 41:25-42:2, 42:5-6; id. 44:7-10, 44:16; id. 46:9-15. TDI, however,

 pressed that, given the nature of Academia’s initial production, it was impossible that Academia

 had produced all documents and communications concerning Albright. See, e.g., 35:20-24, 37:10-

 38:16, 43:11-44:15. In the end, this Court issued an order that noted Academia’s representation,

 yet importantly directed Academia to “produce all additional documents and communications (if

 any), including, but not limited to, emails between and among WCO and Academia and Albright

 and Academia, concerning Albright, WCO’s Offer, the Albright Lease Agreement [with TDI], and

 the Albright License.” 4/14/2022 Order at 1. The Court further directed Academia’s counsel to

 supervise the search and utilize 15 specific search terms. Id. at 1-2.

        3.      Because of this Court’s Order, on April 8, 2022 Academia produced an additional

 541 pages of new documents. Academia has never provided an explanation as to why its initial

 search (which it represented to this Court was thorough and complete) failed to locate the 541

 pages that it eventually produced when forced to do so by this Court’s Order.

        4.      Academia, however, imposed heavy redactions across nearly 200 pages of its

 supplemental production. In doing so, Academia did not include a basis for a single redaction. On

 April 18, 2022, TDI promptly raised numerous issues associated with redactions that it believed

 to be improper. Ex. 1. Most importantly, TDI complained that Academia redacted portions of a

 “deal memo” prepared specifically for the Albright transaction. Ex. 2 (Academia 00230-233).



                                                  3
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 291 of 703 Page
                                          ID #:1978



 The Albright “deal memo” concerns issues related solely to Albright, its license, and its lease with

 TDI, and it evidently discusses other strategic issues related to T-Mobile that Academia has tried

 to hide from T-Mobile, the victim of the fraud alleged by the whistleblower. Id. at 00231.

 Academia redacted key portions of that “deal memo,” including fields like “purchase price,”

 “strategic importance [of the license] to TMO [T-Mobile]” and “potential TMO [T-Mobile]

 strategy” as to Albright. Id.

        5.      TDI also raised the fact that Academia improperly redacted at least 22 pages that

 were sent from, or sent to, T-Mobile or its counsel (both in-house and outside). See Ex. 3

 (Academia 00404-405, -00407-408, -00409-413, -00414-416, -00423-431).

        6.      Academia waited three weeks to respond substantively.            On May 9, 2022,

 Academia provided a log which it called a “Log of Academia/WCO Documents Withheld”

 (“Relevance Log”). See Ex. 4. 1 With respect to WCO’s “deal memo” concerning Albright,

 Academia did not assert that it was privileged, but rather stated that the key portions of it were

 redacted because it related to “transaction strategy.” See id. at 3 (row 11). Academia notably did

 not reference any authority to support any such redaction and did not explain how it could possibly

 redact this information, which plainly concerns Albright.

        7.      Because Academia has refused to budge, TDI brings this motion seeking an order

 compelling Academia to produce unredacted versions, as required by this Court’s Order.




 1
    On May 9, Academia produced 8 pages that it admits were improperly redacted. These
 documents, however, are entirely non-substantive; the newly unredacted information relates
 entirely to Albright’s counsel’s vacation plans, a subject that should never have been redacted in
 the first place.

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Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 292 of 703 Page
                                          ID #:1979



                                           ARGUMENT

 A.     Contrary to this Court’s Order, Academia Improperly Redacted Key Portions of
        WCO’s “Deal Memo” Concerning Albright.

        8.      This Court ordered Academia to produce documents regarding Albright, and

 Academia has failed to do so. See 4/14/2022 Order; see also 3/22/2022 Tr. 54:20-25 (ordering

 Academia to “produce all documents and communications regarding Albright, the Albright lease

 and the Albright license”). Specifically, Academia redacted key portions of the “deal memo” that

 WCO prepared for its contemplated Albright transaction. Ex. 2 (Academia 00230-33). Academia,

 in fact, redacted the only portions of the “deal memo” that actually matter to TDI’s lawsuit against

 Albright and the whistleblower’s allegations—fields addressing the “Purchase Price,” “Strategic

 Importance to TMO [T-Mobile]” and “potential TMO [T-Mobile] strategy.” Id.

        9.      Academia has no valid basis for its redaction of this key information that bears on

 WCO’s strategy vis-à-vis TDI and T-Mobile, as it relates to the Albright transaction. Academia

 asserts no valid privilege, but instead claims it can redact that information because it concerns

 “transaction strategy.” Ex. 4 (row 11). That is absurd. WCO’s transaction strategy as it relates to

 the Albright deal is at the core of that dispute, and the “deal memo” should be produced in

 unredacted form in its entirety. Nothing in the law or this Court’s Order permits Academia to

 redact information “concerning Albright,” which this Court expressly directed Academia to

 produce in full, no exceptions. See, e.g., Williams v. Big Picture Loans, LLC, No. 3:17-CV-461,

 2019 WL 8107922, at *2 (E.D. Va. May 28, 2019) (holding redaction of information “not allowed

 because that information is clearly relevant”).

        10.     Because Academia’s position on this document flies in the face of this Court’s

 Order, Academia should be ordered to produce the “deal memo” without redactions.




                                                   5
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25              Page 293 of 703 Page
                                         ID #:1980



 B.     T-Mobile Documents

        11.     Academia, for unknown reasons, also has redacted at least 14 pages of documents

 that were sent to or from T-Mobile. See Ex. 3 (Academia 00404-405, -00407-408, -00409-413, -

 00414-416, -00418-422, -00423-431). There is no reason why Academia should redact such

 documents, and TDI is at a loss for why Academia continues to refuse to produce them in

 unredacted form, after TDI called this category of documents out specifically in meet-and-confer

 correspondence. Academia logged them as documents responsive to TDI’s subpoena, and they

 should be required to produce them in full.

                                         CONCLUSION

        For all of these reasons, the Court should grant TDI’s motion and compel Academia to

 produce the 26 pages of documents referenced above in unredacted form. 2


                                               Respectfully Submitted,


                                               By:
                                                     Robert M. Tata (VA Bar No. 30101)
                                                     HUNTON ANDREWS KURTH LLP
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                                                     Telephone: (757) 640-5328
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                                                     Kenneth J. Brown (VA Bar No. 48134)
                                                     R. Kennon Poteat, III (VA Bar No. 73324)
                                                     Denis R. Hurley (pro hav vice)
                                                     WILLIAMS & CONNOLLY LLP
                                                     725 Twelfth Street, N.W.
                                                     Washington, DC 20005
                                                     Telephone: (202) 434-5000

 2
    On May 9, 2022, Academia, for the first time, provided a privilege log of documents that it
 withheld in their entirety. This motion does not address such documents, but TDI reserves all
 rights and will undertake to meet and confer with Academia regarding certain problematic entries.

                                                 6
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25      Page 294 of 703 Page
                                   ID #:1981



                                       Facsimile: (202) 434-5029
                                       kbrown@wc.com
                                       kpoteat@wc.com
                                       dhurley@wc.com

                                       Attorneys for TDI Acquisition Sub LLC

 Dated: May 20, 2022




                                      7
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25           Page 295 of 703 Page
                                        ID #:1982



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2022, I caused a true and correct copy of the foregoing

 Plaintiff TDI Acquisition Sub LLC’s Motion to Compel Production of Documents That Academia

 Spectrum LLC Improperly Unredacted to be served upon the following parties via email and first

 class mail:

                                     Wyatt B, Durette, Jr.
                                     Durrette, Arkema, Gerson & Gill PC
                                     Bank of America Center
                                     1111 E. Main Street, 16th Floor
                                     Richmond, VA 23219
                                     wdurrette@dagglaw.com

                                     Maurice R. Mitts
                                     Mitts Law, LLC
                                     1822 Spruce Street
                                     Philadelphia, PA 19103
                                     mmitts@mittslaw.com



                                                     Robert M. Tata

 Dated: May 20, 2022
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 296 of 703 Page
                                   ID #:1983




                          Exhibit 1
   Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25               Page 297 of 703 Page
                                               ID #:1984




R. KENNON POTEAT III
     (202) 434-5699




                                                 April 18, 2022

     Via Email

     Maurice Mitts
     Mitts Law, LLC
     1822 Spruce Street
     Philadelphia, PA 19103
     mmitts@mittslaw.com

             Re:       TDI Acquisition Sub LLC v. Albright College, Case No. CL21-3972
                       (Va. Beach Cir. Ct.)

     Dear Maurice:

            I write regarding Academia’s production of redacted documents in response to the
     subpoena served on it by TDI in the above-captioned matter. In total, Academia produced
     611 pages, 1 203 of which—or one third of the entire production—are completely or partially
     redacted. Most glaringly, Academia has improperly redacted documents about the Albright
     College transaction, which the Court ordered it to produce. In addition, Academia has either
     erroneously or improperly redacted several other categories of documents. We address each
     category of Academia’s problematic redactions below.

               1.     Albright College. At the March 22 hearing, the Court ordered Academia to
     produce all documents and communications “regarding Albright.” 3/22/2022 Tr. 54:20-25.
     Academia committed to do so. See id. 41:25-42:3. Nevertheless, Academia’s production reveals
     that it is concealing information about the Albright transaction through improper redaction. Based
     on our review, Academia has improperly redacted at least 88 such pages.

             Specifically, WCO prepared a “deal memo” for the Albright transaction, which it provided
     to Academia/Andreas Bitzarakis when WCO and Academia was working on the price to propose
     for Albright’s license. Academia 00230-233. The Albright “deal memo” concerns issues related
     solely to Albright, its license, and its lease with TDI, and discusses other strategic issues related to
     T-Mobile. Id. at 00231. But Academia redacted key portions of that “deal memo,” including

     1
      Even though Academia represented to the Court that it had only 70 pages of responsive material,
     see 3/22/22 Tr. 41:25-42:3, 42:5-6, Academia produced another 541 pages after the Court’s order.
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 298 of 703 Page
                                          ID #:1985



 April 18, 2022
 Page 2

 fields like “strategic importance [of the license] to TMO [T-Mobile]” and “potential TMO [T-
 Mobile] strategy” as to Albright. Id. Academia has identified no basis for these redactions, and
 indeed, there is none. In trying to conceal this information from TDI, Academia is in breach of
 the Court’s Order. 2

         Academia also redacted part of an e-mail communication between Academia/Bitzarakis
 and Albright’s outside counsel Todd Gray, with the subject line “Albright.” Academia 00084-85.
 Bitzarakis and Gray were clearly discussing Albright, but Academia redacted entire messages
 within this email chain that not only included the content of the message but also the participants
 of those communications and the dates/times of particular transmissions. There does not appear
 to be any valid basis for this redaction, and we request that it be removed and the document
 produced in unredacted form, along with other documents with similar redactions in other copies
 of this same chain. See Academia 00013-14, -0015-17, -00018, -00020-21, -00023-24, -00027, -
 00128, -00131, -00133-134, -00135-137.

         WCO sent Academia/Bitzarakis a “Dashboard” PowerPoint presentation, dated August 25,
 2021, that contains pages related to Albright. See Academia 00574-581. In particular, the third
 slide addresses Albright specifically, but Academia has without any basis redacted the title of that
 slide. Id. 00578. That redaction should be removed, as it prevents TDI from fully understanding
 the content and context of the slide. The same is true for the completely redacted “Dashboard” at
 Academia 00540-543. Other documents regarding Albright with problematic redactions of titles
 of pages that should be removed include Academia 00191, -00217-218, -00223-225.

        Academia redacted another e-mail communication with Gray that occurred on May 28,
 2021, the day TDI filed its lawsuit against Albright in Pennsylvania. See Academia 00173.
 Academia employed a broad, block redaction for e-mail communications that occurred after Gray
 informed WCO about that lawsuit, such that we cannot tell who was involved in any of those
 subsequent discussions. Id.

        Lastly on this topic, Academia appears to have erroneously or improperly redacted certain
 other documents specifically about Albright. See Academia 00010, -00053, -00179, -00335-341,
 -00488, -00496-500, -00513, -00519, -00528, -00530, -00537, -00538-543, -00556-564, 00583, -
 00594-601.

         2.      T-Mobile. Academia produced in redacted form at least 14 pages that were sent
 from, or sent to, T-Mobile or its counsel (both in-house and outside). See Academia 00404-405, -
 00407-408, -00409-413, -00414-416, -00418-422, -00423-431. Academia does not provide any
 basis for these redactions, and there does not appear to be any.




 2
  Academia redacted “deal memos” in other documents as well. To the extent any such memos
 concern Albright, they must be produced in unredacted form. See Academia 00433-479.
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 299 of 703 Page
                                         ID #:1986



 April 18, 2022
 Page 3

         3.     Third Parties. Academia produced in redacted form many pages that appear to
 include other third parties. Specifically, Academia redacted e-mails/attachments involving Tyler
 Kratz (tmkratz@gmail.com), Alex Russo (alex.russo@mtholdings.net), David Walsh, Jim Simril,
 and Brian Nelson (Brian.Nelson@ccisd.us). See, e.g., Academia 00180 (Kratz), -00230-236
 (Kratz), -00415-416 (Nelson), -00496-500 (Kratz), -00501-503 (Kratz), -00512-513 (Kratz), -
 00514-517 (Kratz), -00518-519 (Kratz), -00520-523 (Kratz), -00527-528 (Kratz), -00529-530
 (Kratz), -00531-535 (Kratz, Simril), -00536-537 (Kratz, Simril), -00538-543 (Kratz), -00574-581
 (Russo, Walsh), -00582-592 (Russo, Walsh), -00602-603 (Walsh), -00604-611 (Russo, Walsh).
 Academia has provided no basis for these redactions, and there does not appear to be any.

         4.     Documents and Communications Redacted for Relevance. Many pages of
 Academia’s production are entirely or nearly entirely redacted, without any explanation
 whatsoever. See, e.g., Academia 000038, -000080-83, -000088-95, -000099-124, -00152-55, -
 00173, -00179, -00186-211, -00217-25, -00234-36, -00238-47, -00256-67, -00279, -00289, -
 00299-302, -00304-313, -00315-322, -00325-333, -00335-341, -00344-351, -00362, -00373-374,
 -00393-398, -00404, -00411-414, -00416, -00418-422, -00433-479, -00490-495, -00497-500, -
 00502-503, -00508-510, -00513, -00515-517, -00519, -00521-23, -00528, -00530, -00532-535, -
 00537, -00539, -00541-543, -00557-564, -00572-573, -00576-581, -00583, -00585-592, -00594-
 601, -00603, -00606-611. To the extent any of these redactions are based on relevance, they are
 improper, as a legal matter. Williams v. Big Picture Loans, LLC, No. 3:17-CV-461, 2019 WL
 8107922, at *2 (E.D. Va. May 28, 2019); (“[T]he general rule is that redactions based
 on relevance is a generally disfavored process.”); Christine Asia Co. v. Alibaba Grp. Holding Ltd.,
 327 F.R.D. 52, 54 (S.D.N.Y. 2018) (producing party’s redactions “based on that party’s unilateral
 determinations of relevancy” improper); Durling v. Papa John’s Int’l, Inc., No. 16-CV-03592 (CS)
 (JCM), 2018 WL 557915, at *9 (S.D.N.Y. Jan. 24, 2018) (“Redactions on grounds of non-
 responsiveness or irrelevance are generally impermissible”). To the extent a document concerns
 the Albright transaction, which we understand each of these do given the nature of Academia’s
 production, then Academia cannot redact all or portions of them based on relevance.

         Please immediately produce the foregoing documents in unredacted form, or explain the
 privilege that underlies any such redaction you seek to defend. If such a production is not made
 by April 25, we will understand that we should bring this issue to the Court’s attention for
 resolution.

                                                      Sincerely,

                                                      /s/ R. Kennon Poteat III

                                                      R. Kennon Poteat III
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25   Page 300 of 703 Page
                                        ID #:1987



 April 18, 2022
 Page 4

 cc:    Wyatt B. Durrette, Jr., Esq.
        Bank Of America Center
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        Richmond, VA 23219
        wdurrette@dagglaw.com
        Counsel for Academia

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        Hunton Andrews Kurth LLP
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        Norfolk, VA 23510
        btata@HuntonAK.com
        Counsel for TDI
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 301 of 703 Page
                                   ID #:1988




                          Exhibit 2
       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                   Page 302 of 703 Page
                                                     ID #:1989


Htqo<                             Ocvvjgy!Dnqej!>odnqejBykppkemeq/eqo@
Ugpv<                             Oqpfc{-!Hgdtwct{!33-!3132!4<41!RO
Vq<                               Ict{!!Ykppkem=!Ectn!Mcvgtpfcjn=!V{ngt!Mtcv|=!Cpftgcu!Dkv|ctcmku
Uwdlgev<                          Fgcn!Ogoqu!.!Cndtkijv!
Cvvcejogpvu<                      YEQ!Urgevtwo!.!Cndtkijv/rfh=!YEQ!Urgevtwo!.!


Cnn-

Cvvcejgf ctg vjg fgcn ogoqu hqt Cndtkijv           / Ngvu fkuewuu cpf citgg qp vjg vgtou )urgekhkecnn{ rtkekpi* uq yg
ecp ugpf qwv vjg qhhgtu cpf Eqookvogpv Equvu Citggogpv/

Vjcpmu-
Ocvv




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                                                                                                    FTU!733

                                                                                                            Academia 00230
       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                  Page 303 of 703 Page
                                                     ID #:1990
!
Fcvg<!302703132!
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         Nkegpug!Jqnfgt!Uwooct{!      !
         Nkegpug!Jqnfgt!              Cndtkijv!Eqnngig!
         Nqecvkqp!                    Tgcfkpi-!RC!
         Nkegpug!Jqnfgt!Fguetkrvkqp!  Rtkxcvg!nkdgtcn!ctvu!eqnngig!kp!Tgcfkpi/!Chhknkcvgf!ykvj!Wpkvgf!
                                      Ogvjqfkuv!Ejwtej!
         Ncy{gt!                      Vqff!Itc{!
         Eqpvcevu!                    Lghhtg{!Uvcfgt!
         Uwooct{!qh!Fkuewuukqpu!      Tgcf{!vq!oqxg!hqtyctf!cv!ecne!qwvrwv!
         Ygdukvg!                     yyy/cndtkijv/gfw!
         Nkpm!vq!Ocpcigogpv!0!Dqctf!! jvvru<00yyy/cndtkijv/gfw0cdqwv.cndtkijv0dqctf.qh.vtwuvggu0!
         !                            !
         Nkegpug!Uwooct{!             !
         Ecnn!Ukipu!0!Tgikqpu!        YPF586!
         Ecrcekv{!)OJ|*!              33/6!OJ|!
         RQRu!                        2-516-988!
         OJ|.RQRu!                    42-743-344!
         Rwtejcug!Rtkeg!                                                                               !
         Rtkekpi!)%0OJ|.RQR*!         %/62!OJ|.RQR!
         Uwo!qh!tgockp/!ngcug!r{ovu/! P0C!
         [kgnf!                       5&!
         Nguugg!                      VFK!Ceswkukvkqp!Uwd-!NNE!
         Ngcug!Vgtou!                 Ngcug!Eqoogpegogpv<!503118-!Gzrktcvkqp!503148!
         TQHT!                        [gu-!cu!ygnn!cu!vjktf.rctv{!gzenwukxkv{!ectxg!qwv!
         !                            !
         Vtcpucevkqp!Uvtcvgi{!        !
         Fkuenquwtg!Tgswktgogpvu!     !
         Octmgv!Cpcn{uku!                                                                                    !
         Ejcppgn!Itqwr!                    !
         Uvtcvgike!Korqtvcpeg!vq!VOQ!                                                                             !
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         Rqvgpvkcn!VOQ!Uvtcvgi{!                                                                         !
         !                            !
         Vtcpucevkqp!Uvcvwu!          !
         PFC!                         3027032!
         Wpukipgf!Qhhgt!              !
         Pgiqvkcvkqp!                 !
         Ukipgf!Qhhgt!                !
         TQHT!                        !
         Pgzv!Uvgru!                  !
         Eqoogpvct{!                  !
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                                                                                                                 Academia 00231
    Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25           Page 304 of 703 Page
                                         ID #:1991
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     Kpxguvogpv!Eqookvvgg!    KE!Crrtqxcn!2<!Wpukipgf!Qhhgt!   KE!Crrtqxcn!3<!Ukipgf!Qhhgt!
     Fcvg<!                                 ]Fcvg_!                      ]Fcvg_!
     Ict{!Ykppkem!                         ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ectn!Mcvgtpfcjn!                      ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ocvvjgy!Dnqej!                        ]Kpkvkcn_!                   ]Kpkvkcn_!
     Cpftgcu!Dkv|ctcmku!                   ]Kpkvkcn_!                   ]Kpkvkcn_!
     V{ngt!Mtcv|!                          ]Kpkvkcn_!                   ]Kpkvkcn_!
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                                                                                          Academia 00232
    Case 2:23-cv-04347-AH-E                                                                       Document 149-3 Filed 05/30/25   Page 305 of 703 Page
                                                                                                           ID #:1992




                                                                                                                                                         FTU!736
                                 Pq!Oqfgn!Etgcvgf!!Dgecwug!pq!ceeguu!vq!hkpcpekcn!kphqtocvkqp!
    ]Kpugtv!Oqfgn!Qwvrwv_!

                             !
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                                                                                                                                              Academia 00233
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 306 of 703 Page
                                   ID #:1993




                          Exhibit 3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 307 of 703 Page
                                   ID #:1994




                                                              FTU!935

                                                                      Academia 00404
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25          Page 308 of 703 Page
                                   ID #:1995




                     23;31!UG!49vj Uvtggv-!Dgnngxwg-!YC!!;9117
                               yyy/v.oqdkng/eqo
                                                                     FTU!936

                                                                             Academia 00405
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 309 of 703 Page
                                   ID #:1996


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                                                              FTU!938

                                                                      Academia 00407
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25           Page 310 of 703 Page
                                   ID #:1997
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                                                  !
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                     23;31!UG!49vj!Uvtggv-!Dgnngxwg-!YC!!;9117!
                                yyy/v.oqdkng/eqo!
                                                                      FTU!939

                                                                              Academia 00408
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 311 of 703 Page
                                   ID #:1998




                                                              FTU!93;

                                                                      Academia 00409
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 312 of 703 Page
                                   ID #:1999




                                                              FTU!941

                                                                      Academia 00410
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 313 of 703 Page
                                   ID #:2000




                                                              FTU!942

                                                                      Academia 00411
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 314 of 703 Page
                                   ID #:2001




                                                              FTU!943

                                                                      Academia 00412
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 315 of 703 Page
                                   ID #:2002




                                                              FTU!944

                                                                      Academia 00413
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 316 of 703 Page
                                   ID #:2003




                                                              FTU!945

                                                                      Academia 00414
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 317 of 703 Page
                                   ID #:2004




                                                              FTU!946

                                                                      Academia 00415
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 318 of 703 Page
                                   ID #:2005




                                                              FTU!947

                                                                      Academia 00416
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 319 of 703 Page
                                   ID #:2006




                                                              FTU!954

                                                                      Academia 00423
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 320 of 703 Page
                                   ID #:2007




                                                              FTU!955

                                                                      Academia 00424
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 321 of 703 Page
                                   ID #:2008




                                                              FTU!956

                                                                      Academia 00425
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 322 of 703 Page
                                   ID #:2009




                                                              FTU!957

                                                                      Academia 00426
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 323 of 703 Page
                                   ID #:2010




                                                              FTU!958

                                                                      Academia 00427
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 324 of 703 Page
                                   ID #:2011




                                                              FTU!959

                                                                      Academia 00428
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 325 of 703 Page
                                   ID #:2012




                                                              FTU!95;

                                                                      Academia 00429
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 326 of 703 Page
                                   ID #:2013




                                                              FTU!961

                                                                      Academia 00430
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 327 of 703 Page
                                   ID #:2014




                                                              FTU!962

                                                                      Academia 00431
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 328 of 703 Page
                                   ID #:2015




                          Exhibit 4
      Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25              Page 329 of 703 Page
                                          ID #:2016




        TDI ACQUISITION SUB. LLC, v. ALBRIGHT COLLEGE
                CIRCUIT COURT OF THE COUNTY OF VIRGINIA BEACH
                                 No. CL21-3972
Log of Academia/Albright/WCO Documents Withheld per Judge West’s March 22, 2022, Order
No.          DATE           FROM                   TO           Subject Matter         DESCRIPTION        BATES NO.
 1.         1/5/21     Andreas Bitzarakis   Sylvia Kim, Gary       Unrelated          Email Chain: re       00076
                                            Winnick, Mathew     Business Activity       updates on
                                               Bloch, Carl                          unrelated business
                                            Katerndahl, Tyler                           opportunity
                                                  Kratz
 2.         1/8/21     Andreas Bitzarakis      Sylvia Kim          Unrelated         Email re: draft of   00080-00083
                                                                Business Activity       report on
                                                                                    unrelated business
                                                                                       opportunity

 3.         1/25/21     Mathew Bloch        Sylvia Kim, Gary       Unrelated          WCO Pipeline        00087-00095
                                            Winnick, Mathew     Business Activity    Report (Albright
                                               Bloch, Carl                             Information
                                            Katerndahl, Tyler                         unredacted)
                                             Kratz, Andreas
                                               Bitzarakis,
                                              Saurabh Suri
 4.         2/2/21      Mathew Bloch        Sylvia Kim, Gary       Unrelated          WCO Pipeline        00098-00124
                                            Winnick, Mathew     Business Activity    Report (Albright
                                               Bloch, Carl                             Information
                                            Katerndahl, Tyler                         unredacted)
                                             Kratz, Andreas
                                               Bitzarakis,
                                              Saurabh Suri
      Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25               Page 330 of 703 Page
                                          ID #:2017



11.        2/22/21      Matthew Bloch            Andreas            Unrelated          Email re: Deal      00230-00236
                                             Bitzarakis, Gary    Business Activity   memo for Albright
                                             Winnick, Tyler                            and Unrelated
                                             Kratz, Esq., Carl                       Licensee (Albright
                                               Katerndahl                               Information
                                                                                        unredacted)
                                                                                        (Transaction
                                                                                      Strategy Section
                                                                                          redacted)
12.        2/23/21      Mathew Bloch          Gary Winnick,         Unrelated         Pipeline Report      00238-00247
                                                 Andreas         Business Activity         (Albright
                                             Bitzarakis, Tyler                          Information
                                             Kratz, Esq., Carl                          unredacted)
                                               Katerndahl,
                                              Saurabh Suri,
                                            Sylvia Kim, Roger
                                                 Jackson

13.        2/26/21     Andreas Bitzarakis    Mathew Bloch           Unrelated        Email re: Offer for   00258-00278
                                                                 Business Activity      Albright and
                                                                                     Unrelated Licensee
                                                                                          (Albright
                                                                                        information
                                                                                        unredacted)
14.        2/26/21      Todd Gray, Esq.     Andreas Bitzarakis      Unrelated        Email re: Offer for   00279, 00289
                                                                 Business Activity      Albright and
                                                                                     Unrelated Licensee
                                                                                          (Albright
                                                                                        information
                                                                                        unredacted)
15.        2/28/21     Andreas Bitzarakis    Todd Gray, Esq.        Unrelated        Email re: Offer for   00299-00301
                                                                 Business Activity   Unrelated Licensee
16.         3/2/21      Mathew Bloch        Gary Winnick; Carl      Unrelated         WCOS Pipeline        00304-00313
                                            Katerndahl; Tyler    Business Activity       Summary
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 331 of 703 Page
                                   ID #:2018




                          Exhibit 7
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 332 of 703 Page
                                   ID #:2019
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 333 of 703 Page
                                   ID #:2020
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 334 of 703 Page
                                   ID #:2021
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 335 of 703 Page
                                   ID #:2022




                          Exhibit 8
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 336 of 703 Page
                                   ID #:2023
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,               OUT-OF-STATE SUBPOENA IN
                                         A CIVIL ACTION
             Plaintiff,
                                         K21M-08-007 (JJC)
 v.
                                         C.A. No. 21-04481
 ALBRIGHT COLLEGE,                       (pending in Berks County,
                                         Pennsylvania)
             Defendant.




      PLAINTIFF TDI ACQUISITION SUB LLC’S MOTION TO COMPEL
       PRODUCTION OF DOCUMENTS FROM WCO SPECTRUM LLC
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 337 of 703 Page
                                     ID #:2024



        It is now more than eight months since Plaintiff TDI Acquisition Sub LLC

 served its subpoena on WCO Spectrum LLC, and WCO has yet to produce a single

 document. This dispute started with WCO refusing to meet and confer properly and

 filing a frivolous motion to quash, arguing this Court lacked the power to enforce a

 subpoena on WCO, a Delaware LLC, which WCO lost. Rather than meeting and

 conferring like this Court ordered, WCO appealed the order denying its motion,

 which it also lost. Having lost twice here, WCO went to Pennsylvania to seek a

 protective order, claiming this case was moot because it disclaimed any intention of

 pursuing defendant Albright College’s FCC license, which spawned the underlying

 litigation.   But WCO ignored the allegations made by a self-described

 whistleblower, who asserted that WCO and certain EBS spectrum licensees like

 Albright are engaged in a scheme to defraud TDI and its parent company, T-Mobile.

 WCO’s alleged scheme involves making sham offers to purchase licenses, which T-

 Mobile leases from thousands of educational institutions across the country, in order

 to trigger T-Mobile’s Right of First Refusal (“ROFR”) and collect kickbacks on the

 purchase amounts when T-Mobile exercises its ROFR. Based on the whistleblower

 allegations, the Pennsylvania court declined to interfere with TDI’s outstanding

 subpoenas, including this one.
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25     Page 338 of 703 Page
                                     ID #:2025



       Because WCO has refused to produce the requested discovery and instead

 tries to conceal documents that bear on whether it is committing a fraud, TDI is

 forced to move this Court to compel production.

                          RELEVANT BACKGROUND

       1.     TDI’s subpoena contains 15 document requests, each of which is

 relevant to the whistleblower allegations. Ex. 1.

       2.     In pursuing discovery, TDI has sought documents from Albright,

 WCO, and WCO’s consultant, Academia Spectrum LLC, regarding the

 circumstances surrounding and legitimacy of WCO’s offer to purchase Albright’s

 license.   Specifically, from WCO, TDI seeks documents and communications

 regarding Albright (Requests 1-6) and the legitimacy of WCO’s purported business

 in pursuing EBS licenses like Albright’s (Requests 7-15). See Ex. 1.

       3.     Since being served in August 2021, WCO has engaged in a pattern of

 obstruction and delay. WCO started by ignoring the deadline to respond. See Ex. 2.

 WCO then served boilerplate general objections, and refused to engage in meet and

 confers. See Ex. 3. WCO next filed a motion to quash, arguing that it—a Delaware

 LLC—was beyond a Delaware court’s subpoena powers. Mot. to Quash (Oct. 21,

 2021). After that motion was denied, WCO again refused to confer over the

 particular requests or produce a single document, and then shut that whole process

 down by appealing the order denying its motion to quash. While its appeal was

                                          2
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25        Page 339 of 703 Page
                                     ID #:2026



 pending here, WCO filed an improper (and unsuccessful) motion for protective order

 in Pennsylvania, seeking to abrogate this Court’s order. See Ex. 4 Tr. 34:15-16.

       4.     But during WCO’s machinations, a self-described whistleblower

 emerged and provided information and documents to TDI’s Pennsylvania counsel.

 The whistleblower alleged specifically that WCO and certain educational

 institutions are defrauding TDI and T-Mobile through a scheme involving offers to

 purchase EBS licenses, including the one held by Albright. Specifically, the

 whistleblower alleged that WCO was making sham offers to purchase licenses from

 educational institutions across the country and pocketing kickbacks from them in the

 event that T-Mobile exercised its ROFR to acquire the license at issue. TDI filed a

 motion for permission to review the documents, which was recently given. That

 court also refused to grant WCO’s motion for a protective order. It disagreed with

 WCO’s argument that the case is moot because it is no longer pursuing the Albright

 license, as the whistleblower’s allegations remain live. The court ruled that it would

 “not block[] subpoenas,” id. Tr. 34:15-16, and that it would permit TDI to seek

 discovery about any potential fraud from WCO and its consultant Academia.

       5.     In a parallel proceeding in Virginia, TDI sought to enforce the subpoena

 on Academia, which also had been refusing to produce documents. On March 22,

 the court there ordered Academia to produce all documents regarding Albright, Ex. 5

 Tr. 78:4-79:17, but stated that seeking broader documents about WCO’s business

                                           3
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 340 of 703 Page
                                     ID #:2027



 pursuing EBS licenses was “more an issue for WCO and [TDI’s] discovery in the

 WCO” proceeding in this Court, id. Tr. 62:21-24.

       6.     In the wake of the Virginia court’s order, TDI resumed the meet-and-

 confer process with WCO. Only then did WCO agree to withdraw its objections to

 Requests 1-6 and promise to produce all documents and communications regarding

 Albright. See Ex. 6. But more than a month has passed and WCO still has not

 produced a single document. WCO also refuses to produce any documents in

 response to Requests 7-15, arguing that it should not have to produce any documents

 that do not strictly relate to Albright, even though they may relate more broadly to

 the legitimacy of its business in pursuing EBS licenses. Id.

       7.     Because of all this, TDI must move to compel.

                                   ARGUMENT

       8.     WCO is wrongfully withholding responsive documents that bear on

 whether WCO and licensees like Albright are defrauding TDI and T-Mobile, as

 alleged by the whistleblower. Indeed, these requests concern whether WCO’s

 business in pursuing EBS licenses, including Albright’s, is legitimate, or simply a

 ruse to procure kickbacks when T-Mobile exercises its ROFR to buy them.

       9.     Requests 1-6 could not be more straightforward and seek all documents

 and communications regarding Albright that are plainly relevant to TDI’s claims.

 See Ex. 1.    These requests, in particular, seek documents regarding WCO’s

                                          4
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25      Page 341 of 703 Page
                                     ID #:2028



 communications with Albright, WCO’s internal communications and those with its

 consultants about Albright, WCO’s documents analyzing a potential Albright

 transaction, and WCO’s analysis of T-Mobile’s rights and anticipated reactions to

 such an offer. Because WCO cannot seriously object to their relevance, especially

 after the Virginia court ordered production in response to similar requests, WCO has

 withdrawn its objections to them. But despite having done so, WCO has failed to

 produce any such documents to TDI. WCO has not responded to TDI’s request for

 a status update on such production. Out of an abundance of caution, TDI thus seeks

 an order compelling such production.

       10.   Requests 7-11 seek documents directly concerning the legitimacy of

 WCO’s business in pursuing EBS licenses, which bear directly on the

 whistleblower’s allegations. See Ex. 1. Specifically, these requests seek documents

 and communications related to WCO’s current and contemplated role in the

 telecommunications industry, all of which target information about the actual or

 intended use (if any) of any such licenses going forward. Request 11, in particular,

 encompasses documents about the validity of any supposed financing arrangements

 to back WCO’s purported purchase offers. In other words, these requests all seek

 documents bearing on whether WCO aims to purchase EBS licenses to create or

 facilitate a telecommunications service, or for some other legitimate reason, or are

 shams intended to trigger T-Mobile’s ROFR and precipitate kickbacks to WCO.

                                          5
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 342 of 703 Page
                                     ID #:2029



       11.    The rest of the requests seek documents and communications

 underlying representations WCO made to certain licensees when it was purportedly

 pursuing transactions with them. Request 12 seeks documents related to WCO’s

 representation to Albright in its April 30, 2021 offer letter that “principals of WCO

 have sourced and deployed billions of dollars to fund . . . Wireless

 Telecommunications Operations.” Ex. 1. The veracity of, and any basis for, that

 statement bears on whether WCO’s offer was a fraud, as the whistleblower alleges.

       12.    And Requests 13-15 seek documents related to WCO’s representations

 to other licensees that (i) it “is a specialist in financing and operating

 telecommunications assets and companies”; (ii) it “has previously been active in the

 telecom industry”; and (iii) its founders’ companies “have consistently received

 FCC transfer approvals.” Ex. 1. Again, these documents bear directly on whether

 WCO is committing a fraud on TDI and T-Mobile, as it probes the basis of various

 assertions about its business in pursuing discussions with licensees.

       13.    TDI will be prepared to address each of these requests at a hearing.

 Of Counsel:                               BAYARD, P.A.

 WILLIAMS & CONNOLLY LLP                   /s/ Peter B. Ladig
 Kenneth J. Brown                          Peter B. Ladig (#3513)
 Denis R. Hurley                           600 N. King Street, Suite 400
 680 Maine Avenue SW                       Wilmington, Delaware 19899
 Washington, DC 20024                      (302) 655-5000
 (202) 434-5000                            Attorneys for TDI Acquisition Sub LLC

 Dated: May 20, 2022
                                           6
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25      Page 343 of 703 Page
                                     ID #:2030



       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,                     OUT-OF-STATE SUBPOENA IN
                                               A CIVIL ACTION
              Plaintiff,
                                               K21M-08-007 (JJC)
 v.
                                               C.A. No. 21-04481
 ALBRIGHT COLLEGE,                             (pending in Berks County,
                                               Pennsylvania)
              Defendant.


                           CERTIFICATE OF SERVICE

       I, Peter B. Ladig, hereby certify that on May 20, 2022, I caused a true and

 correct copy of the foregoing Plaintiff TDI Acquisition Sub LLC’s Motion to

 Compel Production of Documents from WCO Spectrum LLC to be served upon the

 following parties via FileandServe Express:

                                Ryan M. Ernst, Esquire
                                1204 N. King Street
                                Wilmington, DE 19801


                                               /s/ Peter B. Ladig
                                               Peter B. Ladig (#3513)

 Dated: May 20, 2022
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 344 of 703 Page
                                   ID #:2031
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,               OUT-OF-STATE SUBPOENA IN
                                         A CIVIL ACTION
             Plaintiff,
                                         K21M-08-007 (JJC)
 v.
                                         C.A. No. 21-04481
 ALBRIGHT COLLEGE,                       (pending in Berks County,
                                         Pennsylvania)
             Defendant.


                            [PROPOSED] ORDER

      AND NOW, this _____ day of ____________________, 2022, upon

 consideration of TDI Acquisition Sub LLC’s Motion to Compel Production of

 Documents from WCO Spectrum LLC, it is hereby ORDERED and DECREED that

 the Motion is GRANTED.




                                                             Clark, J.
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 345 of 703 Page
                                   ID #:2032
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC




                          Exhibit 1
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 346 of 703 Page
                                   ID #:2033
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 347 of 703 Page
                                   ID #:2034
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 348 of 703 Page
                                   ID #:2035
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 349 of 703 Page
                                   ID #:2036
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 350 of 703 Page
                                   ID #:2037
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 351 of 703 Page
                                   ID #:2038
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 352 of 703 Page
                                   ID #:2039
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 353 of 703 Page
                                   ID #:2040
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 354 of 703 Page
                                   ID #:2041
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 355 of 703 Page
                                   ID #:2042
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 356 of 703 Page
                                   ID #:2043




                          Exhibit 2
Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                          Page 357 of 703 Page
                                              ID #:2044

  From:            Hurley, Denis
  To:              "Ckaterndahl@winnickco.com"; "mbloch@winnickco.com"
  Cc:              "info@wcospectrum.com"; Mandernach, Christopher; Poteat III, R. Kennon; "rjackson@wcospectrum.com";
                   "arusso@wcospectrum.com"; Hurley, Denis
  Subject:         TDI Acquisition Sub LLC v. Albright College, No. 21-4881 – Subpoena to WCO Spectrum LLC
  Date:            Thursday, September 16, 2021 5:26:27 PM
  Attachments:     WCO Subpoena Cover Letter.pdf
                   WCO Pennsylvania Subpoena.pdf
                   WCO Delaware Superior Court Subpoena Form.pdf
                   Affidavit of Service re WCO Spectrum, LLC.PDF


  Carl:

  On August 19, 2021, plaintiff in the above action, TDI Acquisition Sub LLC, served WCO Spectrum
  LLC, via its registered agent, with a subpoena to produce documents and things. The subpoena was
  issued by Delaware Superior Court in Kent County, and it incorporates the terms of a subpoena
  issued by the relevant Pennsylvania state court in the above action. The cover letter, Pennsylvania
  subpoena, Delaware subpoena, and affidavit of service are attached for your reference.

  Under Delaware law, the deadline for WCO to object to the subpoena was 14 days from the date of
  service (September 2, 2021). See Del. Super. Ct. Civ. R. 45(c)(2)(B). The deadline set in the
  subpoena for the production of documents under Pennsylvania law was 20 days from the date of
  service (September 8, 2021). Both deadlines have now passed.

  Despite the passage of these deadlines, we have not received any documents from WCO in response
  to the subpoena. Please therefore confirm your receipt of this communication immediately, and
  produce the documents requested by the subpoena no later than Monday, September 20, 2021.
  TDI reserves all rights in the meantime.

  I am available to discuss by telephone should you have questions.

  Regards,

  Denis R. Hurley
  Associate | Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  (P) 202-434-5374 | (F) 202-434-5029
  dhurley@wc.com | www.wc.com
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 358 of 703 Page
                                   ID #:2045




                          Exhibit 3
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 359 of 703 Page
                                          ID #:2046



 ____________________________________
                                       :
  TDI Acquisition Sub, LLC,            :
                                       :
           Plaintiff,                  :
                                       :
                v.                     :
                                       :
  Albright College,                    :
                                       :
           Defendant.                  :
  ____________________________________ :

                                 OBJECTIONS TO SUBPOENA

        WCO Spectrum, LLC (“Respondent”) hereby objects to the subpoena (the “Subpoena”),

 issued by Plaintiff, TDI Acquisition Sub, LLC (“Plaintiff”), in regard to the matter of TDI

 Acquisition Sub, LLC v. Albright College, and Respondent avers as follows:

        1.      These Objections are made with respect to the Plaintiff’s Subpoena and each and

 every definition, instruction, and request contained therein. The assertion of the same, similar, or

 additional objections does not waive any of Respondent’s Objections.

        2.      Respondent objects to Plaintiff’s Subpoena because the issuing Court lacks

 jurisdiction over the matter.

        3.      Respondent objects to Plaintiff’s Subpoena because it is facially defective, and

 fails to conform to the applicable Rules of Civil Procedure.

        4.      Respondent objects to Plaintiff’s Subpoena due to ineffective and improper

 service.

        5.      Respondent objects to Plaintiff’s definitions, instructions and Document Requests

 (collectively referred to as “Document Requests”) in the Subpoena to the extent that they seek to

 impose unfair, overly broad and/or unreasonable obligations upon Respondent beyond the

 requirements of the applicable Rules of Civil Procedure and any other applicable rule or law.
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 360 of 703 Page
                                           ID #:2047



        6.      Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 disclosure of information protected from discovery by the attorney-client privilege, work-product

 doctrine, spousal privilege, self-critical analysis or investigative privilege, consulting expert

 exemption or any other privilege or exemption, or to the extent the Document Requests seek

 disclosure of confidential, proprietary or trade secret information protected from disclosure by

 applicable law. To the extent that any information is inadvertently provided, which information

 is properly the subject of the attorney-client privilege or the work-product privilege, such

 disclosure is not to be construed as a waiver of the attorney-client privilege or the work-product

 privilege. In the event that inadvertent disclosure occurs, Plaintiff shall make no use of the

 contents thereof, nor premise any further discovery on information learned therefrom.

        7.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 inaccurate, ambiguous, misleading or argumentative, assume facts that have no evidentiary basis,

 are unduly vague and incomprehensible or are unreasonably cumulative or duplicative.

        8.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 irrelevant and/or seek information not reasonably calculated to lead to the discovery of

 admissible evidence.

        9.      Respondent objects to Plaintiff’s Document Requests to the extent that they call

 for or seek legal conclusions and/or analysis.

        10.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 documents and/or information not within Respondent’s knowledge, possession, custody or

 control.

        11.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 any document and/or information that is readily available to Plaintiff from its own records, from



                                                   2
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 361 of 703 Page
                                          ID #:2048



 a party to the litigation or is obtainable from publicly available sources that are more convenient,

 less burdensome and/or less expensive than if obtained from Respondent.

        12.     By objecting to Plaintiff’s Document Requests, Respondent specifically does not

 waive any rights under applicable statutes or laws, and does not consent to any court’s

 jurisdiction. No incidental or implied admissions are intended by the responses herein. The fact

 that Respondent has objected to any Document Request herein is not intended and shall not be

 construed as a waiver of any part of any objection, whether general or specific. In particular,

 Respondent does not in any way waive any objection but, rather, intends to preserve and does

 preserve all objections as to competency, relevancy, materiality and admissibility, any right to

 object to any use of the responses herein in any subsequent proceedings, including the trial of

 this or any action, all objections to vagueness, broadness and ambiguity, and all rights to object

 on any ground to any further discovery in this action.

        13.     Respondent expressly reserves its right to supplement or modify its objections

 with such pertinent information as it may hereafter discover and will do so to the extent required

 by the applicable Rules of Civil Procedure and any other applicable rule or law. Respondent also

 expressly reserves the right to raise supplemental objections.




                                                  3
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 362 of 703 Page
                                   ID #:2049




                          Exhibit 4
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 363 of 703 Page
                                   ID #:2050


       TDI ACQUISITION SUB LLC        : In the Court of Common Pleas
                      Plaintiff       : of Berks County, Pennsylvania
                                      : Civil Action Law
                 vs.                  :
                                      :
                                      :
       ALBRIGHT COLLEGE               :
                      Defendant       : No. 21-04881
                                ______________

                                      HEARING
                              Monday, March 21, 2022
                               Reading, Pennsylvania
                                    ______________

               Before THE HONORABLE J. BENJAMIN NEVIUS, Judge
                                ______________

       APPEARANCES:

       For the Plaintiff:        STEVEN J. ENGELMYER, ESQUIRE
       TDI Acquisition           1717 Arch Street, 5th Floor
       Sub, LLC                  Philadelphia, Pennsylvania 19103



                                 KENNETH J. BROWN, ESQUIRE
                                 725 Twelfth Street, N.W.
                                 Washington, D.C. 20005

       For the Defendant:        PETER F. SCHUCHMAN, JR, ESQUIRE
       Albright College          2640 Westview Drive
                                 Wyomissing, Pennsylvania 19610



       For nonparty WCO:         MAURICE R. MITTS, ESQUIRE
       Spectrum, LLC             1822 Spruce Street
                                 Philadelphia, Pennsylvania 19103



       DISTRIBUTION:             Original and once (1) copy filed with
                                 the Office of the Prothonotary to be
                                 distributed to Attorney Mitts upon
                                 payment of balance due and owing.


                                 ANGELA ROTKISKE
                             Official Court Reporter


                                           1
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 364 of 703 Page
                                    ID #:2051


   1   (Reading, Pennsylvania, Monday, March 21, 2022, at 2 p.m.)

   2               (REPORTER'S NOTE:       At the direction of the

   3   Trial Judge, this transcript shall be considered as

   4   containing an exception to every ruling by the Court.)

   5                      THE COURT:   All right.     This is civil docket

   6   21-4881.    This is the time and place for a sort of all

   7   purposes conference all hands on deck with the various party

   8   and nonparty participants in this proceeding.            We have Mr.

   9   Schuchman on behalf of Albright College.            We have Mr.   Brown

  10   and Mr.    Engelmyer on behalf of Plaintiffs as well Mr.

  11   Mitts on behalf of nonparty, WCO Spectrum, LLC.            And after

  12   reading all of the paperwork it appears to be really between

  13   a battle between WCO and TDI is really what's going on and

  14   Albright sort of in the middle if that's an accurate --

  15                      MR. SCHUCHMAN:    I have strategically placed

  16   myself, Your Honor.

  17                      THE COURT:   Physically in between.

  18                      MR. SCHUCHMAN:    Yes.

  19                      THE COURT:   So I had Mr.     Mitts, I don't think

  20   you were a participant in the first conference call that I

  21   had with counsel in this a few weeks ago, I finally have had

  22   an ability to get up to speed on Judge Rowley's cases.             I'm

  23   still transitioning out from assignments I've had

  24   previously.    This one is -- and we can go off the record.

  25                      (WHEREUPON, discussion occurred off the



                                            2
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 365 of 703 Page
                                    ID #:2052


   1   shows something else that involves WCO maybe WCO comes in

   2   and Albright is out.       I don't know.

   3                      But my view is, again, if we have a small

   4   nonprofit college here that really didn't do anything wrong

   5   we need to have an opportunity for them to extricate

   6   themselves from this as soon as possible and let the two big

   7   boys in the room fight each other.           So take a look at your

   8   documents.     I will give you an order to that effect.         I will

   9   hold on issuing an order on the protective motion until I

  10   can take a look at some of the stuff that you submitted.

  11   All right.     Yes?

  12                      MR. BROWN:   May we continue pursuing the

  13   subpoenas to gather the additional information that we are

  14   looking for?

  15                      THE COURT:   I'm not blocking any subpoenas

  16   that have already gone out.        Sounds like you are already

  17   talking about that with another court, a court of

  18   jurisdiction tomorrow.

  19                      MR. BROWN:   Two actually.

  20                      THE COURT:   Two.     You are dealing in Delaware

  21   as well?

  22                      MR. BROWN:   Not tomorrow.

  23                      THE COURT:   Okay.     I will let you guys fight

  24   that out with those particular courts.           Go ahead.

  25                      MR. MITTS:   Your Honor, the first thing is if



                                           34
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 366 of 703 Page
                                   ID #:2053




                          Exhibit 5
      Case 2:23-cv-04347-AH-E                      Document 149-3 Filed 05/30/25                 Page 367 of 703 Page
     VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF VIRGINIAID #:2054APPEARANCES:
               BEACH
                                                                                WILLIAMS & CONNOLLY, L.L.P.
                                                                                By: Denis R. Hurley, Esquire,
     ----------------------------                                               By: R. Kennon Poteat, III, Esquire,
     TDI ACQUISITION SUB, LLC, :                                                725 Twelfth Street NW
                                 :                                              Washington, D.C. 20005
                     Plaintiff, :                                               dhurley@wc.com
                                 :                                              kpoteat@wc.com
     v.                          : CASE NUMBER:                                 Pro hac vice counsel for TDI Acquisition, LLC.
                                 : CL21-3972
                                 :                                              HUNTON ANDREWS KURTH
     ALBRIGHT COLLEGE,           :                                              By: Kevin J. Cosgrove, Esquire
                     Defendant. :                                               500 East Main Street, Suite 1301
     ----------------------------                                               Norfolk, Virginia 23510
                                                                                kcosgrove@hunton.com
                                                                                Counsel for TDI Acquisition, LLC.
                                                                                DURRETTE, ARKEMA, GERSON & GILL, P.C.
                                                                                By: Wyatt B. Durrette, Jr., Esquire,
                      HEARD BEFORE THE HONORABLE                                1111 East Main Street, 16th Floor
                                                                                Richmond, Virginia 23219
                        PATRICIA L. WEST, JUDGE                                 wdurrette@dagglaw.com
                                                                                Counsel for Academia Spectrum, LLC.

                      MARCH 24, 2022 - 2:10 P.M.                                MITTS LAW, LLC
                                                                                By: Maurice R. Mitt, Esquire,
                                                                                1822 Spruce Street
                                                                                Philadelphia, Pennsylvania 19103
                       VIRGINIA BEACH, VIRGINIA                                 (215)866-0112
                                                                                mmitts@mittslaw.com
                                                                                Counsel for Academia Spectrum.




                          KELLY A. ROWE, CCR
                        OLD DOMINION REPORTING
                             (757)650-8546                                                  KELLY A. ROWE, CCR
                        kellyrowe305@gmail.com                                            OLD DOMINION REPORTING
                                                                                               (757)650-8546
                                                                                          kellyrowe305@gmail.com




                                                                   3                                                                  4


1                        (Court reporter duly sworn.)                  1    to see you. Maurice Mitts on behalf of Academia.
2                                                                      2              THE COURT: Smitts?
3                    THE COURT: We are here in matter of TDI           3              MR. MITTS: Mitts, M-I-T-T-S.
4        Acquisition versus Albright College. This is in               4              THE COURT: Okay.
5        reference to a subpoena duces tecum that was issued to        5              MR. DURRETTE: And Wyatt Durrette, Your
6        a Virginia corporation or established in Virginia,            6    Honor, on behalf of Academia.
7        Academia.                                                     7              THE COURT: Okay. And I'm going to put some
8                    So who do we have present today? If we can        8    notes down that help me real quick on this. We have --
9        just go down the line. This is the TDI -- yeah, TDI           9    let's see. And just so that I can keep everything
10       side.                                                         10   straight, I'm going to go through this and make sure I
11                   MR. HURLEY: Yes, Your Honor. Denis Hurley         11   have this right. I just do a little chart for me to
12       with Williams & Connolly.                                     12   follow.
13                   THE COURT: Your name again? I'm sorry.            13             TDI had a contractual relationship with
14                   MR. COSGROVE: Kevin Cosgrove, Hunton,             14   Albright. And then WCO had a bid, whether it's a bona
15       Andrews, Kurth.                                               15   fide bid or bona fide competing entity with Albright as
16                   THE COURT: What was your first name -- I          16   well. And then WCO has some relationship with
17       mean your second name?                                        17   Academia, and those are the records that TDI is trying
18                   MR. HURLEY: Denis Hurley.                         18   to get.
19                   THE COURT: Hurley. All right.                     19             MR. DURRETTE: That's right, Your Honor.
20                   MR. POTEAT: And good afternoon, Kennon            20             THE COURT: And the last time we were here --
21       Poteat of Williams & Connolly.                                21   well, the first time we were here the Court determined
22                   THE COURT: I think you argued last time.          22   that Virginia was an appropriate place for the subpoena
23                   MR. POTEAT: I did.                                23   duces tecum to issue. We came back. I had asked
24                   THE COURT: Okay.                                  24   everyone to try to work out their differences on
25                   MR. MITTS: Good afternoon, Your Honor. Good       25   discovery now that we'd established jurisdiction. And
                                                               61                                                                62
     Case 2:23-cv-04347-AH-E                    Document 149-3 Filed 05/30/25 Page 368 of 703 Page
1      stamped Academia 070.                             ID #:2055
                                                               1   not the case -- I don't have to be a litigant to the
2                So number one, it's not true they are a            2     case. I don't have to be a litigant to the case. It's
3      competitor. Number two, the documents that go to that        3     whether or not I'm willing to do a transaction. And
4      subject have been produced. So I understand that they        4     both my desire, my stated intention and my legal right
5      have a wish.                                                 5     under the option are all negative. That really is a
6                THE COURT: Okay. Let me just be clear about        6     game over.
7      this. I'm not asking -- well, I'm going to ask you --        7               THE COURT: So the issue that you have this
8      and I'm not saying that you have to turn anything over,      8     isn't relevant, how can you justify the relevance of
9      but does Academia have any prior or current                  9     asking for documents from Academia that are not related
10     relationship with WCO involving some other entities?         10    to this particular issue given the fact that WCO has
11               MR. MITTS: I think they do. We wouldn't be         11    provided you information to show that they are not a
12     having this conversation if this was a one-trick pony.       12    competitor?
13     I think they do.                                             13              MR. POTEAT: Well, the problem is the
14               THE COURT: Okay. So --                             14    information that they have provided is WCO saying, we
15               MR. MITTS: And that's why it is not                15    are not a competing entity. When in the history of
16     pertinent because that has nothing to do with whether        16    litigation has that been conclusive of any issue? If
17     or not this is a bona fide offer for the Albright deal.      17    that was the case, you would never be able to take
18     And as you correctly pointed out, we are not a               18    discovery period because the other side would say, ah,
19     contender. And so when they said, well, that will put        19    yeah, no, we are not a competing entity but don't look
20     the issue to rest. No, it won't put the issue to rest.       20    under the hood.
21     We have already put the issue to rest. If we are not         21              THE COURT: But isn't this more an issue for
22     getting married to Albright, it is over.                     22    WCO and your discovery in the WCO case and not Academia
23               I know they want to use this as a pretext for      23    because they were involved with WCO for purposes of
24     invading another business, but there isn't a                 24    this particular transaction. Now you are not going
25     controversy here any more. And to pretend that that's        25    after WCO, or maybe that's who you want to say is the




                                                               63                                                                64


1      person who -- well, is -- okay. WCO was a competitor.        1     do with these licenses.
2                MR. POTEAT: The -- in that lawsuit against         2               THE COURT: And you need to get that from
3      Albright it is a competing -- yeah, it's a competing         3     WCO. As far as I can tell, Academia is involved as
4      entity to bar.                                               4     their agent in this particular deal. They don't have
5                THE COURT: They were trying to bar from            5     an obligation -- they are not part of this at all.
6      Albright, so. I mean, you would find out from them and       6     They are not even really that tangentially
7      from looking at their practices whether or not they are      7     related because they -- I mean, I guess they were. But
8      a competing entity.                                          8     they don't have an obligation to provide you with WCO's
9                MR. POTEAT: Well, we certainly would be            9     documents. WCO is the company that you should be
10     doing that. But to the extent Academia has information       10    getting those documents from to find out what their
11     about it that is relevant to those issues -- WCO was         11    business practices are.
12     using Academia as their agent in this.                       12              MR. POTEAT: We are certainly seeking them
13               THE COURT: And you are getting the                 13    from WCO, but I don't think there's any legal basis to
14     information from them about WCO and Albright.                14    say, and you can't go after those documents from
15               MR. POTEAT: Well, we -- we haven't gotten          15    Academia. Because, who knows, WCO may have some
16     anything about WCO in terms of communications with WCO       16    documents. Academia may have documents that WCO
17     on Albright. And to the extent that Academia has             17    doesn't. They may have information that they put
18     information about WCO's business that would render           18    together about WCO's business, what the plans are
19     them -- that's what all of these, 12, 13, 14 -- I mean,      19    related to --
20     that is what all of these are going towards is trying        20              THE COURT: Well, if this is the way that
21     to get information, documents and communications that        21    they do business then you are probably not going to
22     would show WCO is, in fact, a competing entity.              22    find anything more in any other deal than what you
23               The fact WCO says, no. Okay. But we have to        23    found in this deal. It would be the same kind of
24     be able to test that and see what documents there exist      24    information. The kind of e-mails that you got here
25     about their business and about what they are going to        25    between WCO and Academia or -- would be the same in any
                                                               77                                                                78
     Case 2:23-cv-04347-AH-E                    Document 149-3 Filed 05/30/25 Page 369 of 703 Page
1                  THE COURT: If after that you find something ID #:2056
                                                                     1   MR. MITTS: Okay. That's fine, Your Honor.
2      it would be a violation. Or I guess after that it            2                THE COURT: Instead of they have agreed to.
3      would not be timely and they could bring it back.            3    I think that's where your sticking point might be?
4                  MR. POTEAT: And we just want an order. I         4                MR. POTEAT: Well, we just need the fact
5      mean, the tone wasn't intended to be punitive at all.        5    that -- you know, maybe another way to get at it, if he
6                  THE COURT: Well, you read his. Are you okay      6    wants to put in there what you denied. I mean, you
7      with his?                                                    7    denied their motion to quash as to 1, 2 and 3. And
8                  MR. POTEAT: We would like an order that          8    then you partially denied it to 4. And so if you put
9      directs them to produce all communications and               9    that --
10     documents.                                                   10               THE COURT: I guess we can just do one order
11                 THE COURT: Is that not what yours does?          11   encompassing the whole motion today, the final results.
12                 MR. MITTS: Yes, it does, Your Honor.             12   I ordered that these are the terms. I thought if we
13                 MR. POTEAT: It doesn't. Theirs just talks        13   got the terms we were going to use I thought the rest
14     about their representation --                                14   was pretty clear.
15                 MR. MITTS: No, it goes further.                  15               MR. MITTS: I did too, Your Honor. That is
16                 MR. POTEAT: Then it says you will do a           16   why I focused on the terms because I thought this was
17     search.                                                      17   really the only remaining issue.
18                 MR. MITTS: Here is what I said.                  18               THE COURT: So I think it's appropriate too
19                 THE COURT: His further ordered something.        19   since we had the hearing to say all the other findings
20                 MR. MITTS: Yeah. "And to address any             20   as well. That you would comply with the other portions
21     remaining concerns of TDI, Academia's counsel has            21   that you have.
22     agreed to run a further search with the following terms      22               MR. MITTS: That we have. And that we have
23     against the Academia records."                               23   agreed to do this further.
24                 THE COURT: Well, how about, it is further        24               THE COURT: You made representations that you
25     ordered that Academia will run these terms?                  25   have provided everything that is pursuant to -- or that




                                                               79                                                                80


1      is responsive to 1, 2, 3 and 4 -- not 4 but partially        1    have. That's what all of this production is.
2      4.                                                           2                MR. POTEAT: Related to WCO's offer. So it
3                  MR. MITTS: It's 1, 3, partially 4, 5 and 6.      3    was limited even further in terms of the communications
4                  THE COURT: So 1, 2 --                            4    with Albright. And so we -- as the order that we
5                  MR. POTEAT: 1, 2, 3 and partially 4.             5    proposed it would include the earlier discussions with
6                  MR. MITTS: Partially 4, 5 and 6. And that        6    Albright. So any communications Academia had with
7      documents don't exist for 7, 8, 9, 10, 11 and 15. And        7    Albright ought to be produced.
8      the Court sustained our objections as to 12, 13 and 14.      8                THE COURT: Okay. But we haven't talked
9                  THE COURT: As represented by counsel             9    about that though. I don't think. Did we?
10     documents don't exist for those and -- yeah.                 10               MR. POTEAT: Yeah. Well, I mean, anything
11                 MR. POTEAT: I mean, I don't want an order        11   Academia has regarding Albright should be produced.
12     saying that documents don't exist because I think we         12   And I thought that's what we -- we got to.
13     will probably be back here at some point.                    13               THE COURT: Well, I guess I didn't address
14                 THE COURT: Counsel has represented there are     14   that specifically. I was referring to Albright and
15     no documents responsive to 4 -- well, no, that is a          15   this deal just like I was referring to WCO and this
16     partial -- 13, 14, 15, whatever it is.                       16   deal. This particular deal.
17                 MR. MITTS: It's 7, 8, 9, 10, 11 and 15.          17               If they represent Albright in some other way,
18                 THE COURT: We didn't talk about those            18   I never talked about that --
19     because they actually involve Albright but maybe not         19               MR. POTEAT: Yeah, they don't represent
20     WCO. But we haven't talked about that issue.                 20   Albright. They represent WCO.
21                 MR. MITTS: We did, Your Honor.                   21               THE COURT: Y'all never argued that. Or if
22                 THE COURT: We talked about Academia and WCO.     22   they represent any other company that has been dealing
23     We never talked about Academia and Albright not related      23   with Albright. I guess they wouldn't. That would be a
24     to WCO.                                                      24   conflict.
25                 MR. MITTS: Well, Academia and Albright they      25               MR. POTEAT: Yeah, there has been no
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 370 of 703 Page
                                   ID #:2057




                          Exhibit 6
Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25         Page 371 of 703 Page
                                              ID #:2058

  From:            Poteat III, R. Kennon
  To:              Maurice Mitts
  Cc:              Hurley, Denis
  Subject:         RE: Albright case - WCO Subpoena
  Date:            Monday, May 2, 2022 11:00:14 AM


  Maurice:

  Please advise on when WCO will make its production in response to the TDI subpoena. It’s now
  been more than a month since WCO said it would produce all responsive documents regarding
  Albright, as set forth below.

  Thanks,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His




  From: Maurice Mitts <MMitts@mittslaw.com>
  Sent: Sunday, April 17, 2022 8:43 PM
  To: Poteat III, R. Kennon <kpoteat@wc.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena


  Ken,

             I hope you enjoyed the holiday.

       I have followed up on the search terms and the custodians we
  discussed for the WCO subpoena. We will run those terms against the
  custodians’ files. I will update once I have a better understanding of the
  volume of materials generated from these search criteria and as to when
  we can make a production.

  Thank you,
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 372 of 703 Page
                                          ID #:2059

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  From: Poteat III, R. Kennon <kpoteat@wc.com>
  Sent: Friday, April 8, 2022 3:40 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Maurice:

  I’m writing to follow-up on my e-mail below from Monday.

  Thanks,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
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  From: Poteat III, R. Kennon
  Sent: Monday, April 4, 2022 2:09 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Maurice:

  I write to follow-up on our meet and confer from Thursday, March 31 regarding TDI’s subpoena
  duces tecum to WCO Spectrum in the Albright matter.
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25               Page 373 of 703 Page
                                           ID #:2060

  First, with respect to Requests 1-6, you indicated that WCO was withdrawing its objections/motion
  to quash and will produce all responsive documents. In terms of custodians, we request that WCO
  search and collect documents from Gary Winnick, Carl Katerndahl, Matthew Bloch, and Ash
  Vasudevan, along with any other personnel or agents doing work regarding Albright. As we
  discussed, you agreed that WCO would search for documents in e-mail, on individual laptops/hard
  drives, and on WCO shared drives/folders, as well as hard copy materials. Finally, you asked us for a
  list of proposed search terms, which we provide below:

        WND475
        Albright
        “@albright.edu”
        “Reading, PA” OR “Reading, Pennsylvania”
        “16,200,000” (including with wildcard “*16,200,000”)
        “1,620,000” (including with wildcard “*16,200,000”)
        “Academia” AND “Albright”
        “@academiaspectrum.com” AND “Albright”
        “@selectspectrum.com” AND “Albright”
        “Bitzarakis” AND “Albright”
        “Andreas” AND “Albright”
        “Vasudevan” AND “Albright”
        “Kratz” AND “Albright”
        “tmkratz@gmail.com” AND “Albright”
        “@wbklaw.com” AND “Albright”
        “ROFR” AND “Albright”
        “Right of First Refusal” AND “Albright”
        “Gray” AND “Albright”
        “@graymillerpersh.com” AND “Albright”

  Second, with respect to Requests 7-10, WCO had previously indicated that it “does not possess any
  document responsive” to those requests. We asked for specifics in terms of what WCO had done to
  search for such documents, and you did not have that information but said you would provide it to
  us. You also indicated that as part of your search, collection, and production regarding Requests 1-6,
  WCO would look for documents and communications that would be responsive to Requests 7-10
  and would produce them to the extent there are any.

  Third, regarding Request 11, you indicated that WCO was not willing to produce any documents,
  unless they concerned Albright. We explained that TDI needed documents responsive to Request
  11, as they are relevant to its claims that Albright failed to show WCO made a bona fide offer, which
  includes, but is not limited to, the “Competing Entity” issue under the TDI-Albright Lease. We also
  explained that such documents were relevant to TDI’s investigation of the whistleblower allegations
  as they related to WCO and Albright. We, however, understand that WCO is going to stand on its
  objections to that request.

  Finally, regarding Requests 12-15, you said that you did not think WCO would be willing to produce
  documents unless they concerned Albright. We indicated that these requests sought information
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25              Page 374 of 703 Page
                                         ID #:2061

  related to representations that WCO has made in correspondence with EBS license holders, and we
  expect WCO to produce any such material, given that it is relevant to the bona fide offer issue,
  including the bar to any sale to a “Competing Entity.” Please let us know if WCO will modify its
  position with respect to these requests.

  Regards,
  Kennon

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  From: Poteat III, R. Kennon
  Sent: Wednesday, March 30, 2022 5:37 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Sounds good. Denis, can you send around a dial-in?

  Thanks,
  Kennon

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  From: Maurice Mitts <MMitts@mittslaw.com>
  Sent: Wednesday, March 30, 2022 2:51 PM
  To: Poteat III, R. Kennon <kpoteat@wc.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena


  Kennon,

            Let’s have a call tomorrow at 4 pm if that still works for you.

  Thank you,
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                      Page 375 of 703 Page
                                                ID #:2062



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  From: Poteat III, R. Kennon <kpoteat@wc.com>
  Sent: Monday, March 28, 2022 5:54 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: Albright case - WCO Subpoena

  Maurice:

  With respect to TDI’s subpoena to WCO, we’d like to meet and confer this week. We are available
  tomorrow morning between 10-11, Wednesday is open (except 11-noon), and Thursday afternoon is
  open (between 11-4:30). Please let us know what works for you, and we’ll send an invite.

  Best,
  Kennon

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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 376 of 703 Page
                                   ID #:2063




                          Exhibit 9
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25 Page 377 of 703 Page
                                    ID #:2064
                                                EFiled: Aug 11 2022 10:16AM EDT
                                                Transaction ID 67921276
                                                Case No. K21M-08-007 JJC




                                    August 11, 2022

 VIA LEXIS NEXIS FILE & SERVEXPRESS
 The Honorable Jeffrey J. Clark
 The Honorable Andrea M. Freud
 State of Delaware Superior Court
 Kent County Courthouse
 38 The Green
 Dover, Delaware 19901


       Re:   TDI Acquisition Sub LLC v. Albright College
             Case No. K21M-08-007 (JJC)

 Dear Judge Clark and Commissioner Freud:

       I write on behalf of WCO Spectrum, LLC (“WCO”) regarding the Motion to

 Compel filed by TDI Acquisition Sub, LLC (“TDI”) that is set to be heard by the

 Court in person today at 2:00 p.m. WCO has produced the documents requested in

 TDI’s subpoena, thereby mooting TDI’s Motion to Compel. WCO believes

 today’s hearing should be cancelled as unnecessary; TDI believes the hearing

 should proceed.

       The subpoena that TDI served on WCO contains 15 documents requests.

 Motion ¶ 1. TDI filed the Motion to Compel “[b]ecause WCO has refused to

 produce the requested discovery . . . TDI is forced to move this Court to compel
Case 2:23-cv-04347-AH-E       Document 149-3 Filed 05/30/25         Page 378 of 703 Page
                                       ID #:2065
 THE HONORABLE JEFFREY J. CLARK AND THE HONORABLE ANDREA M. FREUD
 August 11, 2022
 Page 2 of 2

 production.” Motion at 2. The Motion to Compel does not include a “wherefore”

 clause or “prayer for relief” and the proposed order to the Motion to Compel

 simply states that the Motion is “Granted.” Therefore, the Motion to Compel only

 seeks the production of documents in response to the subpoena’s 15 document

 requests.

        On August 10, 2022, WCO produced to TDI 11,451 pages of documents

 responsive to TDI’s subpoena. WCO requested that TDI withdraw the Motion to

 Compel, but TDI responded that it will proceed with the hearing. WCO believes

 that TDI has received all the relief it requested in the Motion to Compel and that

 there is no further relief that was requested that the Court could grant.

 Accordingly, WCO respectfully requests that the Court deny the Motion to

 Compel, without prejudice, as moot and cancel today’s hearing.

        Counsel is available at the convenience of the Court, should Your Honor have

 any questions or concerns regarding this matter.


                                                   Respectfully Submitted,


                                                   /s/ David M. Klauder

                                                   David M. Klauder, Esq. (#5769)

 cc: Peter B. Ladig, Esq. (by File & Serve)
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 379 of 703 Page
                                   ID #:2066




                          Exhibit 10


                REDACTED VERSION OF DOCUMENT PROPOSED TO
                           BE FILED UNDER SEAL
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 380 of 703 Page
                                   ID #:2067




                          Exhibit 11
Case
 Case2:22-cv-14107-XXXX
       2:23-cv-04347-AH-E Document
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                                              on FLSD
                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 381 of 703
                                                                           Page Page
                                                                                1 of 22
                                     ID #:2068


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION


 NSAC, LLC,

                          Plaintiff,
 v.                                                            Case No. _________________

 THE SCHOOL BOARD OF ST. LUCIE
 COUNTY, FLORIDA,

                          Defendant.


                                             COMPLAINT

         Plaintiff NSAC, LLC (“NSAC”), by its undersigned counsel, hereby brings this Complaint

 (“Complaint”) to remedy several breaches of contract by Defendant the School Board of St. Lucie

 County, Florida (the “Board”).

                                       NATURE OF THE ACTION

         1.       The Board holds two Federal Communications Commission (“FCC”) licenses to use

 eight unique “channels” of radio frequency spectrum in the Fort Pierce, Florida area (the “Licenses”).

 These licensed channels are part of the Educational Broadband Service (“EBS”), which is a range of

 spectrum that the FCC historically has licensed only to educational and non-profit entities. Those

 entities, in turn, typically have leased the spectrum capacity authorized by their licenses to commercial

 entities.

         2.       NSAC is a subsidiary of T-Mobile US, Inc. (“T-Mobile”), a company that provides

 wireless communications services. NSAC’s business is to acquire and hold spectrum use rights for

 itself and other T-Mobile affiliates. Since 2008, the Board has leased to NSAC or its predecessor-in-

 interest the excess capacity on the licensed channels pursuant to a written agreement (the “Lease

 Agreement”).

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                                                        Docket 03/25/2022
                                                               Page 382 of 703
                                                                           Page Page
                                                                                2 of 22
                                     ID #:2069


        3.      The Lease Agreement guarantees that NSAC will make certain payments to the

 Board and, in exchange, the Board provides various rights to NSAC. Those rights include the

 following:

                a.   NSAC’s Exclusivity right, which prohibits the Board from assigning the

                     Licenses to a third party unless certain criteria are met, including, without

                     limitation, that the proposed buyer or assignee may not be a “Competing

                     Entity,” as that term is defined in the Lease Agreement. See Ex. A §§ 3(a),

                     10(c).

                b.   NSAC’s Right of First Refusal (“ROFR”), which provides that, in the event the

                     Board receives an “acceptable bona fide offer” for the Licenses, NSAC has the

                     right to match that offer and receive certain additional information concerning

                     that offer. See Ex. A § 3(b).

                c.   NSAC’s Right to Participate, which provides that, in the event that the Board

                     solicits bids, proposals, or offers for the sale or assignment of the Licenses, the

                     Board must provide NSAC “with an opportunity no less favorable in timing or

                     substance than the opportunity provided to any other entity” to, inter alia,

                     “receive information” with respect to such bids, proposals, or offers, “discuss

                     such information” with the Board, and “counter” such bids, proposals, or offers.

                     See Ex. A § 3(f).

        4.      The Board has breached each of these provisions of the Lease Agreement.

        5.      In November 2021, the Board informed NSAC that it had received a purported offer

 to purchase the Licenses from a third-party competitor to NSAC, WCO Spectrum LLC (“WCO”), for

 $6,795,000.

        6.      Three months later, in February 2022, the Board informed NSAC that it had received

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                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 383 of 703
                                                                           Page Page
                                                                                3 of 22
                                     ID #:2070


 a new purported, non-binding offer from WCO, this one for $7,550,000. The Board characterized

 this offer as “bona fide” and informed NSAC that it intended to accept the new offer unless NSAC

 exercised its ROFR right within 30 days. The Board also summarily asserted that WCO was not a

 Competing Entity and attached a conclusory declaration that purported to verify as much but

 contained no supporting evidence.

        7.        In response, NSAC requested that the Board provide certain information and

 assurances due to NSAC under the Lease Agreement. Among other things, NSAC requested that the

 Board provide information sufficient to establish that WCO’s offer was bona fide and thus capable of

 being accepted, including information to substantiate its unsupported assertion that WCO is not a

 Competing Entity. NSAC also requested that the Board provide information that NSAC is due under

 the Right to Participate provision, including all documents and communications exchanged between

 WCO and the Board concerning WCO’s offers.

        8.        NSAC also offered that the parties could enter a standstill agreement that would

 preserve the status quo by stipulating that: (i) until the issues raised in NSAC’s letter had been

 resolved, the time in which NSAC must decide whether to exercise its ROFR right would not start

 running; and (ii) in the interim, the Board would not proceed with any proposed sale or assignment of

 the Licenses.

        9.        The Board refused to provide the requested information or to enter the proposed

 standstill agreement, and took the position that NSAC’s ROFR right expires on March 26, 2022.

        10.       The Board, as the party seeking to invoke the contractual exception to exclusivity,

 bears the burden of establishing that WCO’s offer is bona fide and capable of being accepted,

 including but not limited to establishing that WCO is not a Competing Entity.

        11.       The Board has not carried this burden.

        12.       Accordingly, unless and until the Board establishes that the exception to exclusivity

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                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 384 of 703
                                                                           Page Page
                                                                                4 of 22
                                     ID #:2071


 applies, it should not be permitted to sell or assign the Licenses to WCO, or should be required to

 unwind any such transaction to the extent the Board already has purported to effect it.

        13.        Additionally, it is critically important that the 30 days in which NSAC must decide

 whether to match an “acceptable bona fide” offer under the ROFR provision does not start running

 until the Board in fact has established that WCO’s offer is bona fide and capable of being accepted.

 Otherwise, the Board could coerce NSAC into matching an invalid offer and obtain funds to which it

 was never entitled.

        14.        Accordingly, because the Board has not established that WCO’s non-binding offer

 is bona fide and capable of being accepted—including because it has not established that WCO is not

 a Competing Entity—NSAC also seeks a declaration that the 30-day period in which it must exercise

 its ROFR has not yet begun to run.

                                              PARTIES

        15.        NSAC is a limited liability company organized under the laws of Delaware. Its

 ultimate parent is T-Mobile. NSAC’s sole member is Clearwire XOHM LLC, a limited liability

 company organized under the laws of Delaware. Clearwire XOHM LLC’s sole member is Nextel

 West Corp., a Delaware corporation with its principal place of business located at 12920 SE 38th

 Street, Bellevue, Washington 98006. Accordingly, NSAC is a citizen of Delaware, Washington, and

 no other state.

        16.        The Board is a public school system in St. Lucie County, Florida, with its main

 address at 9641 Brandywine Lane, Port St. Lucie, Florida 34986. Accordingly, the Board is a citizen

 of Florida and no other state.

                                   JURISDICTION AND VENUE

        17.        This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because the

 matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and the

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                                                        Docket 03/25/2022
                                                               Page 385 of 703
                                                                           Page Page
                                                                                5 of 22
                                     ID #:2072


 claims are between citizens of different states. Plaintiff NSAC is a citizen of Delaware, Washington,

 and no other state. Defendant the Board is a citizen of Florida and no other state.

         18.       This Court has personal jurisdiction over the Board because it exists in Florida, its

 principal place of business is in Florida, and it committed the acts complained of in Florida.

         19.       This District is a proper venue under 28 U.S.C. § 1391(b) because the Board resides

 in this District, a substantial part of the events giving rise to the claim occurred in this District, and a

 substantial part of the property that is the subject of the action is situated in this District.

                                       FACTUAL BACKGROUND

 A.      The Licenses to the Fort Pierce Spectrum

         20.       The Board has long held two Licenses to use eight unique channels of radio-

 frequency spectrum in the Fort Pierce, Florida, area. The channels are designated A1, A2, A3, and

 A4, under the FCC “call sign” WLX391; and B1, B2, B3, and B4, under the FCC call sign WLX392.

         21.       The licensed channels are part of the EBS, which is a range of spectrum that the FCC

 historically has licensed to educational and/or non-profit organizations.

         22.       There are 20 EBS channels in any particular geographic area. They fall within the

 band of spectrum from 2496 to 2690 MHz, commonly referred to as the “2.5 GHz” spectrum band.

         23.       Prior to April 2020, FCC rules permitted EBS licensees, like the Board, to lease all

 but five percent of their licensed spectrum to non-educational entities, like NSAC. Nearly all of the

 1,300 EBS licensees nationwide did so. These leases took spectrum that otherwise would have gone

 unused, and used it to support modern high-speed broadband telecommunications services—such as

 the emerging 5G cellular service that T-Mobile affiliates provide in St. Lucie County.

 B.      The September 2008 Lease Agreement

         24.       On September 9, 2008, the Board and NSAC’s predecessor-in-interest entered into

 a lease agreement for the spectrum capacity authorized by the Licenses, a copy of which is attached


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 Case2:22-cv-14107-XXXX
       2:23-cv-04347-AH-E Document
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                                              on FLSD
                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 386 of 703
                                                                           Page Page
                                                                                6 of 22
                                     ID #:2073


 hereto as Exhibit A. 1 NSAC’s predecessor-in-interest subsequently assigned its rights and obligations

 under the Lease Agreement to NSAC. The Lease Agreement’s term is through approximately 2038.

 The parties operated under the Lease Agreement for the first 13 years of its duration without incident. 2

        25.       Under the Lease Agreement, the Board grants NSAC the right to use the spectrum

 capacity authorized by the Licenses (subject to the FCC’s mandate that the parties reserve five percent

 of the spectrum capacity for educational uses) in exchange for an initial fee and a monthly payment.

 The Lease Agreement also contains several other provisions that are central to this dispute.

        26.       The Lease Agreement contains an Exclusivity provision that, as relevant here,

 prohibits the Board from “negotiat[ing] with or enter[ing] into any contract or agreement with any

 third party to lease, sell, assign, transfer or use any of the capacity of the Channels” “[e]xcept as

 otherwise permitted pursuant to Subsection 10(c).” Ex. A § 3(a).

        27.       Section 10(c), in turn, provides:

        Subject to [NSAC]’s ROFR and FCC Rules, [the Board] may negotiate and enter into
        any contract to assign the Licenses to a third party provided that:

        (i)     [the Board] provides [NSAC] at least thirty (30) days advance notice prior to
                entering into any agreement relating to any such proposed assignment;

        (ii)    [the Board] agrees in writing to assign all its rights and obligations under this
                Agreement and such third party agrees in writing to assume all of [the Board]’s
                obligations hereunder and acknowledges all of [NSAC]’s rights hereunder,
                including [NSAC]’s ROFR (as it applies to any subsequent transfer);

        (iii)   the assignment and assumption agreement is in a form reasonable acceptable
                to [NSAC];

        (iv)    the assignee is not a Competing Entity (defined below); and

 1
   NSAC has filed the Lease Agreement with minor redactions to prevent the disclosure of NSAC’s
 confidential trade secret information contained in its EBS lease agreements. See Ex. A § 14
 (“CONFIDENTIALITY AND NON-DISCLOSURE”).
 2
  On February 8, 2011, the Board and NSAC’s predecessor-in-interest executed an Addendum to the
 Lease Agreement, a copy of which is attached as Exhibit B. On November 30, 2018, the Board and
 NSAC executed a First Amendment to the Lease Agreement, a copy of which is attached as Exhibit
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Case
 Case2:22-cv-14107-XXXX
       2:23-cv-04347-AH-E Document
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                                              on FLSD
                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 387 of 703
                                                                           Page Page
                                                                                7 of 22
                                     ID #:2074



        (v)       upon closing of such assignment, [the Board] (assignor) provides notice of the
                  closing of the assignment and a fully executed copy of the assignment and
                  assumption agreement to [NSAC].

        A “Competing Entity” is any party that (1) offers, provides or delivers a commercially
        available telecommunications service using EBS or BRS spectrum within the United
        States of America (a “Competing Service”), (2) owns (except a less than two and one-
        half percent (2½%) interest in a publicly traded company) any interest in any entity
        which provides a Competing Service, (3) has granted, or controls, is controlled by or
        is under common control with, a party that has granted, to any provider of a Competing
        Service a global or overarching agreement for the right, option, or preemptive right, to
        use or otherwise acquire all or any portion of the EBS or BRS spectrum that such party
        owns or subsequently acquires.

 Ex. A § 10(c).

        28.         The Lease Agreement also contains a ROFR provision that grants NSAC “the right

 to use, lease, or purchase . . . some or all of the Channels . . . by matching any acceptable bona fide

 offer received by [the Board] from a third party (the ‘ROFR’) during the Term.” Ex. A § 3(b). The

 ROFR provision further provides: “Within thirty (30) days following [the Board]’s determination to

 accept a bona fide third party offer (the ‘Third Party Offer’), [the Board] will notify [NSAC] of any

 Third Party Offer, including (i) the identity of the offeror; (ii) the terms of the offer, and (iii) a true

 and correct copy of the operative agreement, letter of intent, term sheet or other similar definitive

 then-existing documentation relating to the offer.” Id. NSAC then has thirty (30) days to notify the

 Board whether it will exercise its ROFR to purchase the Licenses. Id.

        29.         The Lease also grants NSAC a “Right to Participate.” See Ex. A § 3(f). That

 provision states in relevant part: “If [the Board] decides to solicit bids, proposals or offers for the

 sale, assignment, transfer or use of any part of the whole of the Channels . . . then [the Board] will

 provide [NSAC] with an opportunity no less favorable in timing or substance than the opportunity

 provided to any other entity: (i) to submit bids, proposals and offers for the Channels . . . ; (ii) to

 receive information with respect to such bids, proposals, offers and counters thereto; (iii) to discuss

 such information with [the Board]; (iv) to counter any such bids, proposals or offers; and (v) to be
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 Case2:22-cv-14107-XXXX
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                                                        Docket 03/25/2022
                                                               Page 388 of 703
                                                                           Page Page
                                                                                8 of 22
                                     ID #:2075


 provided with copies of all open bids, proposals, offers, counter-bids and counter-offers promptly

 after they are received by [the Board].” Id. (emphasis added).

 C.     The FCC Changes the Rules for Holding EBS Licenses

        30.       Prior to April 2020, FCC regulations allowed only educational or non-profit entities

 to hold EBS spectrum licenses.

        31.       Effective April 27, 2020, however, the FCC eliminated the educational-use

 requirement for EBS licenses. According to the FCC, this change was enacted because “technological

 changes over the last 30 years enable any educator with a broadband connection to access a myriad

 of educational resources.” Transforming the 2.5 GHz Band, 86 Fed. Reg. 10,839, 10,840 (2021).

 Hence, “[o]nly a handful of EBS licensees ha[d] deployed their own networks or use[d] their EBS

 licenses in a way that require[d] dedicated spectrum.” Id. Instead, most licensees “rel[ied] on lessees

 [such as NSAC] to deploy and operate broadband networks and use[d] the leases as a source for

 revenues or devices.” Id.

        32.       With EBS licenses now available to non-educational actors—and with 2.5 GHz

 spectrum being one of the most important components of the emerging 5G telecommunications

 technology—several new entities have entered the market for spectrum licenses, seeking to acquire

 such licenses for commercial gain.

        33.       One such entity is Winnick & Company, which operates through a number of

 affiliates, including WCO. WCO is a private company owned and controlled by billionaire Gary

 Winnick. See About WCO Spectrum LLC, https://www.wcospectrum.com/about-wco-spectrum/

 (last visited Mar. 25, 2022). WCO describes itself as an investor in EBS spectrum licenses.

        34.       Since the FCC rule change, WCO has sent dozens of institutions “Non-Binding Term

 Sheets” purporting to propose to purchase their EBS licenses, without regard for whether the terms of

 the underlying contracts permit such purchases. See, e.g., Ex. D (WCO Term Sheet to the Board).

                                                   8
Case
 Case2:22-cv-14107-XXXX
       2:23-cv-04347-AH-E Document
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                                                    05/30/25
                                                        Docket 03/25/2022
                                                               Page 389 of 703
                                                                           Page Page
                                                                                9 of 22
                                     ID #:2076


 D.         WCO Makes Its First Non-Binding Offer to the Board

          35.     In 2021, WCO apparently made its first entreaty to the Board about a potential

 purchase of its Licenses.

          36.     On November 19, 2021, the Board, through its outside counsel, Todd D. Gray, Esq.,

 informed Heather Brown, Esq., in-house counsel for T-Mobile, that it had received an “unsolicited

 offer” to purchase the Licenses. See Ex. E. Mr. Gray stated that the Board “may be interested” in

 pursuing such a sale and inquired whether NSAC was interested in purchasing the Licenses. See Ex.

 E.

          37.     Later that day, Mr. Gray provided Ms. Brown and Tajit Mehta of T-Mobile with a

 copy of the purported “offer letter” the Board had received. Ex. F. The letter, which was one-page

 long and dated October 22, 2021, showed that the offeror was WCO and that the offer was for

 $6,795,000. See Ex. G.

          38.     In that letter, WCO stated that it is a “private investment firm focused on acquiring

 Educational Broadband Service . . . spectrum licenses” and that WCO’s “principals . . . have sourced

 and deployed billions of dollars to fund transformative technologies and corporate innovation.”

 Ex. G.

          39.     Neither WCO’s letter, nor Mr. Gray in his communications with NSAC, represented

 that WCO’s October 22, 2021 offer was “bona fide.” Nor did either represent at that time that WCO

 was not a “Competing Entity.”

 E.         WCO Makes a Second, Higher Non-Binding Offer to the Board

          40.     Three months later, on February 24, 2022, Mr. Gray notified Ms. Brown that the

 Board had received a new, higher non-binding offer from WCO, this one for $7,550,000. See Ex. H.

          41.     Mr. Gray told Ms. Brown that the Board intended to accept this $7,550,000 offer—

 which he notably did not describe as “unsolicited”—unless NSAC provided notice that it intended to

                                                   9
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 390 of Page
                                                                          703 10
                                                                               Page
                                                                                 of 22
                                     ID #:2077


 exercise the ROFR “within thirty (30) days,” or by March 26, 2022. See Ex. H.

        42.       Mr. Gray also attached two documents to his February 24, 2022 correspondence to

 Ms. Brown. First, he attached a copy of WCO’s new purported offer letter, which was dated February

 22, 2022 and included a proposed non-binding term sheet. See Ex. D. The term sheet purports to

 “summarize[] the basic terms and conditions pursuant to which WCO Spectrum, LLC (the ‘Buyer’)

 proposes to acquire . . . certain [EBS] licenses from the School Board of St. Lucie County, Florida.”

 See Ex. D.

        43.       The term sheet also emphasizes that it is for “DISCUSSION PURPOSES ONLY”

 and that it “do[es] not represent a binding offer, agreement, or commitment from the Buyer to acquire

 the EBS licenses.” See Ex. D.

        44.       WCO’s accompanying cover letter likewise underscores that it “is solely a non-

 binding offer and is not, and should not be, considered a legally binding indication or agreement in

 any matter.” See Ex. D. In that letter, WCO also references a “Non-Disclosure Agreement” between

 the Board and WCO dated December 14, 2021. See Ex. D.

        45.       Second, Mr. Gray attached an “Affidavit of Carl Katerndahl” (the “Katerndahl

 Affidavit”), which Mr. Gray characterized as “attesting to the fact that WCO is not a Competing

 Entity” under Section 10(c) of the Lease. See Ex. I.

        46.       Specifically, the Katerndahl Affidavit, which is less than half a page long, purports

 to “verify” that (1) “WCO and its affiliates do not provide a telecommunications service using

 Educational Broadband Service ([‘]EBS’) or Broadband Radio Service (‘BRS’) spectrum within the

 United States of America (a ‘Competing Service’)”; (2) WCO and its affiliates do not own an interest

 in any entity which provides a Competing Service”; and (3) “WCO is not affiliated with a party that

 has granted, to any provider of a Competing Service any right, option, or preemptive right, to use or

 otherwise acquire all or any portion of the EBS or BRS spectrum that WCO or such party owns or

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        2:23-cv-04347-AH-EDocument
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 391 of Page
                                                                          703 11
                                                                               Page
                                                                                 of 22
                                     ID #:2078


 subsequently acquires.”     Ex. I.    The affidavit provided no facts whatsoever to support Mr.

 Katerndahl’s unadorned, self-serving assertions.

 F.         NSAC Unsuccessfully Seeks Information to Which It Is Entitled

          47.     On March 17, 2022, NSAC, through outside counsel, formally notified the Board

 that, inter alia, (1) it was in breach of Section 3(a) given that the Board had not established that WCO’s

 $7,550,000 offer was bona fide, including but not limited to because it had not established that WCO

 is not a “Competing Entity”; and (2) it was in breach of Section 3(f) given that the Board had not

 provided NSAC with an opportunity no less favorable in timing or substance than the right provided

 to WCO to receive information under the Lease and discuss such information with the Board. See

 Ex. J.

          48.     In an effort to resolve those breaches, NSAC requested various information and

 assurances to which it is entitled under the Lease Agreement. Specifically, it asked the Board to:

                  a.     establish that WCO’s offer is “bona fide” and thus capable of being accepted,

                        and provide NSAC with a true and correct copy of “the operative agreement,

                        letter of intent, term sheet, or other similar definitive then-existing

                        documentation relating to the offer,” as required under Section 3(b);

                  b.    establish that WCO is not a Competing Entity, as required under Section

                        10(c)(iv);

                  c.    provide NSAC with an assurance that WCO will “agree[] in writing to assume

                        all of [the Board]’s obligations” under the Lease Agreement and

                        “acknowledge[] all of” NSAC’s rights thereunder, as required under Section

                        10(c)(ii);

                  d.    provide NSAC with a proposed agreement—which the February 22, 2022 term

                        sheet explicitly is not—sufficient to enable it to determine if such agreement is

                                                    11
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     2:22-cv-14107-XXXX
        2:23-cv-04347-AH-EDocument
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 392 of Page
                                                                          703 12
                                                                               Page
                                                                                 of 22
                                     ID #:2079


                        “in a form reasonably acceptable” to NSAC, as required under Section

                        10(c)(iii); and

                  e.    provide NSAC with, inter alia, “information with respect to” any bids,

                        proposals, offers, and counters thereto—including information concerning the

                        reasons why WCO increased its offer—and permit NSAC to “discuss such

                        information with [the Board],” as required under Section 3(f).

 See Ex. J.

        49.       These rights are critical not only because the requested information is important in

 its own right, but because it bears directly on whether NSAC will exercise the ROFR.

        50.       NSAC’s letter also included a list of questions intended to facilitate the exchange of

 information required by the Lease Agreement. See Ex. J.

        51.       In an effort to facilitate the exchange of this information without resorting to

 litigation, NSAC also requested that the Board enter a proposed Standstill Agreement that it attached

 to the letter. See Ex. K. The proposed agreement would have preserved the status quo by providing

 that, until the issues raised in the letter are resolved, the time period in which NSAC must exercise its

 ROFR will not begin running, if at all, and the Board will not proceed with any sale or assignment of

 the Licenses. See Ex. K.

        52.       On March 24, 2022, the Board refused to provide the requested information and

 refused to enter the proposed Standstill Agreement, taking the position that NSAC’s ROFR right

 expires on March 26, 2022 and stating that, if NSAC did not exercise its ROFR by that date, the Board

 “will proceed with the sale of the licenses to WCO.” Ex. L.

        53.       NSAC has done everything in its power to obtain the information to which it is

 entitled without resorting to litigation. See Exs. J, K. Those efforts uniformly have been unsuccessful.

        54.       Now, as a last resort, NSAC brings this action based on the Board’s breaches of the

                                                    12
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        2:23-cv-04347-AH-EDocument
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 393 of Page
                                                                          703 13
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                                                                                 of 22
                                     ID #:2080


 Exclusivity provision in Section 3(a) and the Right to Participate provision in Section 3(f), and for a

 declaration that the Board has failed to provide the information needed to start the time period during

 which NSAC must exercise its ROFR under Section 3(b).

                                       CAUSES OF ACTION
                                              COUNT I
                                  (Breach of Contract – Exclusivity)

           55.   NSAC repeats and realleges paragraphs 1 through 54 as if they were fully set forth

 herein.

           56.   The Lease Agreement constitutes a valid and enforceable contract between the Board

 and NSAC.

           57.   NSAC complied with all conditions precedent and fully performed its obligations

 under the Lease Agreement.

           58.   The Board has breached Section 3(a) of the Lease Agreement.

           59.   Section 3(a) provides that, “[e]xcept as otherwise permitted pursuant to Subsection

 10(c), during the Term, Licensee will not negotiate with or enter into any contract or agreement with

 any third party to lease, sell, assign, transfer or use any of the capacity of the Channels.”

           60.   Section 10(c), in turn, permits the Board to “assign” the Licenses to a third party

 provided that certain criteria are met, including that the proposed assignee “is not a Competing

 Entity.”

           61.   Notably, Section 10(c) does not provide that the Board may assign the Licenses to a

 third party that represents or states that it is not a “Competing Entity”; the provision bars assignment

 to any third party that is in fact a “Competing Entity.”

           62.   As a matter of law, because Section 10(c) is an exception to the exclusivity requirement

 of Section 3(a), the Board bears the burden of demonstrating that the requirements of Section 10(c)

 are met.
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        2:23-cv-04347-AH-EDocument
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 394 of Page
                                                                          703 14
                                                                               Page
                                                                                 of 22
                                     ID #:2081


        63.     The Board has not carried that burden because it has not shown that WCO’s offer is

 bona fide and thus capable of being accepted, which includes but is not limited to establishing that

 WCO is not a Competing Entity under Section 10(c).

        64.     The only “support” the Board has provided for its assertion that WCO is not a

 Competing Entity is the Katerndahl Affidavit. That is entirely insufficient to carry the Board’s burden.

        65.     For one thing, the Katerndahl Affidavit provides zero factual support for its assertions,

 and merely purports to recite the elements of the Lease Agreement’s definition of a “Competing

 Entity.” See Ex. I.

        66.     For another, the Katerndahl Affidavit does not even recite the definition’s elements

 accurately. In particular, it purports to “verify” that “WCO is not affiliated with a party that has

 granted, to any provider of a Competing Service any right, option, or preemptive right, to use or

 otherwise acquire all or any portion of the EBS or BRS spectrum that WCO or such party owns or

 subsequently acquires.” Ex. I. But that is not the relevant inquiry under the Lease Agreement. The

 Lease Agreement defines “Competing Entity,” in relevant part, as follows:

        A “Competing Entity” is any party that . . . has granted, or controls, is controlled by
        or is under common control with, a party that has granted, to any provider of a
        Competing Service a global or overarching agreement for the right, option, or
        preemptive right, to use or otherwise acquire all or any portion of the EBS or BRS
        spectrum that such party owns or subsequently acquires.

 Ex. A § 10(c) (emphases added).

        67.     Put simply, even if the representations in the Katerndahl Affidavit were true (which is

 dubious), they would not establish that WCO is not a Competing Entity.

        68.     Other than the unsupported Katerndahl Affidavit, the Board has provided no

 information to substantiate its assertion that WCO is not a Competing Entity.

        69.     This failure is especially concerning given that NSAC has good reason to suspect that

 WCO is, in fact, a Competing Entity.

                                                   14
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     2:22-cv-14107-XXXX
        2:23-cv-04347-AH-EDocument
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                                                      Docket 03/25/2022
                                                              Page 395 of Page
                                                                          703 15
                                                                               Page
                                                                                 of 22
                                     ID #:2082


        70.      WCO made a point of touting to the Board that it is a “private investment firm focused

 on acquiring Educational Broadband Service . . . spectrum licenses” and that WCO’s “principals . . .

 have sourced and deployed billions of dollars to fund transformative technologies and corporate

 innovation.” Ex. G.

        71.      When NSAC has inquired into the basis for WCO’s statements, it has been stonewalled

 by the Board.

        72.      That is notable because it is clear—based on WCO having submitted multiple offers

 to the Board, and entering a December 14, 2021 Non-Disclosure Agreement with the Board—that the

 Board and WCO have had discussions with WCO about its offers, and it is inconceivable that the

 “Competing Entity” issue was not addressed during those discussions.

        73.      Against this background, the Board has not carried its burden of establishing that WCO

 is not a Competing Entity.

        74.      The Board also has not carried its burden with respect to Section 10(c)(ii).

        75.      Under Section 10(c)(ii), the Board may proceed with an assignment of the Licenses to

 a third party only if the Board “agrees in writing to assign all of its rights and obligations under this

 Agreement and such third party agrees in writing to assume all of [the Board]’s obligations hereunder

 and acknowledges all of [NSAC]’s rights hereunder, including [NSAC]’s ROFR (as it applies to any

 subsequent transfer.”

        76.      As discussed above, the Board has not provided NSAC any assurance from WCO in

 writing that WCO will “assume all of [the Board]’s obligations hereunder and acknowledge[] all of

 [NSAC]’s rights hereunder.”

        77.      Because the Board seeks to assign the Licenses without having met its burden to show

 that the exception to exclusivity in Section 10(c) applies, and without providing the necessary

 assurance required under Section 10(c), it is in breach of Section 3(a).

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        2:23-cv-04347-AH-EDocument
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                                                   05/30/25
                                                      Docket 03/25/2022
                                                              Page 396 of Page
                                                                          703 16
                                                                               Page
                                                                                 of 22
                                     ID #:2083


           78.   Consequently, the Court should enjoin the Board from proceeding with any sale,

 assignment, or other transfer of the License or its rights thereunder to WCO, or should unwind any

 such transaction that the Board and WCO already have purported to consummate.

           WHEREFORE, NSAC respectfully asks the Court to:

           a.    Order necessary and appropriate injunctive relief, including a permanent/final

 injunction preventing the Board from selling, transferring, or assigning the Licenses to WCO or any

 of its affiliates, or unwinding any such transaction to the extent the Board already has purported to

 effect it;

           b.    Award NSAC compensatory damages in an amount exceeding $75,000;

           c.    Award NSAC all costs and interest allowed by law;

           d.    Pursuant to Section 22(f) of the Lease Agreement, award NSAC all attorney’s fees and

 expenses that relate to its pursuit of this litigation and the preceding dealings with the Board and

 WCO;

           e.    Award NSAC such other relief as the Court deems just and reasonable; and

           f.    Provide NSAC with the right to amend this Complaint in the event the Court

 determines NSAC has failed to adequately plead the foregoing claim against the Board or as other

 events may warrant.

                                            COUNT II
                             (Breach of Contract – Right to Participate)

           79.   NSAC repeats and realleges paragraphs 1 through 54 as if they were fully set forth

 herein.

           80.   The Lease Agreement constitutes a valid and enforceable contract between the Board

 and NSAC.

           81.   NSAC complied with all conditions precedent and fully performed its obligations

 under the Lease Agreement.
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     2:22-cv-14107-XXXX
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                                                      Docket 03/25/2022
                                                              Page 397 of Page
                                                                          703 17
                                                                               Page
                                                                                 of 22
                                     ID #:2084


        82.     The Board breached Section 3(f) of the Lease Agreement.

        83.     That section provides that, “[i]f [the Board] decides to solicit bids, proposals or offers

 for the sale, assignment, transfer or use of any part of the whole of the Channels . . . then [the Board]

 will provide [NSAC] with an opportunity no less favorable in timing or substance than the opportunity

 provided to any other entity: (i) to submit bids, proposals and offers for the Channels . . . ; (ii) to

 receive information with respect to such bids, proposals, offers and counters thereto; (iii) to discuss

 such information with [the Board]; (iv) to counter any such bids, proposals or offers; and (v) to be

 provided with copies of all open bids, proposals, offers, counter-bids and counter-offers promptly

 after they are received by [the Board].”

        84.     Upon information and belief, the Board solicited bids, proposals, and/or offers from

 WCO for the sale or assignment of the Licenses, including but not limited to WCO’s February 22,

 2022 non-binding “offer” of $7,550,000.        That offer was WCO’s second purported offer and

 represented a $755,000 increase over WCO’s earlier purported offer of October 22, 2021. It is flatly

 implausible that WCO decided to increase its offer without engaging in communications with the

 Board. Further, and notably, while the Board described WCO’s first offer as “unsolicited,” it did not

 do the same for WCO’s February 22, 2022 offer.

        85.     In addition, the Board and WCO apparently entered into a December 14, 2021 Non-

 Disclosure Agreement. See Ex. D. The Board’s execution of such an agreement with WCO confirms

 that the Board has deprived NSAC of its right to an “an opportunity no less favorable in timing or

 substance than the opportunity provided to any other entity” to, inter alia, “receive information with

 respect to such bids, proposals, offers and counters thereto.”

        86.     The Board has refused to share the required information concerning either of WCO’s

 two offers, including without limitation any information about the Board’s communications with

 WCO that resulted in WCO subsequently making a higher offer, copies of all documents exchanged

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                                                      Docket 03/25/2022
                                                              Page 398 of Page
                                                                          703 18
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                                                                                 of 22
                                     ID #:2085


 between WCO and the Board concerning the offers, and copies of the December 14, 2021 Non-

 Disclosure Agreement and any other agreements between the Board and WCO.

        87.     The Board has thus failed to provide NSAC with the same opportunity as WCO to

 receive information with respect to WCO’s offers. This breach has further deprived NSAC of its right

 to discuss such information with the Board and to “counter” any offers received by the Board.

        WHEREFORE, NSAC respectfully asks the Court to:

        a.      Order specific performance by the Board of Section 3(f) of the Lease Agreement, by

 mandating that the Board share all information requested by NSAC concerning, inter alia, WCO’s

 October 22, 2021 non-binding offer, WCO’s February 22, 2022 non-binding offer and the term sheet

 attached thereto, and all circumstances surrounding these offers.

        b.      Award NSAC compensatory damages in an amount exceeding $75,000;

        c.      Award NSAC all costs and interest allowed by law;

        d.      Pursuant to Section 22(f) of the Lease Agreement, award NSAC all attorney’s fees and

 expenses that relate to its pursuit of this litigation and the preceding dealings with the Board and

 WCO;

        e.      Award NSAC such other relief as the Court deems just and reasonable; and

        f.      Provide NSAC with the right to amend this Complaint in the event the Court

 determines NSAC has failed to adequately plead the foregoing claim against the Board or as other

 events may warrant.




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                                                      Docket 03/25/2022
                                                              Page 399 of Page
                                                                          703 19
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                                     ID #:2086


                                             COUNT III
                                   (Declaratory Judgment – ROFR)

           88.   NSAC repeats and realleges paragraphs 1 through 54 as if they were fully set forth

 herein.

           89.   The Court may declare the rights and legal relations of the parties pursuant to 28 U.S.C.

 §§ 2201 and 2202 because there is a case of actual controversy between NSAC and the Board

 regarding the parties’ rights and obligations under the Lease Agreement.

           90.   Under Section 3(b) of the Lease Agreement, NSAC’s time for exercising the ROFR is

 triggered by the Board’s “determination to accept a bona fide third party offer.”

           91.   Because Section 10(c) of the Lease Agreement prohibits the assignment of the License

 to a Competing Entity, an offer from a Competing Entity is not a bona fide offer for purposes of

 Section 3(b). Nor is it an offer that is capable of being “accept[ed].”

           92.   As a matter of law and equity, the time period during which NSAC must decide

 whether to exercise its ROFR does not begin running until the Board has established that the third

 party offer is bona fide and can be accepted, which includes but is not limited to until the Board has

 established that WCO is not a Competing Entity.

           93.   Otherwise, the Board could obtain an invalid offer—the invalidity of which is

 concealed—and compel NSAC to match it or risk losing its right to do so. If NSAC chose to match

 it, then the Board would have coerced a significant sum of money ($7.55 million in this case) that

 NSAC was never required to pay.

           94.   Such a result is precluded by the Lease Agreement and governing equitable principles.

           WHEREFORE, NSAC respectfully asks the Court to:

           a.    Issue a declaratory judgment that the time period during which NSAC must notify the

  Board whether it is exercising its ROFR will not start running, if at all, until the Court issues a final



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                                                              Page 400 of Page
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                                     ID #:2087


  ruling determining whether the Board has established that WCO’s offer is bona fide, which includes

  but is not limited to until the Board has established that WCO is not a Competing Entity.

         b.     Award NSAC all costs and interest allowed by law;

         c.     Pursuant to Section 22(f) of the Lease Agreement, award NSAC all attorney’s fees and

  expenses that relate to its pursuit of this litigation and the preceding dealings with the Board and

  WCO;

         d.     Award NSAC such other relief as the Court deems just and reasonable; and

         e.     Provide NSAC with the right to amend this Complaint in the event the Court

  determines NSAC has failed to adequately plead the foregoing claim against the Board or as other

  events may warrant.

                                          PRAYER FOR RELIEF

         WHEREFORE, NSAC respectfully asks the Court to:

         a.     Order necessary and appropriate injunctive relief, including a permanent/final

 injunction preventing the Board from selling, transferring, or assigning the Licenses to WCO or any

 of its affiliates, or unwinding any such transaction to the extent the Board already has purported to

 effect it;

         b.     Order specific performance by the Board of Section 3(f) of the Lease Agreement, by

 mandating that the Board share all information requested by NSAC concerning, inter alia, WCO’s

 October 22, 2021 non-binding offer, WCO’s February 22, 2022 non-binding offer and the term sheet

 attached thereto, and all circumstances surrounding these offers;

         c.     Issue a declaratory judgment under 28 U.S.C. §§ 2201 and 2202 that the time period

 during which NSAC must notify the Board whether it is exercising its ROFR will not start running, if

 at all, until the Court issues a final ruling determining whether the Board has established that WCO’s




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                                                      Docket 03/25/2022
                                                              Page 401 of Page
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                                     ID #:2088


 offer is bona fide, which includes but is not limited to until the Board has established that WCO is not

 a Competing Entity;

        d.      Award NSAC compensatory damages in an amount exceeding $75,000, including

 those incurred in having to enforce its rights under the Lease Agreement;

        e.      Pursuant to Section 19(b) of the Lease Agreement, order the Board to indemnify and

 hold NSAC harmless from and against any and all liabilities, losses, damages and costs, including

 reasonable attorneys’ fees, resulting from, arising out of, or in any way connected with the Board’s

 breach of the Lease Agreement.

        f.      Award NSAC all costs and interest allowed by law;

        g.      Pursuant to Section 22(f) of the Lease Agreement, award NSAC all attorney’s fees and

 expenses that relate to its pursuit of this litigation and the preceding dealings with the Board and

 WCO;

        h.      Award NSAC such other relief as the Court deems just and reasonable; and

        i.      Provide NSAC with the right to amend this Complaint in the event the Court

 determines NSAC has failed to adequately plead the foregoing claim against the Board or as other

 events may warrant.

  Dated: March 25, 2022                                    Respectfully submitted,



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                                     ID #:2089



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                                               Governing the Admission, Practice, Peer
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                                               Attorneys for NSAC, LLC




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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 403 of 703 Page
                                   ID #:2090




                          Exhibit 12
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 Case2:22-cv-14106-AMC
       2:23-cv-04347-AH-EDocument
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                                                   05/30/25
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                                                                  404 of 703
                                                                          PagePage
                                                                               1 of 3
                                     ID #:2091



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                   FORT PIERCE DIVISION

                                 CASE NO. 22-14106-CIV-CANNON

  NSAC, LLC,

          Plaintiffs,
  v.

  THE SCHOOL BOARD OF
  ST. LUCIE, COUNTY, FLORIDA,

          Defendant.
                                                  /

                           ORDER GRANTING MOTION TO DISMISS

          THIS CAUSE comes before the Court upon Defendant’s Motion to Dismiss

  (the “Motion”) [ECF No. 19], filed on June 1, 2022. The Motion seeks dismissal of the Complaint

  [ECF No. 1] for lack of subject matter jurisdiction under Rule 12(b)(1) [ECF No. 19]. The Court

  has reviewed the Complaint [ECF No. 1], the Motion [ECF No. 19], the Response [ECF No. 20],

  the Reply [ECF No. 22], and the full record. For the reasons set forth below, and pursuant to the

  parties’ agreement, the Motion [ECF No. 19] is GRANTED, and Plaintiff’s Complaint is

  dismissed without prejudice.

          Plaintiff alleges that Defendant breached its contract with Plaintiff when it attempted to

  sell its Federal Communication Commission (“FCC”) licenses for broadband service to a third-

  party, WCO Spectrum LLC (“WCO”) [ECF No. 19 p. 1]. Since 2008, Defendant has leased the

  excess capacity on its licensed radio channels to Plaintiff [ECF No. 19 pp. 1–2]. The lease between

  the parties gives Plaintiff a right of first refusal, which requires Defendant to notify Plaintiff of its

  intent to accept a bona fide third-party offer to purchase the licenses [ECF No. 19 p. 2]. WCO

  offered to purchase Defendant’s FCC licenses in November 2021 and February 2022 [ECF No. 19
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                                                              09/30/2022
                                                                   405 of 703
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                                     ID #:2092
                                                   CASE NO. 22-14106-CIV-CANNON


  p. 3]. On both occasions, Defendant notified Plaintiff of its intent to accept the offers. In February

  2022, Defendant’s notification prompted Plaintiff to ask Defendant to execute a standstill

  agreement to grant Plaintiff additional rights under the lease [ECF No. 19 pp. 3–4]. When

  Defendant refused to execute the standstill agreement, Plaintiff filed the instant action

  [ECF No. 19 p. 4]. After the Complaint [ECF No. 1] was filed, WCO withdrew its offer to

  purchase the licenses, and Defendant notified Plaintiff of the withdrawal of the right of first refusal

  [ECF No. 19 p. 4]

          Defendant moves for dismissal under Article III, arguing that any controversy between the

  parties stemming from the lease and the right of first refusal was rendered moot once WCO

  withdrew its offer to purchase the subject licenses [ECF No. 19 pp. 5–9; ECF No. 22]. Plaintiff

  does not disagree, acknowledging that dismissal for lack of jurisdiction is appropriate because the

  controversy between the parties has been resolved by WCO’s withdrawal of its offer to purchase

  the subject licenses [ECF No. 20]. Based on the parties’ agreement that the underlying controversy

  that formed the basis for this case is now moot, the Court grants Defendant’s Motion and dismisses

  this action for lack of subject matter jurisdiction.

                                            CONCLUSION

          Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

          1. The Motion to Dismiss [ECF No. 19] is GRANTED.

          2. The Complaint [ECF No. 1] is DISMISSED WITHOUT PREJUDICE.

          3. The Clerk is directed to CLOSE this case.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 30th day of

  September 2022.




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                                                                   406 of 703
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                                              _________________________________
                                              AILEEN M. CANNON
                                              UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 407 of 703 Page
                                   ID #:2094




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        Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25 Page 408 of 703 Page
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 KLEINBARD LLC                                                   Ú·´»¼ ¿²¼ ß¬¬»-¬»¼ ¾§ ¬¸»
 Steven J. Engelmyer, Esq.                                      Ñºº·½» ±º Ö«¼·½·¿´ Î»½±®¼-
 Identification No. 42840                                           ðê ÓßÇ îðîî ðìæìê °³
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 Philadelphia, PA 19103
 (215) 496-7230 / (215) 568-0140 (fax)
 sengelmyer@kleinbard.com
 Attorneys for Plaintiffs

 T-MOBILE US, INC.,                           :   PHILADELPHIA COUNTY
 12920 SE 38th Street                         :   COURT OF COMMON PLEAS
 Bellevue, WA 98006                           :
                                              :   _________, 20___
 CLEARWIRE SPECTRUM HOLDINGS                  :
 III, LLC                                     :   No. _______
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
 CLEARWIRE SPECTRUM HOLDINGS                  :
 II, LLC                                      :
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
 CLEARWIRE SPECTRUM HOLDINGS,                 :
 LLC                                          :
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
 FIXED WIRELESS HOLDINGS, LLC                 :
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
 NSAC, LLC                                    :
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
 TDI ACQUISITION SUB, LLC                     :
 12920 SE 38th St.,                           :
 Bellevue, Washington 98006                   :
                                              :
 WBSY LICENSING, LLC                          :
 12920 SE 38th Street                         :
 Bellevue, WA 98006                           :
                                              :
                        Plaintiffs,           :



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Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25         Page 412 of 703 Page
                                          ID #:2099



                                                 :
                 v.                              :
                                                 :
  WCO SPECTRUM, LLC                              :
  c/o Corporation Trust Center                   :
  1209 Orange St                                 :
  Wilmington, DE 19801                           :
                                                 :
  SCH LLC                                        :
  c/o Ashok Vasudevan                            :
  10139 S Blaney Ave Apt A                       :
  Cupertino, CA 95014-3155                       :
                                                 :
  ACADEMIA SPECTRUM LLC                          :
  c/o Virginia Registered Agent Services         :
  4445 Corporation Ln Ste 264                    :
  Virginia Beach, VA 23462                       :
                                                 :
  GARY WINNICK                                   :
  9355 Wilshire Blvd., Suite 200                 :
  Beverly Hills, CA 90210                        :
                                                 :
  CARL KATERNDAHL                                :
  9355 Wilshire Blvd., Suite 200                 :
  Beverly Hills, CA 90210                        :
                                                 :
  TYLER KRATZ,                                   :
  25 Avenue Munoz Rivera, Apt. 419,              :
  San Juan, Puerto Rico 00901                    :
                                                 :
  ASHOK VASUDEVAN,                               :
  10139 S Blaney Ave Apt A                       :
  Cupertino, CA 95014-3155                       :
                                                 :
  ANDREAS BITZARAKIS,                            :
  294 Watch Hill Rd                              :
  Berlin, CT, 06037                              :

                        Defendants.


                           PRAECIPE FOR WRIT OF SUMMONS

 To the Office of Judicial Records:

        Kindly issue a Writ of Summons in the above captioned civil action.



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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25        Page 413 of 703 Page
                                   ID #:2100



                                     Respectfully submitted,

                                     KLEINBARD LLC
                                     By: /s/ Steven J. Engelmyer
                                     Steven J. Engelmyer, Esq.
                                     1717 Arch Street, Fifth Floor
                                     Three Logan Square
                                     Philadelphia, PA 19103
                                     (215) 496-7230 / (215) 568-0140 (fax)
                                     sengelmyer@kleinbard.com


 Dated: May 6, 2022




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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 414 of 703 Page
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Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25         Page 416 of 703 Page
                                          ID #:2103



                              Attachment “A” to Writ of Summons
                        T-Mobile US, Inc. et al v. WCO Spectrum, LLC, et al

 Names and Addresses of Plaintiffs:

 T-MOBILE US, INC.
 12920 SE 38th Street
 Bellevue, WA 98006

 CLEARWIRE SPECTRUM HOLDINGS III, LLC
 12920 SE 38th Street
 Bellevue, WA 98006

 CLEARWIRE SPECTRUM HOLDINGS II, LLC
 12920 SE 38th Street
 Bellevue, WA 98006

 CLEARWIRE SPECTRUM HOLDINGS, LLC
 12920 SE 38th Street
 Bellevue, WA 98006

 FIXED WIRELESS HOLDINGS, LLC
 12920 SE 38th Street
 Bellevue, WA 98006

 NSAC, LLC
 12920 SE 38th Street
 Bellevue, WA 98006

 TDI ACQUISITION SUB, LLC
 12920 SE 38th St.,
 Bellevue, Washington 98006

 WBSY LICENSING, LLC
 12920 SE 38th Street
 Bellevue, WA 98006




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Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25   Page 417 of 703 Page
                                         ID #:2104
 Page 2 – Attachment “A” to Writ of Summons
 T-Mobile US, Inc. et al v. WCO Spectrum, LLC, et al


 Names and Addresses of Defendants:

 WCO SPECTRUM, LLC
 c/o Corporation Trust Center
 1209 Orange St
 Wilmington, DE 19801

 SCH LLC
 c/o Ashok Vasudevan
 10139 S Blaney Ave Apt A
 Cupertino, CA 95014-3155

 ACADEMIA SPECTRUM LLC
 c/o Virginia Registered Agent Services
 4445 Corporation Ln Ste 264
 Virginia Beach, VA 23462

 GARY WINNICK
 9355 Wilshire Blvd., Suite 200
 Beverly Hills, CA 90210

 CARL KATERNDAHL
 9355 Wilshire Blvd., Suite 200
 Beverly Hills, CA 90210

 TYLER KRATZ,
 25 Avenue Munoz Rivera, Apt. 419,
 San Juan, Puerto Rico 00901

 ASHOK VASUDEVAN,
 10139 S Blaney Ave Apt A
 Cupertino, CA 95014-3155

 ANDREAS BITZARAKIS,
 294 Watch Hill Rd
 Berlin, CT, 06037




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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 418 of 703 Page
                                   ID #:2105




                          Exhibit 14
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25        Page 419 of 703 Page
                                      ID #:2106



                                                               Filed and Attested by the
                                             :                Office of Judicial Records
  T-MOBILE US, INC.,                         :                    02 SEP 2022
                                                 IN THE COURT OF COMMON       11:15 am
                                                                           PLEAS
  CLEARWIRE SPECTRUM HOLDINGS                :   OF PHILADELPHIA COUNTY,P. DIVON
  LLC,                                       :   PENNSYLVANIA
  CLEARWIRE SPECTRUM HOLDINGS II             :
  LLC,                                       :   May Term, 2022
  CLEARWIRE SPECTRUM HOLDINGS III            :
  LLC,                                       :   No. 00629
  FIXED WIRELESS HOLDINGS LLC,               :
  NSAC LLC,                                  :   COMMERCE PROGRAM
  TDI ACQUISITION SUB LLC,                   :
  WBSY LICENSING LLC                         :
                                             :
        Plaintiffs,                          :
                                             :
  v.                                         :
                                             :
  WCO SPECTRUM LLC,                          :
  SCH LLC,                                   :
  ACADEMIA SPECTRUM LLC,                     :
  GARY WINNICK,                              :
  CARL KATERNDAHL,                           :
  ASHOK VASUDEVAN,                           :
  ANDREAS BITZARAKIS,                        :
  TYLER KRANTZ                               :
                                             :
        Defendants.                          :
                                             :

                                  PROPOSED ORDER

       AND NOW, this ___ day of ________________, 2022, upon consideration of the Motion

 to Compel filed by Plaintiffs T-Mobile US, Inc.; Clearwire Spectrum Holdings; Clearwire

 Spectrum Holdings II; Clearwire Spectrum Holdings III; Fixed Wireless Holdings LLC; NSAC

 LLC; TDI Acquisition Sub LLC; and WBSY Licensing LLC, it is hereby ORDERED, and

 DECREED that said Motion is GRANTED.

       Defendants WCO Spectrum LLC; SCH LLC; Academia Spectrum LLC; Gary Winnick;

 Carl Katerndahl; Ashok Vasudevan; Andreas Bitzarakis; and Tyler Krantz are ORDERED to


                                                                  Certification Due Date: 09/09/2022
                                                                          Response Date: 09/16/2022
                                                                                 Case ID: 220500629
                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25            Page 420 of 703 Page
                                         ID #:2107



 produce all documents responsive to Plaintiffs’ First Set of Requests for Production of Documents

 within twenty (20) days of this Order. Redactions for relevance are not permitted.

                                             BY THE COURT:

                                             __________________________________________
                                              Hon. Leon Tucker, J.




                                                                        Certification Due Date: 09/09/2022
                                                2                               Response Date: 09/16/2022
                                                                                       Case ID: 220500629
                                                                                     Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25         Page 421 of 703 Page
                                     ID #:2108



 KLEINBARD LLC
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 sengelmyer@kleinbard.com
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 eschreiner@kleinbard.com
 Three Logan Square
 1717 Arch Street, 5th Floor
 Philadelphia, PA 19103
 Telephone: 215-568-2000
 Attorneys for Plaintiffs

 T-MOBILE US, INC.,                          :   IN THE COURT OF COMMON PLEAS
 CLEARWIRE SPECTRUM HOLDINGS                 :   OF PHILADELPHIA COUNTY,
 LLC,                                        :   PENNSYLVANIA
 CLEARWIRE SPECTRUM HOLDINGS II              :
 LLC,                                        :   May Term, 2022
 CLEARWIRE SPECTRUM HOLDINGS III             :
 LLC,                                        :   No. 00629
 FIXED WIRELESS HOLDINGS LLC,                :
 NSAC LLC,                                   :   COMMERCE PROGRAM
 TDI ACQUISITION SUB LLC,                    :
 WBSY LICENSING LLC                          :
                                             :
       Plaintiff                             :
                                             :
 v.                                          :
                                             :
 WCO SPECTRUM LLC,                           :
 SCH LLC,                                    :
 ACADEMIA SPECTRUM LLC,                      :
 GARY WINNICK,                               :
 CARL KATERNDAHL,                            :
 ASHOK VASUDEVAN,                            :
 ANDREAS BITZARAKIS,                         :
 TYLER KRANTZ,                               :
                                             :
       Defendants.                           :
                                             :

         PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PRODUCE
           DOCUMENTS IN RESPONSE TO PLAINTIFFS’ FIRST SET OF
               REQUESTS FOR PRODUCTION OF DOCUMENTS




                                                                  Certification Due Date: 09/09/2022
                                                                          Response Date: 09/16/2022
                                                                                 Case ID: 220500629
                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 422 of 703 Page
                                          ID #:2109



        This lawsuit concerns allegations of fraud leveled against Defendants by a self-described

 whistleblower who is a former insider at Defendant WCO Spectrum LLC (“WCO”). According

 to the whistleblower, WCO and the other Defendants are engaged in a nationwide scheme to

 defraud Plaintiff T-Mobile US, Inc. and its subsidiaries (collectively, “T-Mobile”), which works

 as follows: T-Mobile leases the right to use certain wireless spectrum from educational institutions

 that hold Federal Communications Commission (“FCC”) licenses for that spectrum. T-Mobile’s

 leases typically include a Right of First Refusal (“ROFR”), which provides that, if a third party

 makes a bona fide offer to purchase a spectrum license and the licensee intends to accept such an

 offer, then T-Mobile has 30 days to match the third party’s terms and acquire the license.

 According to the whistleblower, WCO makes non-binding offers to purchase these institutions’

 licenses that it has no intention of honoring. Instead, the offers are intended to induce T-Mobile

 to exercise its ROFR. Simultaneously, WCO enters into secret side agreements with these

 institutions pursuant to which WCO pockets a kickback, in the form of a ten percent cut of the

 purchase price, in the event T-Mobile exercises its ROFR. Through this scheme, WCO—with the

 help of the other Defendants, with whom it conspires to commit this fraud—already has siphoned

 tens of millions of dollars from T-Mobile to itself, and its illegal conduct continues unabated.

        The whistleblower not only provided information to T-Mobile verbally, he also sent a

 written description of the fraud and provided five internal WCO documents to Plaintiffs’ counsel

 to support his allegations, which Plaintiffs were granted permission to review in March 2022.

 Notably, three of these documents show that WCO conspires with an entity called SCH LLC (a

 defendant here), which purportedly gave WCO access to $2 billion in order to fund WCO’s efforts

 to acquire licenses. This appears to be a sham. SCH is a California company with no apparent




                                                                           Certification Due Date: 09/09/2022
                                                  2                                Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 423 of 703 Page
                                          ID #:2110



 history, no public presence, and no lines of business. It is run by former movie producer Ash

 Vasudevan (also a defendant here) out of a modest multi-unit apartment building in Cupertino.

        Even though the whistleblower’s information and documents all support the allegations

 that WCO and its co-conspirators are engaged in a nationwide fraud against T-Mobile, Plaintiffs

 seek additional information and corroboration about the scheme in order to file their complaint.

 Plaintiffs thus filed their writ of summons and invoked Pennsylvania’s pre-complaint discovery

 procedures by serving targeted requests pursuant to Pennsylvania Rule of Civil Procedure 4003.8.

 This case based on serious whistleblower allegations is tailor-made for Pennsylvania’s pre-

 complaint discovery procedures. Because WCO and its co-conspirators have refused to produce

 a single document in response to Plaintiffs’ requests and have no valid objections, Plaintiffs move

 this Court to compel Defendants to produce all responsive documents.

        In support of this motion to compel, Plaintiffs state as follows:

        1.      T-Mobile currently leases wireless spectrum from educational institutions across

 the country and uses that leased spectrum as part of its nationwide cellular and data network. This

 spectrum falls within the 2.5 GHz band, which the FCC has historically licensed to educational

 institutions under its “Educational Broadband Service” (“EBS”) licensing program. See In re

 Transforming the 2.5 GHz Band, Report & Order, FCC 19–62 ¶ 16. The original intent of the

 program was to reserve certain wireless spectrum for educational programming. See id. ¶ 5. To

 that end, the FCC issued EBS licenses to educational institutions across the country. See id.

        2.      Prior to April 2020, FCC regulations allowed only educational entities to hold EBS

 spectrum licenses. See id. ¶ 3. The FCC, however, permitted EBS licensees—most of which lack

 the technical knowledge, expertise, and infrastructure to operate a telecommunications network—

 to lease all but five percent of the spectrum authorized by their licenses to commercial entities like


                                                                            Certification Due Date: 09/09/2022
                                                   3                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 424 of 703 Page
                                          ID #:2111



 T-Mobile. See id. ¶¶ 6–7. As of 2019, nearly all of the 1,300 EBS licensees had leased their excess

 capacity. See id. These leases took spectrum that otherwise would have gone unused and put it to

 work supporting modern, high-speed broadband and telecommunications services. See id. ¶ 4.

        3.      Effective April 27, 2020, the FCC eliminated the requirement that EBS licenses

 could only be owned by educational institutions, making it possible for licensees to sell their

 licenses to commercial entities. According to the FCC, “technological changes of the last 30 years

 enable any educator with a broadband connection to access a myriad of educational resources” and

 “most licensees rel[ied] on lessees to deploy and operate broadband networks and use the leases

 as a source for revenues or devices.” Id. ¶ 16.

        4.      Notwithstanding that change, thousands of EBS licenses remain subject to lease

 agreements with commercial entities, under which the licensees make money by leasing the

 spectrum. T-Mobile continues to lease spectrum from institutions that still own licenses.

        5.      T-Mobile’s lease agreements with these institutions contain various provisions that

 protect its contractual rights in the event a third party makes an offer to acquire the EBS license.

        6.      The lease agreements typically include a ROFR provision, which states that, if a

 third party makes a bona fide offer to purchase an EBS license subject to a lease and the licensee

 intends to accept such an offer, then T-Mobile has 30 days to match the third party’s terms and

 acquire the license. To trigger this type of provision, an EBS licensee must, inter alia, intend to

 accept an offer from a third party, send T-Mobile a ROFR notice (which starts the clock on the 30-

 day ROFR period), and establish that the offer is “bona fide.”

        7.      Not long after the FCC rule change permitting commercial entities to own spectrum

 licenses, WCO began to use an entity called Parkview Consulting (“Parkview”) to issue public

 records requests—under Parkview’s name in an effort to hide WCO’s involvement—to


                                                                           Certification Due Date: 09/09/2022
                                                   4                               Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25           Page 425 of 703 Page
                                          ID #:2112



 educational institutions across the country seeking copies of T-Mobile’s EBS lease agreements.

 WCO obtained a number of T-Mobile’s confidential lease agreements this way. T-Mobile

 eventually learned that Parkview is a front for WCO. To this day, WCO continues to submit public

 records requests for T-Mobile’s EBS leases in this fashion. As a result, WCO knows the terms of

 many T-Mobile leases, including the ROFRs.

        8.      By the second half of 2020, WCO—a company run by founder Gary Winnick and

 senior executive Carl Katerndahl, with the assistance of key consultant Tyler Krantz1 (all of whom

 are defendants here)—was actively targeting institutions that leased spectrum to T-Mobile, which

 were subject to ROFRs. In the spring of 2021, a dispute arose between T-Mobile subsidiary TDI

 Acquisition Sub LLC (“TDI”) and an EBS licensee, Albright College (“Albright”). For years, TDI

 had leased excess spectrum from Albright, which owns a license to use certain EBS spectrum in

 the Reading, Pennsylvania area. The relationship between TDI and Albright had been amicable

 and uneventful. On April 30, 2021, WCO sent a non-binding term sheet in which it proposed to

 purchase Albright’s license. Soon after, Albright sent TDI a purported ROFR notice. Pursuant to

 its contractual rights, TDI sought certain information from Albright and WCO about the supposed

 offer. Neither Albright nor WCO provided the required information. Because Albright failed to

 establish that the offer was “bona fide,” TDI sued Albright in the Court of Common Pleas of Berks

 County, Pennsylvania to enforce its contractual rights. That case was captioned TDI Acquisition

 Sub LLC v. Albright College, No. 21-04881 (Nevius, J.). TDI did not sue WCO or any of the other

 Defendants as part of that action.




 1
   In his responses and objections to Plaintiffs’ discovery requests, counsel for Mr. Krantz spells
 his client’s name as it appears here: “Krantz.” In other documents in T-Mobile’s possession, Mr.
 Krantz is variously referred to as “Krantz” or “Kratz.”

                                                                         Certification Due Date: 09/09/2022
                                                 5                               Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 426 of 703 Page
                                         ID #:2113



          9.    During the Albright litigation, on October 25, 2021, a self-described

 whistleblower—who said he is a former insider at WCO, but whose identity remains unknown to

 Plaintiffs—called TDI’s Pennsylvania counsel, Steven J. Engelmyer, who also is one of Plaintiffs’

 counsel of record in this action. In a series of phone calls, the whistleblower described how WCO,

 in conjunction with numerous co-conspirators and EBS licensees, is perpetrating a fraudulent

 scheme against T-Mobile by which it uses sham offers to purchase EBS licenses to siphon money

 from T-Mobile to itself. According to the whistleblower, the scheme works as follows: WCO

 makes a sham, non-binding offer to purchase a license. WCO does not intend to honor its offer;

 instead its sole purpose is to trigger the ROFR in T-Mobile’s lease agreement. This coercively

 forces T-Mobile to decide within 30 days whether to purchase the license. Before making the

 sham offer, WCO and the licensee execute a secret side contract, titled a “Commitment Costs

 Agreement” (“CCA”), which provides that, if TDI matches WCO’s offer and purchases the

 license, the licensee pays WCO ten percent (10%) of the purchase price. WCO and the licensee

 try to hide this kickback arrangement from T-Mobile by using a non-disclosure agreement

 (“NDA”).

          10.   In addition to describing WCO’s scheme, the whistleblower sent TDI’s

 Pennsylvania counsel several documents memorializing it. These documents described in detail

 WCO’s arrangement with licensees like Albright and provided evidence that WCO never actually

 intended to purchase Albright’s license. When TDI’s counsel received the documents from the

 whistleblower, he did not immediately review them. Rather, out of an abundance of caution, and

 given that the Albright litigation already was pending, TDI sought the Berks County court’s

 permission to inspect and use them. On March 21, 2022, that court granted TDI permission to

 do so.


                                                                         Certification Due Date: 09/09/2022
                                                 6                               Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 427 of 703 Page
                                         ID #:2114



        11.     Upon inspection, TDI learned that the documents strongly support the

 whistleblower’s allegations. In particular, three of the documents show that an entity called SCH

 LLC purportedly gave WCO access to $2 billion in financing. But SCH is a California company

 with no apparent history, no public presence, and no lines of business, which is run by a former

 movie producer (Defendant Vasudevan) out of a modest apartment in this multi-unit building in

 Cupertino:




 It is implausible that SCH legitimately could have extended a $2 billion line of credit to anyone.

 The whistleblower also provided a four-page narrative that described WCO’s scheme in detail,

 consistent with his verbal descriptions and the documents he provided.

        12.     Since the whistleblower and his allegations about WCO defrauding T-Mobile

 surfaced publicly, WCO and Defendant Academia Spectrum LLC (“Academia”)—a spectrum

 broker run by Defendant Andreas Bitzarakis that WCO uses as a conduit with licensees to

 implement the fraud—brazenly have obstructed discovery that might illuminate the

 whistleblower’s allegations. As part of the Berks County case, TDI served document subpoenas

 on WCO in Delaware and Academia in Virginia. Since then, WCO and Academia (each


                                                                          Certification Due Date: 09/09/2022
                                                 7                                Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 428 of 703 Page
                                          ID #:2115



 represented by WCO’s counsel here) have engaged in a protracted pattern of obstruction and delay.

 WCO started by frivolously challenging whether the Delaware court had jurisdiction to enforce a

 subpoena served on a Delaware LLC, and Academia did the same in Virginia. The Delaware and

 Virginia courts rejected those baseless arguments. WCO delayed further by unsuccessfully

 seeking reconsideration of that ruling in Delaware.

        13.     After losing every argument in Delaware and Virginia, WCO filed a motion for a

 protective order in Berks County seeking to stop all discovery. In this filing, WCO represented

 that it was no longer pursuing the Albright transaction, and asserted that the case therefore was

 moot. At a hearing on March 21, 2022, the Berks County court ruled that TDI could pursue its

 subpoenas in Delaware and Virginia in order to investigate the whistleblower’s allegations

 concerning the Albright transaction (though the whistleblower’s allegations are far broader than

 that). See Ex. 1 (March 21, 2022 Berks Cnty. Tr. 43:13–17) (“My ruling as of right now is those

 subpoenas which were validly issued [from] this court and then domesticated in those jurisdictions

 you have a date in court with either the court or master they will resolve how those should be

 enforced and I think that’s appropriate.”); see also Ex. 2 (April 29, 2022 Va. Beach Cir. Ct. Order)

 (ordering production of communications “regarding Albright”).

        14.     TDI did everything in its power to seek discovery concerning the Albright

 transaction, as permitted by the Berks County court. Academia was directed by the Virginia court

 to produce all documents regarding the Albright transaction.        But after stalling for weeks,

 Academia made an improper production that was heavily redacted, rendering it largely of no use.

 For example, Academia redacted a “deal memo” specifically addressing Albright on the baseless

 ground of “transaction strategy.” See Ex. 3 (Academia 230–33). As a result, TDI filed a motion

 to compel Academia to remove its improper redactions, which the Virginia court granted on


                                                                          Certification Due Date: 09/09/2022
                                                  8                               Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 429 of 703 Page
                                          ID #:2116



 July 25, 2022, ordering Academia to produce a completely unredacted “deal memo” by August 15.

 WCO, for its part, produced only documents regarding Albright, and it did so on the eve of a

 hearing on TDI’s motion to compel in Delaware. That production, however, was plagued by the

 same issues as Academia’s. And, like Academia’s production, it is limited to the Albright

 transaction. Indeed, to the extent that any document concerned general strategy or any other

 transaction WCO was supposedly pursuing, both WCO and Academia redacted that information.

 TDI has thus not obtained discovery from any Defendant concerning WCO’s broader fraudulent

 scheme.

        15.     The Albright case is now concluded.           On August 11, 2022, Albright filed

 preliminary objections to T-Mobile’s amended complaint, asserting that, inter alia, the contract

 claims—which, to reiterate, did not concern the whistleblower’s allegations of fraud in any

 respect—were moot. In doing so, Albright represented to the Berks County court that “no case or

 controversy exist[ed]” any longer because T-Mobile “already has accomplished its stated goal for

 the lawsuit,” which was to “prevent Albright from selling its License to WCO” in contravention

 of its lease with TDI. Ex. 4 (excerpt of Albright’s Preliminary Objs. to Pls.’ Am. Compl.).

 Albright’s assertions echoed WCO’s, which stated that the Albright case “has been over since the

 day” WCO represented to the court that it was withdrawing its offer to Albright and was “no longer

 a suitor.” See Ex. 5 (July 11, 2022 Berks Cnty. Tr. 8:9–11); see also id. 9:3–5 (“there isn’t anything

 at issue” in Albright). WCO even intervened as a plaintiff in the Albright action to seek dismissal

 based on the same mootness argument.

        16.     On August 26, 2022, T-Mobile discontinued the Albright case without prejudice.

 The only reason T-Mobile filed the lawsuit against Albright in Berks County—an action it took

 prior to being contacted by the whistleblower and without any knowledge of Defendants’ fraud—


                                                                            Certification Due Date: 09/09/2022
                                                   9                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 430 of 703 Page
                                          ID #:2117



 was because that is where Albright College is located. As the Berks County court itself recognized

 after the whistleblower’s allegations came to light, this dispute between T-Mobile and Defendants

 “is obviously much bigger than Berks County, Pennsylvania.” Ex. 5 at 12:24–25. WCO’s counsel

 similarly told the Berks County court in seeking dismissal of that case that, “if [T-Mobile] want[s]

 to bring another lawsuit somewhere, we can deal with it in the appropriate course.” Id. at 8:11–

 12.

        17.     In light of the whistleblower’s allegations and supporting documentation, T-Mobile

 filed this lawsuit via a writ of summons on May 6, 2022, related to the alleged nationwide fraud

 in its entirety and not limited to the Albright transaction. T-Mobile filed the writ in this Court

 because WCO has targeted EBS spectrum covering the Philadelphia area as part of its scheme and

 has profited from T-Mobile’s exercise of a ROFR to match WCO’s sham offer to acquire that

 Philadelphia spectrum. Given the nature and extent of the fraud allegations, this lawsuit is brought

 directly against WCO and its co-conspirators, and extends far beyond the limited claims and issues

 that were before the Berks County court in the Albright litigation.

        18.     Plaintiffs Clearwire Spectrum Holdings LLC, Clearwire Spectrum Holdings II

 LLC, Clearwire Spectrum Holdings III LLC, Fixed Wireless Holdings LLC, NSAC LLC, TDI,

 and WBSY Licensing LLC are all subsidiaries of Plaintiff T-Mobile US, Inc. that have been

 coerced into exercising a ROFR under an EBS lease agreement because of a sham offer submitted

 by WCO. Plaintiffs filed this lawsuit via writ of summons against the following Defendants, each

 of whom played a critical role in perpetuating this fraud against T-Mobile: (i) WCO and its

 founder Winnick and senior executive Katerndahl; (ii) WCO’s consultant Tyler Krantz;

 (iii) WCO’s broker Academia and Academia’s principal Bitzarakis; and (iv) WCO’s supposed

 financier, SCH, and SCH’s principal Vasudevan.


                                                                          Certification Due Date: 09/09/2022
                                                 10                               Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 431 of 703 Page
                                          ID #:2118



        19.     WCO is at the center of the fraud, and through Defendants Winnick, Katerndahl,

 and Krantz, is the entity that developed the fraudulent scheme to make sham offers to EBS

 licensees in order to trigger T-Mobile’s ROFR rights. WCO has collected tens of millions of

 dollars in illegal kickbacks when T-Mobile exercised its ROFRs and acquired the licenses to which

 those sham offers pertained. Winnick is WCO’s leader and spearheaded this scheme, with the help

 of Katerndahl. Katerndahl signed numerous agreements to affect the fraudulent scheme, including,

 for example, the CCA between WCO and the Pennsylvania Hospital Television Network

 concerning the spectrum in the “Philadelphia, PA” “[m]arket.”

        20.     WCO’s key consultant Krantz is believed to have developed (or helped develop)

 the fraudulent scheme, and implemented it on a nationwide basis. Krantz sits alongside Winnick

 and Katerndahl on WCO’s “Investment Committee,” which identifies as targets EBS licenses that

 are leased to T-Mobile. Among other things, Krantz participates in preparing “deal memos” (like

 the one referenced above) that are used to effectuate the fraud against T-Mobile.

        21.     WCO’s broker Academia and its principal Bitzarakis are believed to help identify

 EBS licenses to target that are subject to T-Mobile leases, and Academia and Bitzarakis serve as a

 conduit between WCO and various EBS licensees located across the country. Among other things,

 Bitzarakis participates in strategy sessions, contacts EBS licensees about WCO potentially making

 offers to them, and delivers the sham offers to those entities. It is believed that Bitzarakis further

 facilitates the scheme by negotiating WCO’s kickbacks and documenting them under the guise of

 CCAs, as well as the NDAs that try to hide those payments.

        22.     Finally, WCO’s supposed financier SCH and its principal Vasudevan create the

 appearance of providing WCO with $2 billion in financing, which is a sham designed for WCO to

 use in the event its financial wherewithal to make its substantial offers to EBS licensees is ever


                                                                            Certification Due Date: 09/09/2022
                                                  11                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 432 of 703 Page
                                          ID #:2119



 questioned. The whistleblower specifically identified SCH in his allegations of fraud and provided

 the documents pursuant to which the financing supposedly was provided.

        23.     Concurrently with the writ of summons, Plaintiffs served pre-complaint document

 requests on each Defendant. See Ex. 6 (Pls.’ First Reqs. for Produc.). Pursuant to Rule 4003.8,

 each of Plaintiffs’ seventeen (17) requests seeks documents “material and necessary” to filing a

 complaint regarding Defendants’ alleged fraudulent EBS license kickback scheme:

        24.     Requests 1 and 2 ask for, respectively, “Organizational charts or other documents

 sufficient to identify all entities affiliated with WCO” and “Organizational charts, corporate

 directories, or other documents sufficient to identify all current and former” agents, officers, etc.

 of WCO. Documents responsive to these requests are material and necessary to Plaintiffs’

 complaint because they will enable Plaintiffs to identify all proper Defendants. For example,

 Plaintiffs have reason to believe that additional WCO affiliates and associated individuals act in

 furtherance of the fraudulent scheme against T-Mobile, and documents responsive to this request

 would assist in identifying those entities and individuals.

        25.     Requests 3 and 10 seek documents concerning WCO’s strategies for targeting EBS

 licenses, including whether WCO specifically targets EBS licenses that are subject to T-Mobile

 leases with ROFRs. Documents responsive to this request will assist Plaintiffs in confirming the

 scope, time frame, and substance of their claims. Based on the “deal memo” that Academia

 produced in the Albright litigation, T-Mobile knows that WCO specifically analyzes the ROFR

 provisions in T-Mobile’s leases and its scheme’s “impact” on T-Mobile and T-Mobile’s possible

 responsive strategies. See Ex. 3.

        26.     Request 4 seeks documents concerning the whistleblower. WCO became aware

 that a whistleblower had surfaced and provided information to TDI’s Pennsylvania counsel in the


                                                                           Certification Due Date: 09/09/2022
                                                  12                               Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 433 of 703 Page
                                          ID #:2120



 Albright litigation as early as December 2021.               Needless to say, any documents and

 communications in the possession, custody, or control of WCO and its related co-Defendants about

 the whistleblower, including concerning the identity of the whistleblower, reactions to the

 whistleblower’s disclosures, and actions taken in response to the whistleblower, bear directly on

 Plaintiffs’ framing of the allegations in their complaint.

        27.     Requests 5 through 9 seek documents and communications concerning lease

 agreements between T-Mobile (or any of its subsidiaries) and any EBS licensee, particularly

 documents concerning T-Mobile’s ROFR rights; WCO’s arrangements with any licensee for a

 kickback (or what it tries to conceal as “Commitment Costs”); how WCO determines the amount

 of the kickback; WCO’s negotiations with licensees in reaching particular kickback amounts,

 including the amount by which WCO inflates its sham offers to accommodate such kickbacks; and

 WCO’s actual receipt of these kickbacks. Each of these bears directly on the scope of Defendants’

 fraudulent scheme and Plaintiffs’ framing of their complaint.

        28.     Requests 11, 12, 15, 16, and 17, respectively, seek documents and communications

 concerning WCO’s financing of its purported “offers” to purchase EBS licenses; WCO’s

 communications with SCH principal and former movie producer Vasudevan about such financing;

 WCO’s communications with SCH more generally about purported financing; “[d]ocuments

 sufficient to show SCH LLC’s lines of business, investments, sources of income, and sources and

 amounts of funding and financing” for WCO’s EBS license purchases; and WCO and SCH’s

 financing arrangements in general.       These documents bear directly on the whistleblower’s

 allegations that WCO’s financing for its supposed purchase of EBS licenses is illusory, and will

 shed light on whether WCO’s relationship with its purported multibillion dollar financier is a sham.




                                                                           Certification Due Date: 09/09/2022
                                                  13                               Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25             Page 434 of 703 Page
                                           ID #:2121



        29.     Relatedly, Requests 13 and 14 ask for “[o]rganizational charts sufficient to identify

 all entities affiliated with SCH” and organizational charts or other documents sufficient to identify

 SCH officers, partners, and other agents. Like Requests 1 and 2, documents responsive to these

 requests are material and necessary to Plaintiffs’ claims because they will enable Plaintiffs to

 identify the proper defendants as it relates to SCH, including whether there are additional

 conspirators associated with SCH that should be named Defendants, and shed light on whether

 WCO’s relationship with its supposed multibillion dollar financier is a sham.

        30.     On June 10, 2022, Defendants WCO, Winnick, Katerndahl, Krantz, Academia, and

 Bitzarakis—all represented by WCO’s counsel—served objections to Plaintiffs’ requests for

 production. Consistent with WCO’s pattern of obstruction, none of the Defendants agreed to

 produce a single document. See, e.g., Exs. 7, 8, 9, 10, 11, 12 (Defs.’ Resps. & Objs. to Pls.’ First

 Set of Reqs. for Produc.).

        31.     On June 15, 2022, Defendants SCH and Vasudevan—represented by a former law

 partner of WCO’s lead counsel—likewise served objections to Plaintiffs’ requests for production,

 which largely mirrored the other Defendants’ objections. Like the other Defendants, neither

 agreed to produce any documents. See Ex. 13 (Defs. SCH LLC and Ashok Vasudevan Resps. &

 Objs. to Pls.’ First Set of Reqs. for Produc.).2

        32.     Each Defendant served nearly identical, baseless objections to Plaintiffs’ requests

 for production. Most notably, Defendants repeatedly objected to discovery because a particular

 request “is not related to the Albright matter in any way,” notwithstanding that Albright was an



 2
   At the parties’ July 26 meet and confer, counsel for SCH and Vasudevan claimed he knew
 nothing about Plaintiffs’ allegations (even though he is a former law partner of WCO’s counsel
 and came to this case through that relationship). On August 3, counsel for Plaintiffs provided
 counsel for SCH and Vasudevan with public court filings summarizing these allegations.

                                                                           Certification Due Date: 09/09/2022
                                                    14                             Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 435 of 703 Page
                                           ID #:2122



 entirely different lawsuit (i) that did not feature any claim based on the whistleblower’s allegations;

 (ii) in which no Defendant in this case was a defendant; (iii) that WCO vigorously argued should

 be dismissed on mootness grounds; and (iv) that has since been voluntarily discontinued. The

 Albright case has no bearing on the scope of discovery in this action. To be clear, the discovery

 TDI obtained in the Albright case was limited to the proposed Albright transaction, and whether

 additional claims should be brought against Albright College, which is not a defendant here. In

 fact, WCO told the Berks County court that any discovery requests and resulting disputes relating

 to the whistleblower’s allegations “would be up to a judge in Philadelphia.” Ex. 5 at 42:20–21.

        33.     On July 12, 2022, Plaintiffs offered to meet and confer with Defendants about the

 requests and their responses. See Ex. 14. In the meantime, Plaintiffs provided the whistleblower

 documents to WCO. At a meet and confer held on July 26, Defendants reaffirmed their refusal to

 produce any documents in response to Plaintiffs’ requests. Rather than engaging in a good-faith

 discussion with Plaintiffs’ counsel, Defendants’ counsel criticized the whistleblower’s allegations

 while at the same time feigning that they did not understand what this action was about. In fact,

 Defendants’ counsel is well-acquainted with the whistleblower’s allegations, which have been the

 subject of hours of discussion with counsel for T-Mobile. In response, Plaintiffs reiterated in detail

 what this suit pertains to—the whistleblower’s allegations of a nationwide fraud being committed

 by WCO and its cronies against T-Mobile and its subsidiaries. See Ex. 15. Following this

 discussion, Defendants have continued to refuse to produce any responsive documents, forcing

 Plaintiffs to file this motion to compel.

        34.     As explained above and further in the accompanying memorandum of law, all of

 the documents responsive to the requests are “material and necessary to the filing of the complaint




                                                                             Certification Due Date: 09/09/2022
                                                   15                                Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 436 of 703 Page
                                          ID #:2123



 and the discovery will not cause unreasonable annoyance, embarrassment, oppression, burden or

 expense.” Pa. R. Civ. P. 4003.8(a).

        35.     For these reasons, and for the reasons set forth in the accompanying memorandum

 of law, Plaintiffs seek an order pursuant to Pennsylvania Rule 4019(a)(1)(viii) and (c)(5) directing

 Defendants to produce all documents responsive to their requests for production.

        WHEREFORE, Plaintiffs respectfully request the Court grant this motion to compel and

 issue the proposed order included with this motion.

                                               Respectfully Submitted,


                                               By: /s/ Steven J. Engelmyer

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 Dated: September 2, 2022

                                                                          Certification Due Date: 09/09/2022
                                                 16                               Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 437 of 703 Page
                                     ID #:2124



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 T-MOBILE US, INC.,                          :   IN THE COURT OF COMMON PLEAS
 CLEARWIRE SPECTRUM HOLDINGS                 :   OF BERKS COUNTY, PENNSYLVANIA
 LLC,                                        :
 CLEARWIRE SPECTRUM HOLDINGS II              :   CIVIL ACTION/DECLARATORY
 LLC,                                        :   JUDGMENT
 CLEARWIRE SPECTRUM HOLDINGS III             :
 LLC,                                        :   NO. 21-04881
 FIXED WIRELESS HOLDINGS LLC,                :
 NSAC LLC,                                   :
 TDI ACQUISITION SUB LLC,                    :
 WBSY LICENSING LLC                          :
                                             :
       Plaintiffs,                           :
                                             :
 v.                                          :
                                             :
 WCO SPECTRUM LLC,                           :
 SCH LLC,                                    :
 ACADEMIA SPECTRUM LLC,                      :
 GARY WINNICK,                               :
 CARL KATERNDAHL,                            :
 ASHOK VASUDEVAN,                            :
 ANDREAS BITZARAKIS,                         :
 TYLER KRANTZ,                               :
                                             :
       Defendants.                           :
                                             :

     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION
    TO COMPEL DEFENDANTS TO PRODUCE DOCUMENTS IN RESPONSE TO
   PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS




                                                                Certification Due Date: 09/09/2022
                                                                        Response Date: 09/16/2022
                                                                               Case ID: 220500629
                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 438 of 703 Page
                                          ID #:2125



                               MATTER BEFORE THE COURT

        This lawsuit concerns allegations of fraud leveled against Defendants by a self-described

 whistleblower who is a former insider at WCO Spectrum LLC (“WCO”). According to the

 whistleblower, WCO and the other Defendants are engaged in a nationwide scheme to defraud

 Plaintiff T-Mobile US, Inc. and its subsidiaries (collectively, “T-Mobile”), which works as

 follows: T-Mobile leases the right to use certain wireless spectrum from educational institutions

 that hold Federal Communications Commission (“FCC”) licenses for that spectrum. T-Mobile’s

 leases typically include a Right of First Refusal (“ROFR”), which provides that, if a third party

 makes a bona fide offer to purchase a spectrum license and the licensee intends to accept such an

 offer, then T-Mobile has 30 days to match the third party’s terms and acquire the license.

 According to the whistleblower, WCO makes non-binding offers to purchase these institutions’

 licenses that it has no intention of honoring. Instead, the offers are intended to induce T-Mobile

 to exercise its ROFR. Simultaneously, WCO enters into secret side agreements with these

 institutions pursuant to which WCO pockets a kickback, in the form of a ten percent cut of the

 purchase price, in the event T-Mobile exercises its ROFR. Through this scheme, WCO—with the

 help of the other Defendants, with whom it conspires to commit this fraud—already has siphoned

 tens of millions of dollars from T-Mobile to itself, and its illegal conduct continues unabated.

        The whistleblower not only provided information to T-Mobile verbally, he also sent a

 written description of the fraud and provided five internal WCO documents to Plaintiffs’ counsel

 to support his allegations, which Plaintiffs were granted permission to review in March 2022.

 Notably, three of these documents show that WCO conspires with an entity called SCH LLC (a

 defendant here), which purportedly gave WCO access to $2 billion in order to fund WCO’s efforts

 to acquire licenses. This appears to be a sham. SCH is a California company with no apparent


                                                                           Certification Due Date: 09/09/2022
                                                  2                                Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 439 of 703 Page
                                         ID #:2126



 history, no public presence, and no lines of business. It is run by former movie producer Ash

 Vasudevan (also a defendant here) out of a modest multi-unit apartment building in Cupertino.

        Even though the whistleblower’s information and documents all support the allegations

 that WCO and its co-conspirators are engaged in a nationwide fraud against T-Mobile, Plaintiffs

 seek additional information and corroboration about the scheme in order to file their complaint.

 Plaintiffs thus filed their writ of summons and invoked Pennsylvania’s pre-complaint discovery

 procedures by serving targeted requests pursuant to Pennsylvania Rule of Civil Procedure 4003.8.

 This case based on serious whistleblower allegations is tailor-made for Pennsylvania’s pre-

 complaint discovery procedures. Because WCO and its co-conspirators have refused to produce

 a single document in response to Plaintiffs’ requests and have no valid objections, Plaintiffs move

 this Court to compel Defendants to produce all responsive documents.

                                   QUESTION PRESENTED

        1.      Should the Court compel Defendants to produce all documents in response to

 Plaintiffs’ First Requests for Production of Documents?

        Suggested Answer: Yes.

                                  FACTUAL BACKGROUND

 A.     Background

        T-Mobile currently leases wireless spectrum from educational institutions across the

 country and uses that leased spectrum as part of its nationwide cellular and data network. This

 spectrum falls within the 2.5 GHz band, which the FCC has historically licensed to educational

 institutions under its “Educational Broadband Service” (“EBS”) licensing program. See In re

 Transforming the 2.5 GHz Band, Report & Order, FCC 19–62 ¶ 16. The original intent of the




                                                                          Certification Due Date: 09/09/2022
                                                 3                                Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 440 of 703 Page
                                          ID #:2127



 program was to reserve certain wireless spectrum for educational programming. See id. ¶ 5. To

 that end, the FCC issued EBS licenses to educational institutions across the country. See id.

        Prior to April 2020, FCC regulations allowed only educational entities to hold EBS

 spectrum licenses. See id. ¶ 3. The FCC, however, permitted EBS licensees—most of which lack

 the technical knowledge, expertise, and infrastructure to operate a telecommunications network—

 to lease all but five percent of the spectrum authorized by their licenses to commercial entities like

 T-Mobile. See id. ¶¶ 6–7. As of 2019, nearly all of the 1,300 EBS licensees had leased their excess

 capacity. See id. These leases took spectrum that otherwise would have gone unused and put it to

 work supporting modern, high-speed broadband and telecommunications services. See id. ¶ 4.

        Effective April 27, 2020, the FCC eliminated the requirement that EBS licenses could only

 be owned by educational institutions, making it possible for licensees to sell their licenses to

 commercial entities. According to the FCC, “technological changes of the last 30 years enable

 any educator with a broadband connection to access a myriad of educational resources” and “most

 licensees rel[ied] on lessees to deploy and operate broadband networks and use the leases as a

 source for revenues or devices.” Id. ¶ 16.

        Notwithstanding that change, thousands of EBS licenses remain subject to lease

 agreements with commercial entities, under which the licensees make money by leasing the

 spectrum. T-Mobile continues to lease spectrum from institutions that still own licenses. T-

 Mobile’s lease agreements with these institutions contain various provisions that protect its

 contractual rights in the event a third party makes an offer to acquire the EBS license. The lease

 agreements typically include a ROFR provision, which states that, if a third party makes a bona

 fide offer to purchase an EBS license subject to a lease and the licensee intends to accept such an

 offer, then T-Mobile has 30 days to match the third party’s terms and acquire the license. To


                                                                            Certification Due Date: 09/09/2022
                                                   4                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25           Page 441 of 703 Page
                                           ID #:2128



 trigger this type of provision, an EBS licensee must, inter alia, intend to accept an offer from a

 third party, send T-Mobile a ROFR notice (which starts the clock on the 30-day ROFR period),

 and establish that the offer is “bona fide.”

        Not long after the FCC rule change permitting commercial entities to own spectrum

 licenses, WCO began to use an entity called Parkview Consulting (“Parkview”) to issue public

 records requests—under Parkview’s name in an effort to hide WCO’s involvement—to

 educational institutions across the country seeking copies of T-Mobile’s EBS lease agreements.

 WCO obtained a number of T-Mobile’s confidential lease agreements this way. T-Mobile

 eventually learned that Parkview is a front for WCO. To this day, WCO continues to submit public

 records requests for T-Mobile’s EBS leases in this fashion. As a result, WCO knows the terms of

 many T-Mobile leases, including the ROFRs.

        By the second half of 2020, WCO—a company run by founder Gary Winnick and senior

 executive Carl Katerndahl, with the assistance of key consultant Tyler Krantz3 (all of whom are

 defendants here)—was actively targeting institutions that leased spectrum to T-Mobile, which

 were subject to ROFRs. In the spring of 2021, a dispute arose between T-Mobile subsidiary TDI

 Acquisition Sub LLC (“TDI”) and an EBS licensee, Albright College (“Albright”). For years, TDI

 had leased excess spectrum from Albright, which owns a license to use certain EBS spectrum in

 the Reading, Pennsylvania area. The relationship between TDI and Albright had been amicable

 and uneventful. On April 30, 2021, WCO sent a non-binding term sheet in which it proposed to

 purchase Albright’s license. Soon after, Albright sent TDI a purported ROFR notice. Pursuant to

 its contractual rights, TDI sought certain information from Albright and WCO about the supposed


 3
   In his responses and objections to Plaintiffs’ discovery requests, counsel for Mr. Krantz spells
 his client’s name as it appears here: “Krantz.” In other documents in T-Mobile’s possession, Mr.
 Krantz is variously referred to as “Krantz” or “Kratz.”

                                                                         Certification Due Date: 09/09/2022
                                                 5                               Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 442 of 703 Page
                                          ID #:2129



 offer. Neither Albright nor WCO provided the required information. Because Albright failed to

 establish that the offer was “bona fide,” TDI sued Albright in the Court of Common Pleas of Berks

 County, Pennsylvania to enforce its contractual rights. That case was captioned TDI Acquisition

 Sub LLC v. Albright College, No. 21-04881 (Nevius, J.). TDI did not sue WCO or any of the other

 Defendants as part of that action.

 B.     A Whistleblower Emerges

        During the Albright litigation, on October 25, 2021, a self-described whistleblower—who

 said he is a former insider at WCO, but whose identity remains unknown to Plaintiffs—called

 TDI’s Pennsylvania counsel, Steven J. Engelmyer, who also is one of Plaintiffs’ counsel of record

 in this action. In a series of phone calls, the whistleblower described how WCO, in conjunction

 with numerous co-conspirators and EBS licensees, is perpetrating a fraudulent scheme against T-

 Mobile by which it uses sham offers to purchase EBS licenses to siphon money from T-Mobile to

 itself. According to the whistleblower, the scheme works as follows: WCO makes a sham, non-

 binding offer to purchase a license. WCO does not intend to honor its offer; instead its sole purpose

 is to trigger the ROFR in T-Mobile’s lease agreement. This coercively forces T-Mobile to decide

 within 30 days whether to purchase the license. Before making the sham offer, WCO and the

 licensee execute a secret side contract, titled a “Commitment Costs Agreement” (“CCA”), which

 provides that, if TDI matches WCO’s offer and purchases the license, the licensee pays WCO ten

 percent (10%) of the purchase price. WCO and the licensee try to hide this kickback arrangement

 from T-Mobile by using a non-disclosure agreement (“NDA”).

        In addition to describing WCO’s scheme, the whistleblower sent TDI’s Pennsylvania

 counsel several documents memorializing it.          These documents described in detail WCO’s

 arrangement with licensees like Albright and provided evidence that WCO never actually intended


                                                                           Certification Due Date: 09/09/2022
                                                  6                                Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 443 of 703 Page
                                         ID #:2130



 to purchase Albright’s license.     When TDI’s counsel received the documents from the

 whistleblower, he did not immediately review them. Rather, out of an abundance of caution, and

 given that the Albright litigation already was pending, TDI sought the Berks County court’s

 permission to inspect and use them. On March 21, 2022, that court granted TDI permission to

 do so.

          Upon inspection, TDI learned that the documents strongly support the whistleblower’s

 allegations. In particular, three of the documents show that an entity called SCH LLC purportedly

 gave WCO access to $2 billion in financing. But SCH is a California company with no apparent

 history, no public presence, and no lines of business, which is run by a former movie producer

 (Defendant Vasudevan) out of a modest apartment in this multi-unit building in Cupertino:




 It is implausible that SCH legitimately could have extended a $2 billion line of credit to anyone.

 The whistleblower also provided a four-page narrative that described WCO’s scheme in detail,

 consistent with his verbal descriptions and the documents he provided.




                                                                          Certification Due Date: 09/09/2022
                                                 7                                Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 444 of 703 Page
                                         ID #:2131



 C.     Subpoenas to WCO and Academia

        Since the whistleblower and his allegations about WCO defrauding T-Mobile surfaced

 publicly, WCO and Defendant Academia Spectrum LLC (“Academia”)—a spectrum broker run

 by Defendant Andreas Bitzarakis that WCO uses as a conduit with licensees to implement the

 fraud—brazenly have obstructed discovery that might illuminate the whistleblower’s allegations.

 As part of the Berks County case, TDI served document subpoenas on WCO in Delaware and

 Academia in Virginia. Since then, WCO and Academia (each represented by WCO’s counsel

 here) have engaged in a protracted pattern of obstruction and delay. WCO started by frivolously

 challenging whether the Delaware court had jurisdiction to enforce a subpoena served on a

 Delaware LLC, and Academia did the same in Virginia. The Delaware and Virginia courts rejected

 those baseless arguments. WCO delayed further by unsuccessfully seeking reconsideration of that

 ruling in Delaware.

        After losing every argument in Delaware and Virginia, WCO filed a motion for a protective

 order in Berks County seeking to stop all discovery. In this filing, WCO represented that it was

 no longer pursuing the Albright transaction, and asserted that the case therefore was moot. At a

 hearing on March 21, 2022, the Berks County court ruled that TDI could pursue its subpoenas in

 Delaware and Virginia in order to investigate the whistleblower’s allegations concerning the

 Albright transaction (though the whistleblower’s allegations are far broader than that). See Ex. 1

 (March 21, 2022 Berks Cnty. Tr. 43:13–17) (“My ruling as of right now is those subpoenas which

 were validly issued [from] this court and then domesticated in those jurisdictions you have a date

 in court with either the court or master they will resolve how those should be enforced and I think

 that’s appropriate.”); see also Ex. 2 (April 29, 2022 Virginia Beach Cir. Ct. Order) (ordering

 production of communications “regarding Albright”).


                                                                          Certification Due Date: 09/09/2022
                                                 8                                Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25            Page 445 of 703 Page
                                         ID #:2132



        TDI did everything in its power to seek discovery concerning the Albright transaction, as

 permitted by the Berks County court. Academia was directed by the Virginia court to produce all

 documents regarding the Albright transaction. But after stalling for weeks, Academia made an

 improper production that was heavily redacted, rendering it largely of no use. For example,

 Academia redacted a “deal memo” specifically addressing Albright on the baseless ground of

 “transaction strategy.” See Ex. 3 (Academia 230–33). As a result, TDI filed a motion to compel

 Academia to remove its improper redactions, which the Virginia court granted on July 25, 2022,

 ordering Academia to produce a completely unredacted “deal memo” by August 15. WCO, for its

 part, produced only documents regarding Albright, and it did so on the eve of a hearing on TDI’s

 motion to compel in Delaware. That production, however, was plagued by the same issues as

 Academia’s. And, like Academia’s production, it is limited to the Albright transaction. Indeed,

 to the extent that any document concerned general strategy or any other transaction WCO was

 supposedly pursuing, both WCO and Academia redacted that information. TDI has thus not

 obtained discovery from any Defendant concerning WCO’s broader fraudulent scheme.

 D.     The Albright Litigation Concludes

        The Albright case is now concluded. On August 11, 2022, Albright filed preliminary

 objections to T-Mobile’s amended complaint, asserting that, inter alia, the contract claims—

 which, to reiterate, did not concern the whistleblower’s allegations of fraud in any respect—were

 moot. In doing so, Albright represented to the Berks County court that “no case or controversy

 exist[ed]” any longer because T-Mobile “already has accomplished its stated goal for the lawsuit,”

 which was to “prevent Albright from selling its License to WCO” in contravention of its lease with

 TDI. Ex. 4 (excerpt of Albright’s Preliminary Objs. to Pls.’ Am. Compl.). Albright’s assertions

 echoed WCO’s, which stated that the Albright case “has been over since the day” WCO


                                                                         Certification Due Date: 09/09/2022
                                                 9                               Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 446 of 703 Page
                                          ID #:2133



 represented to the court that it was withdrawing its offer to Albright and was “no longer a suitor.”

 See Ex. 5 (July 11, 2022 Berks Cnty. Tr. 8:9–11); see also id. 9:3–5 (“there isn’t anything at issue”

 in Albright). WCO even intervened as a plaintiff in the Albright action to seek dismissal based on

 the same mootness argument.

        On August 26, 2022, T-Mobile discontinued the Albright case without prejudice. The only

 reason T-Mobile filed the lawsuit against Albright in Berks County—an action it took prior to

 being contacted by the whistleblower and without any knowledge of Defendants’ fraud— was

 because that is where Albright College is located. As the Berks County court itself recognized

 after the whistleblower’s allegations came to light, this dispute between T-Mobile and Defendants

 “is obviously much bigger than Berks County, Pennsylvania.” Ex. 5 at 12:24–25. WCO’s counsel

 similarly told the Berks County court in seeking dismissal of that case that, “if [T-Mobile] want[s]

 to bring another lawsuit somewhere, we can deal with it in the appropriate course.” Id. at 8:11–

 12.

 E.     T-Mobile Files a Writ of Summons

        In light of the whistleblower’s allegations and supporting documentation, T-Mobile filed

 this lawsuit via a writ of summons on May 6, 2022, related to the alleged nationwide fraud in its

 entirety and not limited to the Albright transaction. T-Mobile filed the writ in this Court because

 WCO has targeted EBS spectrum covering the Philadelphia area as part of its scheme and has

 profited from T-Mobile’s exercise of a ROFR to match WCO’s sham offer to acquire that

 Philadelphia spectrum. Given the nature and extent of the fraud allegations, this lawsuit is brought

 directly against WCO and its co-conspirators, and extends far beyond the limited claims and issues

 that were before the Berks County court in the Albright litigation.




                                                                           Certification Due Date: 09/09/2022
                                                  10                               Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 447 of 703 Page
                                         ID #:2134



        Plaintiffs Clearwire Spectrum Holdings LLC, Clearwire Spectrum Holdings II LLC,

 Clearwire Spectrum Holdings III LLC, Fixed Wireless Holdings LLC, NSAC LLC, TDI, and

 WBSY Licensing LLC are all subsidiaries of Plaintiff T-Mobile US, Inc. that have been coerced

 into exercising a ROFR under an EBS lease agreement because of a sham offer submitted by WCO.

 Plaintiffs filed this lawsuit via writ of summons against the following Defendants, each of whom

 played a critical role in perpetuating this fraud against T-Mobile: (i) WCO and its founder Winnick

 and senior executive Katerndahl; (ii) WCO’s consultant Tyler Krantz; (iii) WCO’s broker

 Academia and Academia’s principal Bitzarakis; and (iv) WCO’s supposed financier, SCH, and

 SCH’s principal Vasudevan.

        WCO is at the center of the fraud, and through Defendants Winnick, Katerndahl, and

 Krantz, is the entity that developed the fraudulent scheme to make sham offers to EBS licensees

 in order to trigger T-Mobile’s ROFR rights. WCO has collected tens of millions of dollars in

 illegal kickbacks when T-Mobile exercised its ROFRs and acquired the licenses to which those

 sham offers pertained. Winnick is WCO’s leader and spearheaded this scheme, with the help of

 Katerndahl. Katerndahl signed numerous agreements to affect the fraudulent scheme, including,

 for example, the CCA between WCO and the Pennsylvania Hospital Television Network

 concerning the spectrum in the “Philadelphia, PA” “[m]arket.”

        WCO’s key consultant Krantz is believed to have developed (or helped develop) the

 fraudulent scheme, and implemented it on a nationwide basis. Krantz sits alongside Winnick and

 Katerndahl on WCO’s “Investment Committee,” which identifies as targets EBS licenses that are

 leased to T-Mobile. Among other things, Krantz participates in preparing “deal memos” (like the

 one referenced above) that are used to effectuate the fraud against T-Mobile.




                                                                          Certification Due Date: 09/09/2022
                                                 11                               Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 448 of 703 Page
                                          ID #:2135



        WCO’s broker Academia and its principal Bitzarakis are believed to help identify EBS

 licenses to target that are subject to T-Mobile leases, and Academia and Bitzarakis serve as a

 conduit between WCO and various EBS licensees located across the country. Among other things,

 Bitzarakis participates in strategy sessions, contacts EBS licensees about WCO potentially making

 offers to them, and delivers the sham offers to those entities. It is believed that Bitzarakis further

 facilitates the scheme by negotiating WCO’s kickbacks and documenting them under the guise of

 CCAs, as well as the NDAs that try to hide those payments.

        Finally, WCO’s supposed financier SCH and its principal Vasudevan create the appearance

 of providing WCO with $2 billion in financing, which is a sham designed for WCO to use in the

 event its financial wherewithal to make its substantial offers to EBS licensees is ever questioned.

 The whistleblower specifically identified SCH in his allegations of fraud and provided the

 documents pursuant to which the financing supposedly was provided.

        Concurrently with the writ of summons, Plaintiffs served pre-complaint document requests

 on each Defendant. See Ex. 6 (Pls.’ First Reqs. for Production). Pursuant to Rule 4003.8, each of

 Plaintiffs’ seventeen (17) requests seeks documents “material and necessary” to filing a complaint

 regarding Defendants’ alleged fraudulent EBS license kickback scheme. See infra Pls.’ Mot. to

 Compel ¶¶ 25–30.

        Each of the Defendants served nearly identical, baseless objections to Plaintiffs’ document

 requests. See Exs. 7, 8, 9, 10, 11, 12, 13. None of the Defendants agreed to produce any

 documents. Despite Plaintiffs’ best efforts to meet and confer, Defendants continue to obstruct T-

 Mobile’s discovery, necessitating this motion to compel.




                                                                            Certification Due Date: 09/09/2022
                                                  12                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25                Page 449 of 703 Page
                                           ID #:2136



                                             ARGUMENT

         This Court should order Defendants to produce documents in response to Plaintiffs’ pre-

 complaint discovery requests because these requests seek documents “material and necessary” to

 Plaintiffs’ complaint, and will impose little burden on Defendants. Pa. R. Civ. P. 4003.8(a). Under

 Pennsylvania law, a plaintiff “may obtain pre-complaint discovery where the information sought

 is material and necessary to the filing of the complaint and the discovery will not cause

 unreasonable annoyance, embarrassment, oppression, burden or expense.” Id.; see Armstrong v.

 Tullytown Borough, No. 2014-05675, 2015 WL 10937075, at *4 (Pa. Ct. C.P. Bucks Cnty. May 15,

 2015) (courts weigh “the importance of the” discovery to plaintiff’s complaint “against the burden

 on” defendant). The decision of whether to permit pre-complaint discovery is “vested to the sound

 discretion of the trial court.” See Tullytown Borough v. Armstrong, 129 A.3d 619, 622 (Pa.

 Commw. Ct. 2015) (permitting pre-complaint discovery). Courts authorize such discovery to learn

 facts that would facilitate drafting a complaint, including “‘all parties liable to plaintiff for injury,

 or the identity or whereabouts of witnesses.’” Doe C.D. v. Career Tech. Ctr., No. 19CV3029,

 2019 WL 3333866, at *4 (Pa. Ct. C.P. Lackawanna Cnty. July 18, 2019) (citation omitted); see

 also Armstrong, 2015 WL 10937075, at *3 (permitting pre-complaint discovery to enable plaintiffs

 to identify proper defendants); Woodward v. ViroPharma Inc., No. 3222 EDA 2011, 2013 WL

 1485110, at *5 (Pa. Super. Ct. Apr. 3, 2013) (same); Sullivan v. Crete Carrier Corp., No. 8716

 CIVIL 2015, 2016 WL 11776119, at *2 (Pa. Ct. C.P. June 20, 2016) (same). Even under the

 stricter standard that existed prior to 2006, under which a party seeking pre-complaint discovery

 was required to establish a prima facie case (which Plaintiffs do here based on the whistleblower’s

 allegations), courts authorized pre-complaint discovery that “relates to the occurrence of the

 specific” event at issue, circumstances giving rise to the cause of action, and “identification of


                                                                              Certification Due Date: 09/09/2022
                                                    13                                Response Date: 09/16/2022
                                                                                             Case ID: 220500629
                                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 450 of 703 Page
                                           ID #:2137



 witnesses.”4 French v. ITT Indus./Harrisburg Design Ctr., 66 Pa. D. & C. 4th 196, 200 (Pa. Ct.

 C.P. Lawrence Cnty. 2004) (allowing pre-complaint discovery into the specifics of an industrial

 accident and the “manufacture, design, maintenance, repair, servicing and chain of distribution of

 specific equipment and its components that were involved in the accident”).

        This case, in which there are credible allegations of fraud from a whistleblower, is tailor-

 made for pre-complaint discovery. Each of Plaintiffs’ requests seeks targeted documents that

 would help Plaintiffs understand the full scope and contours of Defendants’ fraudulent scheme.

 Each request is squarely “necessary and material” to Plaintiffs’ propounding of a complaint against

 Defendants related to the nationwide fraud that the whistleblower alleges, and none of the requests

 will “cause unreasonable annoyance, embarrassment, oppression, burden or expense” on WCO

 and its co-Defendants. Pa. R. Civ. P. 4003.8(a). Plaintiffs’ requests fall generally into three limited

 categories: Documents related to (i) the apparent sham financing arrangements between WCO

 and SCH; (ii) WCO’s targeting EBS licenses covered by T-Mobile lease agreements with ROFR

 provisions that WCO seeks to trigger as part of its kickback scheme; and (iii) T-Mobile’s

 anticipated exercise of ROFRs and WCO’s receipt of kickbacks in the form of percentage cuts of

 purchase prices for EBS licenses.

 I.     Requests Seeking Sham Financing Documents

        Seven of Plaintiffs’ requests (11–17) target specific documents concerning WCO’s

 supposed financing of EBS license purchases through a purported $2 billion line of credit from an



 4
    In McNeil v. Jordan, the Pennsylvania Supreme Court rejected a requirement that a plaintiff
 seeking pre-complaint discovery must first establish a prima facie case. 894 A.2d 1260, 1273 (Pa.
 2006). The Court held that requiring a prima facie case “prior to allowing pre-complaint discovery
 is tantamount to writing pre-complaint discovery out of the civil rules entirely.” Id. The Court
 then adopted the more lenient “material and necessary” standard, id. at 1278, which later was
 adopted in modified form as Rule 4003.8.

                                                                             Certification Due Date: 09/09/2022
                                                   14                                Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 451 of 703 Page
                                          ID #:2138



 entity, with no public profile, called SCH LLC. Requests 13 and 14 ask for “Organizational charts

 sufficient to identify all entities affiliated with SCH” and organizational charts or other documents

 sufficient to identify SCH officers, partners, and other agents. Documents responsive to these

 requests fall squarely within the ambit of Rule 4003.8 because they will enable Plaintiffs to identify

 additional proper defendants, including whether there are other conspirators associated with SCH.

 See Armstrong, 2015 WL 10937075, at *3 (permitting pre-complaint discovery that would help

 plaintiffs determine “whether there is a sufficient factual basis to file a complaint” against a

 particular defendant); ViroPharma Inc., 2013 WL 1485110, at *5 (permitting pre-complaint

 discovery to facilitate identification of proper defendants); Sullivan, 2016 WL 11776119, at *2

 (same). Little is publicly available about SCH, or the only person apparently affiliated with it,

 former movie producer Vasudevan. Given the apparent size of SCH, producing organizational

 charts to identify the entities and people associated with this entity will impose almost no burden

 on SCH and Vasudevan, or WCO and the other Defendants to the extent they are in possession of

 any such documents.

        Relatedly, Requests 11, 12, and 15–17 seek documents and communications concerning

 (i) WCO’s financing of EBS license purchases; and (ii) the sources of SCH’s purported billions of

 dollars in funding. These requests go to the “limited purpose,” Career Tech. Ctr., 2019 WL

 3333866, at *4, of confirming whether WCO’s purported multi-billion dollar funding is a sham.

 Such documents are material and necessary to the contours of Plaintiffs’ claims. See French, 66

 Pa. D. & C. 4th at 201. In addition, given the targeted nature of these requests, it would be easy

 for Defendants like WCO and SCH to collect and produce these documents with little burden.

 II.    Requests About WCO’s Targeting of T-Mobile

        Requests 3 and 5–10 seek documents from Defendants concerning their victim, T-Mobile.


                                                                            Certification Due Date: 09/09/2022
                                                  15                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25               Page 452 of 703 Page
                                           ID #:2139



 Specifically, Plaintiffs seek documents regarding WCO’s targeting of T-Mobile, including

 whether WCO focuses its sham offers on entities who have lease agreements with T-Mobile,

 whether Plaintiffs target lease agreements that contain ROFRs, and which ROFRs WCO thinks T-

 Mobile will be most likely to exercise. This includes, specifically, documents like the one

 produced by Academia concerning Albright, which shows WCO’s intense interest in T-Mobile’s

 ROFRs, WCO’s analysis of the relative importance of certain EBS licenses to T-Mobile (which

 bears on the likelihood of T-Mobile exercising its ROFRs), and WCO’s assessment of how T-

 Mobile might react to WCO offers to various licensees. See Ex. 3. Given the nature of the

 whistleblower’s allegations, such documents lie at the heart of WCO’s alleged scheme to defraud

 T-Mobile, and will assist Plaintiffs in defining the scope, time frame, and substance of their claims.

 Cf. Armstrong, 2015 WL 10937075, at *3 (allowing pre-complaint discovery to ascertain contours

 of claims arising from allegedly improper surveillance by local government). None of these

 requests impose an unreasonable burden, particularly when weighed against the centrality of these

 issues to Plaintiffs’ claims.

 III.    Requests Seeking Documents About WCO and the Whistleblower

         Finally, Requests 1, 2, and 4 seek documents about WCO itself. Requests 1 and 2 ask for,

 respectively, “[o]rganizational charts or other documents sufficient to identify all entities affiliated

 with WCO” and “[o]rganizational charts, corporate directories, or other documents sufficient to

 identify all current and former” agents, officers, and the like of WCO. Documents responsive to

 these two requests will enable Plaintiffs to identify the proper WCO defendants, and whether there

 are other WCO-related entities or individuals that should be named as defendants or who could be

 potential witnesses. See Armstrong, 2015 WL 10937075, at *3 (pre-complaint discovery to




                                                                             Certification Due Date: 09/09/2022
                                                   16                                Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 453 of 703 Page
                                          ID #:2140



 identify proper defendants); Woodward, 2013 WL 1485110, at *5 (same); Sullivan, 2016 WL

 11776119, at *2 (same).

        And Request 4 seeks documents concerning the whistleblower, whose allegations are the

 impetus for this action. Any documents concerning WCO’s knowledge of the identity of this

 individual or WCO’s reactions to his allegations will bear directly on Plaintiffs’ framing of these

 allegations in drawing up their complaint, but they also will reflect WCO’s reaction to news of a

 whistleblower exposing their fraud, which would directly impact Plaintiffs’ claims.

        Defendants have made clear that they will try to portray Plaintiffs’ efforts to obtain

 information about the fraud as a pursuit of Defendants’ confidential business plans. The Court

 should not be distracted by this spin.        Defendants’ “business plans,” according to the

 whistleblower, are to defraud T-Mobile. As a result, this Court should see Defendants’ assertion

 for what it is—a claim by the alleged fraudsters, who have been outed by a whistleblower, that

 their victim should not be permitted to investigate the fraud being committed against it, because

 the fraud is confidential, sensitive business information belonging to the fraudsters. That, of

 course, is absurd on its face. Plaintiffs’ requests are properly targeted and have been propounded

 only to obtain information about the fraud that will assist T-Mobile in filing a complaint.

                                     RELIEF REQUESTED

        Each of these requests is material and necessary to Plaintiffs (the apparent victims of a

 massive fraud) filing their complaint against Defendants (the apparent fraudsters). Depending on

 the content of the responsive documents, Plaintiffs also reserve the right to seek additional

 documents or pre-complaint depositions. See, e.g., Armstrong, 2015 WL 10937075, at *3. The

 importance of the pre-complaint discovery sought here far outweighs the relatively minimal

 burden on Defendants of producing the requested documents. And the gravity and extent of the


                                                                          Certification Due Date: 09/09/2022
                                                 17                               Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 454 of 703 Page
                                         ID #:2141



 alleged fraud allegations, which originated with an apparent former insider at WCO, surely justify

 a review of the documents T-Mobile seeks before filing an appropriate complaint.

        For all of these reasons, Plaintiffs request that the Court order Defendants to produce all

 responsive documents, without relevance redactions, pursuant to Plaintiffs’ First Requests for

 Production of Documents.


 Dated: September 2, 2022                     Respectfully submitted,


                                              By: /s/ Steven J. Engelmyer

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                                                                         Certification Due Date: 09/09/2022
                                                18                               Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25            Page 455 of 703 Page
                                         ID #:2142



             CERTIFICATION OF COMPLIANCE WITH PENNSYLVANIA’S
                    CASE RECORDS PUBLIC ACCESS POLICY

        I certify that this filing complies with the provisions of the Case Records Public Access

 Policy of the Unified Judicial System of Pennsylvania that require filing confidential information

 and documents differently than non-confidential information and documents.

                                                     __/s/ Eric J. Schreiner__________
                                                     Eric J. Schreiner

 Dated: September 2, 2022




                                                                         Certification Due Date: 09/09/2022
                                                                                 Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25           Page 456 of 703 Page
                                        ID #:2143



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 Attorneys for Plaintiffs
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  T-MOBILE US, INC.,                            :   IN THE COURT OF COMMON PLEAS
  CLEARWIRE SPECTRUM HOLDINGS                   :   OF PHILADELPHIA COUNTY,
  LLC,                                          :   PENNSYLVANIA
  CLEARWIRE SPECTRUM HOLDINGS II                :
  LLC,                                          :   May Term, 2022
  CLEARWIRE SPECTRUM HOLDINGS III               :
  LLC,                                          :   No. 00629
  FIXED WIRELESS HOLDINGS LLC,                  :
  NSAC LLC,                                     :   COMMERCE PROGRAM
  TDI ACQUISITION SUB LLC,                      :
  WBSY LICENSING LLC,                           :
                                                :
         Plaintiffs,                            :
                                                :
  v.                                            :
                                                :
  WCO SPECTRUM LLC,                             :
  SCH LLC,                                      :
  ACADEMIA SPECTRUM LLC,                        :
  GARY WINNICK,                                 :
  CARL KATERNDAHL,                              :
  ASHOK VASUDEVAN,                              :
  ANDREAS BITZARAKIS,                           :
  TYLER KRANTZ,                                 :
                                                :
         Defendants.                            :
                                                :

                       ATTORNEY CERTIFICATION OF GOOD FAITH

        Undersigned counsel for movant hereby certifies and attests that counsel have contacted

 opposing counsel regarding the matter contained in the foregoing motion in an effort to resolve




                                                                       Certification Due Date: 09/09/2022
                                                                               Response Date: 09/16/2022
                                                                                      Case ID: 220500629
                                                                                    Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 457 of 703 Page
                                          ID #:2144



 the specific dispute at issue and that despite counsel’s good faith attempts to resolve the dispute,

 counsel have been unable to do so.


                                                      Respectfully,



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                                                      Facsimile: (215) 568-0140
                                                      sengelmyer@kleinbard.com

                                                      Attorney for Plaintiffs

 Date: September 2, 2022




                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25               Page 458 of 703 Page
                                         ID #:2145



                                 CERTIFICATE OF SERVICE

        I, Eric J. Schreiner, Esq., hereby certify that on this date, I caused to be served a true and

 correct copy of the foregoing, Plaintiff TDI Acquisition Sub LLC’s Motion to Compel Defendants

 to Respond to Its First Requests for Production of Documents, via email, upon the following

 counsel:

                                       Maurice R. Mitts, Esq.
                                       MITTS LAW, LLC
                                       1822 Spruce Street
                                       Philadelphia, PA 19103
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                                       (215) 866-0113 (fax)
                                       mmitts@mittslaw.com
                                       Attorney for Defendants WCO
                                       Spectrum, LLC, Academia Spectrum
                                       LLC, Gary Winnick, Carl
                                       Katerndahl, Tyler Krantz and
                                       Andreas Bitzakaris

                                       Gerard M. McCabe, Esq.
                                       McCABE LAW GROUP, LLC
                                       42 Hawkswell Circle
                                       Oreland, PA 19075
                                       Telephone: (215) 965-0003
                                       Facsimile: (215) 965-0013
                                       gmccabe@mccabe.law
                                       Attorney for Defendants WCH LLC
                                       and Ashok Vasudevan


                                                       __/s/ Eric J. Schreiner_________
                                                       Eric J. Schreiner, Esq.
                                                       Attorney for Plaintiff
                                                       TDI Acquisition Sub LLC

 Dated: September 2, 2022




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25    Page 459 of 703 Page
                                   ID #:2146



                                                           Filed and Attested by the
                                                          Office of Judicial Records
                                                              02 SEP 2022 11:15 am
                                                                    P. DIVON




                          Exhibit 1




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 460 of 703 Page
                                   ID #:2147


       TDI ACQUISITION SUB LLC        : In the Court of Common Pleas
                      Plaintiff       : of Berks County, Pennsylvania
                                      : Civil Action Law
                 vs.                  :
                                      :
                                      :
       ALBRIGHT COLLEGE               :
                      Defendant       : No. 21-04881
                                ______________

                                      HEARING
                              Monday, March 21, 2022
                               Reading, Pennsylvania
                                    ______________

               Before THE HONORABLE J. BENJAMIN NEVIUS, Judge
                                ______________

       APPEARANCES:

       For the Plaintiff:        STEVEN J. ENGELMYER, ESQUIRE
       TDI Acquisition           1717 Arch Street, 5th Floor
       Sub, LLC                  Philadelphia, Pennsylvania 19103



                                 KENNETH J. BROWN, ESQUIRE
                                 725 Twelfth Street, N.W.
                                 Washington, D.C. 20005

       For the Defendant:        PETER F. SCHUCHMAN, JR, ESQUIRE
       Albright College          2640 Westview Drive
                                 Wyomissing, Pennsylvania 19610



       For nonparty WCO:         MAURICE R. MITTS, ESQUIRE
       Spectrum, LLC             1822 Spruce Street
                                 Philadelphia, Pennsylvania 19103



       DISTRIBUTION:             Original and once (1) copy filed with
                                 the Office of the Prothonotary to be
                                 distributed to Attorney Mitts upon
                                 payment of balance due and owing.


                                 ANGELA ROTKISKE
                             Official Court Reporter


                                           1              Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 461 of 703 Page
                                    ID #:2148


   1   (Reading, Pennsylvania, Monday, March 21, 2022, at 2 p.m.)

   2               (REPORTER'S NOTE:       At the direction of the

   3   Trial Judge, this transcript shall be considered as

   4   containing an exception to every ruling by the Court.)

   5                      THE COURT:   All right.     This is civil docket

   6   21-4881.    This is the time and place for a sort of all

   7   purposes conference all hands on deck with the various party

   8   and nonparty participants in this proceeding.             We have Mr.

   9   Schuchman on behalf of Albright College.            We have Mr.     Brown

  10   and Mr.    Engelmyer on behalf of Plaintiffs as well Mr.

  11   Mitts on behalf of nonparty, WCO Spectrum, LLC.             And after

  12   reading all of the paperwork it appears to be really between

  13   a battle between WCO and TDI is really what's going on and

  14   Albright sort of in the middle if that's an accurate --

  15                      MR. SCHUCHMAN:    I have strategically placed

  16   myself, Your Honor.

  17                      THE COURT:   Physically in between.

  18                      MR. SCHUCHMAN:    Yes.

  19                      THE COURT:   So I had Mr.     Mitts, I don't think

  20   you were a participant in the first conference call that I

  21   had with counsel in this a few weeks ago, I finally have had

  22   an ability to get up to speed on Judge Rowley's cases.                I'm

  23   still transitioning out from assignments I've had

  24   previously.    This one is -- and we can go off the record.

  25                      (WHEREUPON, discussion occurred off the



                                            2              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 462 of 703 Page
                                    ID #:2149


   1   move forward with it.

   2                      MR. BROWN:   But the point is the documents

   3   that we need to review to make that determination certainly

   4   include the whistleblower documents but they also include

   5   the materials that we sought from Winnick and its consultant

   6   Academia Spectrum.

   7                      THE COURT:   I'm not limiting you in any time.

   8   All I'm limiting you in the time is to give that information

   9   to Mr.    Schuchman --

  10                      MR. BROWN:   What Mr.     Mitts is suggesting is

  11   he wants to be able to go to Virginia tomorrow and tell the

  12   Court you don't need to do anything.

  13                      THE COURT:   My ruling as of right now is those

  14   subpoenas which were validly issued on this court and then

  15   domesticated in those jurisdictions you have a date in court

  16   with either the court or master they will resolve how those

  17   should be enforced and I think that's appropriate.              All

  18   right.

  19                      MR. ENGELMYER:      Yes, sir.

  20                      MR. BROWN:   Yes.

  21                      MR. MITTS:   Thank you very much for your time.

  22   I really appreciate it, Your Honor.

  23                      (WHEREUPON, the proceedings concluded at 3:15

  24   p.m.)

  25



                                           43              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 463 of 703 Page
                                   ID #:2150




                          Exhibit 2




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 464 of 703 Page
                                   ID #:2151




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 465 of 703 Page
                                   ID #:2152




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 466 of 703 Page
                                   ID #:2153




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 467 of 703 Page
                                   ID #:2154




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 468 of 703 Page
                                   ID #:2155




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 469 of 703 Page
                                   ID #:2156




                          Exhibit 3




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                   Page 470 of 703 Page
                                                     ID #:2157


Htqo<                             Ocvvjgy!Dnqej!>odnqejBykppkemeq/eqo@
Ugpv<                             Oqpfc{-!Hgdtwct{!33-!3132!4<41!RO
Vq<                               Ict{!!Ykppkem=!Ectn!Mcvgtpfcjn=!V{ngt!Mtcv|=!Cpftgcu!Dkv|ctcmku
Uwdlgev<                          Fgcn!Ogoqu!.!Cndtkijv!
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Cvvcejgf ctg vjg fgcn ogoqu hqt Cndtkijv           / Ngvu fkuewuu cpf citgg qp vjg vgtou )urgekhkecnn{ rtkekpi* uq yg
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       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                  Page 471 of 703 Page
                                                     ID #:2158
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Fcvg<!302703132!
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         Nkegpug!Jqnfgt!Uwooct{!      !
         Nkegpug!Jqnfgt!              Cndtkijv!Eqnngig!
         Nqecvkqp!                    Tgcfkpi-!RC!
         Nkegpug!Jqnfgt!Fguetkrvkqp!  Rtkxcvg!nkdgtcn!ctvu!eqnngig!kp!Tgcfkpi/!Chhknkcvgf!ykvj!Wpkvgf!
                                      Ogvjqfkuv!Ejwtej!
         Ncy{gt!                      Vqff!Itc{!
         Eqpvcevu!                    Lghhtg{!Uvcfgt!
         Uwooct{!qh!Fkuewuukqpu!      Tgcf{!vq!oqxg!hqtyctf!cv!ecne!qwvrwv!
         Ygdukvg!                     yyy/cndtkijv/gfw!
         Nkpm!vq!Ocpcigogpv!0!Dqctf!! jvvru<00yyy/cndtkijv/gfw0cdqwv.cndtkijv0dqctf.qh.vtwuvggu0!
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         Nkegpug!Uwooct{!             !
         Ecnn!Ukipu!0!Tgikqpu!        YPF586!
         Ecrcekv{!)OJ|*!              33/6!OJ|!
         RQRu!                        2-516-988!
         OJ|.RQRu!                    42-743-344!
         Rwtejcug!Rtkeg!                                                                               !
         Rtkekpi!)%0OJ|.RQR*!         %/62!OJ|.RQR!
         Uwo!qh!tgockp/!ngcug!r{ovu/! P0C!
         [kgnf!                       5&!
         Nguugg!                      VFK!Ceswkukvkqp!Uwd-!NNE!
         Ngcug!Vgtou!                 Ngcug!Eqoogpegogpv<!503118-!Gzrktcvkqp!503148!
         TQHT!                        [gu-!cu!ygnn!cu!vjktf.rctv{!gzenwukxkv{!ectxg!qwv!
         !                            !
         Vtcpucevkqp!Uvtcvgi{!        !
         Fkuenquwtg!Tgswktgogpvu!     !
         Octmgv!Cpcn{uku!                                                                                    !
         Ejcppgn!Itqwr!                    !
         Uvtcvgike!Korqtvcpeg!vq!VOQ!                                                                            !
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         Rqvgpvkcn!VOQ!Uvtcvgi{!                                                                         !
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         PFC!                         3027032!
         Wpukipgf!Qhhgt!              !
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         Pgzv!Uvgru!                  !
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                                                                                           Certification Due Date: 09/09/2022
                                                                                                   Response Date: 09/16/2022
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    Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25           Page 472 of 703 Page
                                         ID #:2159
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     Kpxguvogpv!Eqookvvgg!    KE!Crrtqxcn!2<!Wpukipgf!Qhhgt!   KE!Crrtqxcn!3<!Ukipgf!Qhhgt!
     Fcvg<!                                 ]Fcvg_!                      ]Fcvg_!
     Ict{!Ykppkem!                         ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ectn!Mcvgtpfcjn!                      ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ocvvjgy!Dnqej!                        ]Kpkvkcn_!                   ]Kpkvkcn_!
     Cpftgcu!Dkv|ctcmku!                   ]Kpkvkcn_!                   ]Kpkvkcn_!
     V{ngt!Mtcv|!                          ]Kpkvkcn_!                   ]Kpkvkcn_!
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    Case 2:23-cv-04347-AH-E                                                                       Document 149-3 Filed 05/30/25   Page 473 of 703 Page
                                                                                                           ID #:2160




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                                 Pq!Oqfgn!Etgcvgf!!Dgecwug!pq!ceeguu!vq!hkpcpekcn!kphqtocvkqp!
    ]Kpugtv!Oqfgn!Qwvrwv_!

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                                                                                                                                          Response Date: 09/16/2022
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 474 of 703 Page
                                   ID #:2161




                          Exhibit 4




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25     Page 475 of 703 Page
                                         ID #:2162



 Peter F. Schuchman, Jr., Esquire
 Attomey No.: 69343
 Michael C. Kochkodin, Esquire
 Attomey No.: 86412
 KOZLOFF STOUDT
 2640 Westview Drive
 Wyomissing, PA 19610                                  Attorneys for Defendant
 (610) 670-2552                                        Albright College


 TDI ACQUISITION SUB LLC,                  : IN THE COURT OF COMMON PLEAS OF
                 Plaintiff                 : BERKS COUNTY, PENNSYLV ANIA

        vs.                                : CIVIL ACTION

 ALBRIGHT COLLEGE,                         : CASE NO. 21-04881
               Defendant

        and                                : ASSIGNED TO: BENJAMIN J. NEVIUS, J.

 WCO SPECTRUM, LLC,
               Intervenor


        PRELIMINARY OBJECTIONS OF DEFENDANT ALBRIGHT COLLEGE
                  TO PLAINTIFF'S AMENDED COMPLAINT


        AND NOW, comes the Defendant, Albright College, by and through its

 attorneys Peter F. Schuchman, Jr., Esquire, Michael C. Kochkodin, Esquire, and Kozloff

 Stoudt, and preliminarily objects to Plaintiff' s Amended Complaint in accordance with

 the provisions of Pennsylvania Rule of Civil Procedure 1028(a) as follows:

                           PROCEDURALBACKGROUNDFACTS

     1. Plaintiff, TDI Acquisition Sub LLC ("TDI") commenced this lawsuit by way of a

        Complaint filed on or about May 27, 2021.




                                             1                   Certification Due Date: 09/09/2022
                                                                         Response Date: 09/16/2022
                                                                                Case ID: 220500629
                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25             Page 476 of 703 Page
                                        ID #:2163



     59. WCO never acquired any rights or interests with respect to the Lease. See Exhibit

        "3" at pg.2.

     60. There not only is no allegation by TDI in its FAC that Albright ever entered into a

        binding agreement with WCO but also, the time period within which Albright

        could have chosen to accept an offer from WCO with respect to the License

        without proceeding anew through TDI's ROFR process has expired by its own

        terms. See Exhibit "1" at 'il'il 59, 63; Exhibit "2" at §3(b).

     61. Moreover, both TDI and the Court have been presented with binding

        representations that (i) Albright never entered into a binding transaction to sell

        or assign its License to WCO, (ii) WCO never acquired any rights or interests

        with respect to the Lease; and (iii) WCO will not take any future steps to acquire

        any rights with respect to the Lease. See Exhibit "3".

     62. Inasmuch as TDI' s self-professed reason for filing this lawsuit was to prevent

        Albright from selling its License to WCO (See Exhibit "1" at 'il 1), the aforesaid

        facts establish that regardless of the lack of substantive merit to TDI' s purported

        causes of action, TDI already has accomplished its stated goal for the lawsuit.

     63. Accordingly, no case or controversy exists between TDI and Albright and this

        lawsuit accordingly is moot and should be dismissed with prejudice in its

        entirety.

        WHEREFORE, Defendant Albright College, respectfully requests this Honorable

  Court sustain this preliminary objection and dismiss Plaintiff' s First Amended

  Complaint in its entirety with prejudice as moot.

                                                 14                      Certification Due Date: 09/09/2022
                                                                                 Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 477 of 703 Page
                                   ID #:2164




                          Exhibit 5




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 478 of 703 Page
                                   ID #:2165


       TDI ACQUISITION SUB LLC        : In the Court of Common Pleas
                      Plaintiff       : of Berks County, Pennsylvania
                                      : Civil Action Law
                 vs.                  :
                                      :
                                      :
       ALBRIGHT COLLEGE               :
                      Defendant       : No. 21-04881
                                ______________

                                MOTION TO INTERVENE
                               Monday, July 11, 2022
                               Reading, Pennsylvania
                                   ______________

               Before THE HONORABLE J. BENJAMIN NEVIUS, Judge
                                ______________

       APPEARANCES:

       For the Plaintiff:        STEVEN J. ENGELMYER, ESQUIRE
                                 Three Logan Square
                                 1717 Arch Street, 5th Floor
                                 Philadelphia, PA 19103

                                 KENNETH J. BROWN, ESQUIRE
                                 725 Twelfth Street, N.W.
                                 Washington, DC 20005

       For the Defendant:        PETER F. SCHUCHMAN, JR., ESQUIRE
                                 2640 Westview Drive
                                 Wyomissing, PA 19610


       For the Petitioner:       MAURICE R. MITTS, ESQUIRE
       WCO SPECTRUM, LLC         1822 Spruce Street
                                 Philadelphia, PA 19103




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                                 the Office of the Prothonotary to be
                                 distributed to Maurice R. Mitts, Esquire
                                 and Steven J. Engelmyer, Esquire, upon
                                 payment of balance due and owing.


                                         BRENDA L. FRUMOLT
                                     Official Court Reporter


                                           1              Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25    Page 479 of 703 Page
                                    ID #:2166


   1   hearing.    Fundamentally, it is inappropriate for any

   2   litigant, any litigant to use a court proceeding as a

   3   pretext for invading somebody else's -- a non-party's

   4   business.    There's one defendant in this case.            It's

   5   Albright College.       Sadly, really sadly, Albright lost this

   6   opportunity.       This money would have gone to the college and

   7   would have been made available for scholarship for students.

   8   $16.2 million that's what was at issue.             That whole

   9   opportunity is lost.       This case has been over since the day

  10   I made that representation in court because we're no longer

  11   a suitor.    They want to bring another lawsuit somewhere, we

  12   can deal with it in the appropriate course.

  13                      THE COURT:   Why did WCO back off if it wanted

  14   the license?

  15                      MR. MITTS:   Because they were incessant about

  16   it and we were not getting anywhere in the process.

  17                      THE COURT:   Okay.

  18                      MR. MITTS:   And, Your Honor, let me say this,

  19   they are using this case really improperly.             They filed a

  20   new writ of summons -- you know, they ignored your court

  21   order to produce whistleblower documents and give us a

  22   courtesy copy.       They ignored all that.     They recently filed

  23   a writ of summons in Philadelphia.         They sued not only WCO,

  24   but they sued principals of WCO.         They sued a bunch of

  25   people.



                                            8               Certification Due Date: 09/09/2022
                                                                    Response Date: 09/16/2022
                                                                           Case ID: 220500629
                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 480 of 703 Page
                                    ID #:2167


   1                      The very first -- the very first defined term

   2   in this document request for this supposed precomplaint of

   3   discovery is about Albright College.          If there's an Albright

   4   College controversy, it would be here; but of course, there

   5   isn't anything at issue here.         As Mr. Schuchman correctly

   6   said in his answer to our petition, there is no case in

   7   controversy.       It is quite apparent that they are using this

   8   case as a vehicle to try to get access to unfair proprietary

   9   competitive information about WCO that has nothing to do

  10   with Albright College.

  11                      In fact, they've asked for other EBS, other

  12   colleges, other universities.         That's what they were trying

  13   to get in these foreign jurisdictions in Virginia and

  14   Delaware.    Albright College is not a wealthy institution.

  15   And so it's -- their involvement in this proceeding has been

  16   very truncated and we understand that.          But we also

  17   understand that the lack of a formal filing causing this

  18   case to be thrown out which is what's appropriate when there

  19   aren't any remaining issues is not something that Albright

  20   has done yet.       They do, however, join in our -- in the

  21   relief we seek in our petition and say many times that there

  22   is no case in controversy and this case ought to be thrown

  23   out and dismissed with prejudice.         That's the reason we're

  24   seeking intervention, Your Honor, is to end this case which

  25   has really been hijacked for these improper discovery



                                            9              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 481 of 703 Page
                                    ID #:2168


   1   the preliminary objections, are those still outstanding?

   2                      MR. SCHUCHMAN:   We only filed PO's to the

   3   initial complaint.       They filed the amended complaint.          Mr.

   4   Engelmyer and I have been corresponding or speaking

   5   approximately monthly, and he's graciously granted me an

   6   open-ended extension of time rather than on a monthly basis

   7   to try and save Albright 200 bucks a month in all of this.

   8   Where we are is there's an amended complaint out there that

   9   remains redacted.       Even the defendant hasn't received an

  10   unredacted copy.

  11                      But back to my point, Your Honor, I'm making a

  12   motion at this point to dismiss the case because the

  13   pleadings themselves demonstrate that the offer expired on

  14   its terms -- by its own terms and then you can take -- call

  15   it a motion for summary judgment if you want, Your Honor,

  16   Mr. Mitts's representations that were filed in court not

  17   only did that initial deal expire, but there will be no deal

  18   in the future demonstrates there's no actual case or

  19   controversy.       We got two behemoth companies that are

  20   fighting with each other.        It shouldn't be here at the

  21   expense of Albright.

  22                      THE COURT:   Where else is this -- I mean,

  23   obviously, I think we talked about this the first time.

  24   This is obviously much bigger than Berks County,

  25   Pennsylvania.       So where else is this pending and what other



                                           12              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25    Page 482 of 703 Page
                                    ID #:2169


   1   they have that they want?

   2                      MR. MITTS:   Everything about our business

   3   model.    That's what they really want.         That is what they

   4   want.    They want to know about other schools, how you choose

   5   schools, how you value things.           There's a whole host of

   6   things they want.

   7                      THE COURT:   Is that going to be in a document

   8   or is that something --

   9                      MR. MITTS:   Yes, there are some.        Yes, there

  10   are documents in there that talk about what's the strategy.

  11                      THE COURT:   Okay.

  12                      MR. MITTS:   And you heard Mr. Brown say --

  13                      THE COURT:   It doesn't sound like those are

  14   going to be turned over at least under the Virginia

  15   subpoena.

  16                      MR. MITTS:   That's right.       And they're not

  17   going to get it under Delaware, either; and they shouldn't

  18   get it, Your Honor.

  19                      THE COURT:   Philadelphia action I don't know.

  20                      MR. MITTS:   That would be up to a judge in

  21   Philadelphia.       And the other point, Your Honor, that's

  22   really worth underscoring was they have represented to you

  23   that there are very serious allegations in these documents

  24   that they have that implicate WCO, that implicate Albright,

  25   and they're running all that down.           It's either the case



                                           42               Certification Due Date: 09/09/2022
                                                                    Response Date: 09/16/2022
                                                                           Case ID: 220500629
                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 483 of 703 Page
                                   ID #:2170




                          Exhibit 6




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25           Page 484 of 703 Page
                                         ID #:2171



 KLEINBARD LLC
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 Three Logan Square
 1717 Arch Street, 5th Floor
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 Telephone: 215-568-2000
 Attorneys for Plaintiffs


  T-Mobile US, Inc.,                              COURT OF COMMON PLEAS
  Clearwire Spectrum Holdings III, LLC            PHILADELPHIA COUNTY
  Clearwire Spectrum Holdings II, LLC
  Clearwire Spectrum Holdings, LLC                CASE NO. 00629
  Fixed Wireless Holdings, LLC
  NSAC, LLC                                       MAY TERM, 2022
  TDI Acquisition Sub, LLC
  WBSY Licensing, LLC                             COMMERCE PROGRAM

                  Plaintiffs

  v.

  WCO Spectrum LLC,
  SCH LLC
  Academia Spectrum LLC,
  Gary Winnick,
  Carl Katerndahl,
  Tyler Kratz
  Ash Vasudevan,
  Andreas Bitzarakis,

                  Defendants


                      PLAINTIFFS’ FIRST SET OF REQUESTS FOR
                    PRODUCTION OF DOCUMENTS TO DEFENDANTS


          Plaintiffs T-Mobile US, Inc., Clearwire Spectrum Holdings III, LLC, Clearwire Spectrum

 Holdings II, LLC, Clearwire Spectrum Holdings, LLC, Fixed Wireless Holdings, LLC, NSAC,

 LLC, TDI Acquisition Sub, LLC, and WBSY Licensing, LLC (collectively, “T-Mobile”) by their

                                                                       Certification Due Date: 09/09/2022
 {02227965;v3 }                                                                Response Date: 09/16/2022
                                                                                      Case ID: 220500629
                                                                                    Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25             Page 485 of 703 Page
                                           ID #:2172



 attorneys, pursuant to Pennsylvania Rule of Civil Procedure 4003.8, submits these Requests for

 Production of Documents (“Requests”) to Defendants WCO Spectrum LLC, SCH LLC, Academia

 Spectrum LLC, Gary Winnick, Carl Katerndahl, Tyler Kratz, Ash Vasudevan, and Andreas

 Bitzarakis. Please produce all documents to Kleinbard LLC, Three Logan Square, 1717 Arch

 Street, 5th Floor, Philadelphia, Pennsylvania 19103, attention: Eric J. Schreiner, Esq., within thirty

 (30) days of service, in accordance with Pennsylvania Rule of Civil Procedure 4009.12(a).

                                            DEFINITIONS

          1.      The term “Albright Litigation” refers to the case of TDI Acquisition Sub LLC v.

 Albright College, No. 21-04881, originally filed on May 27, 2021, and currently pending in the

 Court of Common Pleas for Berks County, Pennsylvania.

          2.      The term “all” means all or any, and the term “any” means all or any.

          3.      The term “Communication” means any oral, written, or electronic exchange of

 words, thoughts, information, or ideas with another person. “Communication” includes statements

 made in person, by telephone, letter, envelope, telegram, facsimile, electronic mail, attachment to

 electronic mail, text message, instant message, voice mail, social media, or the Internet.

          4.      The term “Computer System” means any computer software (including source

 code, executable code, databases and related documentation), computer firmware, computer

 hardware (whether general or special purpose), or any other automated, computerized, and/or

 software system or device, including any item, device, or system provided in a “software-as-a-

 service,” “cloud computing,” or hosted arrangement.

          5.      The term “concerning” means referring to, relating to, describing, demonstrating,

 evidencing, reflecting, or constituting.




                                                                            Certification Due Date: 09/09/2022
                                                   2                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
 {02227965;v3 }

                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 486 of 703 Page
                                           ID #:2173



          6.      The term “Commitment Costs Agreement” means any agreement between WCO

 and any person who, at the time of execution of such agreement, holds an FCC license to use

 radiofrequency spectrum in the United States, through which that person agrees to compensate

 WCO in the event that person sells its FCC license to an entity other than WCO. For avoidance

 of doubt, the term includes, but is not limited to, any document entitled “Commitment Costs

 Agreement.”

          7.      As used herein, the term “Document” shall be interpreted in the most

 comprehensive and inclusive sense in light of Pennsylvania Rule of Civil Procedure 4009.1(a) and

 includes the original and any non-identical copies (including those with any notations, marks,

 alterations, comments, or other changes) of any written, typed, printed or otherwise recorded

 matter, however produced or reproduced, of every kind and description, in whatever form (e.g.,

 draft and final version) that are in Your actual or constructive possession, custody, care, or control,

 including but not limited to all writings, devices, components, computer data, computer generated

 Documents, computer disks or data tapes, electronically stored information (“ESI”), or any other

 writings or tangible things. The Documents requested include all attachments to the specifically

 described Documents and all other materials that originally accompanied them. The term

 “Document” specifically includes ESI and all recorded or retrievable electronic data or

 Communications such as electronic mail (Email), metadata, voicemail messages, and attachments,

 and all translations thereof.

          8.      The terms “includes” and “including” mean includes and including without

 limitation. The terms “includes” and “including” do not limit the scope of any request.




                                                                             Certification Due Date: 09/09/2022
                                                   3                                 Response Date: 09/16/2022
                                                                                            Case ID: 220500629
 {02227965;v3 }

                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25                Page 487 of 703 Page
                                           ID #:2174



          9.      The term “Lease Agreement” means any agreement through which a Licensee

 leases to T-Mobile its right to use any portion of the spectrum capacity granted by the FCC to the

 Licensee pursuant to a License.

          10.     The term “License” means any FCC-issued license granting its holder the right to

 use spectrum in the 2.5 GHz band of spectrum pursuant to the FCC’s Broadband Radio Service

 and Education Broadband Service licensing programs.

          11.     The term “Licensee” means any entity that holds a License.

          12.     The term “Offer” means any binding or non-binding bid, proposal, offer, or term

 sheet proposing a transaction.

          13.     The term “Person” means any natural person or any legal entity, including any

 business entity, corporation, partnership, or association.

          14.     The term “ROFR” means “right of first refusal.”

          15.     The term “SCH LLC” refers to a California LLC currently or formerly located at

 10139 S. Blaney Avenue, Cupertino, California, including its predecessors and successors in

 interest, parents, subsidiaries, affiliates, divisions, departments, officers, directors, and for each of

 the foregoing, any present or former principals (including all partners therein), officers, directors,

 attorneys, advisors, representatives, employees, agents, accountants, or any other person(s) acting

 on its or their behalf.

          16.     The term “T-Mobile” means T-Mobile US, Inc., including its predecessors and

 successors in interest, parents, subsidiaries, affiliates, divisions, departments, officers, directors,

 and for each of the foregoing, any present or former principals (including all partners therein),

 officers, directors, attorneys, advisors, representatives, employees, agents, accountants, or any

 other person(s) acting on its or their behalf.


                                                                              Certification Due Date: 09/09/2022
                                                    4                                 Response Date: 09/16/2022
                                                                                             Case ID: 220500629
 {02227965;v3 }

                                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25             Page 488 of 703 Page
                                            ID #:2175



          17.     The term “WCO” means “WCO Spectrum LLC” including its predecessors and

 successors in interest, parents, subsidiaries, affiliates, divisions, departments, officers, directors,

 and for each of the foregoing, any present or former principals (including all partners therein),

 officers, directors, attorneys, advisors, representatives, employees, agents, accountants, or any

 other person(s) acting on its or their behalf. For avoidance of doubt, this includes Winnick and

 Company, Pacific Capital Group, Inc., and GKW Spectrum Holdings, LLC, as well as any of their

 successors in interest, parents, subsidiaries, affiliates, divisions, departments, officers, directors,

 and for each of the foregoing, any present or former principals (including all partners therein),

 officers, directors, attorneys, advisors, representatives, employees, agents, accountants, or any

 other person(s) acting on its or their behalf.

          18.     The term “the Whistleblower” refers to the anonymous individual who contacted

 Pennsylvania counsel for TDI Acquisition Sub LLC in the Albright Litigation alleging that WCO

 Spectrum LLC was engaging in a fraudulent scheme against TDI and its parent company T-Mobile

 USA, Inc., and who provided alleged documentary evidence of that scheme to TDI’s Pennsylvania

 counsel.

                                          INSTRUCTIONS

          1.      You are to respond to these Requests in accordance with the requirements of the

 Pennsylvania Rules of Civil Procedure, the Local Rules of the Philadelphia County Court of

 Common Pleas, and all other applicable laws, rules, and regulations.

          2.      These Requests call for all Documents and Communications within Your

 possession, custody or control.




                                                                             Certification Due Date: 09/09/2022
                                                   5                                 Response Date: 09/16/2022
                                                                                            Case ID: 220500629
 {02227965;v3 }

                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25              Page 489 of 703 Page
                                            ID #:2176



          3.      If, in responding to any of these Requests, You encounter any ambiguity in

 construing either the Request or a definition or instructions relevant to it, set forth the matter

 deemed ambiguous and the construction selected or used in responding to the Request.

          4.      Documents and Communications produced in response to these Requests should be

 produced as they are kept in the usual course of business or should be organized and labeled to

 correspond with the categories in the Request. All Documents and Communications produced in

 response to these Requests should be Bates stamped or otherwise marked in sequential order. If

 there are no Documents or Communications responsive to any particular Request, You should so

 state in writing.

          5.      You must produce ESI responsive to these Requests in the form in which the data

 is ordinarily maintained, or in a form that is reasonably usable and able to be stored or recovered

 with all metadata intact. Pa. R. Civ. P. 4009.1(b).

          6.      References to any natural person shall be deemed to include that natural person’s

 agents, attorneys, representatives, current and former employees, successors, and any person

 acting or purporting to act on that person’s behalf.

          7.      References to any non-natural person (e.g., a corporation, partnership, or other legal

 entity) shall be deemed to include any of that entity’s predecessors or successors in interest,

 parents, subsidiaries, affiliates, divisions, departments, officers, or members, and for each of the

 foregoing, any present or former trustees, officers, directors, attorneys, advisors, representatives,

 employees, agents, accountants, or any other person(s) acting on its or their behalf.

          8.      These Requests call for the production of all responsive Documents and

 Communications in Your possession, custody, or control, or in the possession, custody, or control

 of Your employees, divisions, subsidiaries, affiliates, directors, officers, principals,


                                                                             Certification Due Date: 09/09/2022
                                                    6                                Response Date: 09/16/2022
                                                                                            Case ID: 220500629
 {02227965;v3 }

                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 490 of 703 Page
                                             ID #:2177



 representatives, attorneys, and agents, or other persons acting on Your behalf, without regard to

 the physical location of such Documents and Communications.

           9.       In responding to these Requests, include Documents and Communications obtained

 on Your behalf by Your counsel, employees, agents, or any and all other persons acting on Your

 behalf.        If Your response is that the Documents or Communications are not within Your

 possession, custody, or control, describe in detail the unsuccessful efforts You made to locate each

 such Document or Communication. If Your response is that the Documents or Communications

 are not under Your control, identify the name and address of the person(s) in control of, and the

 location of, the Documents or Communications.

           10.      These Requests are continuing in character and require further response if

 additional Documents or Communications are obtained or located after the time of initial

 production. Pa. R. Civ. P. 4007.4.

           11.      Each Request contemplates production of all Documents and Communications in

 their entirety. If only a portion of a Document or Communication is responsive to one or more

 Requests, the Document or Communication shall be produced in its entirety.

           12.      If any Document or Communication is withheld in whole or in part for any reason

 including a claim of privilege, set forth separately with respect to each:

                    a.     each and every ground of privilege or protection claimed;

                    b.     the author and all recipients;

                    c.     the type of Document or Communication;

                    d.     the Document or Communication’s general subject matter;

                    e.     the Document or Communication’s date; and




                                                                              Certification Due Date: 09/09/2022
                                                      7                               Response Date: 09/16/2022
                                                                                             Case ID: 220500629
 {02227965;v3 }

                                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25              Page 491 of 703 Page
                                            ID #:2178



                  f.     any other information sufficient to enable a full assessment of the

                         applicability of the privilege or protection claims, as required by

                         Pennsylvania Rule Civil Procedure 4009.12(b)(2).

          13.     To the extent that You assert that a Document or Communication contains both

 information that should be protected from disclosure and non-privileged information, the non-

 privileged portions of the Document or Communication must be produced. For each, indicate the

 portion of the Document or Communication withheld by stamping the words “MATERIAL

 REDACTED” in an appropriate location that does not obscure the remaining text.

          14.     The use of the past tense includes the present tense and vice versa, as necessary to

 bring within the scope of each Request all responses that might otherwise be considered outside

 its scope.

          15.     To the extent not otherwise defined, all words shall have their usual and ordinary

 meaning as the context of the Request would indicate.

          16.     If You find any of the Requests to be unclear, overbroad, or unduly burdensome,

 Plaintiff is prepared to meet and confer regarding the issue.

                                DOCUMENTS TO BE PRODUCED

          1.      Organizational charts or other documents sufficient to identify all entities affiliated

 with WCO, including, all current and former parent companies, subsidiaries, and affiliates of each

 such entity.

          2.      Organizational charts, corporate directories, or other documents sufficient to

 identify all current and former WCO officers, partners, managing partners, directors, board

 members, employees, contractors, advisors, consultants, and investment committee members by




                                                                              Certification Due Date: 09/09/2022
                                                    8                                 Response Date: 09/16/2022
                                                                                             Case ID: 220500629
 {02227965;v3 }

                                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25           Page 492 of 703 Page
                                          ID #:2179



 full name; title or titles; and the dates of each such individual’s employment or engagement with

 WCO.

          3.      All documents and communications concerning T-Mobile, including any deal

 memos, pipeline reports, opportunity by stage reports, opportunity history stage reports, and

 dashboard documents that concern or reference T-Mobile.

          4.      All documents and communications concerning the Whistleblower.

          5.      All documents and communications concerning any Lease Agreement, including

 the ROFR provision in any Lease Agreement.

          6.      All documents and communications concerning any Commitment Costs Agreement

 between WCO and any Licensee, including each such Commitment Costs Agreement itself.

          7.      All documents and communications concerning how WCO determines, calculates,

 or otherwise arrives at the amount of any payments that could be made or owed by Licensees to

 WCO pursuant to any Commitment Costs Agreement, in the event that T-Mobile exercises a

 ROFR to acquire a License.

          8.      All documents and communications concerning WCO’s discussions and

 communications with any Licensee about the actual, potential, or contemplated purchase of any

 License subject to a Lease Agreement prior to WCO’s making any offer to purchase such License.

          9.      All documents and communications concerning the actual, potential, or

 contemplated receipt by WCO of any portion of any amount paid by T-Mobile to any Licensee for

 any License.

          10.     All documents and communications concerning WCO’s actual, potential, or

 contemplated acquisition of any License, including all deal memos, pipeline reports, opportunity

 by stage reports, opportunity history stage reports, and dashboard documents.


                                                                        Certification Due Date: 09/09/2022
                                                9                               Response Date: 09/16/2022
                                                                                       Case ID: 220500629
 {02227965;v3 }

                                                                                     Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25             Page 493 of 703 Page
                                           ID #:2180



          11.     All documents and communications concerning WCO’s financing or planned

 financing of the purchase of any License subject to a Lease Agreement, including WCO’s

 Revolving Line of Credit Loan Agreement with SCH LLC, and any other loan or financing

 agreements.

          12.     All communications to, from, or copying Ash Vasudevan (whether or not others

 were party to such communications) concerning WCO’s financing or planned financing of the

 purchase of any License subject to a Lease Agreement.

          13.     Organizational charts sufficient to identify all entities affiliated with SCH LLC,

 including current and former parents, subsidiaries, and affiliates of such entities.

          14.     Organizational charts, corporate directories, or other documents sufficient to

 identify all current and former SCH LLC officers, partners, managing partners, directors,

 employees, contractors, and consultants by full name; title or titles; and the dates of each such

 individual’s employment or engagement with SCH LLC.

          15.     All communications between WCO and SCH LLC.

          16.     Documents sufficient to show SCH LLC’s lines of business, investments, sources

 of income, and sources and amounts of funding and financing, as it relates to the financing or

 potential financing of WCO’s purchase of any License subject to a Lease Agreement.

          17.     All documents concerning any “Borrowing Requests,” “Initial Loan,” payment of

 interest on any Initial Loan, “Additional Loans,” and “Participation Payments,” pursuant to the

 Revolving Line of Credit Note between WCO and SCH LLC, as it relates to financing or potential

 financing of the purchase of any Licenses subject to a Lease Agreement.




                                                                            Certification Due Date: 09/09/2022
                                                  10                                Response Date: 09/16/2022
                                                                                           Case ID: 220500629
 {02227965;v3 }

                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25     Page 494 of 703 Page
                                   ID #:2181




                                     KLEINBARD LLC

                                     By: /s/ Steven J. Engelmyer
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                                     sengelmyer@kleinbard.com
                                     Eric J. Schreiner, PA ID No. 76721
                                     eschreiner@kleinbard.com
                                     Three Logan Square
                                     1717 Arch Street, 5th Floor
                                     Philadelphia, PA 19103
                                     Telephone: 215-568-2000
                                     Attorneys for Plaintiffs




 Dated: May 11, 2022




                                                            Certification Due Date: 09/09/2022
                                      11                            Response Date: 09/16/2022
                                                                           Case ID: 220500629
 {02227965;v3 }

                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25             Page 495 of 703 Page
                                           ID #:2182



                                   CERTIFICATE OF SERVICE

          I, Steven J. Engelmyer, Esq., hereby certify that on this date, I caused to be served a true

 and correct copy of the foregoing, Plaintiff’s First Set of Requests for Production of Documents,

 via Process Server, upon the following:

            WCO SPECTRUM, LLC                                CARL KATERNDAHL
            c/o Corporation Trust Center                     9355 Wilshire Blvd., Suite 200
            1209 Orange St                                   Beverly Hills, CA 90210
            Wilmington, DE 19801
                                                             TYLER KRATZ,
            SCH LLC                                          25 Avenue Munoz Rivera, Apt. 419,
            c/o Ashok Vasudevan                              San Juan, Puerto Rico 00901
            10139 S Blaney Ave Apt A
            Cupertino, CA 95014-3155                         ASHOK VASUDEVAN,
                                                             10139 S Blaney Ave Apt A
            ACADEMIA SPECTRUM LLC                            Cupertino, CA 95014-3155
            c/o Virginia Registered Agent Services
            4445 Corporation Ln Ste 264                      ANDREAS BITZARAKIS,
            Virginia Beach, VA 23462                         294 Watch Hill Rd
                                                             Berlin, CT, 06037
            GARY WINNICK
            9355 Wilshire Blvd., Suite 200
            Beverly Hills, CA 90210




                                                /s/ Steven J. Engelmyer
                                                Steven J. Engelmyer
                                                Attorney for Plaintiffs


          Dated: May 11, 2022




                                                                            Certification Due Date: 09/09/2022
 {02227965;v3 }                                                                     Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 496 of 703 Page
                                   ID #:2183




                          Exhibit 7




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 497 of 703 Page
                                            ID #:2184



MITTS LAW, LLC
Maurice R. Mitts, Esquire (Attorney I.D. No. 50297)
1822 Spruce Street
Philadelphia, PA 19103
(215) 866-0112 (telephone)
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mmitts@mittslaw.com
Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                      )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                      )              COURT OF COMMON PLEAS
                           Plaintiffs,                )              TRIAL DIVISION
                                                      )
                  v.                                                 May Term, 2022
                                                      )
  WCO SPECTRUM, LLC, et al.,                          )              No. 00629
                                                      )
                           Defendants.                               COMMERCE PROGRAM
                                                      )


                DEFENDANT WCO SPECTRUM, LLC’S OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, WCO Spectrum, LLC, (“Answering Defendant”) objects to each of the Requests

 contained in Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all

 overly broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

 evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.




                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 498 of 703 Page
                                             ID #:2185


 4.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the



                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 499 of 703 Page
                                             ID #:2186


 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.

 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

 13.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek the disclosure of private, proprietary, confidential,

 competitively sensitive trade secret information or sensitive financial information.

 14.     Answering Defendant’s objections to each request for production of documents are made subject

 to, and without waiving, any objection to the relevancy, competency, admissibility, or privilege regarding

 any evidence for any purpose.

 15.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that the responses may be construed as an admission by

 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

 with Plaintiffs’ characterization of any facts or circumstances contained in their requests and/or

 interrogatories.

 16.     The general objections asserted above shall be deemed applicable to and continuing with respect

 to each of the Requests contained in Plaintiffs’ First Set of Requests for Production of Documents

                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 500 of 703 Page
                                             ID #:2187


 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

 1.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

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         By way of further response, the hypocrisy inherent in this request for production of documents is

 blatant. Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed same.

 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 501 of 703 Page
                                             ID #:2188


 later, Plaintiffs continue to refuse to produce these documents, laying bare their true intention here:

 circumventing the Berks County Court, misrepresenting Plaintiffs’ true intentions, and forum shopping for

 more favorable rulings on discovery matters. Plaintiffs’ behavior has forced WCO Spectrum to file a

 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

         Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the Berks

 County Court if the purported whistleblower documents supported their conclusion that additional action

 might need to be taken concerning WCO Spectrum and other defendants. To date, no complaint has been

 filed in Berks County, no amendments to the current complaint pending against Albright College have been

 proposed, and there are no allegations of fraud or other related conduct pending in any Court in the

 Commonwealth or elsewhere. This writ and this discovery is a mere ruse to attempt to conceal the obvious:

 Plaintiffs are engaged in a strategy to uncover strategic business information regarding WCO Spectrum as

 it concerns the purchase of broadband spectrum leases in order to use that information to obtain a strategic

 business advantage and attempt to bully WCO Spectrum out of the market, create a chilling effect on

 colleges and universities throughout the country, and restrict the re-sale of T-Mobile leases.

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 6.      Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

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                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 502 of 703 Page
                                             ID #:2189


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 7.      Objection. In addition to the general objections set forth above, this request for production of

 documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

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 Albright matter in any way, and not material and necessary to the drafting of a complaint. Further, this

 request for production of documents seeks information protected by the attorney-client privilege and/or the

 attorney work product doctrine. Moreover, this request for production of documents makes clear Plaintiffs’

 true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy with regard

 to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

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 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 9.      Objection. In addition to the general objections set forth above, this request for production of

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                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 503 of 703 Page
                                             ID #:2190


 10.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

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 11.     Objection. In addition to the general objections set forth above, this request for production of

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 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

 this request for production of documents seeks information protected by the attorney-client privilege and/or

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 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 12.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

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                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 504 of 703 Page
                                             ID #:2191


 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 15.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

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 provide a strategic advantage to Plaintiffs in the marketplace.

 16.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 17.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

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                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 505 of 703 Page
                                             ID #:2192


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 506 of 703 Page
                                          ID #:2193



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 507 of 703 Page
                                   ID #:2194




                          Exhibit 8




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 508 of 703 Page
                                            ID #:2195



MITTS LAW, LLC
Maurice R. Mitts, Esquire (Attorney I.D. No. 50297)
1822 Spruce Street
Philadelphia, PA 19103
(215) 866-0112 (telephone)
(215) 866-0113 (facsimile)
mmitts@mittslaw.com
Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                      )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                      )              COURT OF COMMON PLEAS
                           Plaintiffs,                )              TRIAL DIVISION
                                                      )
                  v.                                                 May Term, 2022
                                                      )
  WCO SPECTRUM, LLC, et al.,                          )              No. 00629
                                                      )
                           Defendants.                               COMMERCE PROGRAM
                                                      )


              DEFENDANT ACADEMIA SPECTRUM LLC’S OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, Academia Spectrum LLC, (“Answering Defendant”) objects to each of the Requests

 contained in Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all

 overly broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

 evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.




                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 509 of 703 Page
                                             ID #:2196


 4.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the



                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 510 of 703 Page
                                             ID #:2197


 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.

 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

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 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

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                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 511 of 703 Page
                                             ID #:2198


 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

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         By way of further response, the hypocrisy inherent in this request for production of documents is

 blatant. Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed same.

 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 512 of 703 Page
                                             ID #:2199


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 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

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                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 513 of 703 Page
                                             ID #:2200


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

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                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 514 of 703 Page
                                             ID #:2201


 10.     Objection. In addition to the general objections set forth above, this request for production of

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 11.     Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

 this request for production of documents seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 12.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.



                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 515 of 703 Page
                                             ID #:2202


 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 15.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 16.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 17.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:



                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 516 of 703 Page
                                             ID #:2203


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 517 of 703 Page
                                          ID #:2204



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 518 of 703 Page
                                   ID #:2205




                          Exhibit 9




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 519 of 703 Page
                                            ID #:2206



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mmitts@mittslaw.com
Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                      )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                      )              COURT OF COMMON PLEAS
                           Plaintiffs,                )              TRIAL DIVISION
                                                      )
                  v.                                                 May Term, 2022
                                                      )
  WCO SPECTRUM, LLC, et al.,                          )              No. 00629
                                                      )
                           Defendants.                               COMMERCE PROGRAM
                                                      )


                DEFENDANT ANDREAS BITZAKARIS’ OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, Andreas Bitzakaris, (“Answering Defendant”) objects to each of the Requests contained

 in Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all overly

 broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.

 4.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 520 of 703 Page
                                             ID #:2207


 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the

 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.




                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 521 of 703 Page
                                             ID #:2208


 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

 13.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek the disclosure of private, proprietary, confidential,

 competitively sensitive trade secret information or sensitive financial information.

 14.     Answering Defendant’s objections to each request for production of documents are made subject

 to, and without waiving, any objection to the relevancy, competency, admissibility, or privilege regarding

 any evidence for any purpose.

 15.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that the responses may be construed as an admission by

 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

 with Plaintiffs’ characterization of any facts or circumstances contained in their requests and/or

 interrogatories.

 16.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as an imporper attempt to obtain discovery in a jurisdiction where the

 Answering Defendant lacks sufficient contacts with the jurisdiction to permit the constitutional assertion of

 jurisdiction over this Answering Defendant.

                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 522 of 703 Page
                                             ID #:2209


 17.     The general objections asserted above shall be deemed applicable to and continuing with respect

 to each of the Requests contained in Plaintiffs’ First Set of Requests for Production of Documents

 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

 1.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 2.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 3.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, is unlimited in time, is unlimited

 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

 4.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, is unlimited in time, is unlimited

 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

         By way of further response, the hypocrisy inherent in this request for production of documents is

 blatant. Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed same.

                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 523 of 703 Page
                                             ID #:2210


 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

 later, Plaintiffs continue to refuse to produce these documents, laying bare their true intention here:

 circumventing the Berks County Court, misrepresenting Plaintiffs’ true intentions, and forum shopping for

 more favorable rulings on discovery matters. Plaintiffs’ behavior has forced WCO Spectrum to file a

 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

         Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the Berks

 County Court if the purported whistleblower documents supported their conclusion that additional action

 might need to be taken concerning WCO Spectrum and other defendants. To date, no complaint has been

 filed in Berks County, no amendments to the current complaint pending against Albright College have been

 proposed, and there are no allegations of fraud or other related conduct pending in any Court in the

 Commonwealth or elsewhere. This writ and this discovery is a mere ruse to attempt to conceal the obvious:

 Plaintiffs are engaged in a strategy to uncover strategic business information regarding WCO Spectrum as

 it concerns the purchase of broadband spectrum leases in order to use that information to obtain a strategic

 business advantage and attempt to bully WCO Spectrum out of the market, create a chilling effect on

 colleges and universities throughout the country, and restrict the re-sale of T-Mobile leases.

 5.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 6.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 524 of 703 Page
                                             ID #:2211


 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 7.      Objection. In addition to the general objections set forth above, this request for production of

 documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related to the

 Albright matter in any way, and not material and necessary to the drafting of a complaint. Further, this

 request for production of documents seeks information protected by the attorney-client privilege and/or the

 attorney work product doctrine. Moreover, this request for production of documents makes clear Plaintiffs’

 true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy with regard

 to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 8.      Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

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 the attorney work product doctrine. Moreover, this request for production of documents makes clear

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 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 9.      Objection. In addition to the general objections set forth above, this request for production of

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 the attorney work product doctrine. Moreover, this request for production of documents makes clear

                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 525 of 703 Page
                                             ID #:2212


 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 10.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

 this request for production of documents seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 11.     Objection. In addition to the general objections set forth above, this request for production of

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 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 12.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:



                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 526 of 703 Page
                                             ID #:2213


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 15.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 16.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 17.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 527 of 703 Page
                                             ID #:2214


 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 528 of 703 Page
                                          ID #:2215



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 529 of 703 Page
                                   ID #:2216




                     Exhibit 10




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 530 of 703 Page
                                            ID #:2217



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Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                      )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                      )              COURT OF COMMON PLEAS
                           Plaintiffs,                )              TRIAL DIVISION
                                                      )
                  v.                                                 May Term, 2022
                                                      )
  WCO SPECTRUM, LLC, et al.,                          )              No. 00629
                                                      )
                           Defendants.                               COMMERCE PROGRAM
                                                      )


                 DEFENDANT CARL KATERNDAHL’S OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, Carl Katerndahl, (“Answering Defendant”) objects to each of the Requests contained

 in Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all overly

 broad, unduly burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.

 4.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 531 of 703 Page
                                             ID #:2218


 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the

 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.




                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 532 of 703 Page
                                             ID #:2219


 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

 13.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek the disclosure of private, proprietary, confidential,

 competitively sensitive trade secret information or sensitive financial information.

 14.     Answering Defendant’s objections to each request for production of documents are made subject

 to, and without waiving, any objection to the relevancy, competency, admissibility, or privilege regarding

 any evidence for any purpose.

 15.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that the responses may be construed as an admission by

 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

 with Plaintiffs’ characterization of any facts or circumstances contained in their requests and/or

 interrogatories.

 16.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as an imporper attempt to obtain discovery in a jurisdiction where the

 Answering Defendant lacks sufficient contacts with the jurisdiction to permit the constitutional assertion of

 jurisdiction over this Answering Defendant.

                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 533 of 703 Page
                                             ID #:2220


 17.     The general objections asserted above shall be deemed applicable to and continuing with respect

 to each of the Requests contained in Plaintiffs’ First Set of Requests for Production of Documents

 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

 1.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 2.      Objection. In addition to the general objections set forth above, this request for production of

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 matter in any way, and is not material and necessary to the drafting of a complaint.

 3.      Objection. In addition to the general objections set forth above, this request for production of

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 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

 4.      Objection. In addition to the general objections set forth above, this request for production of

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 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

         By way of further response, the hypocrisy inherent in this request for production of documents is

 blatant. Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed same.

                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 534 of 703 Page
                                             ID #:2221


 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

 later, Plaintiffs continue to refuse to produce these documents, laying bare their true intention here:

 circumventing the Berks County Court, misrepresenting Plaintiffs’ true intentions, and forum shopping for

 more favorable rulings on discovery matters. Plaintiffs’ behavior has forced WCO Spectrum to file a

 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

         Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the Berks

 County Court if the purported whistleblower documents supported their conclusion that additional action

 might need to be taken concerning WCO Spectrum and other defendants. To date, no complaint has been

 filed in Berks County, no amendments to the current complaint pending against Albright College have been

 proposed, and there are no allegations of fraud or other related conduct pending in any Court in the

 Commonwealth or elsewhere. This writ and this discovery is a mere ruse to attempt to conceal the obvious:

 Plaintiffs are engaged in a strategy to uncover strategic business information regarding WCO Spectrum as

 it concerns the purchase of broadband spectrum leases in order to use that information to obtain a strategic

 business advantage and attempt to bully WCO Spectrum out of the market, create a chilling effect on

 colleges and universities throughout the country, and restrict the re-sale of T-Mobile leases.

 5.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 6.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 535 of 703 Page
                                             ID #:2222


 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 7.      Objection. In addition to the general objections set forth above, this request for production of

 documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related to the

 Albright matter in any way, and not material and necessary to the drafting of a complaint. Further, this

 request for production of documents seeks information protected by the attorney-client privilege and/or the

 attorney work product doctrine. Moreover, this request for production of documents makes clear Plaintiffs’

 true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy with regard

 to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 8.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

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 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

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 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 9.      Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

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                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 536 of 703 Page
                                             ID #:2223


 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 10.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

 this request for production of documents seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 11.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Further,

 this request for production of documents seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 12.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:



                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 537 of 703 Page
                                             ID #:2224


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 15.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 16.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 17.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 538 of 703 Page
                                             ID #:2225


 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 539 of 703 Page
                                          ID #:2226



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 540 of 703 Page
                                   ID #:2227




                     Exhibit 11




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 541 of 703 Page
                                            ID #:2228



MITTS LAW, LLC
Maurice R. Mitts, Esquire (Attorney I.D. No. 50297)
1822 Spruce Street
Philadelphia, PA 19103
(215) 866-0112 (telephone)
(215) 866-0113 (facsimile)
mmitts@mittslaw.com
Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                       )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                       )             COURT OF COMMON PLEAS
                           Plaintiffs,                 )             TRIAL DIVISION
                                                       )
                  v.                                                 May Term, 2022
                                                       )
  WCO SPECTRUM, LLC, et al.,                           )             No. 00629
                                                       )
                           Defendants.                               COMMERCE PROGRAM
                                                       )


                    DEFENDANT GARY WINNICK’S OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, Gary Winnick, (“Answering Defendant”) objects to each of the Requests contained in

 Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all overly broad,

 unduly burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.

 4.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 542 of 703 Page
                                             ID #:2229


 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the

 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.




                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 543 of 703 Page
                                             ID #:2230


 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

 13.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek the disclosure of private, proprietary, confidential,

 competitively sensitive trade secret information or sensitive financial information.

 14.     Answering Defendant’s objections to each request for production of documents are made subject

 to, and without waiving, any objection to the relevancy, competency, admissibility, or privilege regarding

 any evidence for any purpose.

 15.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that the responses may be construed as an admission by

 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

 with Plaintiffs’ characterization of any facts or circumstances contained in their requests and/or

 interrogatories.

 16.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

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                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 544 of 703 Page
                                             ID #:2231


 17.     The general objections asserted above shall be deemed applicable to and continuing with respect

 to each of the Requests contained in Plaintiffs’ First Set of Requests for Production of Documents

 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

 1.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 2.      Objection. In addition to the general objections set forth above, this request for production of

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 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

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 3.      Objection. In addition to the general objections set forth above, this request for production of

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         By way of further response, the hypocrisy inherent in this request for production of documents is

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                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 545 of 703 Page
                                             ID #:2232


 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

 later, Plaintiffs continue to refuse to produce these documents, laying bare their true intention here:

 circumventing the Berks County Court, misrepresenting Plaintiffs’ true intentions, and forum shopping for

 more favorable rulings on discovery matters. Plaintiffs’ behavior has forced WCO Spectrum to file a

 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

         Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the Berks

 County Court if the purported whistleblower documents supported their conclusion that additional action

 might need to be taken concerning WCO Spectrum and other defendants. To date, no complaint has been

 filed in Berks County, no amendments to the current complaint pending against Albright College have been

 proposed, and there are no allegations of fraud or other related conduct pending in any Court in the

 Commonwealth or elsewhere. This writ and this discovery is a mere ruse to attempt to conceal the obvious:

 Plaintiffs are engaged in a strategy to uncover strategic business information regarding WCO Spectrum as

 it concerns the purchase of broadband spectrum leases in order to use that information to obtain a strategic

 business advantage and attempt to bully WCO Spectrum out of the market, create a chilling effect on

 colleges and universities throughout the country, and restrict the re-sale of T-Mobile leases.

 5.      Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 6.      Objection. In addition to the general objections set forth above, this request for production of

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 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 546 of 703 Page
                                             ID #:2233


 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

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 provide a strategic advantage to Plaintiffs in the marketplace.

 7.      Objection. In addition to the general objections set forth above, this request for production of

 documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related to the

 Albright matter in any way, and not material and necessary to the drafting of a complaint. Further, this

 request for production of documents seeks information protected by the attorney-client privilege and/or the

 attorney work product doctrine. Moreover, this request for production of documents makes clear Plaintiffs’

 true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy with regard

 to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 8.      Objection. In addition to the general objections set forth above, this request for production of

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 the attorney work product doctrine. Moreover, this request for production of documents makes clear

 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 9.      Objection. In addition to the general objections set forth above, this request for production of

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                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 547 of 703 Page
                                             ID #:2234


 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 10.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

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 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

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 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

 information in the possession of third parties. Further, this request for production of documents seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:



                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 548 of 703 Page
                                             ID #:2235


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 15.     Objection. In addition to the general objections set forth above, this request for production of

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 provide a strategic advantage to Plaintiffs in the marketplace.

 16.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 17.     Objection. In addition to the general objections set forth above, this request for production of

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 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and seeks

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                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 549 of 703 Page
                                             ID #:2236


 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 550 of 703 Page
                                          ID #:2237



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 551 of 703 Page
                                   ID #:2238




                     Exhibit 12




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25                 Page 552 of 703 Page
                                            ID #:2239



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mmitts@mittslaw.com
Attorney for Defendants WCO Spectrum, LLC, Academia Spectrum LLC,
Gary Winnick, Carl Katerndahl, Tyler Krantz and Andreas Bitzakaris

                                                       )
  T-MOBILE US, INC., et al.,                                         PHILADELPHIA COUNTY
                                                       )             COURT OF COMMON PLEAS
                           Plaintiffs,                 )             TRIAL DIVISION
                                                       )
                  v.                                                 May Term, 2022
                                                       )
  WCO SPECTRUM, LLC, et al.,                           )             No. 00629
                                                       )
                           Defendants.                               COMMERCE PROGRAM
                                                       )


                    DEFENDANT TYLER KRANTZ’S OBJECTIONS TO
        PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

                                         GENERAL OBJECTIONS

 1.      Defendant, Tyler Krantz, (“Answering Defendant”) objects to each of the Requests contained in

 Plaintiffs’ First Set of Requests for Production of Documents on the grounds that they are all overly broad,

 unduly burdensome, and not reasonably calculated to lead to the discovery of admissible evidence.

 2.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all inappropriate for pre-complaint discovery.

 3.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not established good faith reasons why the documents

 sought are material and necessary to the drafting of a complaint.

 4.      Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have not set forth how and why the requested materials will

 materially advance the drafting of their pleading.

                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 553 of 703 Page
                                             ID #:2240


 5.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs have failed to assert or explain why they are unable to draft

 a complaint without the requested discovery.

 6.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because Plaintiffs are engaged in a “fishing expedition” and an amorphous,

 ambiguous, and overbroad discovery process purportedly designed to detect a cause of action they lack

 probable cause to anticipate or support prior to the pre-complaint discovery process.

 7.       Answering Defendant objects to Plaintiff’s First Set of Requests for Production of Documents

 because they relate to a prior pending action in Berks County in the action styled TDI Acquisition Sub

 Acquisition LLC v. Albright College, CCP Berks County, Case No. 21-04881 assigned to the Honorable J.

 Benjamin Nevius and are an inappropriate attempt to circumvent the proceedings in that Court and to

 concoct a controversy where there is none. Moreover, the Answering Defendant has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none exists, is bad

 faith.

 8.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents because they are all designed to cause unreasonable annoyance,

 embarrassment, oppression, burden or expense to Answering Defendant.

 9.       Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek discovery of information or materials which (i)

 are protected by the attorney-client privilege, (ii) were prepared or obtained in anticipation of litigation,

 (iii) were prepared or obtained for the benefit and at the direction of counsel, (iv) constitute work product

 or mental impressions of counsel, (v) are protected from disclosure by the self-evaluation privilege, the

 critical self-analysis privilege or the audit privilege, and/or (vi) are protected by any other applicable

 doctrine or privilege.




                                                                                 Certification Due Date: 09/09/2022
                                                      2                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 554 of 703 Page
                                             ID #:2241


 10.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being overly broad, vague and inconsistent with the normal usage and meaning

 of the words defined therein, and/or internally inconsistent with each other.

 11.     Answering Defendant objects to the definitions contained in Plaintiffs’ First Set of Requests for

 Production of Documents as being inconsistent with, and in violation of, the Pennsylvania Rules of Civil

 Procedure and the applicable local rules.

 12.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as being overly broad as to time, place, and scope of inquiry, unduly

 burdensome and not reasonably calculated to lead to the discovery of relevant or admissible evidence.

 13.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that they seek the disclosure of private, proprietary, confidential,

 competitively sensitive trade secret information or sensitive financial information.

 14.     Answering Defendant’s objections to each request for production of documents are made subject

 to, and without waiving, any objection to the relevancy, competency, admissibility, or privilege regarding

 any evidence for any purpose.

 15.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents to the extent that the responses may be construed as an admission by

 Answering Defendant that any fact or circumstance alleged in the request for production of documents

 occurred or existed. Moreover, Answering Defendant’s responses to Plaintiffs’ First Set of Requests for

 Production of Documents are not intended to be, and shall not be construed as, an agreement or concurrence

 with Plaintiffs’ characterization of any facts or circumstances contained in their requests and/or

 interrogatories.

 16.     Answering Defendant objects to each of the Requests contained in Plaintiffs’ First Set of Requests

 for Production of Documents as an imporper attempt to obtain discovery in a jurisdiction where the

 Answering Defendant lacks sufficient contacts with the jurisdiction to permit the constitutional assertion of

 jurisdiction over this Answering Defendant.

                                                                                  Certification Due Date: 09/09/2022
                                                       3                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 555 of 703 Page
                                             ID #:2242


 17.     The general objections asserted above shall be deemed applicable to and continuing with respect

 to each of the Requests contained in Plaintiffs’ First Set of Requests for Production of Documents

 responded to below. The general objections asserted above are incorporated into each and every response

 set forth herein. Such objections are not waived, nor in any way limited, by any response to any specific

 request. Answering Defendant reserves the right to amend, supplement, or alter its responses to Plaintiffs’

 First Set of Requests for Production of Documents at any time hereafter.



                                                RESPONSES

 1.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 2.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, is unlimited in time, is unlimited in scope, is not reasonably

 calculated to lead to the discovery of relevant and/or admissible evidence, is not related to the Albright

 matter in any way, and is not material and necessary to the drafting of a complaint.

 3.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, is unlimited in time, is unlimited

 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

 4.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, is unlimited in time, is unlimited

 in scope, is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a complaint.

         By way of further response, the hypocrisy inherent in this request for production of documents is

 blatant. Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed same.

                                                                                  Certification Due Date: 09/09/2022
                                                       4                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 556 of 703 Page
                                             ID #:2243


 They are currently in blatant contempt of Judge Nevius’s order in the Berks County matter to turn over the

 documents to both Albright College and to WCO Spectrum seven days after review. Nearly three months

 later, Plaintiffs continue to refuse to produce these documents, laying bare their true intention here:

 circumventing the Berks County Court, misrepresenting Plaintiffs’ true intentions, and forum shopping for

 more favorable rulings on discovery matters. Plaintiffs’ behavior has forced WCO Spectrum to file a

 Petition to Intervene in that matter, currently pending with the Berks County Court of Common Pleas.

         Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the Berks

 County Court if the purported whistleblower documents supported their conclusion that additional action

 might need to be taken concerning WCO Spectrum and other defendants. To date, no complaint has been

 filed in Berks County, no amendments to the current complaint pending against Albright College have been

 proposed, and there are no allegations of fraud or other related conduct pending in any Court in the

 Commonwealth or elsewhere. This writ and this discovery is a mere ruse to attempt to conceal the obvious:

 Plaintiffs are engaged in a strategy to uncover strategic business information regarding WCO Spectrum as

 it concerns the purchase of broadband spectrum leases in order to use that information to obtain a strategic

 business advantage and attempt to bully WCO Spectrum out of the market, create a chilling effect on

 colleges and universities throughout the country, and restrict the re-sale of T-Mobile leases.

 5.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 6.      Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is overly broad, ambiguous in its construction, unlimited in time, unlimited in

 scope, not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                                 Certification Due Date: 09/09/2022
                                                      5                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 557 of 703 Page
                                             ID #:2244


 to the Albright matter in any way, and not material and necessary to the drafting of a complaint. Moreover,

 this request for production of documents makes clear Plaintiffs’ true intent in seeking this discovery:

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 provide a strategic advantage to Plaintiffs in the marketplace.

 7.      Objection. In addition to the general objections set forth above, this request for production of

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 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related to the

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                                                                                  Certification Due Date: 09/09/2022
                                                       6                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 558 of 703 Page
                                             ID #:2245


 Plaintiffs’ true intent in seeking this discovery: acquiring Defendant’s internal privileged business strategy

 with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

 10.     Objection. In addition to the general objections set forth above, this request for production of

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                                                                                  Certification Due Date: 09/09/2022
                                                       7                                  Response Date: 09/16/2022
                                                                                                 Case ID: 220500629
                                                                                               Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25                 Page 559 of 703 Page
                                             ID #:2246


 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.

 13.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

 14.     Objection. In addition to the general objections set forth above, this request for production of

 documents of documents is directed to a third party and the documents requested are in the possession of a

 third party.

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                                                                                 Certification Due Date: 09/09/2022
                                                      8                                  Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E             Document 149-3 Filed 05/30/25             Page 560 of 703 Page
                                             ID #:2247


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 acquiring Defendant’s internal privileged business strategy with regard to the purchase of licenses to

 provide a strategic advantage to Plaintiffs in the marketplace.


                                                           Respectfully submitted,

                                                           MITTS LAW, LLC

                                                           /s/ Maurice R. Mitts
                                                           Maurice R. Mitts, Esquire
                                                           Attorney ID No. 50297
                                                           1822 Spruce Street
                                                           Philadelphia, PA 19103
                                                           (215) 866-0112 (telephone)
 Dated: June 10, 2022                                      (215) 866-0113 (facsimile)
                                                           mmitts@mittslaw.com
                                                           Attorney for Defendants WCO Spectrum,
                                                           LLC, Academia Spectrum LLC, Gary
                                                           Winnick, Carl Katerndahl, Tyler Krantz
                                                           and Andreas Bitzakaris




                                                                             Certification Due Date: 09/09/2022
                                                      9                              Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 561 of 703 Page
                                          ID #:2248



                                  CERTIFICATE OF SERVICE

         I, Maurice R. Mitts, Esquire, hereby certify that on the date set forth below, I caused a
 true and correct copy of the foregoing Objections to Plaintiffs’ First Set of Requests for
 Production of Documents to be served via U.S. First Class Mail on the following Defendant:

                                     Steven J. Engelmyer, Esq.
                                           KleinbardLLC
                                    1717 Arch Street, Fifth Floor
                                        Three Logan Square
                                      Philadelphia, PA 19103
                                    sengelmyer@kleinbard.com
                                       Attorney for Plaintiffs



 Date: June 10, 2022                                   /s/ Maurice R. Mitts
                                                       Maurice R. Mitts, Esquire




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 562 of 703 Page
                                   ID #:2249




                     Exhibit 13




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 563 of 703 Page
                                          ID #:2250




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 I.D. # 66564
 McCABE LAW GROUP, LLC
 42 Hawkswell Circle
 Oreland, PA 19075
 (215) 965-0003 (Main)
 (215) 965-0013 (Fax)                                          ATTORNEY FOR SCH, LLC,
 gmccabe@mccabe.law                                            AND ASHOK VASUDEVAN



  T-MOBILE US, INC., et al.,                                   :   COURT OF COMMON PLEAS
                                                               :
      Plaintiffs,                                              :   PHILADELPHIA COUNTY
                                                               :
    vs.                                                        :   May Term 2022
                                                               :
  WCO SPECTRUM, LLC, et al.,                                   :   No. 00629
                                                               :
      Defendants.                                              :
                                                               :

      DEFENDANTS SCH, LLC’S AND ASHOK VASUDEVAN’S OBJECTIONS TO
    PLAINTIFFS’ FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

          Pursuant to the Pennsylvania Rules of Civil Procedure, Defendants SCH, LLC (“SCH”),

 and Ashok Vasudevan (“Vasudevan”) (together, SCH and Vasudevan, “Defendants”), hereby

 provide the following General and Specific Objections (the “Responses”) to Plaintiffs’ First Set of

 Requests for Production of Documents (the “Document Requests”). Defendants reserve their right

 to supplement the Responses to the extent that Defendants discover additional responsive

 information at a later time.

          In addition to the General and Specific Objections and Responses set forth herein, there

 are three (3) primary reasons why Plaintiffs’ Document Requests are improper. First, Plaintiffs

 lack personal jurisdiction over Defendants who have no contacts with and have done no business

 in Pennsylvania. By submitting these Objections and Responses to the Document Requests,

 Defendants do not waive but rather assert and affirm their entitlement to the defense that Plaintiffs

 lack personal jurisdiction over Defendants.
                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 564 of 703 Page
                                          ID #:2251




        Second, although the Pennsylvania Rules of Civil Procedure permit pre-complaint

 discovery pursuant to Rule 4003.8, such Rule only permits discovery that satisfies two (2)

 conditions: (i) the information sought must be material and necessary to the filing of the complaint;

 and (2) the discovery must not cause unreasonable annoyance, embarrassment, oppression, burden

 or expense to any person or party. See Pa. R. Civ. P. 4003.8. The Document Requests fail to satisfy

 these primary requirements of Rule 4003.8 for the reasons set forth hereafter.

        And, third, the Document Requests violate Philadelphia Local Civil Rule of Procedure that

 requires the filing of a motion by a party seeking to take pre-complaint discovery. See Phila. Cnty.

 Rule 4003.8 (“a request for pre-complaint discovery … must comply with all requirements of

 Non-Discovery Motions as set forth in Phila. Civ. R. *208.3(b)(2)”) (emphasis supplied); Phila.

 Civ. R. *208.3(b)(2) (“All motions . . . shall be filed with the Office of Judicial Records … .”)

 (emphasis supplied). Mere service of the Document Requests upon Defendants (over whom

 Plaintiffs cannot achieve personal jurisdiction) is insufficient to impose an obligation upon

 Defendants to respond and the General and Specific Objections asserted herein are being provided

 without waiver of the requirement that Plaintiffs file a motion in order to secure their right to

 substantive pre-complaint discovery.

                                    GENERAL OBJECTIONS

        1.      Defendants object to each of the Document Requests on the grounds that they are

 all overly broad, unduly burdensome, and not reasonably calculated to lead to the discovery of

 admissible evidence.

        2.      Defendants object to each of the Document Requests because they are all

 inappropriate for pre-complaint discovery and fail to satisfy the standards required by and seet

 forth in Rule 4003.8.

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                  2                                       Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 565 of 703 Page
                                          ID #:2252




         3.      Defendants object to each of the Document Requests because Plaintiffs have not

 established good faith reasons why the documents requested to be produced are material and

 necessary to the drafting of a complaint.

         4.      Defendants object to each of the Document Requests because Plaintiffs have not

 set forth how and why the requested materials will materially advance the drafting of a complaint.

         5.      Defendants object to each of the Document Requests because Plaintiffs have failed

 to assert or explain why they are unable to draft a complaint without the requested discovery.

         6.      Defendants object to each of the Document Requests because Plaintiffs are engaged

 in a “fishing expedition” and an amorphous, ambiguous and overbroad discovery process

 purportedly designed to detect a cause of action they lack probable cause to anticipate or support

 prior to the pre-complaint discovery process.

         7.      Defendants object to the Document Requests because they relate to a prior pending

 action in Berks County, Pennsylvania, in the action styled TDI Acquisition Sub Acquisition LLC

 v. Albright College, C.C.P. Berks County, Case No. 21-04881, assigned to the Honorable J.

 Benjamin Nevius, and are an inappropriate attempt to circumvent the proceedings in that Court

 and to concoct a controversy where there is none. Moreover, the Defendants has no connection to

 Philadelphia County whatsoever and the effort to contrive a case in Philadelphia, where none

 exists, is bad faith.

         8.      Defendants object to each of the Document Requests because they are all designed

 to cause unreasonable annoyance, embarrassment, oppression, burden or expense to Defendants.

         9.      Defendants object to each of the Document Requests to the extent that they seek

 discovery of information or materials which (i) are protected by the attorney-client privilege, (ii)

 were prepared or obtained in anticipation of litigation, (iii) were prepared or obtained for the

                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                  3                                      Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 566 of 703 Page
                                           ID #:2253




 benefit and at the direction of counsel, (iv) constitute work product or mental impressions of

 counsel, (v) are protected from disclosure by the self-evaluation privilege, the critical self-analysis

 privilege or the audit privilege, and/or (vi) are protected by any other applicable doctrine or

 privilege.

         10.    Defendants object to the definitions contained in Document Requests as being

 overly broad, vague and inconsistent with the normal usage and meaning of the words defined

 therein, and/or internally inconsistent with each other.

         11.    Defendants object to the definitions contained in Document Requests as being

 inconsistent with, and in violation of, the Pennsylvania Rules of Civil Procedure and the applicable

 local rules.

         12.    Defendants object to each of the Document Requests as being overly broad as to

 time, place and scope of inquiry, unduly burdensome and not reasonably calculated to lead to the

 discovery of relevant or admissible evidence.

         13.    Defendants object to each of the Document Requests to the extent that they seek

 the disclosure of private, proprietary, confidential, competitively sensitive trade secret information

 or sensitive financial information.

         14.    Defendants’ objections to each Document Request are made subject to, and without

 waiving, any objection to the relevancy, competency, admissibility or privilege regarding any

 evidence for any purpose.

         15.    Defendants object to each of the Document Requests to the extent that any

 responses thereto may be construed as an admission by Defendants that any fact or circumstance

 alleged in the request for production of documents occurred or existed. Moreover, Defendants’

 Responses to the Document Requests are not intended to be, and shall not be construed as, an

                                                                             Certification Due Date: 09/09/2022
                                                                                     Response Date: 09/16/2022
                                                   4                                        Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25            Page 567 of 703 Page
                                            ID #:2254




 agreement or concurrence with Plaintiffs’ characterization of any facts or circumstances contained

 in the Document Requests.

        16.     The general objections asserted above shall be deemed applicable to and continuing

 with respect to each of the Document Requests further responded to below. The general objections

 asserted above are incorporated into each and every response set forth herein. Such general

 objections are neither waived nor in any way limited by any response to any specific request.

 Defendants reserve the right to amend, supplement or alter their Responses to the Document

 Requests at any time hereafter.

                           SPECIFIC OBJECTIONS & RESPONSES

        1.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, is unlimited in time, is unlimited in scope, is not reasonably calculated to

 lead to the discovery of relevant and/or admissible evidence, is not related to the Albright matter

 in any way, and is not material and necessary to the drafting of a complaint. In addition, this

 Document Request is directed to different defendants and the documents requested are not in the

 possession, custody or control of Defendants.

        2.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, is unlimited in time, is unlimited in scope, is not reasonably calculated to

 lead to the discovery of relevant and/or admissible evidence, is not related to the Albright matter

 in any way, and is not material and necessary to the drafting of a complaint. In addition, this

 Document Request is directed to different defendants and the documents requested are not in the

 possession, custody or control of Defendants.

        3.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, is unlimited in time, is unlimited in scope,

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                  5                                       Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 568 of 703 Page
                                          ID #:2255




 is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a

 complaint.

        4.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, is unlimited in time, is unlimited in scope,

 is not reasonably calculated to lead to the discovery of relevant and/or admissible evidence, is not

 related to the Albright matter in any way, and is not material and necessary to the drafting of a

 complaint.

        By way of further response, the hypocrisy inherent in this Document Request is blatant.

 Plaintiffs are in possession of the purported “whistleblower” documents and have reviewed them.

 They are currently in contempt of Judge Nevius’s order in the Berks County matter to turn over

 the documents to both Albright College and to WCO Spectrum seven (7) days after review. Nearly

 three months later, Plaintiffs refuse to produce these documents, laying bare their true intention

 here, namely (i) circumventing the Berks County Court, (ii) misrepresenting Plaintiffs’ true

 intentions, and (iii) forum shopping for more favorable rulings on discovery matters. Plaintiffs’

 behavior has compelled WCO Spectrum to file a Petition to Intervene in that matter, currently

 pending with the Berks County Court of Common Pleas.

        Moreover, Plaintiffs themselves represented to Judge Nevius that they would return to the

 Berks County Court if the purported whistleblower documents supported their conclusion that

 additional action might need to be taken concerning WCO Spectrum and other defendants. To

 date, no complaint has been filed in Berks County, no amendments to the current complaint

 pending against Albright College have been proposed, and there are no allegations of fraud or

 other related conduct pending in any Court in the Commonwealth or elsewhere. The Writ served

                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                  6                                      Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25            Page 569 of 703 Page
                                           ID #:2256




 on Defendants and these Document Requests are a mere ruse by Plaintiffs to attempt to conceal

 the obvious: Plaintiffs are engaged in a strategy to uncover strategic business information

 regarding all defendants named as it concerns the purchase of broadband spectrum leases in order

 to use that information to obtain a strategic business advantage and attempt to bully competitors

 out of the market, create a chilling effect on colleges and universities throughout the country, and

 restrict the re-sale of T-Mobile leases.

        5.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Moreover, this Document Request makes clear that Plaintiffs’ true intent in seeking this discovery

 is the acquisition of Defendants’ internal privileged business strategy, if any, with regard to the

 purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

        6.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Moreover, this Document Request makes clear that Plaintiffs’ true intent in seeking this discovery

 is the acquisition of Defendants’ internal privileged business strategy, if any, with regard to the

 purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

        7.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                  7                                       Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25               Page 570 of 703 Page
                                           ID #:2257




 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Further, this Document Request seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this Document Request makes clear that Plaintiffs’

 true intent in seeking this discovery is the acquisition of Defendants’ internal privileged business

 strategy, if any, with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs

 in the marketplace.

        8.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Further, this Document Request seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this Document Request makes clear that Plaintiffs’

 true intent in seeking this discovery is the acquisition of Defendants’ internal privileged business

 strategy, if any, with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs

 in the marketplace.

        9.      Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Further, this Document Request seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this Document Request makes clear that Plaintiffs’

 true intent in seeking this discovery is the acquisition of Defendants’ internal privileged business

 strategy, if any, with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs

                                                                             Certification Due Date: 09/09/2022
                                                                                     Response Date: 09/16/2022
                                                    8                                       Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25               Page 571 of 703 Page
                                           ID #:2258




 in the marketplace. In addition, this Document Request is directed to different defendants and the

 documents requested are not in the possession, custody or control of Defendants.

        10.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Further, this Document Request seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this Document Request makes clear that Plaintiffs’

 true intent in seeking this discovery is the acquisition of Defendants’ internal privileged business

 strategy, if any, with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs

 in the marketplace.

        11.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, and not material and necessary to the drafting of a complaint.

 Further, this Document Request seeks information protected by the attorney-client privilege and/or

 the attorney work product doctrine. Moreover, this Document Request makes clear that Plaintiffs’

 true intent in seeking this discovery is the acquisition of Defendants’ internal privileged business

 strategy, if any, with regard to the purchase of licenses to provide a strategic advantage to Plaintiffs

 in the marketplace.

        12.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

                                                                             Certification Due Date: 09/09/2022
                                                                                     Response Date: 09/16/2022
                                                    9                                       Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 572 of 703 Page
                                          ID #:2259




 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and

 seeks information in the possession of third parties. Further, this Document Request seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine.

 Moreover, this Document Request makes clear that Plaintiffs’ true intent in seeking this discovery

 is the acquisition of Defendants’ internal privileged business strategy, if any, with regard to the

 purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

        13.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, is unlimited in time, is unlimited in scope, is not reasonably calculated to

 lead to the discovery of relevant and/or admissible evidence, is not related to the Albright matter

 in any way, and is not material and necessary to the drafting of a complaint.

        14.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, is unlimited in time, is unlimited in scope, is not reasonably calculated to

 lead to the discovery of relevant and/or admissible evidence, is not related to the Albright matter

 in any way, and is not material and necessary to the drafting of a complaint.

        15.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and

 seeks information in the possession of third parties. Further, this Document Request seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine.

 Moreover, this Document Request makes clear that Plaintiffs’ true intent in seeking this discovery

 is the acquisition of Defendants’ internal privileged business strategy, if any, with regard to the

 purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                  10                                      Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 573 of 703 Page
                                          ID #:2260




        16.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, is unlimited in time, is unlimited in scope, is not reasonably calculated to

 lead to the discovery of relevant and/or admissible evidence, is not related to the Albright matter

 in any way, and is not material and necessary to the drafting of a complaint.

        17.     Objection. In addition to the general objections set forth above, this Document

 Request is overly broad, ambiguous in its construction, unlimited in time, unlimited in scope, not

 reasonably calculated to lead to the discovery of relevant and/or admissible evidence, not related

 to the Albright matter in any way, not material and necessary to the drafting of a complaint, and

 seeks information in the possession of third parties. Further, this Document Request seeks

 information protected by the attorney-client privilege and/or the attorney work product doctrine.

 Moreover, this Document Request makes clear that Plaintiffs’ true intent in seeking this discovery

 is the acquisition of Defendants’ internal privileged business strategy, if any, with regard to the

 purchase of licenses to provide a strategic advantage to Plaintiffs in the marketplace.

                                               Respectfully submitted,

                                               McCABE LAW GROUP, LLC

                                               By:     /s/ Gerard M. McCabe
                                                       Gerard M. McCabe, Esquire
                                                       Attorney I.D. No. 66564
                                                       42 Hawkswell Circle
                                                       Oreland, PA 19075
                                                       (215) 965-0004 (Direct)
                                                       (215) 965-0013 (Fax)
                                                       gmccabe@mccabe.law

                                               Attorneys For SCH, LLC, and Ashok Vasudevan

 Dated: June 15, 2022




                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                  11                                      Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 574 of 703 Page
                                          ID #:2261



                                 CERTIFICATE OF SERVICE

        I, Gerard M. McCabe, Esquire, hereby certify that, on the 15th day of June, 2022, I caused

 a copy of the foregoing Objections to Plaintiffs’ First Set of Requests for Production of Documents

 to be served by email only on the following attorney for Plaintiffs:

                               Steven J. Engelmyer, Esquire
                               Kleinbard LLC
                               1717 Arch Street, Fifth Floor
                               Three Logan Square
                               Philadelphia, PA 19103
                               sengelmyer@kleinbard.com

                               Attorney for Plaintiffs

                               Maurice R. Mitts, Esquire
                               Mitts Law, LLC
                               1822 Spruce Street
                               Philadelphia, PA 19103
                               mmitts@mittslaw.com

                               Attorneys for Defendants WCO Spectrum, LLC,
                               Academia Spectrum LLC, Gary Winnick, Carl
                               Katerndahl, Tyler Krantz and Andreas Bitzakaris


                                                         /s/ Gerard M. McCabe
                                                         Gerard M. McCabe, Esquire




                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                 12

                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 575 of 703 Page
                                   ID #:2262




                     Exhibit 14




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E               Document 149-3 Filed 05/30/25                             Page 576 of 703 Page
                                               ID #:2263

  From:            Poteat III, R. Kennon
  To:              Maurice Mitts; gmccabe@mccabe.law
  Cc:              Brown, Kenneth; Hurley, Denis; Steve Engelmyer
  Subject:         T-Mobile et al. v. WCO Spectrum et al., No. 00629 (Court of Common Pleas, Philadelphia County)
  Date:            Tuesday, July 12, 2022 10:34:27 AM


  Dear Mr. Mitts and Mr. McCabe:

  We are in receipt of your clients’ responses and objections to Plaintiffs’ document requests in the
  above-captioned case. We understand, based on those objections, that Defendants are refusing to
  produce any documents in response to those requests. But we’d like to schedule a meet and confer
  call to discuss. Are you available this Thursday or Friday? Please let us know, and we’ll get a
  calendar invite circulated.

  Thanks,
  Kennon Poteat

  R. Kennon Poteat III
  Williams & Connolly LLP
  680 Maine Avenue, S.W., Washington, DC 20024
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                                                                                               Certification Due Date: 09/09/2022
                                                                                                       Response Date: 09/16/2022
                                                                                                              Case ID: 220500629
                                                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 577 of 703 Page
                                   ID #:2264




                     Exhibit 15




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
   Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25             Page 578 of 703 Page
                                               ID #:2265




R. KENNON POTEAT III
     (202) 434-5699




                                               August 3, 2022

     VIA EMAIL

     Maurice Mitts
     Mitts Law, LLC
     1822 Spruce Street
     Philadelphia, PA 19103
     mmitts@mittslaw.com

     Gerard McCabe
     McCabe Law Group, LLC
     42 Hawkswell Circle
     Oreland, PA 19075
     gmccabe@mccabe.law

             Re:       T-Mobile US Inc., et al. v. WCO Spectrum, LLC et al., May 2022 Term,
                       No. 00629 (Philadelphia Cty. Ct. of Common Pleas)

     Dear Mr. Mitts and Mr. McCabe:

             On behalf of Plaintiffs, we write in furtherance of the July 26 “meet and confer” concerning
     Defendants’ refusal to produce any documents in response to Plaintiffs’ requests in this matter,
     and in response to Mr. Mitts’ e-mail that followed on July 27. As discussed below, that call was
     entirely unproductive given Defendants’ unwillingness to compromise on any requests.
     Defendants appear to be employing the same tactics that Defendants WCO Spectrum and
     Academia Spectrum have employed in a separate litigation in Berks County, where they have
     obstructed and delayed third-party discovery against them for nearly a year and have made clear
     that they will produce documents only when ordered by the court. Defendants’ continued,
     wholesale obstruction—this time of the targeted pre-complaint discovery that Plaintiffs seek in
     this action—leaves Plaintiffs no choice but to file a motion to compel.

             First, our July 26 call got off to a bad start when Mr. Mitts characterized Plaintiffs’ claims
     as “salacious” and “tabloid fodder,” and claimed he did not know what Plaintiffs’ action could
     possibly concern. Mr. Mitts, however, knows exactly what this case is about. He knows from
     numerous public and non-public disclosures that a whistleblower emerged who has alleged that
     WCO, its executives, and certain related entities and executives (all Defendants here) are engaged

                                                                                Certification Due Date: 09/09/2022
                                                                                        Response Date: 09/16/2022
                                                                                               Case ID: 220500629
                                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 579 of 703 Page
                                          ID #:2266



 August 3, 2022
 Page 2

 in a nationwide fraud against T-Mobile. Specifically, he knows that the whistleblower (a former
 senior insider at WCO) told TDI’s counsel that the scheme involved WCO (i) making sham offers
 to purchase licenses from EBS spectrum licensees in order to trigger T-Mobile’s Rights of First
 Refusal (“ROFRs”) to buy the licenses and (ii) collecting kickbacks from the licensees (~10% of
 the purchase price) when T-Mobile exercised its ROFRs and purchased the licenses. Through this
 scheme, WCO, with the help of the other Defendants, has improperly siphoned tens of millions of
 dollars from T-Mobile and its subsidiaries. Mr. Mitts also knows that the whistleblower provided
 internal WCO documents to Plaintiffs’ counsel—which we have now provided to Mr. Mitts—
 that support these allegations, including with respect to the sham financing purportedly provided
 by Defendants SCH LLC and Ashok Vasudevan. Those documents include a four-page narrative
 prepared by the whistleblower—titled “Gary Winnick Fraud”—that lays out the fraud in detail
 and sets forth the basis for the whistleblower’s knowledge about the scheme. Mr. Mitts’
 feigned incomprehension rang particularly hollow because we appeared in court on July 25
 (the day before our call) and discussed the whistleblower’s allegations of fraud and
 supporting documents for more than an hour.

         Mr. McCabe suggested that he did not know what the writ of summons could concern
 either, but we find this hard to believe. We understand that Mr. McCabe is a former law partner
 of Mr. Mitts and that he came to represent SCH and Vasudevan because of that relationship. As a
 result, we would have expected Mr. Mitts to have briefed Mr. McCabe about the fraud allegations
 based on publicly available materials. In any event, to the extent this has not happened, we have
 attached Plaintiff TDI’s briefs that address the whistleblower allegations that were filed on the
 public dockets in Delaware and Virginia concerning third-party subpoenas to WCO and Academia.
 See Attachs. A & B.

        Second, Mr. Mitts’ suggestion that Pennsylvania law does not permit pre-complaint
 discovery in circumstances like these is baseless. A case like this one—with credible allegations
 from a whistleblower and supporting documentation—is tailor-made for the kind of targeted pre-
 complaint discovery Plaintiffs have served here. While Defendants may believe that Plaintiffs
 have enough information to file a complaint for fraud against Defendants, which is what Mr. Mitts
 represented on our call when arguing that discovery of this nature was not needed, we believe the
 limited discovery we seek will facilitate the preparation and filing of Plaintiffs’ complaint and
 would lead to a more efficient litigation.

         Lastly, we conferred in good faith and answered your questions appropriately, with
 significant detail about the potential claims that are at issue. Mr. Mitts’ e-mail oddly pretends that
 none of that happened. No matter, what is clear from our “meet and confer” is that Defendants
 will not agree to produce any documents in response to Plaintiffs’ requests short of a court order.
 Instead, Defendants are simply trying to draw this process out by asking questions to which they
 know the answers and by trying to impugn and dispute the whistleblower’s allegations, neither of
 which is productive at this stage of the dispute. Accordingly, please let us know by Friday,
 August 5, whether Defendants will agree to produce any documents in this action. If you do not
 agree to do so by that date, we will understand that Defendants are standing on their objections,
 and we will take appropriate measures to enforce Plaintiffs’ document requests.
                                                                            Certification Due Date: 09/09/2022
                                                                                    Response Date: 09/16/2022
                                                                                           Case ID: 220500629
                                                                                         Control No.: 22090381
Case 2:23-cv-04347-AH-E      Document 149-3 Filed 05/30/25       Page 580 of 703 Page
                                      ID #:2267



 August 3, 2022
 Page 3

                                             Sincerely,

                                             /s/ R. Kennon Poteat III

                                             R. Kennon Poteat III
                                             Counsel for Plaintiffs

 cc:    Steven Engelmyer, Esq.
        Counsel for Plaintiffs




                                                                 Certification Due Date: 09/09/2022
                                                                         Response Date: 09/16/2022
                                                                                Case ID: 220500629
                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 581 of 703 Page
                                   ID #:2268




               Attachment A




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 582 of 703 Page
                                   ID #:2269
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC
        IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,               OUT-OF-STATE SUBPOENA IN
                                         A CIVIL ACTION
             Plaintiff,
                                         K21M-08-007 (JJC)
 v.
                                         C.A. No. 21-04481
 ALBRIGHT COLLEGE,                       (pending in Berks County,
                                         Pennsylvania)
             Defendant.




      PLAINTIFF TDI ACQUISITION SUB LLC’S MOTION TO COMPEL
       PRODUCTION OF DOCUMENTS FROM WCO SPECTRUM LLC




                                                        Certification Due Date: 09/09/2022
                                                                Response Date: 09/16/2022
                                                                       Case ID: 220500629
                                                                     Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 583 of 703 Page
                                     ID #:2270



        It is now more than eight months since Plaintiff TDI Acquisition Sub LLC

 served its subpoena on WCO Spectrum LLC, and WCO has yet to produce a single

 document. This dispute started with WCO refusing to meet and confer properly and

 filing a frivolous motion to quash, arguing this Court lacked the power to enforce a

 subpoena on WCO, a Delaware LLC, which WCO lost. Rather than meeting and

 conferring like this Court ordered, WCO appealed the order denying its motion,

 which it also lost. Having lost twice here, WCO went to Pennsylvania to seek a

 protective order, claiming this case was moot because it disclaimed any intention of

 pursuing defendant Albright College’s FCC license, which spawned the underlying

 litigation.   But WCO ignored the allegations made by a self-described

 whistleblower, who asserted that WCO and certain EBS spectrum licensees like

 Albright are engaged in a scheme to defraud TDI and its parent company, T-Mobile.

 WCO’s alleged scheme involves making sham offers to purchase licenses, which T-

 Mobile leases from thousands of educational institutions across the country, in order

 to trigger T-Mobile’s Right of First Refusal (“ROFR”) and collect kickbacks on the

 purchase amounts when T-Mobile exercises its ROFR. Based on the whistleblower

 allegations, the Pennsylvania court declined to interfere with TDI’s outstanding

 subpoenas, including this one.




                                                               Certification Due Date: 09/09/2022
                                                                       Response Date: 09/16/2022
                                                                              Case ID: 220500629
                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25     Page 584 of 703 Page
                                     ID #:2271



       Because WCO has refused to produce the requested discovery and instead

 tries to conceal documents that bear on whether it is committing a fraud, TDI is

 forced to move this Court to compel production.

                          RELEVANT BACKGROUND

       1.     TDI’s subpoena contains 15 document requests, each of which is

 relevant to the whistleblower allegations. Ex. 1.

       2.     In pursuing discovery, TDI has sought documents from Albright,

 WCO, and WCO’s consultant, Academia Spectrum LLC, regarding the

 circumstances surrounding and legitimacy of WCO’s offer to purchase Albright’s

 license.   Specifically, from WCO, TDI seeks documents and communications

 regarding Albright (Requests 1-6) and the legitimacy of WCO’s purported business

 in pursuing EBS licenses like Albright’s (Requests 7-15). See Ex. 1.

       3.     Since being served in August 2021, WCO has engaged in a pattern of

 obstruction and delay. WCO started by ignoring the deadline to respond. See Ex. 2.

 WCO then served boilerplate general objections, and refused to engage in meet and

 confers. See Ex. 3. WCO next filed a motion to quash, arguing that it—a Delaware

 LLC—was beyond a Delaware court’s subpoena powers. Mot. to Quash (Oct. 21,

 2021). After that motion was denied, WCO again refused to confer over the

 particular requests or produce a single document, and then shut that whole process

 down by appealing the order denying its motion to quash. While its appeal was

                                          2                   Certification Due Date: 09/09/2022
                                                                      Response Date: 09/16/2022
                                                                             Case ID: 220500629
                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25        Page 585 of 703 Page
                                     ID #:2272



 pending here, WCO filed an improper (and unsuccessful) motion for protective order

 in Pennsylvania, seeking to abrogate this Court’s order. See Ex. 4 Tr. 34:15-16.

       4.     But during WCO’s machinations, a self-described whistleblower

 emerged and provided information and documents to TDI’s Pennsylvania counsel.

 The whistleblower alleged specifically that WCO and certain educational

 institutions are defrauding TDI and T-Mobile through a scheme involving offers to

 purchase EBS licenses, including the one held by Albright. Specifically, the

 whistleblower alleged that WCO was making sham offers to purchase licenses from

 educational institutions across the country and pocketing kickbacks from them in the

 event that T-Mobile exercised its ROFR to acquire the license at issue. TDI filed a

 motion for permission to review the documents, which was recently given. That

 court also refused to grant WCO’s motion for a protective order. It disagreed with

 WCO’s argument that the case is moot because it is no longer pursuing the Albright

 license, as the whistleblower’s allegations remain live. The court ruled that it would

 “not block[] subpoenas,” id. Tr. 34:15-16, and that it would permit TDI to seek

 discovery about any potential fraud from WCO and its consultant Academia.

       5.     In a parallel proceeding in Virginia, TDI sought to enforce the subpoena

 on Academia, which also had been refusing to produce documents. On March 22,

 the court there ordered Academia to produce all documents regarding Albright, Ex. 5

 Tr. 78:4-79:17, but stated that seeking broader documents about WCO’s business

                                           3                    Certification Due Date: 09/09/2022
                                                                        Response Date: 09/16/2022
                                                                               Case ID: 220500629
                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 586 of 703 Page
                                     ID #:2273



 pursuing EBS licenses was “more an issue for WCO and [TDI’s] discovery in the

 WCO” proceeding in this Court, id. Tr. 62:21-24.

       6.     In the wake of the Virginia court’s order, TDI resumed the meet-and-

 confer process with WCO. Only then did WCO agree to withdraw its objections to

 Requests 1-6 and promise to produce all documents and communications regarding

 Albright. See Ex. 6. But more than a month has passed and WCO still has not

 produced a single document. WCO also refuses to produce any documents in

 response to Requests 7-15, arguing that it should not have to produce any documents

 that do not strictly relate to Albright, even though they may relate more broadly to

 the legitimacy of its business in pursuing EBS licenses. Id.

       7.     Because of all this, TDI must move to compel.

                                   ARGUMENT

       8.     WCO is wrongfully withholding responsive documents that bear on

 whether WCO and licensees like Albright are defrauding TDI and T-Mobile, as

 alleged by the whistleblower. Indeed, these requests concern whether WCO’s

 business in pursuing EBS licenses, including Albright’s, is legitimate, or simply a

 ruse to procure kickbacks when T-Mobile exercises its ROFR to buy them.

       9.     Requests 1-6 could not be more straightforward and seek all documents

 and communications regarding Albright that are plainly relevant to TDI’s claims.

 See Ex. 1.    These requests, in particular, seek documents regarding WCO’s

                                          4                     Certification Due Date: 09/09/2022
                                                                        Response Date: 09/16/2022
                                                                               Case ID: 220500629
                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25      Page 587 of 703 Page
                                     ID #:2274



 communications with Albright, WCO’s internal communications and those with its

 consultants about Albright, WCO’s documents analyzing a potential Albright

 transaction, and WCO’s analysis of T-Mobile’s rights and anticipated reactions to

 such an offer. Because WCO cannot seriously object to their relevance, especially

 after the Virginia court ordered production in response to similar requests, WCO has

 withdrawn its objections to them. But despite having done so, WCO has failed to

 produce any such documents to TDI. WCO has not responded to TDI’s request for

 a status update on such production. Out of an abundance of caution, TDI thus seeks

 an order compelling such production.

       10.   Requests 7-11 seek documents directly concerning the legitimacy of

 WCO’s business in pursuing EBS licenses, which bear directly on the

 whistleblower’s allegations. See Ex. 1. Specifically, these requests seek documents

 and communications related to WCO’s current and contemplated role in the

 telecommunications industry, all of which target information about the actual or

 intended use (if any) of any such licenses going forward. Request 11, in particular,

 encompasses documents about the validity of any supposed financing arrangements

 to back WCO’s purported purchase offers. In other words, these requests all seek

 documents bearing on whether WCO aims to purchase EBS licenses to create or

 facilitate a telecommunications service, or for some other legitimate reason, or are

 shams intended to trigger T-Mobile’s ROFR and precipitate kickbacks to WCO.

                                          5                    Certification Due Date: 09/09/2022
                                                                       Response Date: 09/16/2022
                                                                              Case ID: 220500629
                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25       Page 588 of 703 Page
                                     ID #:2275



       11.    The rest of the requests seek documents and communications

 underlying representations WCO made to certain licensees when it was purportedly

 pursuing transactions with them. Request 12 seeks documents related to WCO’s

 representation to Albright in its April 30, 2021 offer letter that “principals of WCO

 have sourced and deployed billions of dollars to fund . . . Wireless

 Telecommunications Operations.” Ex. 1. The veracity of, and any basis for, that

 statement bears on whether WCO’s offer was a fraud, as the whistleblower alleges.

       12.    And Requests 13-15 seek documents related to WCO’s representations

 to other licensees that (i) it “is a specialist in financing and operating

 telecommunications assets and companies”; (ii) it “has previously been active in the

 telecom industry”; and (iii) its founders’ companies “have consistently received

 FCC transfer approvals.” Ex. 1. Again, these documents bear directly on whether

 WCO is committing a fraud on TDI and T-Mobile, as it probes the basis of various

 assertions about its business in pursuing discussions with licensees.

       13.    TDI will be prepared to address each of these requests at a hearing.

 Of Counsel:                               BAYARD, P.A.

 WILLIAMS & CONNOLLY LLP                   /s/ Peter B. Ladig
 Kenneth J. Brown                          Peter B. Ladig (#3513)
 Denis R. Hurley                           600 N. King Street, Suite 400
 680 Maine Avenue SW                       Wilmington, Delaware 19899
 Washington, DC 20024                      (302) 655-5000
 (202) 434-5000                            Attorneys for TDI Acquisition Sub LLC

 Dated: May 20, 2022
                                           6                    Certification Due Date: 09/09/2022
                                                                        Response Date: 09/16/2022
                                                                               Case ID: 220500629
                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25      Page 589 of 703 Page
                                     ID #:2276



       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,                     OUT-OF-STATE SUBPOENA IN
                                               A CIVIL ACTION
              Plaintiff,
                                               K21M-08-007 (JJC)
 v.
                                               C.A. No. 21-04481
 ALBRIGHT COLLEGE,                             (pending in Berks County,
                                               Pennsylvania)
              Defendant.


                           CERTIFICATE OF SERVICE

       I, Peter B. Ladig, hereby certify that on May 20, 2022, I caused a true and

 correct copy of the foregoing Plaintiff TDI Acquisition Sub LLC’s Motion to

 Compel Production of Documents from WCO Spectrum LLC to be served upon the

 following parties via FileandServe Express:

                                Ryan M. Ernst, Esquire
                                1204 N. King Street
                                Wilmington, DE 19801


                                               /s/ Peter B. Ladig
                                               Peter B. Ladig (#3513)

 Dated: May 20, 2022




                                                              Certification Due Date: 09/09/2022
                                                                      Response Date: 09/16/2022
                                                                             Case ID: 220500629
                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 590 of 703 Page
                                   ID #:2277
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC
       IN THE SUPERIOR COURT OF THE STATE OF DELAWARE


 TDI ACQUISITION SUB, LLC,               OUT-OF-STATE SUBPOENA IN
                                         A CIVIL ACTION
             Plaintiff,
                                         K21M-08-007 (JJC)
 v.
                                         C.A. No. 21-04481
 ALBRIGHT COLLEGE,                       (pending in Berks County,
                                         Pennsylvania)
             Defendant.


                            [PROPOSED] ORDER

      AND NOW, this _____ day of ____________________, 2022, upon

 consideration of TDI Acquisition Sub LLC’s Motion to Compel Production of

 Documents from WCO Spectrum LLC, it is hereby ORDERED and DECREED that

 the Motion is GRANTED.




                                                             Clark, J.




                                                        Certification Due Date: 09/09/2022
                                                                Response Date: 09/16/2022
                                                                       Case ID: 220500629
                                                                     Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25 Page 591 of 703 Page
                                   ID #:2278
                                               EFiled: May 20 2022 10:55AM EDT
                                               Transaction ID 67641411
                                               Case No. K21M-08-007 JJC




                          Exhibit 1




                                                        Certification Due Date: 09/09/2022
                                                                Response Date: 09/16/2022
                                                                       Case ID: 220500629
                                                                     Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 592 of 703 Page
                                   ID #:2279




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 593 of 703 Page
                                   ID #:2280




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 594 of 703 Page
                                   ID #:2281




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 595 of 703 Page
                                   ID #:2282




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 596 of 703 Page
                                   ID #:2283




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 597 of 703 Page
                                   ID #:2284




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 598 of 703 Page
                                   ID #:2285




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 599 of 703 Page
                                   ID #:2286




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 600 of 703 Page
                                   ID #:2287




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 601 of 703 Page
                                   ID #:2288




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 602 of 703 Page
                                   ID #:2289




                          Exhibit 2




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                          Page 603 of 703 Page
                                              ID #:2290

  From:            Hurley, Denis
  To:              "Ckaterndahl@winnickco.com"; "mbloch@winnickco.com"
  Cc:              "info@wcospectrum.com"; Mandernach, Christopher; Poteat III, R. Kennon; "rjackson@wcospectrum.com";
                   "arusso@wcospectrum.com"; Hurley, Denis
  Subject:         TDI Acquisition Sub LLC v. Albright College, No. 21-4881 – Subpoena to WCO Spectrum LLC
  Date:            Thursday, September 16, 2021 5:26:27 PM
  Attachments:     WCO Subpoena Cover Letter.pdf
                   WCO Pennsylvania Subpoena.pdf
                   WCO Delaware Superior Court Subpoena Form.pdf
                   Affidavit of Service re WCO Spectrum, LLC.PDF


  Carl:

  On August 19, 2021, plaintiff in the above action, TDI Acquisition Sub LLC, served WCO Spectrum
  LLC, via its registered agent, with a subpoena to produce documents and things. The subpoena was
  issued by Delaware Superior Court in Kent County, and it incorporates the terms of a subpoena
  issued by the relevant Pennsylvania state court in the above action. The cover letter, Pennsylvania
  subpoena, Delaware subpoena, and affidavit of service are attached for your reference.

  Under Delaware law, the deadline for WCO to object to the subpoena was 14 days from the date of
  service (September 2, 2021). See Del. Super. Ct. Civ. R. 45(c)(2)(B). The deadline set in the
  subpoena for the production of documents under Pennsylvania law was 20 days from the date of
  service (September 8, 2021). Both deadlines have now passed.

  Despite the passage of these deadlines, we have not received any documents from WCO in response
  to the subpoena. Please therefore confirm your receipt of this communication immediately, and
  produce the documents requested by the subpoena no later than Monday, September 20, 2021.
  TDI reserves all rights in the meantime.

  I am available to discuss by telephone should you have questions.

  Regards,

  Denis R. Hurley
  Associate | Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  (P) 202-434-5374 | (F) 202-434-5029
  dhurley@wc.com | www.wc.com




                                                                                           Certification Due Date: 09/09/2022
                                                                                                   Response Date: 09/16/2022
                                                                                                          Case ID: 220500629
                                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 604 of 703 Page
                                   ID #:2291




                          Exhibit 3




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 605 of 703 Page
                                          ID #:2292



 ____________________________________
                                       :
  TDI Acquisition Sub, LLC,            :
                                       :
           Plaintiff,                  :
                                       :
                v.                     :
                                       :
  Albright College,                    :
                                       :
           Defendant.                  :
  ____________________________________ :

                                 OBJECTIONS TO SUBPOENA

        WCO Spectrum, LLC (“Respondent”) hereby objects to the subpoena (the “Subpoena”),

 issued by Plaintiff, TDI Acquisition Sub, LLC (“Plaintiff”), in regard to the matter of TDI

 Acquisition Sub, LLC v. Albright College, and Respondent avers as follows:

        1.      These Objections are made with respect to the Plaintiff’s Subpoena and each and

 every definition, instruction, and request contained therein. The assertion of the same, similar, or

 additional objections does not waive any of Respondent’s Objections.

        2.      Respondent objects to Plaintiff’s Subpoena because the issuing Court lacks

 jurisdiction over the matter.

        3.      Respondent objects to Plaintiff’s Subpoena because it is facially defective, and

 fails to conform to the applicable Rules of Civil Procedure.

        4.      Respondent objects to Plaintiff’s Subpoena due to ineffective and improper

 service.

        5.      Respondent objects to Plaintiff’s definitions, instructions and Document Requests

 (collectively referred to as “Document Requests”) in the Subpoena to the extent that they seek to

 impose unfair, overly broad and/or unreasonable obligations upon Respondent beyond the

 requirements of the applicable Rules of Civil Procedure and any other applicable rule or law.

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25              Page 606 of 703 Page
                                           ID #:2293



        6.      Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 disclosure of information protected from discovery by the attorney-client privilege, work-product

 doctrine, spousal privilege, self-critical analysis or investigative privilege, consulting expert

 exemption or any other privilege or exemption, or to the extent the Document Requests seek

 disclosure of confidential, proprietary or trade secret information protected from disclosure by

 applicable law. To the extent that any information is inadvertently provided, which information

 is properly the subject of the attorney-client privilege or the work-product privilege, such

 disclosure is not to be construed as a waiver of the attorney-client privilege or the work-product

 privilege. In the event that inadvertent disclosure occurs, Plaintiff shall make no use of the

 contents thereof, nor premise any further discovery on information learned therefrom.

        7.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 inaccurate, ambiguous, misleading or argumentative, assume facts that have no evidentiary basis,

 are unduly vague and incomprehensible or are unreasonably cumulative or duplicative.

        8.      Respondent objects to Plaintiff’s Document Requests to the extent that they are

 irrelevant and/or seek information not reasonably calculated to lead to the discovery of

 admissible evidence.

        9.      Respondent objects to Plaintiff’s Document Requests to the extent that they call

 for or seek legal conclusions and/or analysis.

        10.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 documents and/or information not within Respondent’s knowledge, possession, custody or

 control.

        11.     Respondent objects to Plaintiff’s Document Requests to the extent that they seek

 any document and/or information that is readily available to Plaintiff from its own records, from



                                                   2                         Certification Due Date: 09/09/2022
                                                                                     Response Date: 09/16/2022
                                                                                            Case ID: 220500629
                                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 607 of 703 Page
                                          ID #:2294



 a party to the litigation or is obtainable from publicly available sources that are more convenient,

 less burdensome and/or less expensive than if obtained from Respondent.

        12.     By objecting to Plaintiff’s Document Requests, Respondent specifically does not

 waive any rights under applicable statutes or laws, and does not consent to any court’s

 jurisdiction. No incidental or implied admissions are intended by the responses herein. The fact

 that Respondent has objected to any Document Request herein is not intended and shall not be

 construed as a waiver of any part of any objection, whether general or specific. In particular,

 Respondent does not in any way waive any objection but, rather, intends to preserve and does

 preserve all objections as to competency, relevancy, materiality and admissibility, any right to

 object to any use of the responses herein in any subsequent proceedings, including the trial of

 this or any action, all objections to vagueness, broadness and ambiguity, and all rights to object

 on any ground to any further discovery in this action.

        13.     Respondent expressly reserves its right to supplement or modify its objections

 with such pertinent information as it may hereafter discover and will do so to the extent required

 by the applicable Rules of Civil Procedure and any other applicable rule or law. Respondent also

 expressly reserves the right to raise supplemental objections.




                                                  3                        Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 608 of 703 Page
                                   ID #:2295




                          Exhibit 4




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 609 of 703 Page
                                   ID #:2296


       TDI ACQUISITION SUB LLC        : In the Court of Common Pleas
                      Plaintiff       : of Berks County, Pennsylvania
                                      : Civil Action Law
                 vs.                  :
                                      :
                                      :
       ALBRIGHT COLLEGE               :
                      Defendant       : No. 21-04881
                                ______________

                                      HEARING
                              Monday, March 21, 2022
                               Reading, Pennsylvania
                                    ______________

               Before THE HONORABLE J. BENJAMIN NEVIUS, Judge
                                ______________

       APPEARANCES:

       For the Plaintiff:        STEVEN J. ENGELMYER, ESQUIRE
       TDI Acquisition           1717 Arch Street, 5th Floor
       Sub, LLC                  Philadelphia, Pennsylvania 19103



                                 KENNETH J. BROWN, ESQUIRE
                                 725 Twelfth Street, N.W.
                                 Washington, D.C. 20005

       For the Defendant:        PETER F. SCHUCHMAN, JR, ESQUIRE
       Albright College          2640 Westview Drive
                                 Wyomissing, Pennsylvania 19610



       For nonparty WCO:         MAURICE R. MITTS, ESQUIRE
       Spectrum, LLC             1822 Spruce Street
                                 Philadelphia, Pennsylvania 19103



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                                 the Office of the Prothonotary to be
                                 distributed to Attorney Mitts upon
                                 payment of balance due and owing.


                                 ANGELA ROTKISKE
                             Official Court Reporter


                                           1              Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 610 of 703 Page
                                    ID #:2297


   1   (Reading, Pennsylvania, Monday, March 21, 2022, at 2 p.m.)

   2               (REPORTER'S NOTE:       At the direction of the

   3   Trial Judge, this transcript shall be considered as

   4   containing an exception to every ruling by the Court.)

   5                      THE COURT:   All right.     This is civil docket

   6   21-4881.    This is the time and place for a sort of all

   7   purposes conference all hands on deck with the various party

   8   and nonparty participants in this proceeding.             We have Mr.

   9   Schuchman on behalf of Albright College.            We have Mr.     Brown

  10   and Mr.    Engelmyer on behalf of Plaintiffs as well Mr.

  11   Mitts on behalf of nonparty, WCO Spectrum, LLC.             And after

  12   reading all of the paperwork it appears to be really between

  13   a battle between WCO and TDI is really what's going on and

  14   Albright sort of in the middle if that's an accurate --

  15                      MR. SCHUCHMAN:    I have strategically placed

  16   myself, Your Honor.

  17                      THE COURT:   Physically in between.

  18                      MR. SCHUCHMAN:    Yes.

  19                      THE COURT:   So I had Mr.     Mitts, I don't think

  20   you were a participant in the first conference call that I

  21   had with counsel in this a few weeks ago, I finally have had

  22   an ability to get up to speed on Judge Rowley's cases.                I'm

  23   still transitioning out from assignments I've had

  24   previously.    This one is -- and we can go off the record.

  25                      (WHEREUPON, discussion occurred off the



                                            2              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 611 of 703 Page
                                    ID #:2298


   1   shows something else that involves WCO maybe WCO comes in

   2   and Albright is out.       I don't know.

   3                      But my view is, again, if we have a small

   4   nonprofit college here that really didn't do anything wrong

   5   we need to have an opportunity for them to extricate

   6   themselves from this as soon as possible and let the two big

   7   boys in the room fight each other.           So take a look at your

   8   documents.     I will give you an order to that effect.            I will

   9   hold on issuing an order on the protective motion until I

  10   can take a look at some of the stuff that you submitted.

  11   All right.     Yes?

  12                      MR. BROWN:   May we continue pursuing the

  13   subpoenas to gather the additional information that we are

  14   looking for?

  15                      THE COURT:   I'm not blocking any subpoenas

  16   that have already gone out.        Sounds like you are already

  17   talking about that with another court, a court of

  18   jurisdiction tomorrow.

  19                      MR. BROWN:   Two actually.

  20                      THE COURT:   Two.     You are dealing in Delaware

  21   as well?

  22                      MR. BROWN:   Not tomorrow.

  23                      THE COURT:   Okay.     I will let you guys fight

  24   that out with those particular courts.           Go ahead.

  25                      MR. MITTS:   Your Honor, the first thing is if



                                           34              Certification Due Date: 09/09/2022
                                                                   Response Date: 09/16/2022
                                                                          Case ID: 220500629
                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 612 of 703 Page
                                   ID #:2299




                          Exhibit 5




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
      Case 2:23-cv-04347-AH-E                      Document 149-3 Filed 05/30/25                 Page 613 of 703 Page
     VIRGINIA: IN THE CIRCUIT COURT FOR THE CITY OF VIRGINIAID #:2300APPEARANCES:
               BEACH
                                                                                WILLIAMS & CONNOLLY, L.L.P.
                                                                                By: Denis R. Hurley, Esquire,
     ----------------------------                                               By: R. Kennon Poteat, III, Esquire,
     TDI ACQUISITION SUB, LLC, :                                                725 Twelfth Street NW
                                 :                                              Washington, D.C. 20005
                     Plaintiff, :                                               dhurley@wc.com
                                 :                                              kpoteat@wc.com
     v.                          : CASE NUMBER:                                 Pro hac vice counsel for TDI Acquisition, LLC.
                                 : CL21-3972
                                 :                                              HUNTON ANDREWS KURTH
     ALBRIGHT COLLEGE,           :                                              By: Kevin J. Cosgrove, Esquire
                     Defendant. :                                               500 East Main Street, Suite 1301
     ----------------------------                                               Norfolk, Virginia 23510
                                                                                kcosgrove@hunton.com
                                                                                Counsel for TDI Acquisition, LLC.
                                                                                DURRETTE, ARKEMA, GERSON & GILL, P.C.
                                                                                By: Wyatt B. Durrette, Jr., Esquire,
                      HEARD BEFORE THE HONORABLE                                1111 East Main Street, 16th Floor
                                                                                Richmond, Virginia 23219
                        PATRICIA L. WEST, JUDGE                                 wdurrette@dagglaw.com
                                                                                Counsel for Academia Spectrum, LLC.

                      MARCH 24, 2022 - 2:10 P.M.                                MITTS LAW, LLC
                                                                                By: Maurice R. Mitt, Esquire,
                                                                                1822 Spruce Street
                                                                                Philadelphia, Pennsylvania 19103
                       VIRGINIA BEACH, VIRGINIA                                 (215)866-0112
                                                                                mmitts@mittslaw.com
                                                                                Counsel for Academia Spectrum.




                          KELLY A. ROWE, CCR
                        OLD DOMINION REPORTING
                             (757)650-8546                                                  KELLY A. ROWE, CCR
                        kellyrowe305@gmail.com                                            OLD DOMINION REPORTING
                                                                                               (757)650-8546
                                                                                          kellyrowe305@gmail.com




                                                                   3                                                                  4


1                        (Court reporter duly sworn.)                  1    to see you. Maurice Mitts on behalf of Academia.
2                                                                      2              THE COURT: Smitts?
3                    THE COURT: We are here in matter of TDI           3              MR. MITTS: Mitts, M-I-T-T-S.
4        Acquisition versus Albright College. This is in               4              THE COURT: Okay.
5        reference to a subpoena duces tecum that was issued to        5              MR. DURRETTE: And Wyatt Durrette, Your
6        a Virginia corporation or established in Virginia,            6    Honor, on behalf of Academia.
7        Academia.                                                     7              THE COURT: Okay. And I'm going to put some
8                    So who do we have present today? If we can        8    notes down that help me real quick on this. We have --
9        just go down the line. This is the TDI -- yeah, TDI           9    let's see. And just so that I can keep everything
10       side.                                                         10   straight, I'm going to go through this and make sure I
11                   MR. HURLEY: Yes, Your Honor. Denis Hurley         11   have this right. I just do a little chart for me to
12       with Williams & Connolly.                                     12   follow.
13                   THE COURT: Your name again? I'm sorry.            13             TDI had a contractual relationship with
14                   MR. COSGROVE: Kevin Cosgrove, Hunton,             14   Albright. And then WCO had a bid, whether it's a bona
15       Andrews, Kurth.                                               15   fide bid or bona fide competing entity with Albright as
16                   THE COURT: What was your first name -- I          16   well. And then WCO has some relationship with
17       mean your second name?                                        17   Academia, and those are the records that TDI is trying
18                   MR. HURLEY: Denis Hurley.                         18   to get.
19                   THE COURT: Hurley. All right.                     19             MR. DURRETTE: That's right, Your Honor.
20                   MR. POTEAT: And good afternoon, Kennon            20             THE COURT: And the last time we were here --
21       Poteat of Williams & Connolly.                                21   well, the first time we were here the Court determined
22                   THE COURT: I think you argued last time.          22   that Virginia was an appropriate place for the subpoena
23                   MR. POTEAT: I did.                                23   duces tecum to issue. We came back. I had asked
24                   THE COURT: Okay.                                  24   everyone to try to work out their differences on
25                   MR. MITTS: Good afternoon, Your Honor. Good       25   discovery now that we'd established jurisdiction. And


                                                                                                Certification Due Date: 09/09/2022
                                                                                                        Response Date: 09/16/2022
                                                                                                               Case ID: 220500629
                                                                                                             Control No.: 22090381
                                                               61                                                                62
     Case 2:23-cv-04347-AH-E                    Document 149-3 Filed 05/30/25 Page 614 of 703 Page
1      stamped Academia 070.                             ID #:2301
                                                               1   not the case -- I don't have to be a litigant to the
2                So number one, it's not true they are a            2     case. I don't have to be a litigant to the case. It's
3      competitor. Number two, the documents that go to that        3     whether or not I'm willing to do a transaction. And
4      subject have been produced. So I understand that they        4     both my desire, my stated intention and my legal right
5      have a wish.                                                 5     under the option are all negative. That really is a
6                THE COURT: Okay. Let me just be clear about        6     game over.
7      this. I'm not asking -- well, I'm going to ask you --        7               THE COURT: So the issue that you have this
8      and I'm not saying that you have to turn anything over,      8     isn't relevant, how can you justify the relevance of
9      but does Academia have any prior or current                  9     asking for documents from Academia that are not related
10     relationship with WCO involving some other entities?         10    to this particular issue given the fact that WCO has
11               MR. MITTS: I think they do. We wouldn't be         11    provided you information to show that they are not a
12     having this conversation if this was a one-trick pony.       12    competitor?
13     I think they do.                                             13              MR. POTEAT: Well, the problem is the
14               THE COURT: Okay. So --                             14    information that they have provided is WCO saying, we
15               MR. MITTS: And that's why it is not                15    are not a competing entity. When in the history of
16     pertinent because that has nothing to do with whether        16    litigation has that been conclusive of any issue? If
17     or not this is a bona fide offer for the Albright deal.      17    that was the case, you would never be able to take
18     And as you correctly pointed out, we are not a               18    discovery period because the other side would say, ah,
19     contender. And so when they said, well, that will put        19    yeah, no, we are not a competing entity but don't look
20     the issue to rest. No, it won't put the issue to rest.       20    under the hood.
21     We have already put the issue to rest. If we are not         21              THE COURT: But isn't this more an issue for
22     getting married to Albright, it is over.                     22    WCO and your discovery in the WCO case and not Academia
23               I know they want to use this as a pretext for      23    because they were involved with WCO for purposes of
24     invading another business, but there isn't a                 24    this particular transaction. Now you are not going
25     controversy here any more. And to pretend that that's        25    after WCO, or maybe that's who you want to say is the




                                                               63                                                                64


1      person who -- well, is -- okay. WCO was a competitor.        1     do with these licenses.
2                MR. POTEAT: The -- in that lawsuit against         2               THE COURT: And you need to get that from
3      Albright it is a competing -- yeah, it's a competing         3     WCO. As far as I can tell, Academia is involved as
4      entity to bar.                                               4     their agent in this particular deal. They don't have
5                THE COURT: They were trying to bar from            5     an obligation -- they are not part of this at all.
6      Albright, so. I mean, you would find out from them and       6     They are not even really that tangentially
7      from looking at their practices whether or not they are      7     related because they -- I mean, I guess they were. But
8      a competing entity.                                          8     they don't have an obligation to provide you with WCO's
9                MR. POTEAT: Well, we certainly would be            9     documents. WCO is the company that you should be
10     doing that. But to the extent Academia has information       10    getting those documents from to find out what their
11     about it that is relevant to those issues -- WCO was         11    business practices are.
12     using Academia as their agent in this.                       12              MR. POTEAT: We are certainly seeking them
13               THE COURT: And you are getting the                 13    from WCO, but I don't think there's any legal basis to
14     information from them about WCO and Albright.                14    say, and you can't go after those documents from
15               MR. POTEAT: Well, we -- we haven't gotten          15    Academia. Because, who knows, WCO may have some
16     anything about WCO in terms of communications with WCO       16    documents. Academia may have documents that WCO
17     on Albright. And to the extent that Academia has             17    doesn't. They may have information that they put
18     information about WCO's business that would render           18    together about WCO's business, what the plans are
19     them -- that's what all of these, 12, 13, 14 -- I mean,      19    related to --
20     that is what all of these are going towards is trying        20              THE COURT: Well, if this is the way that
21     to get information, documents and communications that        21    they do business then you are probably not going to
22     would show WCO is, in fact, a competing entity.              22    find anything more in any other deal than what you
23               The fact WCO says, no. Okay. But we have to        23    found in this deal. It would be the same kind of
24     be able to test that and see what documents there exist      24    information. The kind of e-mails that you got here
25     about their business and about what they are going to        25    between WCO and Academia or -- would be the same in any


                                                                                              Certification Due Date: 09/09/2022
                                                                                                      Response Date: 09/16/2022
                                                                                                             Case ID: 220500629
                                                                                                           Control No.: 22090381
                                                               77                                                                78
     Case 2:23-cv-04347-AH-E                    Document 149-3 Filed 05/30/25 Page 615 of 703 Page
1                  THE COURT: If after that you find something ID #:2302
                                                                     1   MR. MITTS: Okay. That's fine, Your Honor.
2      it would be a violation. Or I guess after that it            2                THE COURT: Instead of they have agreed to.
3      would not be timely and they could bring it back.            3    I think that's where your sticking point might be?
4                  MR. POTEAT: And we just want an order. I         4                MR. POTEAT: Well, we just need the fact
5      mean, the tone wasn't intended to be punitive at all.        5    that -- you know, maybe another way to get at it, if he
6                  THE COURT: Well, you read his. Are you okay      6    wants to put in there what you denied. I mean, you
7      with his?                                                    7    denied their motion to quash as to 1, 2 and 3. And
8                  MR. POTEAT: We would like an order that          8    then you partially denied it to 4. And so if you put
9      directs them to produce all communications and               9    that --
10     documents.                                                   10               THE COURT: I guess we can just do one order
11                 THE COURT: Is that not what yours does?          11   encompassing the whole motion today, the final results.
12                 MR. MITTS: Yes, it does, Your Honor.             12   I ordered that these are the terms. I thought if we
13                 MR. POTEAT: It doesn't. Theirs just talks        13   got the terms we were going to use I thought the rest
14     about their representation --                                14   was pretty clear.
15                 MR. MITTS: No, it goes further.                  15               MR. MITTS: I did too, Your Honor. That is
16                 MR. POTEAT: Then it says you will do a           16   why I focused on the terms because I thought this was
17     search.                                                      17   really the only remaining issue.
18                 MR. MITTS: Here is what I said.                  18               THE COURT: So I think it's appropriate too
19                 THE COURT: His further ordered something.        19   since we had the hearing to say all the other findings
20                 MR. MITTS: Yeah. "And to address any             20   as well. That you would comply with the other portions
21     remaining concerns of TDI, Academia's counsel has            21   that you have.
22     agreed to run a further search with the following terms      22               MR. MITTS: That we have. And that we have
23     against the Academia records."                               23   agreed to do this further.
24                 THE COURT: Well, how about, it is further        24               THE COURT: You made representations that you
25     ordered that Academia will run these terms?                  25   have provided everything that is pursuant to -- or that




                                                               79                                                                80


1      is responsive to 1, 2, 3 and 4 -- not 4 but partially        1    have. That's what all of this production is.
2      4.                                                           2                MR. POTEAT: Related to WCO's offer. So it
3                  MR. MITTS: It's 1, 3, partially 4, 5 and 6.      3    was limited even further in terms of the communications
4                  THE COURT: So 1, 2 --                            4    with Albright. And so we -- as the order that we
5                  MR. POTEAT: 1, 2, 3 and partially 4.             5    proposed it would include the earlier discussions with
6                  MR. MITTS: Partially 4, 5 and 6. And that        6    Albright. So any communications Academia had with
7      documents don't exist for 7, 8, 9, 10, 11 and 15. And        7    Albright ought to be produced.
8      the Court sustained our objections as to 12, 13 and 14.      8                THE COURT: Okay. But we haven't talked
9                  THE COURT: As represented by counsel             9    about that though. I don't think. Did we?
10     documents don't exist for those and -- yeah.                 10               MR. POTEAT: Yeah. Well, I mean, anything
11                 MR. POTEAT: I mean, I don't want an order        11   Academia has regarding Albright should be produced.
12     saying that documents don't exist because I think we         12   And I thought that's what we -- we got to.
13     will probably be back here at some point.                    13               THE COURT: Well, I guess I didn't address
14                 THE COURT: Counsel has represented there are     14   that specifically. I was referring to Albright and
15     no documents responsive to 4 -- well, no, that is a          15   this deal just like I was referring to WCO and this
16     partial -- 13, 14, 15, whatever it is.                       16   deal. This particular deal.
17                 MR. MITTS: It's 7, 8, 9, 10, 11 and 15.          17               If they represent Albright in some other way,
18                 THE COURT: We didn't talk about those            18   I never talked about that --
19     because they actually involve Albright but maybe not         19               MR. POTEAT: Yeah, they don't represent
20     WCO. But we haven't talked about that issue.                 20   Albright. They represent WCO.
21                 MR. MITTS: We did, Your Honor.                   21               THE COURT: Y'all never argued that. Or if
22                 THE COURT: We talked about Academia and WCO.     22   they represent any other company that has been dealing
23     We never talked about Academia and Albright not related      23   with Albright. I guess they wouldn't. That would be a
24     to WCO.                                                      24   conflict.
25                 MR. MITTS: Well, Academia and Albright they      25               MR. POTEAT: Yeah, there has been no


                                                                                               Certification Due Date: 09/09/2022
                                                                                                       Response Date: 09/16/2022
                                                                                                              Case ID: 220500629
                                                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 616 of 703 Page
                                   ID #:2303




                          Exhibit 6




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25         Page 617 of 703 Page
                                              ID #:2304

  From:            Poteat III, R. Kennon
  To:              Maurice Mitts
  Cc:              Hurley, Denis
  Subject:         RE: Albright case - WCO Subpoena
  Date:            Monday, May 2, 2022 11:00:14 AM


  Maurice:

  Please advise on when WCO will make its production in response to the TDI subpoena. It’s now
  been more than a month since WCO said it would produce all responsive documents regarding
  Albright, as set forth below.

  Thanks,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His




  From: Maurice Mitts <MMitts@mittslaw.com>
  Sent: Sunday, April 17, 2022 8:43 PM
  To: Poteat III, R. Kennon <kpoteat@wc.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena


  Ken,

             I hope you enjoyed the holiday.

       I have followed up on the search terms and the custodians we
  discussed for the WCO subpoena. We will run those terms against the
  custodians’ files. I will update once I have a better understanding of the
  volume of materials generated from these search criteria and as to when
  we can make a production.

  Thank you,

                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25              Page 618 of 703 Page
                                          ID #:2305

  Maurice
  Maurice Mitts, Esq.
  Mitts Law, LLC
  1822 Spruce Street
  Philadelphia, PA 19103
  T (215) 866-0112
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  C (215) 327-7744

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  From: Poteat III, R. Kennon <kpoteat@wc.com>
  Sent: Friday, April 8, 2022 3:40 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Maurice:

  I’m writing to follow-up on my e-mail below from Monday.

  Thanks,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His



  From: Poteat III, R. Kennon
  Sent: Monday, April 4, 2022 2:09 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Maurice:

  I write to follow-up on our meet and confer from Thursday, March 31 regarding TDI’s subpoena
  duces tecum to WCO Spectrum in the Albright matter.

                                                                           Certification Due Date: 09/09/2022
                                                                                   Response Date: 09/16/2022
                                                                                          Case ID: 220500629
                                                                                        Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25               Page 619 of 703 Page
                                           ID #:2306

  First, with respect to Requests 1-6, you indicated that WCO was withdrawing its objections/motion
  to quash and will produce all responsive documents. In terms of custodians, we request that WCO
  search and collect documents from Gary Winnick, Carl Katerndahl, Matthew Bloch, and Ash
  Vasudevan, along with any other personnel or agents doing work regarding Albright. As we
  discussed, you agreed that WCO would search for documents in e-mail, on individual laptops/hard
  drives, and on WCO shared drives/folders, as well as hard copy materials. Finally, you asked us for a
  list of proposed search terms, which we provide below:

        WND475
        Albright
        “@albright.edu”
        “Reading, PA” OR “Reading, Pennsylvania”
        “16,200,000” (including with wildcard “*16,200,000”)
        “1,620,000” (including with wildcard “*16,200,000”)
        “Academia” AND “Albright”
        “@academiaspectrum.com” AND “Albright”
        “@selectspectrum.com” AND “Albright”
        “Bitzarakis” AND “Albright”
        “Andreas” AND “Albright”
        “Vasudevan” AND “Albright”
        “Kratz” AND “Albright”
        “tmkratz@gmail.com” AND “Albright”
        “@wbklaw.com” AND “Albright”
        “ROFR” AND “Albright”
        “Right of First Refusal” AND “Albright”
        “Gray” AND “Albright”
        “@graymillerpersh.com” AND “Albright”

  Second, with respect to Requests 7-10, WCO had previously indicated that it “does not possess any
  document responsive” to those requests. We asked for specifics in terms of what WCO had done to
  search for such documents, and you did not have that information but said you would provide it to
  us. You also indicated that as part of your search, collection, and production regarding Requests 1-6,
  WCO would look for documents and communications that would be responsive to Requests 7-10
  and would produce them to the extent there are any.

  Third, regarding Request 11, you indicated that WCO was not willing to produce any documents,
  unless they concerned Albright. We explained that TDI needed documents responsive to Request
  11, as they are relevant to its claims that Albright failed to show WCO made a bona fide offer, which
  includes, but is not limited to, the “Competing Entity” issue under the TDI-Albright Lease. We also
  explained that such documents were relevant to TDI’s investigation of the whistleblower allegations
  as they related to WCO and Albright. We, however, understand that WCO is going to stand on its
  objections to that request.

  Finally, regarding Requests 12-15, you said that you did not think WCO would be willing to produce
  documents unless they concerned Albright. We indicated that these requests sought information
                                                                              Certification Due Date: 09/09/2022
                                                                                      Response Date: 09/16/2022
                                                                                             Case ID: 220500629
                                                                                           Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25              Page 620 of 703 Page
                                         ID #:2307

  related to representations that WCO has made in correspondence with EBS license holders, and we
  expect WCO to produce any such material, given that it is relevant to the bona fide offer issue,
  including the bar to any sale to a “Competing Entity.” Please let us know if WCO will modify its
  position with respect to these requests.

  Regards,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His



  From: Poteat III, R. Kennon
  Sent: Wednesday, March 30, 2022 5:37 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena

  Sounds good. Denis, can you send around a dial-in?

  Thanks,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His


  From: Maurice Mitts <MMitts@mittslaw.com>
  Sent: Wednesday, March 30, 2022 2:51 PM
  To: Poteat III, R. Kennon <kpoteat@wc.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: RE: Albright case - WCO Subpoena


  Kennon,

            Let’s have a call tomorrow at 4 pm if that still works for you.

  Thank you,
                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E                Document 149-3 Filed 05/30/25                      Page 621 of 703 Page
                                                ID #:2308



  Maurice
  Maurice Mitts, Esq.
  Mitts Law, LLC
  1822 Spruce Street
  Philadelphia, PA 19103
  T (215) 866-0112
  F (215) 866-0113
  C (215) 327-7744

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  the e-mail or any attachments. Instead, please notify the sender and delete the e-mail and any
  attachments. Thank you.


  From: Poteat III, R. Kennon <kpoteat@wc.com>
  Sent: Monday, March 28, 2022 5:54 PM
  To: Maurice Mitts <MMitts@mittslaw.com>
  Cc: Hurley, Denis <dhurley@wc.com>
  Subject: Albright case - WCO Subpoena

  Maurice:

  With respect to TDI’s subpoena to WCO, we’d like to meet and confer this week. We are available
  tomorrow morning between 10-11, Wednesday is open (except 11-noon), and Thursday afternoon is
  open (between 11-4:30). Please let us know what works for you, and we’ll send an invite.

  Best,
  Kennon

  R. Kennon Poteat III
  Williams & Connolly LLP
  725 Twelfth Street, N.W., Washington, DC 20005
  202-434-5699 | vcard | www.wc.com/kpoteat
  He, Him, His




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                                                                                                         Case ID: 220500629
                                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 622 of 703 Page
                                   ID #:2309




               Attachment B




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E           Document 149-3 Filed 05/30/25                Page 623 of 703 Page
                                           ID #:2310


                                                                          HUNTON ANDREWS KURTH LLP
                                                                          500 EAST MAIN STREET
                                                                          SUITE 1301
                                                                          NORFOLK, VIRGINIA 23510

                                                                          TEL 757 • 640 • 5300
                                                                          FAX 757 • 625 • 7720

                                                                          ROBERT M. TATA
                                                                          DIRECT DIAL: 757 • 640 • 5328
                                                                          EMAIL: btata@HuntonAK.com

  May 20, 2022                                                            FILE NO: 125071.1



  Via Hand Delivery

  Honorable Tina E. Sinnen
  Clerk of Court
  Virginia Beach Circuit Court
  2425 Nimmo Parkway
  Building 10 & 10B
  Virginia Beach, VA 23456-9017

                         TDI Acquisition Sub LLC v. Albright College
                                        No. CL21-3972
                               Foreign Subpoena in a Civil Action
                   Pending in Berks County, Pennsylvania at C.A. No. 21-04481

  Dear Ms. Sinnen:

         Enclosed for filing please find TDI Acquisition Sub LLC’s Motion to Compel
  Production of Documents that Academia Spectrum LLC Improperly Unredacted.

         Thank you for your assistance.

                                                     Sincerely,



                                                     Robert M. Tata
  Enclosures

  cc:    (w/encl. – via email & first class mail)
         Wyatt B. Durette, Jr., Esq.
         Maurice R. Mitts, Esq.
         Denis R. Hurley, Esq.




                                                                               Certification Due Date: 09/09/2022
           ATLANTA AUSTIN BANGKOK BEIJING BOSTON BRUSSELS CHARLOTTE DALLAS DUBAI HOUSTON LONDON
    LOS ANGELES MIAMI NEW YORK NORFOLK RICHMOND SAN FRANCISCO THE WOODLANDS TOKYO TYSONS WASHINGTON, DC
                                              www.HuntonAK.com                         Response Date: 09/16/2022
                                                                                              Case ID: 220500629
                                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 624 of 703 Page
                                         ID #:2311



                      IN THE CIRCUIT COURT OF VIRGINIA BEACH
                                   CIVIL DIVISION


  TDI ACQUISITION SUB, LLC,                          FOREIGN SUBPOENA IN A CIVIL
                                                     ACTION
                 Plaintiff,
                                                     No. CL21-3972
  v.
                                                     C.A. No. 21-04481
  ALBRIGHT COLLEGE,                                  (pending in Berks County, Pennsylvania)

                 Defendant.


     TDI ACQUISITION SUB LLC’S MOTION TO COMPEL PRODUCTION OF
  DOCUMENTS THAT ACADEMIA SPECTRUM LLC IMPROPERLY UNREDACTED

        Sadly, Plaintiff TDI Acquisition Sub LLC (“TDI”) must return to this Court now for the

 fourth time to seek a reasonable response to a simple subpoena because Academia Spectrum LLC

 (“Academia”) so heavily redacted the key “deal memo” and certain other documents for no legally

 valid reason. These documents should be produced immediately in unredacted form.

        Specifically, on March 22, 2022, Academia represented to this Court that it had produced

 all documents related to WCO Spectrum LLC (“WCO”) and Defendant Albright College

 (“Albright”), but to address TDI’s concerns, the Court directed Academia to produce all additional

 documents and communications concerning Albright in response to TDI’s September 2021

 subpoena. Notwithstanding its representation that it already had produced all such documents (a

 mere 70 pages), Academia proceeded to produce an additional 541 pages in response to the Court’s

 Order. Academia’s supplemental production, however, was riddled with redactions, rendering it

 mostly useless for TDI. Indeed, Academia redacted nearly 200 pages without any explanation.

 Most egregiously, Academia improperly redacted key portions of WCO’s “deal memo”

 concerning Albright, including parts that address the contemplated transaction’s “Strategic


                                                                         Certification Due Date: 09/09/2022
                                                                                 Response Date: 09/16/2022
                                                                                        Case ID: 220500629
                                                                                      Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 625 of 703 Page
                                          ID #:2312



 Importance to TMO [T-Mobile, TDI’s parent company]” and “Potential TMO Strategy,” thereby

 concealing information TDI was entitled to receive.

        TDI immediately raised the impropriety of these redactions, but Academia has refused to

 produce the unredacted “deal memo,” claiming it to be off limits as “transaction strategy,” not

 because of any valid privilege. There is, of course, no legal protection for business information

 like “transaction strategy.” Academia has no basis for its withholding of this critical document, as

 it goes to the heart of the remaining dispute in this case—whether, as a self-described

 whistleblower alleges, WCO and Albright are engaged in a scheme to defraud TDI and its parent

 company, T-Mobile.

        As a result, TDI seeks an order compelling Academia to (i) produce the unredacted “deal

 memo” concerning Albright, which is plainly responsive and should be produced in its entirety,

 and (ii) produce in unredacted form certain communications sent or from T-Mobile because

 Academia has no plausible reason for redacting such documents.

                                         BACKGROUND

        1.      On March 22, 2022, this Court heard argument on TDI’s efforts to enforce the

 subpoena served on Academia back in September 2021, and make Academia finally produce

 documents and communications in response. TDI explained that the Pennsylvania state court,

 where the underlying litigation remains pending, had recently declined to interfere with TDI’s

 outstanding subpoenas, including this one. The Pennsylvania court decided as much because a

 self-described whistleblower had asserted that WCO and certain EBS spectrum licensees like

 Albright are engaged in a scheme to defraud TDI and T-Mobile. WCO’s alleged scheme involves

 making sham offers to purchase licenses, which T-Mobile leases from thousands of educational

 institutions across the country, in order to trigger T-Mobile’s Right of First Refusal (“ROFR”) to



                                                  2                       Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25            Page 626 of 703 Page
                                          ID #:2313



 purchase those licenses and collect kickbacks on the purchase amounts when T-Mobile exercises

 its ROFR.

        2.      At the March 22 hearing, in an effort to try to persuade this Court not to order

 Academia to produce any additional documents beyond its initial paltry 70-page production,

 Academia represented to this Court multiple times that Academia had produced all it had related

 to Albright. See 3/22/2022 Tr. 41:25-42:2, 42:5-6; id. 44:7-10, 44:16; id. 46:9-15. TDI, however,

 pressed that, given the nature of Academia’s initial production, it was impossible that Academia

 had produced all documents and communications concerning Albright. See, e.g., 35:20-24, 37:10-

 38:16, 43:11-44:15. In the end, this Court issued an order that noted Academia’s representation,

 yet importantly directed Academia to “produce all additional documents and communications (if

 any), including, but not limited to, emails between and among WCO and Academia and Albright

 and Academia, concerning Albright, WCO’s Offer, the Albright Lease Agreement [with TDI], and

 the Albright License.” 4/14/2022 Order at 1. The Court further directed Academia’s counsel to

 supervise the search and utilize 15 specific search terms. Id. at 1-2.

        3.      Because of this Court’s Order, on April 8, 2022 Academia produced an additional

 541 pages of new documents. Academia has never provided an explanation as to why its initial

 search (which it represented to this Court was thorough and complete) failed to locate the 541

 pages that it eventually produced when forced to do so by this Court’s Order.

        4.      Academia, however, imposed heavy redactions across nearly 200 pages of its

 supplemental production. In doing so, Academia did not include a basis for a single redaction. On

 April 18, 2022, TDI promptly raised numerous issues associated with redactions that it believed

 to be improper. Ex. 1. Most importantly, TDI complained that Academia redacted portions of a

 “deal memo” prepared specifically for the Albright transaction. Ex. 2 (Academia 00230-233).



                                                  3                       Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 627 of 703 Page
                                          ID #:2314



 The Albright “deal memo” concerns issues related solely to Albright, its license, and its lease with

 TDI, and it evidently discusses other strategic issues related to T-Mobile that Academia has tried

 to hide from T-Mobile, the victim of the fraud alleged by the whistleblower. Id. at 00231.

 Academia redacted key portions of that “deal memo,” including fields like “purchase price,”

 “strategic importance [of the license] to TMO [T-Mobile]” and “potential TMO [T-Mobile]

 strategy” as to Albright. Id.

        5.      TDI also raised the fact that Academia improperly redacted at least 22 pages that

 were sent from, or sent to, T-Mobile or its counsel (both in-house and outside). See Ex. 3

 (Academia 00404-405, -00407-408, -00409-413, -00414-416, -00423-431).

        6.      Academia waited three weeks to respond substantively.            On May 9, 2022,

 Academia provided a log which it called a “Log of Academia/WCO Documents Withheld”

 (“Relevance Log”). See Ex. 4. 1 With respect to WCO’s “deal memo” concerning Albright,

 Academia did not assert that it was privileged, but rather stated that the key portions of it were

 redacted because it related to “transaction strategy.” See id. at 3 (row 11). Academia notably did

 not reference any authority to support any such redaction and did not explain how it could possibly

 redact this information, which plainly concerns Albright.

        7.      Because Academia has refused to budge, TDI brings this motion seeking an order

 compelling Academia to produce unredacted versions, as required by this Court’s Order.




 1
    On May 9, Academia produced 8 pages that it admits were improperly redacted. These
 documents, however, are entirely non-substantive; the newly unredacted information relates
 entirely to Albright’s counsel’s vacation plans, a subject that should never have been redacted in
 the first place.

                                                  4                       Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 628 of 703 Page
                                          ID #:2315



                                           ARGUMENT

 A.     Contrary to this Court’s Order, Academia Improperly Redacted Key Portions of
        WCO’s “Deal Memo” Concerning Albright.

        8.      This Court ordered Academia to produce documents regarding Albright, and

 Academia has failed to do so. See 4/14/2022 Order; see also 3/22/2022 Tr. 54:20-25 (ordering

 Academia to “produce all documents and communications regarding Albright, the Albright lease

 and the Albright license”). Specifically, Academia redacted key portions of the “deal memo” that

 WCO prepared for its contemplated Albright transaction. Ex. 2 (Academia 00230-33). Academia,

 in fact, redacted the only portions of the “deal memo” that actually matter to TDI’s lawsuit against

 Albright and the whistleblower’s allegations—fields addressing the “Purchase Price,” “Strategic

 Importance to TMO [T-Mobile]” and “potential TMO [T-Mobile] strategy.” Id.

        9.      Academia has no valid basis for its redaction of this key information that bears on

 WCO’s strategy vis-à-vis TDI and T-Mobile, as it relates to the Albright transaction. Academia

 asserts no valid privilege, but instead claims it can redact that information because it concerns

 “transaction strategy.” Ex. 4 (row 11). That is absurd. WCO’s transaction strategy as it relates to

 the Albright deal is at the core of that dispute, and the “deal memo” should be produced in

 unredacted form in its entirety. Nothing in the law or this Court’s Order permits Academia to

 redact information “concerning Albright,” which this Court expressly directed Academia to

 produce in full, no exceptions. See, e.g., Williams v. Big Picture Loans, LLC, No. 3:17-CV-461,

 2019 WL 8107922, at *2 (E.D. Va. May 28, 2019) (holding redaction of information “not allowed

 because that information is clearly relevant”).

        10.     Because Academia’s position on this document flies in the face of this Court’s

 Order, Academia should be ordered to produce the “deal memo” without redactions.




                                                   5                      Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25              Page 629 of 703 Page
                                         ID #:2316



 B.     T-Mobile Documents

        11.     Academia, for unknown reasons, also has redacted at least 14 pages of documents

 that were sent to or from T-Mobile. See Ex. 3 (Academia 00404-405, -00407-408, -00409-413, -

 00414-416, -00418-422, -00423-431). There is no reason why Academia should redact such

 documents, and TDI is at a loss for why Academia continues to refuse to produce them in

 unredacted form, after TDI called this category of documents out specifically in meet-and-confer

 correspondence. Academia logged them as documents responsive to TDI’s subpoena, and they

 should be required to produce them in full.

                                         CONCLUSION

        For all of these reasons, the Court should grant TDI’s motion and compel Academia to

 produce the 26 pages of documents referenced above in unredacted form. 2


                                               Respectfully Submitted,


                                               By:
                                                     Robert M. Tata (VA Bar No. 30101)
                                                     HUNTON ANDREWS KURTH LLP
                                                     500 East Main St., Suite 1301
                                                     Norfolk, Virginia 23510
                                                     Telephone: (757) 640-5328
                                                     Facsimile: (757) 625-7720
                                                     btata@huntonak.com

                                                     Kenneth J. Brown (VA Bar No. 48134)
                                                     R. Kennon Poteat, III (VA Bar No. 73324)
                                                     Denis R. Hurley (pro hav vice)
                                                     WILLIAMS & CONNOLLY LLP
                                                     725 Twelfth Street, N.W.
                                                     Washington, DC 20005
                                                     Telephone: (202) 434-5000

 2
    On May 9, 2022, Academia, for the first time, provided a privilege log of documents that it
 withheld in their entirety. This motion does not address such documents, but TDI reserves all
 rights and will undertake to meet and confer with Academia regarding certain problematic entries.

                                                 6                        Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25      Page 630 of 703 Page
                                   ID #:2317



                                       Facsimile: (202) 434-5029
                                       kbrown@wc.com
                                       kpoteat@wc.com
                                       dhurley@wc.com

                                       Attorneys for TDI Acquisition Sub LLC

 Dated: May 20, 2022




                                      7                      Certification Due Date: 09/09/2022
                                                                     Response Date: 09/16/2022
                                                                            Case ID: 220500629
                                                                          Control No.: 22090381
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25           Page 631 of 703 Page
                                        ID #:2318



                                CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2022, I caused a true and correct copy of the foregoing

 Plaintiff TDI Acquisition Sub LLC’s Motion to Compel Production of Documents That Academia

 Spectrum LLC Improperly Unredacted to be served upon the following parties via email and first

 class mail:

                                     Wyatt B, Durette, Jr.
                                     Durrette, Arkema, Gerson & Gill PC
                                     Bank of America Center
                                     1111 E. Main Street, 16th Floor
                                     Richmond, VA 23219
                                     wdurrette@dagglaw.com

                                     Maurice R. Mitts
                                     Mitts Law, LLC
                                     1822 Spruce Street
                                     Philadelphia, PA 19103
                                     mmitts@mittslaw.com



                                                     Robert M. Tata

 Dated: May 20, 2022




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                                                                               Response Date: 09/16/2022
                                                                                      Case ID: 220500629
                                                                                    Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 632 of 703 Page
                                   ID #:2319




                          Exhibit 1




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
   Case 2:23-cv-04347-AH-E            Document 149-3 Filed 05/30/25               Page 633 of 703 Page
                                               ID #:2320




R. KENNON POTEAT III
     (202) 434-5699




                                                 April 18, 2022

     Via Email

     Maurice Mitts
     Mitts Law, LLC
     1822 Spruce Street
     Philadelphia, PA 19103
     mmitts@mittslaw.com

             Re:       TDI Acquisition Sub LLC v. Albright College, Case No. CL21-3972
                       (Va. Beach Cir. Ct.)

     Dear Maurice:

            I write regarding Academia’s production of redacted documents in response to the
     subpoena served on it by TDI in the above-captioned matter. In total, Academia produced
     611 pages, 1 203 of which—or one third of the entire production—are completely or partially
     redacted. Most glaringly, Academia has improperly redacted documents about the Albright
     College transaction, which the Court ordered it to produce. In addition, Academia has either
     erroneously or improperly redacted several other categories of documents. We address each
     category of Academia’s problematic redactions below.

               1.     Albright College. At the March 22 hearing, the Court ordered Academia to
     produce all documents and communications “regarding Albright.” 3/22/2022 Tr. 54:20-25.
     Academia committed to do so. See id. 41:25-42:3. Nevertheless, Academia’s production reveals
     that it is concealing information about the Albright transaction through improper redaction. Based
     on our review, Academia has improperly redacted at least 88 such pages.

             Specifically, WCO prepared a “deal memo” for the Albright transaction, which it provided
     to Academia/Andreas Bitzarakis when WCO and Academia was working on the price to propose
     for Albright’s license. Academia 00230-233. The Albright “deal memo” concerns issues related
     solely to Albright, its license, and its lease with TDI, and discusses other strategic issues related to
     T-Mobile. Id. at 00231. But Academia redacted key portions of that “deal memo,” including

     1
      Even though Academia represented to the Court that it had only 70 pages of responsive material,
     see 3/22/22 Tr. 41:25-42:3, 42:5-6, Academia produced another 541 pages after the Court’s order.
                                                                                 Certification Due Date: 09/09/2022
                                                                                         Response Date: 09/16/2022
                                                                                                Case ID: 220500629
                                                                                              Control No.: 22090381
Case 2:23-cv-04347-AH-E          Document 149-3 Filed 05/30/25             Page 634 of 703 Page
                                          ID #:2321



 April 18, 2022
 Page 2

 fields like “strategic importance [of the license] to TMO [T-Mobile]” and “potential TMO [T-
 Mobile] strategy” as to Albright. Id. Academia has identified no basis for these redactions, and
 indeed, there is none. In trying to conceal this information from TDI, Academia is in breach of
 the Court’s Order. 2

         Academia also redacted part of an e-mail communication between Academia/Bitzarakis
 and Albright’s outside counsel Todd Gray, with the subject line “Albright.” Academia 00084-85.
 Bitzarakis and Gray were clearly discussing Albright, but Academia redacted entire messages
 within this email chain that not only included the content of the message but also the participants
 of those communications and the dates/times of particular transmissions. There does not appear
 to be any valid basis for this redaction, and we request that it be removed and the document
 produced in unredacted form, along with other documents with similar redactions in other copies
 of this same chain. See Academia 00013-14, -0015-17, -00018, -00020-21, -00023-24, -00027, -
 00128, -00131, -00133-134, -00135-137.

         WCO sent Academia/Bitzarakis a “Dashboard” PowerPoint presentation, dated August 25,
 2021, that contains pages related to Albright. See Academia 00574-581. In particular, the third
 slide addresses Albright specifically, but Academia has without any basis redacted the title of that
 slide. Id. 00578. That redaction should be removed, as it prevents TDI from fully understanding
 the content and context of the slide. The same is true for the completely redacted “Dashboard” at
 Academia 00540-543. Other documents regarding Albright with problematic redactions of titles
 of pages that should be removed include Academia 00191, -00217-218, -00223-225.

        Academia redacted another e-mail communication with Gray that occurred on May 28,
 2021, the day TDI filed its lawsuit against Albright in Pennsylvania. See Academia 00173.
 Academia employed a broad, block redaction for e-mail communications that occurred after Gray
 informed WCO about that lawsuit, such that we cannot tell who was involved in any of those
 subsequent discussions. Id.

        Lastly on this topic, Academia appears to have erroneously or improperly redacted certain
 other documents specifically about Albright. See Academia 00010, -00053, -00179, -00335-341,
 -00488, -00496-500, -00513, -00519, -00528, -00530, -00537, -00538-543, -00556-564, 00583, -
 00594-601.

         2.      T-Mobile. Academia produced in redacted form at least 14 pages that were sent
 from, or sent to, T-Mobile or its counsel (both in-house and outside). See Academia 00404-405, -
 00407-408, -00409-413, -00414-416, -00418-422, -00423-431. Academia does not provide any
 basis for these redactions, and there does not appear to be any.




 2
  Academia redacted “deal memos” in other documents as well. To the extent any such memos
 concern Albright, they must be produced in unredacted form. See Academia 00433-479.
                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E         Document 149-3 Filed 05/30/25             Page 635 of 703 Page
                                         ID #:2322



 April 18, 2022
 Page 3

         3.     Third Parties. Academia produced in redacted form many pages that appear to
 include other third parties. Specifically, Academia redacted e-mails/attachments involving Tyler
 Kratz (tmkratz@gmail.com), Alex Russo (alex.russo@mtholdings.net), David Walsh, Jim Simril,
 and Brian Nelson (Brian.Nelson@ccisd.us). See, e.g., Academia 00180 (Kratz), -00230-236
 (Kratz), -00415-416 (Nelson), -00496-500 (Kratz), -00501-503 (Kratz), -00512-513 (Kratz), -
 00514-517 (Kratz), -00518-519 (Kratz), -00520-523 (Kratz), -00527-528 (Kratz), -00529-530
 (Kratz), -00531-535 (Kratz, Simril), -00536-537 (Kratz, Simril), -00538-543 (Kratz), -00574-581
 (Russo, Walsh), -00582-592 (Russo, Walsh), -00602-603 (Walsh), -00604-611 (Russo, Walsh).
 Academia has provided no basis for these redactions, and there does not appear to be any.

         4.     Documents and Communications Redacted for Relevance. Many pages of
 Academia’s production are entirely or nearly entirely redacted, without any explanation
 whatsoever. See, e.g., Academia 000038, -000080-83, -000088-95, -000099-124, -00152-55, -
 00173, -00179, -00186-211, -00217-25, -00234-36, -00238-47, -00256-67, -00279, -00289, -
 00299-302, -00304-313, -00315-322, -00325-333, -00335-341, -00344-351, -00362, -00373-374,
 -00393-398, -00404, -00411-414, -00416, -00418-422, -00433-479, -00490-495, -00497-500, -
 00502-503, -00508-510, -00513, -00515-517, -00519, -00521-23, -00528, -00530, -00532-535, -
 00537, -00539, -00541-543, -00557-564, -00572-573, -00576-581, -00583, -00585-592, -00594-
 601, -00603, -00606-611. To the extent any of these redactions are based on relevance, they are
 improper, as a legal matter. Williams v. Big Picture Loans, LLC, No. 3:17-CV-461, 2019 WL
 8107922, at *2 (E.D. Va. May 28, 2019); (“[T]he general rule is that redactions based
 on relevance is a generally disfavored process.”); Christine Asia Co. v. Alibaba Grp. Holding Ltd.,
 327 F.R.D. 52, 54 (S.D.N.Y. 2018) (producing party’s redactions “based on that party’s unilateral
 determinations of relevancy” improper); Durling v. Papa John’s Int’l, Inc., No. 16-CV-03592 (CS)
 (JCM), 2018 WL 557915, at *9 (S.D.N.Y. Jan. 24, 2018) (“Redactions on grounds of non-
 responsiveness or irrelevance are generally impermissible”). To the extent a document concerns
 the Albright transaction, which we understand each of these do given the nature of Academia’s
 production, then Academia cannot redact all or portions of them based on relevance.

         Please immediately produce the foregoing documents in unredacted form, or explain the
 privilege that underlies any such redaction you seek to defend. If such a production is not made
 by April 25, we will understand that we should bring this issue to the Court’s attention for
 resolution.

                                                      Sincerely,

                                                      /s/ R. Kennon Poteat III

                                                      R. Kennon Poteat III




                                                                          Certification Due Date: 09/09/2022
                                                                                  Response Date: 09/16/2022
                                                                                         Case ID: 220500629
                                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E        Document 149-3 Filed 05/30/25   Page 636 of 703 Page
                                        ID #:2323



 April 18, 2022
 Page 4

 cc:    Wyatt B. Durrette, Jr., Esq.
        Bank Of America Center
        1111 East Main Street, 16th Floor
        Richmond, VA 23219
        wdurrette@dagglaw.com
        Counsel for Academia

        Robert M. Tata
        Hunton Andrews Kurth LLP
        500 East Main Street, Suite 1301
        Norfolk, VA 23510
        btata@HuntonAK.com
        Counsel for TDI




                                                               Certification Due Date: 09/09/2022
                                                                       Response Date: 09/16/2022
                                                                              Case ID: 220500629
                                                                            Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 637 of 703 Page
                                   ID #:2324




                          Exhibit 2




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                   Page 638 of 703 Page
                                                     ID #:2325


Htqo<                             Ocvvjgy!Dnqej!>odnqejBykppkemeq/eqo@
Ugpv<                             Oqpfc{-!Hgdtwct{!33-!3132!4<41!RO
Vq<                               Ict{!!Ykppkem=!Ectn!Mcvgtpfcjn=!V{ngt!Mtcv|=!Cpftgcu!Dkv|ctcmku
Uwdlgev<                          Fgcn!Ogoqu!.!Cndtkijv!
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                                                                                            Certification Due Date: 09/09/2022
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                                                                                                           Case ID: 220500629
                                                                                                         Control No.:00230
                                                                                                           Academia   22090381
       Case 2:23-cv-04347-AH-E              Document 149-3 Filed 05/30/25                  Page 639 of 703 Page
                                                     ID #:2326
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Fcvg<!302703132!
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         Nkegpug!Jqnfgt!Uwooct{!      !
         Nkegpug!Jqnfgt!              Cndtkijv!Eqnngig!
         Nqecvkqp!                    Tgcfkpi-!RC!
         Nkegpug!Jqnfgt!Fguetkrvkqp!  Rtkxcvg!nkdgtcn!ctvu!eqnngig!kp!Tgcfkpi/!Chhknkcvgf!ykvj!Wpkvgf!
                                      Ogvjqfkuv!Ejwtej!
         Ncy{gt!                      Vqff!Itc{!
         Eqpvcevu!                    Lghhtg{!Uvcfgt!
         Uwooct{!qh!Fkuewuukqpu!      Tgcf{!vq!oqxg!hqtyctf!cv!ecne!qwvrwv!
         Ygdukvg!                     yyy/cndtkijv/gfw!
         Nkpm!vq!Ocpcigogpv!0!Dqctf!! jvvru<00yyy/cndtkijv/gfw0cdqwv.cndtkijv0dqctf.qh.vtwuvggu0!
         !                            !
         Nkegpug!Uwooct{!             !
         Ecnn!Ukipu!0!Tgikqpu!        YPF586!
         Ecrcekv{!)OJ|*!              33/6!OJ|!
         RQRu!                        2-516-988!
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         Rwtejcug!Rtkeg!                                                                               !
         Rtkekpi!)%0OJ|.RQR*!         %/62!OJ|.RQR!
         Uwo!qh!tgockp/!ngcug!r{ovu/! P0C!
         [kgnf!                       5&!
         Nguugg!                      VFK!Ceswkukvkqp!Uwd-!NNE!
         Ngcug!Vgtou!                 Ngcug!Eqoogpegogpv<!503118-!Gzrktcvkqp!503148!
         TQHT!                        [gu-!cu!ygnn!cu!vjktf.rctv{!gzenwukxkv{!ectxg!qwv!
         !                            !
         Vtcpucevkqp!Uvtcvgi{!        !
         Fkuenquwtg!Tgswktgogpvu!     !
         Octmgv!Cpcn{uku!                                                                                    !
         Ejcppgn!Itqwr!                    !
         Uvtcvgike!Korqtvcpeg!vq!VOQ!                                                                            !
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         Vtcpucevkqp!Uvcvwu!          !
         PFC!                         3027032!
         Wpukipgf!Qhhgt!              !
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         TQHT!                        !
         Pgzv!Uvgru!                  !
         Eqoogpvct{!                  !
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                                                                                           Certification Due Date: 09/09/2022
                                                                                                   Response Date: 09/16/2022
                                                                                                          Case ID: 220500629
                                                                                                        Control No.:00231
                                                                                                          Academia   22090381
    Case 2:23-cv-04347-AH-E     Document 149-3 Filed 05/30/25           Page 640 of 703 Page
                                         ID #:2327
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     Kpxguvogpv!Eqookvvgg!    KE!Crrtqxcn!2<!Wpukipgf!Qhhgt!   KE!Crrtqxcn!3<!Ukipgf!Qhhgt!
     Fcvg<!                                 ]Fcvg_!                      ]Fcvg_!
     Ict{!Ykppkem!                         ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ectn!Mcvgtpfcjn!                      ]Kpkvkcn_!                   ]Kpkvkcn_!
     Ocvvjgy!Dnqej!                        ]Kpkvkcn_!                   ]Kpkvkcn_!
     Cpftgcu!Dkv|ctcmku!                   ]Kpkvkcn_!                   ]Kpkvkcn_!
     V{ngt!Mtcv|!                          ]Kpkvkcn_!                   ]Kpkvkcn_!
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                                                                       Certification Due Date: 09/09/2022
                                                                               Response Date: 09/16/2022
                                                                                      Case ID: 220500629
                                                                                    Control No.:00232
                                                                                      Academia   22090381
    Case 2:23-cv-04347-AH-E                                                                       Document 149-3 Filed 05/30/25   Page 641 of 703 Page
                                                                                                           ID #:2328




                                                                                                                                                         FTU!736
                                 Pq!Oqfgn!Etgcvgf!!Dgecwug!pq!ceeguu!vq!hkpcpekcn!kphqtocvkqp!
    ]Kpugtv!Oqfgn!Qwvrwv_!

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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 642 of 703 Page
                                   ID #:2329




                          Exhibit 3




                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 643 of 703 Page
                                   ID #:2330




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00404
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25          Page 644 of 703 Page
                                   ID #:2331




                     23;31!UG!49vj Uvtggv-!Dgnngxwg-!YC!!;9117
                               yyy/v.oqdkng/eqo
                                                                       FTU!936
                                                                 Certification Due Date: 09/09/2022
                                                                         Response Date: 09/16/2022
                                                                                Case ID: 220500629
                                                                              Control No.:00405
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 645 of 703 Page
                                   ID #:2332


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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25           Page 646 of 703 Page
                                   ID #:2333
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                     23;31!UG!49vj!Uvtggv-!Dgnngxwg-!YC!!;9117!
                                yyy/v.oqdkng/eqo!
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                                                                  Certification Due Date: 09/09/2022
                                                                          Response Date: 09/16/2022
                                                                                 Case ID: 220500629
                                                                               Control No.:00408
                                                                                 Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 647 of 703 Page
                                   ID #:2334




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00409
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 648 of 703 Page
                                   ID #:2335




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00410
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 649 of 703 Page
                                   ID #:2336




                                                                FTU!942
                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00411
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 650 of 703 Page
                                   ID #:2337




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00412
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 651 of 703 Page
                                   ID #:2338




                                                                FTU!944
                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00413
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 652 of 703 Page
                                   ID #:2339




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00414
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 653 of 703 Page
                                   ID #:2340




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00415
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 654 of 703 Page
                                   ID #:2341




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00416
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 655 of 703 Page
                                   ID #:2342




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00423
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 656 of 703 Page
                                   ID #:2343




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00424
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 657 of 703 Page
                                   ID #:2344




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                                                          Certification Due Date: 09/09/2022
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                                                                         Case ID: 220500629
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                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 658 of 703 Page
                                   ID #:2345




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00426
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 659 of 703 Page
                                   ID #:2346




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00427
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 660 of 703 Page
                                   ID #:2347




                                                                FTU!959
                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00428
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 661 of 703 Page
                                   ID #:2348




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00429
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 662 of 703 Page
                                   ID #:2349




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                                                          Certification Due Date: 09/09/2022
                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.:00430
                                                                         Academia   22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 663 of 703 Page
                                   ID #:2350




                                                                FTU!962
                                                          Certification Due Date: 09/09/2022
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                                                                         Case ID: 220500629
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Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 664 of 703 Page
                                   ID #:2351




                          Exhibit 4




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                                                                  Response Date: 09/16/2022
                                                                         Case ID: 220500629
                                                                       Control No.: 22090381
      Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25              Page 665 of 703 Page
                                          ID #:2352




        TDI ACQUISITION SUB. LLC, v. ALBRIGHT COLLEGE
                CIRCUIT COURT OF THE COUNTY OF VIRGINIA BEACH
                                 No. CL21-3972
Log of Academia/Albright/WCO Documents Withheld per Judge West’s March 22, 2022, Order
No.          DATE           FROM                   TO           Subject Matter         DESCRIPTION        BATES NO.
 1.         1/5/21     Andreas Bitzarakis   Sylvia Kim, Gary       Unrelated          Email Chain: re       00076
                                            Winnick, Mathew     Business Activity       updates on
                                               Bloch, Carl                          unrelated business
                                            Katerndahl, Tyler                           opportunity
                                                  Kratz
 2.         1/8/21     Andreas Bitzarakis      Sylvia Kim          Unrelated         Email re: draft of   00080-00083
                                                                Business Activity       report on
                                                                                    unrelated business
                                                                                       opportunity

 3.         1/25/21     Mathew Bloch        Sylvia Kim, Gary       Unrelated          WCO Pipeline        00087-00095
                                            Winnick, Mathew     Business Activity    Report (Albright
                                               Bloch, Carl                             Information
                                            Katerndahl, Tyler                         unredacted)
                                             Kratz, Andreas
                                               Bitzarakis,
                                              Saurabh Suri
 4.         2/2/21      Mathew Bloch        Sylvia Kim, Gary       Unrelated          WCO Pipeline        00098-00124
                                            Winnick, Mathew     Business Activity    Report (Albright
                                               Bloch, Carl                             Information
                                            Katerndahl, Tyler                         unredacted)
                                             Kratz, Andreas
                                               Bitzarakis,
                                              Saurabh Suri


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                                                                                                       Response Date: 09/16/2022
                                                                                                              Case ID: 220500629
                                                                                                            Control No.: 22090381
      Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25               Page 666 of 703 Page
                                          ID #:2353



11.        2/22/21      Matthew Bloch            Andreas            Unrelated          Email re: Deal      00230-00236
                                             Bitzarakis, Gary    Business Activity   memo for Albright
                                             Winnick, Tyler                            and Unrelated
                                             Kratz, Esq., Carl                       Licensee (Albright
                                               Katerndahl                               Information
                                                                                        unredacted)
                                                                                        (Transaction
                                                                                      Strategy Section
                                                                                          redacted)
12.        2/23/21      Mathew Bloch          Gary Winnick,         Unrelated         Pipeline Report      00238-00247
                                                 Andreas         Business Activity         (Albright
                                             Bitzarakis, Tyler                          Information
                                             Kratz, Esq., Carl                          unredacted)
                                               Katerndahl,
                                              Saurabh Suri,
                                            Sylvia Kim, Roger
                                                 Jackson

13.        2/26/21     Andreas Bitzarakis    Mathew Bloch           Unrelated        Email re: Offer for   00258-00278
                                                                 Business Activity      Albright and
                                                                                     Unrelated Licensee
                                                                                          (Albright
                                                                                        information
                                                                                        unredacted)
14.        2/26/21      Todd Gray, Esq.     Andreas Bitzarakis      Unrelated        Email re: Offer for   00279, 00289
                                                                 Business Activity      Albright and
                                                                                     Unrelated Licensee
                                                                                          (Albright
                                                                                        information
                                                                                        unredacted)
15.        2/28/21     Andreas Bitzarakis    Todd Gray, Esq.        Unrelated        Email re: Offer for   00299-00301
                                                                 Business Activity   Unrelated Licensee
16.         3/2/21      Mathew Bloch        Gary Winnick; Carl      Unrelated         WCOS Pipeline        00304-00313
                                            Katerndahl; Tyler    Business Activity       Summary

                                                                                                Certification Due Date: 09/09/2022
                                                                                                        Response Date: 09/16/2022
                                                                                                               Case ID: 220500629
                                                                                                             Control No.: 22090381
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 667 of 703 Page
                                   ID #:2354




                          Exhibit 15
     Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25     Page 668 of 703 Page
                                         ID #:2355
                                                                                   1



1                           IN THE COURT OF COMMON PLEAS
                      FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
2                            CIVIL TRIAL DIVISION
                                        - - -
3
         T-MOBILE U.S. INC., et al,                  :       NO. 220500629
4                 Plaintiffs,                        :
                                                     :
5                V.                                  :
                                                     :
6        WCO SPECTRUM, LLC, et al                    :
                                                     :
7                      Defendants.                   :
                                             -   -       -
8
                                    Virtual Courtroom, City Hall
9                                  Philadelphia, Pennsylvania
10                                               -   -       -
11                                           November 10, 2022
12                                               -       -    -
13       B E F O R E:          THE HONORABLE PAULA A. PATRICK, J.
14
15
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                               Nicole Masciantonio, RPR
     Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 669 of 703 Page
                                        ID #:2356
                                                                                2



1        APPEARANCES:
2                                       PLAINTIFFS
3
                           BY:    STEVEN J. ENGELMYER, ESQUIRE
4                                Counsel for T-Mobile
5
6                         BY:     KENNON POTEAT, ESQUIRE
                                 KENNETH BROWN, ESQUIRE
7                                Counsel for T-Mobile U.S. Inc.
                                 Clear Wire Spectrum
8                                Fixed Wireless
                                 NSAC
9                                TDI Acquisition
                                 WBS Licensing
10
11                                        DEFENDANTS
12                         BY:   MAURICE R. MITTS, ESQUIRE
                                 Counsel for WCO Spectrum
13                               Academia Spectrum
                                 Carl Katerndahl
14                               Gary Winnick
                                 Andreas Bitzarkis
15                               Tyler Krantz
16
17                        BY: GERALD MCCABE
                              Counsel for SCH
18                            Ashok Vasudevan
19
20
21
22
23
24
25                                THE COURT CRIER:        Since we have a


                               Nicole Masciantonio, RPR
     Case 2:23-cv-04347-AH-E    Document 149-3 Filed 05/30/25   Page 670 of 703 Page
                                         ID #:2357
                                                                                42



1                    course, we're here and whatever happened
2                    here, whatever.         I'm saying to you, file the
3                    complaint if you have something.               The
4                    defendants did not issue rule to file a
5                    complainant, but, yet, you come to court
6                    looking for pre-complaint discovery and I'm
7                    not inclined to give that, not at all.
8                                    And if this case is what you say
9                    it is or should be, and you have this
10                   whistleblower who has information, then you
11                   should have enough information to file the
12                   complaint.        If you don't, then I don't know
13                   what else to tell you.            If there's other
14                   different cases that you have been involved
15                   in with some of the same issues, then so be
16                   it.       But I can tell you real clear, I am not
17                   inclined to give pre-complaint discovery on
18                   this matter.
19                                   It's up to you whether you want
20                   to file a complaint.           But today what I'm
21                   doing is I'm denying your motion for
22                   pre-complaint discovery.
23                                   That's the order of the Court.
24                                   MR. MCCABE:      We also have a
25                   motion for a protective order.


                               Nicole Masciantonio, RPR
     Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 671 of 703 Page
                                        ID #:2358
                                                                               44



1                                      CERTIFICATE
2
3                                   I hereby certify that the
4                    proceedings and evidence are contained fully
5                    and accurately in the notes taken by me on
6                    the trial of the above cause, and this copy
7                    is a correct transcript of the same.
8
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11                             NICOLE L. MASCIANTONIO, RPR
12                               OFFICIAL COURT REPORTER
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15                                  (The foregoing certification of
16                   this transcript does not apply to any
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                               Nicole Masciantonio, RPR
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 672 of 703 Page
                                   ID #:2359




                          Exhibit 16
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG      149-3
                               Doc#:l   Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          1 of 13.   673 of 703 Page
                                                                   PagelD#:!
                                    ID #:2360




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


   CLEARWIRE SPECTRUM HOLDINGS H                       CASE NO.
   LLC
   12920 SE 38th Street                                JUDGE
   Bellevue, Washington 98006,

                                  Plaintiff,

                  v.

  LORAIN COUNTY COMMUNITY                              COMPLAINT
  COLLEGE
  1005 North Abbe Road
  Elyria, Ohio 44035,

                                  Defendant.



        Plaintiff Clearwire Spectrum Holdings II LLC (“Clearwire II”), by its undersigned counsel,

brings this complaint to remedy multiple breaches of contract by Defendant Lorain County

Community College (“LCCC”).

                                   NATURE OF THE ACTION

        1.      LCCC holds a Federal Communications Commission (“FCC”) license to use four

unique “channels” of radio frequency in the Cleveland, Ohio area (the “License”). These licensed

channels are part of the Educational Broadband Service (“EBS”), which is a range of spectrum

that the FCC historically has licensed only to educational entities. Those entities, in turn, typically

have leased the spectrum capacity authorized by their licenses to commercial entities.

       2.       Clearwire II is a subsidiary of T-Mobile US, Inc. (“T-Mobile”), a company that

provides wireless communications services to more than one hundred million customers across the

United States. Clearwire Il’s business is to acquire and hold spectrum use rights for itself and

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Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG      149-3
                               Doc#:l   Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          2 of 13.   674 of#:703
                                                                   PagelD     2  Page
                                    ID #:2361



other T-Mobile affiliates. Since 2007, LCCC has leased to Clearwire II the excess capacity on

three of the four licensed channels at issue (the “Channels”) pursuant to a written lease agreement

with a 30-year term (the “Lease Agreement”), a copy of which is attached hereto as Exhibit A.1

        3.      The Lease Agreement guarantees that Clearwire II will make payments to LCCC

and, in exchange, LCCC will provide various rights to Clearwire II. One of those rights is the

right to deal exclusively with LCCC concerning the Channels during the lease term, which

precludes LCCC from negotiating to sell and/or selling the License to any third party. It is

critically important to Clearwire II to know who its contract counterparty will be for the full

duration of the term. This is true for numerous reasons, including that it minimizes risk to T-

Mobile’s network. For example, if an EBS licensee goes bankrupt, T-Mobile may lose its lease

and corresponding ability to broadcast over that spectrum. Thus, when entering into a lease

agreement, T-Mobile considers the outlook of its potential counterparty and bargains to keep that

counterparty. T-Mobile also has a strong interest in eliminating reputational and other risks

associated with being forced into a business relationship with a counterparty not of its choosing.

Accordingly, the Lease Agreement’s exclusivity provision prohibits LCCC from “negotiat[ing] or

contract[ing] with any third party”—i.e., any party other than Clearwire II—“to lease, sell, assign,

transfer or use any of the Capacity of the Channels” for the entirety of the 30-year term, unless

Clearwire II decides not to renew the lease at any point. Ex. A § 3(a). The only exception to this

prohibition is that LCCC may negotiate or contract with third parties to sell the License during the

last 90 days of the term. See id.




1 Clearwire II has filed the Lease Agreement with minor redactions to prevent the disclosure of
Clearwire Il’s confidential trade secret information contained in its EBS lease agreements. See
Ex. A § 14 (“CONFIDENTIALITY AND NON-DISCLOSURE”).
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Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG      149-3
                               Doc#:l   Filed:Filed 05/30/25
                                                04/14/23        Page
                                                          3 of 13.   675 of#:703
                                                                   PagelD     3  Page
                                    ID #:2362



         4.        The parties performed under the Lease Agreement for more than a decade without

 incident.

        5.         In April 2020, however, a new FCC rule went into effect that allows commercial

 entities to directly buy, sell, and hold EBS spectrum licenses. While the FCC rules changed, the

Lease Agreement’s prohibition on negotiating and contracting for a sale of the License did not.

        6.     In 2021, LCCC was approached by a third party—WCO Spectrum LLC

(“WCO”)—about purchasing LCCC’s License, notwithstanding LCCC’s contractual commitment

to Clearwire II.

        7.     On August 10,2021, WCO made its first non-binding proposal to purchase LCCC’s

License for $14.75 million. LCCC informed Clearwire II of that purported offer, and asked if

Clearwire II was interested in acquiring the License. LCCC sought approximately $18 million for

the License. Clearwire II declined to pay that amount and reminded LCCC of its exclusivity

obligations under the Lease Agreement.

        8.     Despite that reminder, LCCC continued to engage with WCO. On March 16,2023,

LCCC sent Clearwire II a letter stating that WCO supposedly had offered to pay LCCC

$20.1 million for the License, approximately 10% more than the amount LCCC previously had

indicated it would accept from Clearwire II. WCO apparently had extended that purported offer

on January 12, 2022, but LCCC and WCO continued to negotiate throughout 2022, and entered

into various agreements with one another related to the negotiations and potential transaction.

After receiving LCCC’s letter, Clearwire II promptly informed LCCC that, under Section 3(a) of

the Lease Agreement, no sale was permitted because Clearwire II had not notified LCCC that it

would not renew the Lease Agreement. To the contrary, Clearwire II intends to perform under the

Lease Agreement for the entirety of the lease term, as it may be extended from time to time. LCCC,



                                                 3
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG Doc #:149-3
                                      1 Filed: Filed 05/30/25
                                                04/14/23        Page
                                                          4 of 13.   676 of
                                                                   PagelD #: 703
                                                                              4  Page
                                     ID #:2363



however, refused to comply with its exclusivity obligation and threatened to proceed with a sale

of the License to WCO on or about April 15, 2023. This would upend the parties’ agreement to

give Clearwire II the right to contract exclusively with LCCC with respect to the Channels for at

least 14 more years. In taking that position, LCCC never addressed how it could possibly complete

a transaction with WCO without violating the exclusivity provision to which it agreed in 2007.

        9.     Thus, LCCC has both negotiated a sale of the License with WCO and is threatening

to complete such a prohibited transaction unless Clearwire II matches WCO’s supposed offer.

Because LCCC’s conduct flatly breaches the exclusivity provision of the Lease Agreement, LCCC

should be prohibited from entering into any such transaction with WCO.

                                           PARTIES

        10.    Plaintiff Clearwire Spectrum Holdings II LLC is a limited liability company

organized under the laws of Delaware, with a principal office at 12920 SE 38th Street, Bellevue,

Washington, 98006. Clearwire Il’s sole member is Clearwire Legacy LLC, a limited liability

company organized under the laws of Delaware.         Clearwire Legacy LLC’s sole member is

Clearwire Communications LLC, a limited liability company organized under the laws of

Delaware. Clearwire Communications LLC’s sole member is Sprint Communications LLC, a

limited liability company organized under the laws of Delaware. Sprint Communications LLC’s

sole member is Sprint LLC, a limited liability company organized under the laws of Delaware.

Sprint LLC’s sole member is T-Mobile USA, Inc., a Delaware corporation with its principal place

of business located at 12920 SE 38th Street, Bellevue, Washington 98006. Accordingly, Clearwire

II is a citizen of Delaware, Washington, and no other state. Clearwire II is a T-Mobile subsidiary

that leases EBS spectrum from educational institutions.




                                                4
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG Doc #:149-3
                                      1 Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          5 of 13.   677 of#:703
                                                                   PagelD     5  Page
                                    ID #:2364



         11.      Defendant LCCC is a public community college in Elyria, Ohio, with its main

address at 1005 N. Abbe Road, Elyria, Ohio 44035. Accordingly, LCCC is a citizen of Ohio and

no other state.

                                   JURISDICTION AND VENUE

        12.       This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a) because the

matter in controversy exceeds the sum or value of $75,000, exclusive of interests and costs, and

the claims are between citizens of different states. Plaintiff Clearwire II is a citizen of Delaware,

Washington, and no other state. Defendant LCCC is a citizen of Ohio and no other state.

        13.       Personal jurisdiction is proper over LCCC in this district because LCCC exists in

Ohio, its principal place of business is in Ohio, and it committed the acts complained of in Ohio.

        14.       Venue is proper in this court under 28 U.S.C. § 1391(b) because LCCC resides in

this District, a substantial part of the events giving rise to the claim occurred in this District, and a

substantial part of the property that is the subject of the action is situated in this District.

                                   STATEMENT OF THE CASE

        A.        The License to the Cleveland Spectrum

        15.       LCCC has long held a license to use four unique channels of radio-frequency

spectrum in the Cleveland, Ohio, area. The channels are designated Gl, G2, G3, and G4 under

FCC “call sign” WHR777.

        16.       The licensed channels are part of the EBS, which is a range of spectrum that the

FCC historically has licensed to educational and/or non-profit organizations.

        17.       There are 20 EBS channels in any particular geographic area. They fall within the

band of spectrum from 2496 to 2690 MHz, commonly referred to as the “2.5 GHz” spectrum band.

        18.       Prior to April 2020, FCC regulations allowed only non-commercial entities that

provided educational services to hold EBS spectrum licenses. In re Transforming the 2.5 GHz

                                                    5
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG      149-3
                               Doc#:l   Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          6 of 13.   678 of#:703
                                                                   PagelD     6  Page
                                    ID #:2365



Band, 34 FCC Red. 5446, 5448 (2019), 2019 WL 3065514. The FCC, however, permitted EBS

 licensees—most of which lack the technical knowledge, expertise, and infrastructure to operate a

telecommunications network—to lease all but five percent of the spectrum authorized by their

licenses to commercial entities like Clearwire II. See id. As of 2019, nearly all of the 1,300 EBS

licensees had leased their excess capacity. See id. These leases took spectrum that otherwise

would have gone unused and put it to work supporting modem, high-speed broadband and

telecommunications services. See id.

        B.      The October 2007 Lease Agreement

        19.     On October 22, 2007, LCCC and Clearwire II entered into a Lease Agreement for

the spectrum capacity authorized by the License for three of the licensed channels (Gl, G2, and

G3). See Ex. A. The Lease Agreement’s maximum term is through 2037.

        20.    The parties operated under the Lease Agreement for the first 15 years of its duration

without incident.

        21.    Under the Lease Agreement, LCCC grants Clearwire II the right to use three of the

Channels under the License in exchange for an initial fee and monthly payments during the term.

Clearwire II has timely made all of these payments without issue.

       22.     The Lease Agreement contains an exclusivity provision that, as relevant here,

prohibits LCCC from “negotiat[ing] with or contract[ing] with any third party to lease, sell, assign,

transfer or use any of the capacity of the Channels.” Ex. A § 3(a). This provision prohibits LCCC

from transferring, or negotiating to transfer, the License to anyone other than Clearwire II.

       23.     The only exception is that, “if [Clearwire II] notifies Licensee that it has elected not

to renew the Agreement, in accordance with Section 1(b), Licensee shall have the ability during

the ninety (90) days immediately preceding the effective date of such termination to negotiate and



                                                  6
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG Doc #:149-3
                                      1 Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          7 of 13.   679 of#:703
                                                                   PagelD     7  Page
                                    ID #:2366



 contract with any third party with respect to any period following the end of this Agreement, so

 long as Licensee complies with the Right of First Refusal set forth in Section 3(b).” Id.

        24.     In agreeing to the exclusivity provision in Section 3(a), LCCC promised Clearwire

II that LCCC would be the exclusive holder of the License for the entire duration of the term,

unless Clearwire II elected not to renew the lease.

        25.     Clearwire II has not notified Licensee that it has elected not to renew the Lease

Agreement. To the contrary, Clearwire II intends to continue performing under that agreement for

the entire lease term, as it may be extended from time to time.

        C.      The FCC Changes the Rules for Holding EBS Licenses

        26.    Effective April 27, 2020, the FCC eliminated the educational-use requirement for

EBS licenses, thereby permitting commercial entities to hold such licenses. According to the FCC,

this change was enacted because “technological changes over the last 30 years enable any educator

with a broadband connection to access a myriad of educational resources.” In re Transforming the

2.5 GHz Band, 34 FCC Red. at 5451. Hence, “[o]nly a handful of EBS licensees ha[d] deployed

their own networks or use[d] their EBS licenses in a way that require[d] dedicated spectrum.” Id.

Instead, most licensees “reified] on lessees [such as Clearwire II] to deploy and operate broadband

networks and use[d] the leases as a source for revenues or devices.” Id.

        27.    WCO is a private company owned and controlled by billionaire Gary Winnick. See

About WCO Spectrum LLC, WCO Spectrum, https://www.wcospectrum.com/about-wco-

spectrum (last visited Mar. 27, 2023). WCO portrays itself as an “investor” in EBS spectrum

licenses. Since the FCC rule change, WCO has sent at least dozens of institutions “Non-Binding

Term Sheets” in which it purportedly offered to buy their EBS licenses, without regard for whether

the terms of the underlying contracts permit such purchases.



                                                 7
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG Doc #:149-3
                                      1 Filed:Filed 05/30/25
                                               04/14/23         Page
                                                          8 of 13.   680 of#:703
                                                                   PagelD     8  Page
                                    ID #:2367



        D.              WCO Makes Its First Non-Binding Offer to LCCC

        28.    On May 10, 2021, WCO apparently made its first entreaty to LCCC about a

potential purchase of its License.

        29.    On August 10, 2021, LCCC, through its outside counsel, Louis J. Licata, Esq.,

informed Heather Brown, Esq., in-house counsel for Clearwire II, that it had received an

“unsolicited” offer to purchase the License. Mr. Licata stated that he represented LCCC in a

“potential transaction” involving the License.

        30.    Later that day, Mr. Licata provided Ms. Brown with a copy of the purported “offer

letter” LCCC had received. The letter, which was one-page long and dated May 10, 2021, showed

that the purported offeror was WCO and that the purported offer was for $ 14.75 million. The offer

was for the entire License WHR777 and did not specify individual Channels.

        31.    In late 2021, in discussions with Clearwire II, LCCC suggested that Clearwire II

should offer $18 million for the License. Clearwire II declined to pay that amount.

       E.              WCO Makes a Second, Higher Non-Binding Offer to LCCC

       32.     More than one year later, and after further discussions and negotiations between

LCCC and WCO, on March 16, 2023, Lee G. Petro, Esq., another lawyer for LCCC, notified

Clearwire II that LCCC had received a new, higher non-binding offer from WCO for the License,

this time for $20.1 million. This amount was approximately 10% more than the $ 18 million LCCC

previously had suggested it would accept in discussions with Clearwire II.

       33.     The materials provided by LCCC showed that WCO sent an offer to LCCC to

purchase the License (again covering all four channels) for $20.1 million on January 12,2022. On

March 25, 2022, LCCC’s Board of Trustees supposedly considered WCO’s purported offer and

voted to authorize LCCC staff to execute any documents “necessary to effectuate and finalize the

transaction.” LCCC then had further discussions with WCO, and received a purported offer letter

                                                 8
Case 2:23-cv-04347-AH-E    Document
        Case: l:23-cv-00752-JG Doc #:149-3
                                      1 Filed:Filed 05/30/25
                                                04/14/23        Page
                                                          9 of 13.   681 of#:703
                                                                   PagelD     9  Page
                                    ID #:2368



 from WCO on March 28, 2022. A short time later, LCCC entered into agreements with WCO that

 WCO demanded as part of their negotiation. Indeed, Clearwire II has learned recently that LCCC

 and WCO negotiated and entered into a so-called Commitment Cost Agreement on July 20, 2022.

 The Commitment Cost Agreement provides that if Clearwire II were to match WCO’s purported

 offer and purchase the License for $20.1 million, then LCCC would owe WCO $2.01 million(10%

 of the purchase price), with LCCC netting about $18 million (the amount it was seeking in

 negotiations). After entering into that contract with WCO, LCCC subsequently requested a “Proof

of Funds Letter” from WCO. In further discussions between LCCC and WCO, WCO supposedly

promised to provide LCCC with such a letter by August 5,2022, but failed to do so. Even though

WCO missed that deadline, LCCC engaged in additional discussions with WCO, and WCO

eventually provided a letter to LCCC seven months later in early 2023.

        34.     After that extended back and forth between LCCC and WCO, in March 2023,

LCCC informed Clearwire II that LCCC intended to accept WCO’s purported $20.1 million

offer—which unlike before, LCCC notably did not describe as “unsolicited”—unless Clearwire II

provided notice that it intended to match the offer “within thirty (30) days,” or by April 15, 2023.

        35.     In direct breach of Section 3(a), LCCC is attempting to foist upon Clearwire II a

choice that it specifically contracted to avoid: Either pay more than $20 million to acquire the

License or have WCO acquire the License. This choice is a direct derogation of Clearwire Il’s

exclusivity right.

       F.       Clearwire II Unsuccessfully Tries to Resolve Its Dispute with LCCC

        36.    On March 27,2023, Clearwire II, through outside counsel, formally notified LCCC

that it was in breach of the exclusivity provision contained in Section 3(a) of the Lease Agreement

because it had negotiated to sell, and threatened to sell, the License to a third party even though

Clearwire II had not notified LCCC of an intention to not renew its Lease Agreement. Clearwire

                                                 9
Case 2:23-cv-04347-AH-E     Document
       Case: l:23-cv-00752-JG  Doc#:l149-3
                                        Filed: Filed 05/30/25
                                               04/14/23         Page
                                                         10 of 13.   682 of#:703
                                                                   PagelD     10 Page
                                     ID #:2369



 II also sought LCCC’s assurance that it would not proceed with any transaction for the License

with WCO. LCCC, however, refused and indicated, without addressing its exclusivity obligation,

that it would sell the License to WCO shortly after April 15, 2023, unless Clearwire II matched

the offer.

        37.     On April 5,2023, counsel for Clearwire II reached out to request a 30-day extension

of the alleged deadline for Clearwire to respond to LCCC. On April 7, 2023, LCCC responded

that it would only agree to this short extension of time if Clearwire agreed to (1) “waive all rights

in equity or law against [LCCC]” related to WCO’s purported offer, and (2) pay LCCC at least

$22.11 million for the License if it chooses to match WCO’s offer—i.e., $2.01 million more than

WCO’s purported offer.

        38.     Now, as a last resort, Clearwire II brings this action based on LCCC’s breach of the

exclusivity provision contained in Section 3(a) of the Lease Agreement.

                                     CLAIMS FOR RELIEF

                                            COUNTI
                                (Breach of Contract - Exclusivity)

        39.     Clearwire II repeats and realleges the allegations set forth above as though fully set

forth herein.

       40.      The Lease Agreement constitutes a valid and enforceable contract between LCCC

and Clearwire II.

       41.      Clearwire II complied with all conditions precedent and fully performed its

obligations under the Lease Agreement.

       42.                     LCCC has breached Section 3(a) of the Lease Agreement.




                                                 10
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG  Doc#:l149-3
                                      Filed: Filed 05/30/25
                                             04/14/23         Page
                                                       11 of 13.   683 of
                                                                 PagelD #: 703
                                                                            11 Page
                                    ID #:2370



        43.     Section 3(a) provides that, “[d]uring the Term, Licensee will not negotiate or

contract with any third party to lease, sell, assign, transfer or use any of the capacity of the

Channels or any option therefore.” Ex. A § 3(a).

        44.     This exclusivity provision states, however, that “if [Clearwire II] notifies Licensee

that it has elected not to renew the Agreement, in accordance with Section 1(b), Licensee shall

have the ability during the ninety (90) days immediately preceding the effective date of such

termination to negotiate and contract with any third party with respect to any period following the

end of this Agreement, so long as Licensee complies with the Right of First Refusal set forth in

Section 3(b).” Id.

        45.     Clearwire II did not notify Licensee of an election not to renew the Agreement, and

thus the sole exception to the exclusivity provision does not apply.

        46.     Because LCCC negotiated to sell, and has threatened and seeks to sell, the License

to a third party, WCO, it is in breach of Section 3(a).

        47.     Clearwire II has been injured by LCCC’s breach of its legally enforceable

obligations under the Lease Agreement.

                                                COUNT II
                                          (Declaratory Judgment)

        48.     Clearwire II repeats and realleges all of the allegations of the preceding paragraphs

as if they were fully set forth herein.

       49.      The Court may declare the rights and legal relations of the parties pursuant to

28 U.S.C. §§ 2201 and 2202 because there is a case of actual controversy between Clearwire II and

LCCC regarding the parties’ rights and obligations under the Lease Agreement.




                                                   11
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG  Doc#:l149-3
                                      Filed: Filed 05/30/25
                                             04/14/23         Page
                                                       12 of 13.   684 of 703 Page
                                                                 PagelD#:12
                                    ID #:2371



        50.        Section 3(a)’s exclusivity provision provides that “[d]uring the Term, Licensee will

not negotiate or contract with any third party to lease, sell, assign, transfer or use any of the capacity

of the Channels or any option therefore.” Ex. A § 3(a).

        51.        Because LCCC is not permitted to proceed with the proposed sale of the License,

LCCC is not permitted to “accept” the purported offer from WCO. Lease Agreement § 3(b).

        52.        Accordingly, Clearwire II respectfully requests a judgment declaring that LCCC is

prohibited from selling the License to WCO.

                                        PRAYER FOR RELIEF

       WHEREFORE, Clearwire II prays for relief and judgment against Defendant as follows:

              A. Order necessary and appropriate injunctive relief, including a permanent/final

                   injunction preventing LCCC from selling, transferring, or assigning the Licenses to

                   WCO or any of its affiliates unless and until Clearwire II indicates it will not renew

                   the Lease and the Lease is in its final 90 days, or unwinding any such transaction

                   to the extent LCCC already has purported to effect it;

              B. Declare that LCCC is prohibited from selling, transferring, or assigning the License

                   to WCO or any of its affiliates unless and until Clearwire II notifies LCCC that it

                   will not renew the Lease and the Lease is in its final 90 days;

              C. Pursuant to Section 21 (f) of the Lease Agreement, award Clearwire II all attorney’s

                   fees and expenses that relate to its pursuit of this litigation and the preceding

                   dealings with LCCC and WCO;

              D.             Award Clearwire II all costs and interests allowed by law;

              E.             Award Clearwire II such other relief as the Court deems just and reasonable; and




                                                    12
Case 2:23-cv-04347-AH-E    Document
       Case: l:23-cv-00752-JG Doc #: 149-3
                                     1 Filed: Filed 05/30/25
                                              04/14/23         Page
                                                        13 of 13.   685 of#:703
                                                                  PagelD     13 Page
                                     ID #:2372



          F. Provide Clearwire II with the right to amend this complaint in the event the Court

              determines Clearwire II has failed to adequately plead the foregoing claims against

              LCCC or as other events may warrant.



Dated: April 14, 2023                      Respectfully submitted,


                                           /s/ Jill G. Okun___________________________
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                                             13
 Case 2:23-cv-04347-AH-E    Document
       Case: l:23-cv-00752-JG        149-3
                              Doc #: 1-1 Filed:Filed 05/30/25
                                                 04/14/23        Page
                                                           1 of 13.   686 of#:703
                                                                    PagelD     14 Page
                                     ID #:2373
                                            CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION

                                                                                                        0 ORIGINAL
                               EDUCATIONAL BROADBAND SERVICE
                            LONG-TERM DE FACTO LEASE AGREEMENT

           THIS Educational Broadband          Service (“EBS”) Long-Term De Facto Lease Agreement (the
 “Agreement”) is entered into as of        October 22       2007 (the “Effective Date”), by and between Lorain
 County Community College, a political subdivision of the State of Ohio with its principal offices at 1005 N. Abbe
 Road, Elyria, Ohio 44035 (the “Licensee”), and Clearwire Spectrum Holdings II LLC, a Nevada limited liability
 company with its principal offices at 4400 Carillon Point, Kirkland, WA 98033 (“Clearwire”) (each sometimes
 referred to as “Party” and collectively as “Parties”).

          WHEREAS the Federal Communications Commission (“FCC”) has authorized EBS channels G1 through
 G 3 (the “Channels”) under call sign WHR777 (the “License”) to Licensee to transmit in the Elyria, Ohio area (the
 “Market”);

       WHEREAS, the FCC has authorized the EBS Channel G4 under the License to Licensee (the “Excluded
Channel”);

         WHEREAS the Parties have agreed to enter into this Agreement for Licensee to lease Clearwire one
hundred percent (100%) of the capacity to operate on the Channels which, pursuant to the rules, regulations and
policies of the FCC (the “FCC Rules”), can be made available for commercial use, in accordance with the terms and
conditions below, and subject to FCC approval;

         THEN, in consideration of the promises and covenants set forth in this Agreement, and for good and
valuable consideration, foe sufficiency of which is acknowledged by foe Parties’ signatures, foe Parties agree as
follows:

1.        LEASE TERM AND RENEWAL

                    (a)      Initial Term and Extension. Subject to Paragraph 1(c), the initial term shall begin on
foe date upon which foe FCC has approved foe FCC Long Term Lease Application (as hereinafter defined) filed by
foe Parties with respect to this Agreement pursuant to Section 9 hereof (“Commencement Date”), and shall end on
foe date that foe then-current EBS License expires (the “Initial Term”); unless foe Agreement is terminated earlier
in accordance with Section 11.

                   (b)      Renewal. Subject to Paragraph 1(c), this Agreement will renew for successive terms on
foe date that the EBS License is renewed by foe FCC (“Renewal Date”) and expire when foe renewed EBS license
expires, provided that foe final Renewal Term will conclude thirty (30) years after foe Commencement Date (each, a
“Renewal Term”), for a maximum Agreement duration of thirty (30) years. The Renewal Terms will occur
automatically unless Clearwire notifies foe Licensee in writing at least twelve (12) months prior to the end of foe
Initial Term or any Renewal Term that it declines to renew foe Agreement. The terms and conditions of this
Agreement apply to each Renewal Term. The Initial Tenn and all Renewal Terms axe collectively referred to herein
as foe “Term”.

                   (c)      Renewal of License and Extension of Agreement. In the event that the License expires
during the Initial Term and/or any Renewal Term, this Agreement will also expire at such time unless foe License is
renewed and FCC authorization for this Agreement is extended. Licensee and Clearwire will cooperate to timely
file a renewal application for foe License, in conjunction with a request for an extension of the then-applicable Initial
Term or Renewal Tenn, to foe date that is ten (10) years from the beginning of such Initial Term or Renewal Term.
This Agreement will continue to apply unless foe FCC denies by Filial Order any application for Renewal of the
License or extension of foe Term. “Final Order” means an order issued by the FCC that is in full force and effect
and as to which (i) no petition, application or appeal is pending and (ii) the time for foe filing of any such petition,
application or appeal has passed.

2.       COMPENSATION
Case 2:23-cv-04347-AH-E     Document
       Case: l:23-cv-00752-JG         149-3
                               Doc #: 1-1  Filed:Filed 05/30/25
                                                    04/14/23       Page
                                                             2 of 13.   687 of#:703
                                                                      PagelD     15 Page
                                      ID #:2374
                                           CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



                   (a)      Monthly Fee. Beginning within five (5) business days of the issuance by the FCC of a
 public notice announcing the grant of the FCC Long Tenn Lease Application, and on the first day of each month
 thereafter throughout the Tenn and each Renewal Term, Clearwire will pay Licensee a monthly fee (the “Monthly
 Fee”) for use of the Clearwire Capacity (as defined in Subsection 5(a) below), as follows: (i)
                         month during years one (1) through five (5) of the Term; (ii
                                    per month during years six (6) through ten (10) of the Term; (iii
                                                          per month during years eleven (11) through fifteen (15) of
 the Term; (iv)                                                                     month during years sixteen (16)
 through twenty (20) of the Term; (v)                                                                    per month
 during years twenty-one (21) through twenty-five (25) of the Term; and (vi
                            | per month during years twenty-six (26) through thirty (30) of the Tenn. The Monthly
 Fee due for any partial calendar month, at the commencement of the Initial Term or expiration of the Tenn, shall be
 prorated accordingly.

 The Monthly Fee will be reduced or increased on a pro rata basis during the Initial Term or any Renewal Term of
this Agreement in the event that: (1) the amount of Clearwire Capacity increases or decreases from the amount of
Clearwire Capacity available as of the Effective Date; or (2) any portion of Clearwire Capacity becomes unavailable
to Clearwire in any part of the Geographic Service Area (“GSA”) of the Channels as such Geographic Service Area
exists as of the Effective Date. For the purpose of the foregoing, the pro-ration of the Monthly Fee with respect to
increases or decreases in Clearwire’s Capacity shall be based on the number of megahertz (“MHz”) of capacity
made available to Clearwire as a result of such increase or decrease as compared to the number of MHz of capacity
contemplated to be made available to Clearwire under this Agreement The pro-ration of the Monthly Fee with
respect to any unavailability of any part of the GSA with respect to any amount of capacity shall be based on the
number of MHz per population made available to Clearwire as a result of such unavailability as compared to the
MHz per population contemplated to be made available under this Agreement. In making either calculation,
however, the J and K channel associated with the Broadband Radio Service (“BRS”) Channels following FCC
mandated re-banding (the “Re-banding”) shall not be considered to be unavailable to Clearwire as a result of any
determination by Clearwire that such J and K channel capacity is not, at any given time, configurable or usable in a
manner that is commercially useful to Clearwire, and the reduction in size of EBS lower or upper band channels
from 6 MHz to 5.5 MHz following Re-banding shall not be considered as a decrease in Clearwire’s Capacity.

                  (b)     Initial Fee. Within five (5) business days of the later of (i) the issuance by the FCC of a
public notice announcing the grant of the FCC Long Term Lease Application or (ii) the date upon which Licensee
delivers a completed IRS Form W-9 to Clearwire, Clearwire shall pay to Licensee the amount of|
                                            “initial

In the event the Agreement is terminated by reason of uncured default by Licensee during the first ten (10) years of
the Agreement or if a FCC Final Order approving the application for approval of this Agreement has not occurred
within twelve (12) months following the payment of the Initial Fee, all or a portion of the Initial Fee will be
refunded to Clearwire (“Refund”) in the manner described in this Subsection 2(b). If the FCC Final Order
approving the application for approval of this Agreement has not occurred and the Agreement is terminated pursuant
to Subsection 11(d), then Clearwire shall be entitled to a full refund of the Initial Fee. If the FCC Final Order has
occurred, but this Agreement is terminated prior to the tenth anniversary of the Commencement Date through no
fault of Clearwire, then the Refund shall be an amount equal to a pro rata portion of the Initial Fee calculated by
multiplying the Initial Fee by a fraction, the numerator of which shall be the number of days the Agreement was in
effect, beginning on the Commencement Date through and including the termination date, and the denominator of
which shall be 3,650. There will be no Refund if the termination occurs after the first day of the eleventh (11th) year
of the Agreement

                  (c)      Payment Receipt Address.

                           Lorain County Community College
                           1005 N. Abbe Road
                           Elyria, OH 44035
                           Attn: Bursar’s Office




DWT 2075943v6 0065187-000232                              2
 Case 2:23-cv-04347-AH-E    Document
       Case: l:23-cv-00752-JG        149-3
                              Doc #: 1-1 Filed:Filed 05/30/25
                                                 04/14/23        Page
                                                           3 of 13.   688 of#:703
                                                                    PagelD     16 Page
                                     ID #:2375
                                             CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



                   (d)     W-9. Within ten (10) days following the execution of this Agreement, Licensee shall
 deliver a completed IRS Form W-9 to Clearwire.

 3.       EXCLUSIVITY AND RIGHT OF FIRST REFUSAL

                    (a)       Exclusivity. During the Term, Licensee will not negotiate or contract with any third
 party to lease, sell, assign, transfer or use any of the capacity of the Channels or any option therefore; provided,
 however, that if Clearwire notifies Licensee that it has elected not to renew the Agreement, in accordance with
 Section 1(b), Licensee shall have the ability during the ninety (90) days immediately preceding the effective date of
 such termination to negotiate and contract with any third party with respect to any period following the end of this
 Agreement, so long as Licensee complies with the Right of First Refusal set forth in Section 3(b).

                     (b)      Right of First Refusal (“ROFR”). During the Term and, if Clearwire provides to
 Licensee an offer (in the form of a written summary of the material terms) for a new lease agreement no later than
 twenty-four (24) months prior to the end of the Term, then for the twenty-four (24) months following tire expiration
or termination of this Agreement (unless this Agreement is terminated solely as a result of Clearwire’s default),
Clearwire or Clearwire’s designee will have a ROFR to acquire the License (if FCC rules allow it and the Licensee
desires to sell), lease or otherwise use any of the capacity on the Channels (or any part thereof) in any other manner,
or to acquire an option to acquire, lease or otherwise use any of the capacity on the Channels (or any part thereof) on
the same terms as any bona fide third party offer received by Licensee that Licensee intends to accept Licensee will
notify in writing Clearwire of any such bona fide offer, including the terms of the offer, within thirty (30) days
following Licensee’s determination to accept the offer. Clearwire will notify Licensee within thirty (30) days
following receipt of such notification if it is exercising its ROFR. In the event that Clearwire foils to exercise its
ROFR, Licensee will have sixty (60) days from the expiration of Clearwire’s thirty (30) day response period to enter
into an agreement with the offeror on the same terms and conditions as were offered to Clearwire. If, within the
sixty (60) day period, Licensee does not enter into a binding agreement with the offeror on the same terms and
conditions as were offered to Clearwire, then Clearwire’s ROFR shall remain in effect pursuant to the terms stated in
this Subsection. If, within the sixty (60) day period, Licensee enters into a binding agreement with the offeror on the
same terms and conditions as were offered to Clearwire, then Clearwire’s ROFR will terminate; provided, however,
that should Licensee’s agreement with the offeror be terminated within twenty-four (24) months after the expiration
or termination of this Agreement, Clearwire’s ROFR will be reinstated for the remainder of the twenty-four (24)
month period or for a period of one hundred eighty (180) days, whichever is longer. The terms will be ratified in a
separate agreement All materials exchanged under this ROFR are subject to the non-disclosure provisions of
Section 14 of this Agreement

                   (c)      Form of Consideration and Determination of Value. Subject to, and without limiting
Clearwire’s rights described in Subsection 3(b), if the whole or any part of the consideration of the third party offer
is in a form other than cash, then Clearwire may meet such non-cash consideration using cash, comparable non-cash
consideration, or both in its acceptance notice. If Licensee does not accept Clearwire’s offer of a cash substitute for
the non-cash consideration, then Licensee must notify Clearwire in writing of Licensee’s estimate of a fair cash
substitute within fifteen (15) days after Licensee’s receipt of Clearwire’s acceptance notice. Licensee’s failure to
notify Clearwire of its estimate of a fair cash substitute within the prescribed fifteen (15) day period shall be deemed
an acceptance of Clearwire’s cash-substitute offer. If Licensee rejects Clearwire’s cash-substitute offer, then
Clearwire will have ten (10) days from receipt of Licensee’s rejection to notify Licensee of its election to (1) adopt
Licensee’s stated cash value, or (2) submit the valuation issue for determination by binding arbitration. In any case
where the right to arbitrate is invoked, Clearwire’s ROFR will remain open until thirty (30) days after Clearwire is
notified of the arbitrators’ decision, during which time Clearwire may revise its acceptance notice to adopt the
arbitrators’ findings or waive its ROFR with respect to the third party offer, provided that Licensee and third party
execute a contract to implement the third-party offer within ninety (90) days of the end of Clearwire’s thirty (30) day
time period to consider the arbitration decision. Licensee’s failure to accept the third-party offer restores this
ROFR.

                  (d)       Right to Participate. Except in the event this Agreement terminates as a result of
Clearwire’s default, if Licensee decides to consider, issue or solicit bids, proposals or offers for the sale (if permitted
by the FCC), assignment, transfer or use of any part or the whole of the Channels at any time before eighteen (18)
months after the end of this Agreement, then Licensee will provide Clearwire with an opportunity no less favorable



DWT 2075943v6 0065187-000232                                3
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG        149-3
                             Doc #: 1-1 Filed:Filed 05/30/25
                                                04/14/23        Page
                                                          4 of 13.   689 of#:703
                                                                   PagelD     17 Page
                                    ID #:2376
                                           CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION


 in timing or substance than the opportunity provided to any other entity: (1) to receive and/or submit bids, proposals
 and offers for the Channels; (2) to receive information with respect to such bids, proposals, offers and counters
 thereto; (3) to discuss any of the same with Licensee; (4) to counter any such bids, proposals or offers; and (5) to be
 provided with copies (to the extent allowed by law) of all open bids, proposals, offers, counter-bids and counter­
 offers promptly after they are received by Licensee. This right to participate does not limit in any manner, and is in
 addition to, the ROFR set forth in Subsection 3(b).

4.       FREQUENCY BAND TRANSITION

           The FCC expects that most EBS and BRS licensees will transition their spectrum to a new spectrum plan
pursuant to Sections 27.1230 through 27.1235 of the FCC’s Rules within the time period specified by the FCC Rules
(the “Transition”). Licensee and Operator acknowledge that the Transition involving the Channels has been
initiated by an Affiliate of Sprint Nextel as Proponent, and that Licensee has negotiated an agreement with the
Proponent in connection with the Transition that will satisfy Licensee’s rights and interests in the Transition.

5.       CAPACITY REQUIREMENTS AND USES

                 (a)     Clearwire Capacity. Upon consent by the FCC to Clearwire’s leasing of all of the
capacity on the Channels, Clearwire will have the exclusive right to use all of the capacity under the Channels
(“Clearwire Capacity”).

                  (b)       Use of Capacity. Clearwire may use Clearwire Capacity in any manner and for any
purpose that is lawful, in analog, digital or any other format, including those that may be authorized in the future by
the FCC. Licensee will use the Excluded Channel to satisfy the minimum educational use requirements for EBS
channels pursuant to FCC Rules.

                  (c)      Channel Swapping; Costs. With the consent of Licensee, which consent will not be
unreasonably withheld, conditioned, or delayed, Clearwire may require Licensee to enter into agreements to swap
some or all of its Channels for other channels in the Market (the “Swapped Channels”), and in connection
therewith file any necessary FCC applications to accomplish the swap, so long as there is no material difference in
the operational capability or value of the Swapped Channels as compared to Licensee’s previous Channels taking
into account such factors as the GSA and the population therein. It is understood and agreed, however, that
Licensee shall not be required to consent to any channel swap of an Upper Band Channel or Lower Band Channel
for a Middle Band Channel, or to any swap under which the Swapped Channels provide less contiguous spectrum
licensed to Licensee than Licensee’s previous Channels. Clearwire agrees to bear all costs and expenses associated
with the implementation of channel swapping, including the reasonable out of pocket costs of Licensee’s
engineering consultants and attorneys.

6.       EQUIPMENT

                    (a)     Operation and Maintenance of Equipment: During the period prior to Transition or, if
earlier, prior to the migration of Licensee’s multiple video programming services to the Excluded Channel, which
the parties agree to work together to digitize in the process of such migration (the “Migration”), Licensee may
operate the transmission equipment currently in place for the Channels (the “EBS Equipment”) at each transmission
facility. Licensee will perform maintenance it deems appropriate on all such equipment at its own expense, subject
to Clearwire’s ultimate control as de facto transferee of the Channels.

                  (b)     Post-Transition or Migration Operation and Maintenance of Equipment on the
Excluded Channel: Licensee will ensure that operation and maintenance of its equipment complies in all material
respects with applicable FCC Rules, including the broadcast of sufficient educational programming to meet all
current and future FCC requirements on the Excluded Channel.

                 (c)     Post Transition Operation of Shared Equipment.                 Licensee and Clearwire
acknowledge that because Licensee’s educational obligations will be met on the Excluded Channel using equipment
owned, controlled and maintained by Licensee, Clearwire has no continuing obligation to provide Licensee with the




DWT 2075943v6 0065187-000232                              4
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG        149-3
                             Doc #: 1-1 Filed:Filed 05/30/25
                                                04/14/23        Page
                                                          5 of 13.   690 of#:703
                                                                   PagelD     18 Page
                                    ID #:2377
                                           CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



 opportunity to purchase or lease equipment. In the event that any equipment is shared by Licensee and Clearwire,
 and this Lease is terminated as a result of action by Clearwire, Licensee will have the option to purchase or lease
 comparable equipment from Clearwire, for the purpose of meeting its educational obligations, at a purchase price
 equal to Clearwire’s cost in obtaining such equipment.

                   (d)     Post-Transition Operation of Equipment on the Channels: In addition to the
foregoing, Clearwire will construct and maintain facilities for the Channels that provide transmission capability
sufficient to satisfy minimum build-out or performance requirements applicable to EBS Channels under standards
prevailing at any given time under FCC rules.

7.       ADVANCED WIRELESS SERVICES FOR PERMITTED END USERS.

          After commercial launch by Clearwire of its wireless services on the Channels in the Market, Licensee may
request at no cost to Licensee, via submission of an Order Form (as defined below), Standard Advanced Services
Installation of Clearwire’s wireless services for Permitted End Users that are located within Clearwire’s then-
serviceable area of the GSA for the Channels. Clearwire shall approve Licensee’s Order Form in its reasonable
discretion, taking into consideration relevant technical operational and legal factors. Such services shall be specified
by Licensee and shall be among Operator’s standard retail service offerings in the Market with an overall value not
to                                             per month increasing by fifteen (15%) percent every five (5) years.
Licensee shall comply with all laws and obtain any necessary governmental permits or approvals, and third party
approvals, which are necessary in order for Clearwire to undertake a Standard Advanced Services Installation.

                   (a)      Definitions. “Order Form” has the meaning set forth in the terms of service referenced
in Section 7(b) below. “Standard Advanced Services Installation” means the customer premises Internet access
equipment package made generally available to Clearwire’s retail customers in the Market, at the time Clearwire
receives Licensee’s Order Form, who subscribe to the same tier of Internet access service over BRS or EBS
capacity. “Permitted End Users” means Licensee itself and any educational institution or not-for-profit
organization or site in the Market with whom Licensee is working in furtherance of its educational goals.

                   (b)       Terms of Use. Licensee’s ordering and use of the Standard Advanced Services
Installation, and the use of such services by Licensee’s users and Permitted End Users, shall be governed by the
acceptable use policy and terms of service, and such other policies of general applicability which apply to such
services, which are subject to amendment and may be found at http://www.clearwire.cxjm or such other URL as may
be designated; provided, however, that financial terms contained in the terms of service shall not apply to such
services to Licensee or Permitted End Users that are provided free of charge pursuant to this Section 7. In addition
to the foregoing policies, Clearwire may specify from time to time, in its sole discretion, reasonable procedures for
the activation, addition, deletion or substitution of services to Licensee, its users and Permitted End Users.

                  (c)      Equipment and Software. For Licensee and any Permitted End Users for whom
Clearwire has provided a Standard Advanced Services Installation, Clearwire shall make available any equipment,
services or software upgrades that Clearwire makes generally available to Clearwire’s retail customers subscribing
to the same tier of service in the Market over BRS or EBS facilities. In the event that any equipment upgrade
involves replacement of equipment, the replaced equipment shall be returned to Clearwire or its designee and title to
the replacement equipment shall transfer to Licensee or its designee.

                   (d)       Titie. AU equipment provided by Clearwire to Licensee as part of Standard Advanced
Services Installations for Permitted End Users shall be the property of Licensee or its designee(s), free and clear of
aU liens and encumbrances, when paid in full (if any payment is required). Licensee shaU own, and be solely
responsible for the maintenance and operation of, all facilities installed at Licensee’s locations and receive sites,
including the sites of its Permitted End Users.

                   (e)     Discount Installations. After Licensee has exceeded the value of services specified in
Section 7, Clearwire, at Licensee’s request, shaU offer a SUMMON discount from its standard monthly
subscription rates to Licensee’s students, faculty and staff. At Licensee’s request, Clearwire shaU set up a dedicated
activation process and resources for enrollment in this discounted plan.




DWT 2075943v6 0065187-000232                              5
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG         149-3
                              Doc #: 1-1 Filed:Filed 05/30/25
                                                 04/14/23        Page
                                                           6 of 13.   691 of#:703
                                                                    PagelD     19 Page
                                     ID #:2378
                                            CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



 8.       INTERFERENCE CONSENTS

         Licensee will enter into interference consents with third parties relating to the Channels (“Interference
Consents”), as Clearwire reasonably requests and without any additional compensation, provided that such
Interference Consents do not result in a reasonably foreseeable material degradation in the value of the Channels;
and provided further that Interference Consents that involve fair and reciprocal rights and limitations for and on the
operation of Licensee’s facilities and the facilities of the other party in connection with system coordination inside
GSAs and at GSA boundaries will not be deemed to cause material degradation in value. Clearwire will bear the
cost relating to any Interference consent requested by Clearwire hereunder and will negotiate and draft the
Interference Consents and make any consideration payments due to third parties under the Interference Consents.
Licensee will not enter into or issue any Interference Consents without Clearwire’s prior written consent.

 9.       APPLICATIONS, AUCTIONS AND FEES

                  (a)      Application Preparation.        Clearwire will prepare and submit in its name all
applications, amendments, petitions, requests for waivers, and other documents.necessary for the proper operation of
tiie Clearwire Capacity. Licensee will prepare and submit all applications, amendments, petitions, requests for
waivers, and other documents necessary for the modification, maintenance and renewal of the License that, under
FCC Rules, may only be filed by Licensee, including any such filings reasonably requested by Clearwire. The
Parties will cooperate in the preparation and submission of all applications, amendments, petitions, requests for
waivers, and other documents necessary to secure any FCC approval, consent or other action required to effectuate
this Agreement.

                   (b)       Application Costs. Clearwire will, at its own expense, prepare all applications, notices,
certificates, exhibits, consent agreements, approvals or authorizations that Clearwire submits to the FCC or seeks to
have Licensee submit to the FCC pursuant to the Agreement. Clearwire will also promptly pay or reimburse
Licensee for its reasonable out-of-pocket expenses, including Licensee’s reasonable attorney’s fees, in connection
with the activities requested or required of Licensee by Clearwire under this Agreement Licensee will otherwise
pay all its own costs associated with the renewal of any License (except as such costs relate to defending this
Agreement or Clearwire’s use of Clearwire Capacity hereunder) and with any other filings with, or information
requested by, the FCC, or required of Licensee to remain eligible under FCC Rules to provide Clearwire Capacity to
Clearwire.

                 (c)       Regulatory Fees. Clearwire will pay any federal regulatory fees associated with the
License upon receipt of notice from the FCC that such fees are due, or upon receipt of at least thirty (30) days
advance written notice from Licensee that such fees are due in the event that notice is sent to Licensee.

                   (d)      FCC Long Term Lease Application. Within ten (10) business days following the
execution of this Agreement and prior to consummating the transfer of de facto control of the Channels, the Parties
agree to cooperate as required to prepare and file with the FCC all forms and related exhibits, certifications and
other documents necessary to obtain the FCC’s consent to this Agreement and satisfy the FCC’s requirements for
long term de facto lease approval as set forth in 47 C.F.R. § 1.9030(e) (“FCC Long Term Lease Application”).
Each Party, covenants and agrees that it will fully cooperate with the other, and do all things reasonably necessary to
timely submit, prosecute and defend the FCC Long Term Lease Application, including responding to any petitions
for reconsideration or FCC reconsiderations of the grant of the FCC Long Tenn Lease Application, and will
promptly file or provide the other Party with all other information which is required to be provided to the FCC in
furtherance of the transactions contemplated hereby. The Parties will disclose in the FCC Long Term Lease
Application the automatic extension of the Term upon the renewal of the License. The Parties further covenant and
agree to include in any License renewal application, or separately request, as necessary, a request to extend and
renew this Agreement for the renewal term of the License, if this Agreement contemplates renewal of this
Agreement for or during any part of such License renewal term. Any fees associated with the filing of the FCC
Long Term Lease Application and renewals thereof shall be paid by Clearwire. To the extent Licensee is required
to file this Agreement with the FCC, the Licensee shall first notify and consult with Clearwire, and will to the extent
permitted by the FCC redact all information from the Agreement which Clearwire reasonably designates as
confidential including, but not limited to, all payment information. In the event a petition for reconsideration is filed
against the grant of an FCC Long Term Lease Application, or if the FCC determines to reconsider such grant on its



DWT 2075943v6 0065187-000232                               6
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG        149-3
                             Doc#: 1-1  Filed:Filed 05/30/25
                                                04/14/23        Page
                                                          7 of 13.   692 of 703 Page
                                                                   PagelD#:20
                                    ID #:2379
                                            CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



 own motion, Clearwire shall determine at its option whether to delay commencement of the Initial Tenn until
 resolution of such reconsideration and, in the event of such delay, it will notify Licensee in writing.

 10.      TRANSFERS OR ASSIGNMENTS

           Subject to Subsections 16(f)-(g), neither Clearwire nor Licensee may assign or transfer its rights and/or
 obligations under this Agreement without the prior written consent of the other Party, such consent not to be
 unreasonably withheld, conditioned or delayed; provided that Clearwire may, without the prior consent of Licensee:
 (1) assign any of its rights under this Agreement as collateral; or (2) sell, assign, sublease, delegate or transfer this
 Agreement or any of its rights or obligations hereunder to any affiliate of Clearwire or any entity that acquires or
 otherwise merges with Clearwire or its affiliates, or, in connection with a transfer of FCC licenses or leases in at
 least three (3) GSA’s, to any entity demonstrating die financial and operational capability to perform the obligations
 of Clearwire hereunder.

 11.      TERMINATION OF AGREEMENT

                 (a)      This Agreement will automatically terminate with respect to the License or affected
Channel(s) upon the earlier of: (1) an FCC Final Order denying any application for approval of this Agreement
including any extensions of the term thereof; (2) the loss or expiration without renewal of the License; (3) an FCC
Final Order revoking, terminating or canceling the License; or (4) Clearwire’s acquisition of the License or some of
the Channels pursuant to an agreement between Clearwire and Licensee.

                   (b)       This Agreement may be terminated by either Party upon material breach of the other
Party, provided that the breaching Party shall be provided with written notice by the non-breaching Party of the
alleged grounds for the breach and allowed a thirty (30) day period for cure following such notice; provided,
however that if the defaulting Party proceeds with reasonable diligence during such thirty (30) day period and is
unable, because of circumstances beyond its control or because of the nature of the default, to cure the default within
such applicable time period, the time for cure shall be extended, but in no event beyond one hundred eighty (180)
days after receipt of written notice from the non-defaulting Party.

                  (c)       Licensee may terminate this Agreement: (1) pursuant to Section 16(b), or (2) in the event
Clearwire commences or has commenced against it any proceeding under any applicable bankruptcy, insolvency or
reorganization law, or is adjudged bankrupt or makes a general assignment for the benefit of its creditors.

                  (d)      Clearwire may terminate this Agreement if a FCC Final Order approving the application
for approval of this Agreement has not occurred within twelve (12) months following the payment of the Initial Fee.

                  (e)     The Parties will notify the FCC of the termination of this Agreement with respect to the
License or any of the Channels within ten (10) calendar days following the termination.

                    (f)     Except as expressly set forth in this Agreement, upon the expiration or termination of this
Agreement, each Party will pay its own fees and expenses related to this Agreement and the transactions
contemplated herein, and the Parties will have no further liability to each other except by reason of any breach of
this Agreement occurring prior to the date of expiration or termination. Any termination or expiration of this
Agreement, regardless of cause, will not release either Licensee or Clearwire from any liability arising from any
breach or violation by that Party of the terms of this Agreement prior to the expiration or termination. The general
and procedural provisions of this Agreement, which may be relevant to enforcing the obligations or duties of the
Parties, as well as any other provisions that by their terms obligate either Party following expiration or termination,
will survive the expiration or termination of this Agreement until the obligations or duties are performed or
discharged in full.

12.      REVENUES AND EXPENSES

       Except that Clearwire will pay Licensee’s reasonable attorney’s fees in the negotiation of this initial
Agreement, each Party will pay its own expenses incident to any amendments or modifications to the Agreement,




DWT 2075943v6 0065187-000232                               7
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG         149-3
                              Doc #: 1-1 Filed:Filed 05/30/25
                                                 04/14/23        Page
                                                           8 of 13.   693 of#:703
                                                                    PagelD     21 Page
                                     ID #:2380
                                            CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION


 including, but not limited to, all fees and expenses of their respective legal counsel and any engineering and
 accounting expenses. Clearwire is entitled to one hundred percent (100%) of the revenue generated from the use of
 the Clearwire Capacity.

 13.      COMPETITION

        Licensee agrees that it will not, during the Tenn of this Agreement, engage in building, operating,
 managing or distributing, on a for-profit basis, a wireless broadband network.

 14.      CONFIDENTIALITY AND NON-DISCLOSURE

          (a)       Confidentiality of the Terms of this Agreement The terms of this Agreement that are not
 otherwise required to be disclosed to the FCC in support of the lease applications or notices submitted to the FCC
will be kept strictly confidential by the Parties and their agents, which confidentiality obligation will survive the
termination or expiration of this Agreement for a period of two (2) years. The Parties may make disclosures as
required by law (including as required or appropriate to be disclosed by Clearwire pursuant to the Securities Act of
 1933, as amended, the Securities Exchange Act of 1934, as amended, or The Nasdaq Stock Market, Inc., including
the related regulations and marketplace rules and as required or appropriate to be disclosed by Licensee due to its
status as a state government institution under the laws of the State of Ohio), and to employees, shareholders, agents,
attorneys and accountants (collectively, “Agents”) as required to perform obligations under the Agreement,
provided, however, that the Parties will cause all Agents to honor the provisions of this Section. In addition,
Clearwire may disclose this Agreement to its affiliates, strategic partners, actual or potential investors, lenders,
acquirers, merger partners, and others whom Clearwire deems in good frith to have a need to know such information
for purposes of pursuing a transaction or business relationship with Clearwire, so long as Clearwire secures an
enforceable obligation from such third party to limit die use and disclosure of this Agreement as provided herein.
The Parties will submit a confidentiality request to the FCC in the event the FCC seeks from the Parties a copy of
this Agreement or any other confidential information regarding its terms.

          (b)       Non-Disclosure of Shared Information. As used herein, the term “Information” shall mean all
 non-public information disclosed hereunder, whether written or oral, that is designated as confidential or that, given
 the nature of the information or the circumstances surrounding its disclosure, reasonably should be considered as
 confidential. The term Information does not include information which: (1) has been or becomes published or is
now, or in the future, in the public domain without breach of this Agreement or breach of a similar agreement by a
third party; (2) prior to disclosure hereunder, is property within the legitimate possession of the receiving Party
which can be verified by independent evidence; (3) subsequent to disclosure hereunder, is lawfully received from a
third party having rights therein without restriction of third party’s or the receiving Party’s rights to disseminate the
information and without notice of any restriction against its further disclosure; or (4) is independently developed by
the receiving Party through persons who have not had, either directly or indirectly, access to or knowledge of such
Information which can be verified by independent evidence. During the Initial Term or any Renewal Term of tin's
Agreement, the Parties may be supplying and/or disclosing to each other Information relating to the business of the
other Party. The Information will, during the Initial Term and any Renewal Term of this Agreement, and for a
period of three (3) years after the termination or expiration of the Agreement, be kept confidential by the Parties and
not used for any purpose other than implementing the terms of this Agreement The receiving Party will be
responsible for any improper use of the Information by it or any of its Agents. Without the prior written consent of
the disclosing Party, the receiving Party will not disclose to any entity or person the Information, or the fret that the
Information has been made available to it, except for disclosures required by law, including Information as required
or appropriate to be disclosed by Clearwire pursuant to the Securities Act of 1933, as amended, the Securities
Exchange Act of 1934, as amended, or The Nasdaq Stock Market, Inc., including the related regulations and
marketplace rules and as required or appropriate to be disclosed by Licensee due to its status as a state government
institution under the laws of the State of Ohio. Each person to whom Information is disclosed must be advised of its
confidential nature and must agree to abide by the terms of this Subsection.

15.      ASSUMPTION OF LIABILITIES

          Neither Party is assuming or will be responsible for any of the other’s liabilities or obligations (including
but not limited to customer obligations) except as required by the FCC and this Agreement.



DWT 2075943v6 0065187-000232                                8
 Case 2:23-cv-04347-AH-E    Document
       Case: l:23-cv-00752-JG         149-3
                               Doc #: 1-1 Filed:Filed 05/30/25
                                                  04/14/23        Page
                                                            9 of 13.   694 of#:703
                                                                     PagelD     22 Page
                                      ID #:2381
                                             CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



 16.       FCC-MANDATED LEASING ARRANGEMENT OBLIGATIONS

                   (a)       Licensee and Clearwire are familiar with the FCC Rules affecting spectrum leasing and
 the provision of EBS, the Communications Act of 1934, as amended (“Communications Act”), the Code of Federal
 Regulations, and all other applicable FCC Rules, and agree to comply with all such laws and regulations.

                   (b)     Clearwire assumes primary responsibility for complying with the Communications Act,
 and any FCC Rules that apply to the Channels and License, and the Agreement may be revoked, cancelled or
 terminated, in accordance with Section 11, by Licensee or by the FCC if Clearwire fails to comply with applicable
 laws and regulations.

                   (c)      Neither Licensee nor Clearwire will represent itself as the legal representative of the
 other before the FCC or any party, but will cooperate with each other with respect to FCC matters concerning the
 Licenses and the Channels.

                   (d)     If the License is revoked, cancelled, terminated or otherwise ceases to be in effect,
 Clearwire has no continuing authority or right to use the leased spectrum unless otherwise authorized by the FCC.

                   (e)                          The Agreement is not an assignment, sale or transfer of the License itself

                  (f)      The Agreement will not be assigned to any entity that is ineligible or unqualified to enter
into a spectrum leasing arrangement under the FCC Rules.

                 (g)     Licensee will not consent to an assignment of a spectrum leasing arrangement unless
such assignment complies with applicable FCC Rules.

                  (h)     Licensee and Clearwire must each retain a copy of the Agreement and make it available
upon request by the FCC, in accordance with the confidentiality provisions in Section 14.

17.       LICENSEE’S AUTHORIZATIONS

         Licensee will use its best efforts to obtain and maintain all licenses, permits and authorizations required or
desired by Clearwire for the use of the Channels, and will remain eligible under the FCC Rules to provide the
Clearwire Capacity. Licensee will take all necessary steps to renew the License, as required, and will not commit
any act, engage in any activity, or fail to take any action that could reasonably be expected to cause the FCC to
impair, revoke, cancel, suspend or refuse to renew the License.

18.      MUTUAL REPRESENTATIONS AND WARRANTIES

         In addition to any other representations and warranties contained in this Agreement, each Party represents
and warrants to the other that: (a) it has the full right and authority to enter into, execute, deliver, and perform its
obligations under this Agreement; (b) it has taken all requisite corporate action to approve the execution, delivery
and performance of this Agreement; (c) this Agreement constitutes a legal, valid and binding obligation enforceable
against such Party in accordance with its terms; and (d) its execution of and performance under this Agreement will
not violate any applicable existing regulations, Rules, statutes or court orders of any local, state or federal
government agency, court or body, or any of its existing contractual obligations.

          Further, Licensee represents and warrants to Clearwire that (i) the License is in full force and effect,
(ii) Licensee’s operations and activities pursuant to the License are being conducted in material compliance with all
FCC rules, (iii) no person other than Licensee has any right, title or interest in or claims to the License, and (iv) there
is no proceeding now pending or to the knowledge of Licensee, threatened against the Licensee before any local,
state or federal regulatory body with respect to the License, or any acts or omissions by Licensee or its agents, as of
the Effective Date, that could have a material, adverse effect on Licensee’s authorization.




DWT 2075943v6 0065187-000232                                9
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG         149-3
                             Doc #: 1-1  Filed:Filed 05/30/25
                                                04/14/23         Page
                                                           10 of 13.  695 of #:
                                                                     PagelD  70323 Page
                                     ID #:2382
                                           CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



 19.      INDEMNIFICATION.

          Clearwire will defend, indemnify and hold Licensee harmless from and against any and all liabilities,
 losses, damages and costs, including reasonable attorney’s fees, resulting from, arising out of, or in any way
 connected with any breach by Clearwire of any warranty, representation, agreement or obligation contained herein.
 Clearwire’s obligations under this section will survive the expiration or termination of this Agreement

 20.      NOTICES

           Any notice required to be given by one Party to the other under this Agreement will be delivered using a
 reliable national express overnight delivery service and will be effective upon receipt. All notices will be delivered
 to the Parties at the following addresses:

                   (a)       Clearwire:

                             Clearwire Spectrum Holdings II LLC
                             4400 Carillon Point
                             Kirkland, WA 98033
                             Attn: Hope Cochran, Vice President
                             Fax: (425)216-7776

                             With a copy to:

                           Clearwire Spectrum Holdings II LLC
                           4400 Carillon Point
                           Kirkland, WA 98033
                           Attn: Legal Department
                           Fax: (425)216-7776


                  Licensee

                           Lorain County Community College
                           1005 N. Abbe Road
                           Elyria, OH 44035
                           Attn: Vice President Administrative Services
                           Fax: (440) 366-4150

                           With a copy which shall not constitute notice to:

                           Baker & Hostetler LLP
                           1050 Connecticut Ave., N.W., Suite 1100
                           Washington, D.C. 20036
                           Attention: Kenneth C. Howard, Jr.

                           Fax: (202)861-1783

Either Party may change its addresses for receipt of notice or payment by giving notice of such change to the other
Party as provided in this Section.

21.      MISCELLANEOUS

                  (a)       Laws, Rules and Regulations. This Agreement is subject to all laws, Rules, regulations
and ordinances relative to, among other things, die subject matter addressed in this Agreement




DWT 2075943v6 0065187-000232                             10
Case 2:23-cv-04347-AH-E    Document
      Case: l:23-cv-00752-JG         149-3
                             Doc #: 1-1  Filed: Filed 05/30/25
                                                 04/14/23        Page
                                                           11 of 13.  696 of #:
                                                                     PagelD  70324 Page
                                     ID #:2383
                                           CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



                     (b)     Force Majeure. The Parties shall not be responsible for or liable for failure to perform
 all or any part of this Agreement or for any delay in the performance of all or any part of this Agreement, directly or
 indirectly resulting from or contributed to by any foreign or domestic embargo, seizure, act of God, insurrection, war
 and/or continuance of war, or Ere, flood, explosion or other accident, or the adoption or enactment of any law,
 ordinance, regulation or ruling, or any other event or contingency that is reasonably beyond the control of the Party
 obligated to perform; provided that the non-performing Party gives the other Party prompt written notice of such
 cause, and in any event, within fifteen (15) calendar days of its discovery.

                   (c)       Independent Parties. None of the provisions of this Agreement will be deemed to
constitute a partnership, joint venture, or any other such relationship between the Parties, and neither Party will have
any authority to bind the other in any manner. Neither Party will have or hold itself out as having any right,
authority or agency to act on behalf of the other Party in any capacity or in any manner, except as may be
specifically authorized in this Agreement

                   (d)      Specific Performance. Licensee acknowledges that the License and Channels subject to
this Agreement are unique and the loss to Clearwire due to Licensee’s failure to perform this Agreement could not
be easily measured with damages. Clearwire will be entitled to injunctive relief and specific enforcement of this
Agreement in a court of equity without proof of specific monetary damages, but without waiving any right thereto,
in the event of breach of this Agreement by Licensee.

                   (e)      Applicable Law and Venue. The validity, construction and performance of this
Agreement will be governed by and construed in accordance with the laws of the State of Ohio, without regard to
the principles of conflict of laws.

                  (f)       Attorneys’ Fees. If any action shall be brought on account of any breach of or to enforce
or interpret any of the terms, covenants or conditions of this Agreement, the prevailing Party will be entitled to
recover from the other its reasonable attorneys’ fees and costs, as determined by the court hearing the action.

                  (g)        Severability. If any provision of this Agreement is found to be illegal, invalid or
unenforceable, such provision will be enforced to the maximum extent permissible so as to effect the intent of the
Parties, and the validity, legality and enforceability of the remaining provisions will not in any way be affected or
impaired, unless continued enforcement of the provisions frustrates the intent of the Parties.

                  (h)     No Waiver. No delay or failure by either Party in exercising any right under this
Agreement, and no partial or single exercise of that right, will constitute a waiver of that or any other right. Failure
to enforce any right under this Agreement will not be deemed a waiver of future enforcement of that or any other
right.

                  (i)      Counterparts. This Agreement may be executed in one or more counterparts, each of
which will be deemed an original, but which collectively will constitute one and the same instrument. Original
signatures transmitted by facsimile will be effective to create such counterparts.

                   (j)     Headings. The headings and captions used in this Agreement are for convenience only
and are not to be considered in construing or interpreting this Agreement

                   (k)      Construction. The Parties and their respective counsel have negotiated this Agreement
This Agreement will be interpreted in accordance with its terms and without any strict construction in favor of or
against either Party based on draftsmanship of the Agreement or otherwise.

                  (1)      Complete Agreement This Agreement constitutes the entire agreement between the
Parties with respect to the subject matter addressed, and supersedes and replaces all prior or contemporaneous
understandings or agreements, written or oral, between the Parties or any of their affiliates regarding this subject
matter. No amendment to or modification of this Agreement will be binding unless in writing and signed by a duly
authorized representative of each of the Parties.




DWT 2075943v6 0065187-000232                              11
Case 2:23-cv-04347-AH-E   Document
     Case: l:23-cv-00752-JG         149-3
                            Doc #: 1-1 Filed: Filed 05/30/25
                                               04/14/23        Page
                                                         12 of 13.  697 of#:703
                                                                   PagelD    25 Page
                                    ID #:2384
                                                        CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



                    (m)      Limitation on Liability. Notwithstanding anything else to the contrary in this
 Agreement, neither party will be liable under any contract, negligence, strict liability or other legal,
 contractual or equitable theory for: (1) any indirect, special, incidental or consequential damages, however
 caused and whether or not advised in advance of the possibility of such damages; or (2) damages for lost
 profits; or (3) cost of procurement of substitute goods, technology or services.

                 (n)     Cooperation. The Parties will take such further action and execute such further
 assurances, documents and certificates as either Party may reasonably request to effectuate the purposes of this
 Agreement.




            IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the date first above written.




AGREED TO:

CLEARWIRE SPECTRUM HOLDINGS H LLC




Name:_                                           ______________




LORAIN COUNTY COMMUNITY COLLEGE

By:--------------------------------------------------------------------

Name:__________________________________________

Title:___________________________________________




DWT 2075943v6 0065187-000232                                              12
Case 2:23-cv-04347-AH-E
      Case: l:23-cv-00752-JG  Document   149-3
                                 Doc#: 1-1    Filed: Filed 05/30/25
                                                      04/14/23         Page
                                                                 13 of 13.   698 of#:703
                                                                            PagelD     26 Page
                                         ID #:2385
OCT-23-2007 TUE 12:59 PM LCCC Executive Offices        FAX NO. 440 366 4150             P. 15


                                                CLEARWIRE CONFIDENTIAL AND PROPRIETARY INFORMATION



                         0)    ■ Complete Agreement This Agreement constitutes-the entire agreement between the
        Parties with respect to the subject matter addressed, and supersedes and replaces nil prior or contemporaneous
       understandings or. agreements, written or oral, between the Parties or any of their a£Qiatea sgarding this subject
       matter. No amend ent to or modific ion of this Agreement will be binding unless in writing and signed by a duly
       authorized representative cfeach of the Parties.

                         (m)       Limitation on Liability’ Notwithstanding anything else to the contrary in this
       Agreement, neither party will be liable .under any contract^ negligence, strict liability or other legal,
       contractual or equitable theory ten 0) any Indirect, special, Incidental or consequential damages, however
       caused and whether or not Ivi id In adva           of the possibility of such damages; or P) damages for lost
       profits; or (3) cost of procurement of substitute goods, technology or services,


                        (u)    Cooperation, He Parties will take such forthi action and execute such further
       assurances, documents and certificate! as either Party may reasonably, request to effectuate the purposes of this
       Agreement




                IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the da        first above written.




       AGREED TO:

       CLEARWIRE SPECTRUM HOLDINGS QILC



       By:_________________________________'

       Name:_________________ ; _________ __

       Titie:________________ '




       LORAIN COUNTY COMMUNITY COLLEGE

       By'^VV             .±=.__________ :----------- _


       Name:           J-

       Title:                __________ -




      DWT 2075943vSOMIl 87-000232                            12
                 Case 2:23-cv-04347-AH-E
 js44 (Rev. 10/20)
                                         Document 149-3 Filed 05/30/25
                        Case: 1:23-07-00752-^^^                           Page
                                                                     1 of 3.   699 of
                                                                             PagelD #: 703
                                                                                        27 Page
                                                  ID #:2386
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
 provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
 I. (a) PLAINTIFFS                                                                                      DEFENDANTS
             Clearwire Spectrum Holdings II LLC                                                         Lorain County Community College

     (b) County of Residence of First Listed Plaintiff Kind County, WA                                  County of Residence of First Listed Defendant             Lorain COUntV. OH
                               (EXCEPTIN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                   THE TRACT OF LAND INVOLVED.

     (c) Attorneys (Firm Name, Address, and Telephone Number)                                           Attorneys (IfKnown)

         Jill Okun; PorterWright; 950 Main Avenue, Suite 500;
         Cleveland, OH 44113; 216-443-2508
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 in. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Boxfor Plaintiff
                                                                                                          (For Diversity Cases Only)                 and One Boxfor Defendant)
    11   U.S. Government           | 13   Federal Question                                                                   PTF      DEF                                   PTF            DEF
           Plaintiff                        (U. S. Government Not a Party)                    Citizen of This State         □ 1      □ 1 Incorporated or Principal Place    □ 4            Q4
                                                                                                                                            of Business In This State

□2       U.S. Government           □ 4 Diversity                                              Citizen of Another State      □2       □        2 Incorporated and Principal Place    s 5
           Defendant                     (Indicate Citizenship ofParties in Item III)                                                              of Business In Another State

                                                                                              Citizen or Subject of a       |   |3   |   |    3 Foreign Nation                      □ 6    Q6
                                                                                                Foreign Country
IV. NATURE OF SUIT (Place an “X" in One Box Onlv)                                                                               Click here for: Nature of Suit Code Descriptions.
            CONTRACT                                       TORTS                                FORFEITURE/PENALTY                           BANKRUPTCY                   OTHER STATUTES
   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY         J 625 Drug Related Seizure             422 Appeal 28 USC 158       375 False Claims Act
   120 Marine
   130 Miller Act
                                 —
                                     310 Airplane
                                     315 Airplane Product
                                                                 | | 365 Personal Injury -
                                                                          Product Liability
                                                                                                    of Property 21 USC 881
                                                                                              3690 Other
                                                                                                                                 z   423 Withdrawal
                                                                                                                                         28 USC 157
                                                                                                                                                                    Z
                                                                                                                                                                 376 QuiTam(31 USC
                                                                                                                                                                      3729(a))
   140 Negotiable Instrument              Liability              | | 367 Health Care/                                                                          1 400 State Reapportionment
   150 Recovery of Overpayment 3 320 Assault, Libel &                    Pharmaceutical                                            PROPERTY RIGHTS               410 Antitrust
       & Enforcement of Judgment          Slander                       Personal Injury                                             820 Copyrights               430 Banks and Banking
                                                                                                                                                             —
E  151 Medicare Act
   152 Recovery of Defaulted
        Student Loans
                                 3 330 Federal Employers’
                                          Liability
                                 3 340 Marine
                                                                        Product Liability
                                                                | | 368 Asbestos Personal
                                                                         Injury Product
                                                                                                                                    830 Patent
                                                                                                                                    835 Patent - Abbreviated
                                                                                                                                        New Drug Application
                                                                                                                                                                 450 Commerce
                                                                                                                                                                 460 Deportation
                                                                                                                                                                 470 Racketeer Influenced and
       (Excludes Veterans)       3 345 Marine Product                    Liability                                                  840 Trademark                    Corrupt Organizations
□ 153 Recovery of Overpayment             Liability                PERSONAL PROPERTY                        LABOR                   880 Defend Trade Secrets 2] 480 Consumer Credit
       of Veteran’s Benefits         350 Motor Vehicle               370 Other Fraud          _ 1710 Fair Labor Standards               Act of 2016                   (15 USC 1681 or 1692)
  160 Stockholders’ Suits        z 355 Motor Vehicle                 371 Truth in Lending              Act                                                       485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal       3 720 Labor/Management                 SOCIAL SECURITY                  Protection Act
  195 Contract Product Liability 3 360 Other Personal                    Property Damage               Relations                    861 HIA (1395ft)         s 490 Cable/Sat TV
- 196 Franchise                          Injury                 | | 385 Property Damage          1740 Railway Labor Act             862 Black Lung (923)         850 Securities/Commodities/
                                 3 362 Personal Injury -                 Product Liability    3 751 Family and Medical              863 DIWC/DIWW (405(g))            Exchange
                                         Medical Malpractice                                           Leave Act                    864 SSID Title XVI           890 Other Statutory Actions
       REAL PROPERTY                   CIVIL RIGHTS                PRISONER PETITIONS         3 790 Other Labor Litigation          865 RSI (405(g))             891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:           3 791 Employee Retirement                                          893 Environmental Matters
                                     441 Voting                                                       Income Security Act
  220 Foreclosure                                                 - 463 Alien Detainee                                             FEDERAL TAX SUITS             895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                       □ 870 Taxes (U.S. Plaintiff         Act
—
  240 Torts to Land                  443 Housing/                        Sentence                                                       or Defendant)            896 Arbitration

                                                               □□                                                                                                  z
  245 Tort Product Liability             Accommodations              530 General                                                 □ 871 IRS—Third Party           899 Administrative Procedure
  290 All Other Real Property    _ ] 445 Amer. w/Disabilitics -      535 Death Penalty                IMMIGRATION                        26 USC 7609                 Act/Review or Appeal of
                                         Employment                  Other:                     ] 462 Naturalization Application                                     Agency Decision
                                     446 Amer. w/Disabilitics -      540 Mandamus & Other     3465 Other Immigration                                         3 950 Constitutionality of
                                         Other                       550 Civil Rights                 Actions                                                        State Statutes
                                 2] 448 Education                    555 Prison Condition
                                                                    560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X" in One Box Only)
s1       Original
         Proceeding
                       □ 2 Removed from
                           State Court
                                                     □ 3      Remanded from
                                                              Appellate Court
                                                                                        □   4 Reinstated or
                                                                                             Reopened
                                                                                                                | | 5 Transferred from
                                                                                                                     Another District
                                                                                                                                               |—| 6 Multidistrict
                                                                                                                                                     Litigation -
                                                                                                                                                                            Q 8 Multidistrict
                                                                                                                                                                                Litigation -
                                                                                                                      (specify)                      Transfer                   Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                      28 U.S.C. § 1332
VI. CAUSE OF ACTION                   Brief description of cause:
                                      Breach of contract
VII. REQUESTED IN     ~| CHECK IF THIS IS A CLASS ACTION                                        DEMAND $                                      CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                               Injunction                                   JURY DEMAND:         DYes      |Z]No

vni . RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                    DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
4/14/2023                                                           /s/ Jill Okun
FOR OFFICE USE ONLY

  RECEIPT #                   AMOUNT                                  APPLYING IFF                                  JUDGE                               MAG. JUDGE
          Case 2:23-cv-04347-AH-E     Document
                 Case: l:23-cv-00752-JG  Doc #: 149-3
                                                1-2 Filed:Filed 05/30/25
                                                             04/14/23 2 of 3.Page 700 of
                                                                               PagelD #: 703
                                                                                          28 Page
                                                ID #:2387
                                              UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF OHIO

                   Civil Categories: (Please check one category only ).

                    1.                General Civil
                    2.                Administrative Review/Social Security
                    3.                Habeas Corpus Death Penalty
          *lf under Title 28, §2255, name the SENTENCING JUDGE:

                                          CASE NUMBER:
 II.    RELATED OR REFILED CASES See LR 3.1 which provides in pertinent part: "If an action is filed or removed to this Court
          and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
          subsequently refiled, it shall be assigned to the same Judge who received the initial case assignment without regardfor
          the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
          bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

          This action:       is RELATED to another PENDING civil case           is a REFILED case            was PREVIOUSLY REMANDED


 If applicable, please indicate on page 1 in section VIII, the name of the Judge and case number.

III.   In accordance with Local Civil Rule 3.8, actions involving counties in the Eastern Division shall be filed at any of the
         divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
         purpose of determining the proper division, and for statistical reasons, the following information is requested.

         ANSWER ONE PARAGRAPH ONLY. ANSWER PARAGRAPHS 1 THRU 3 IN ORDER. UPON FINDING WHICH
         PARAGRAPH APPLIES TO YOUR CASE, ANSWER IT AND STOP.

         (1)       Resident defendant If the defendant resides in a county within this district, please set forth the name of such
         county
         county:     Lorain County
         Corporation For the purpose of answering the above, a corporation is deemed to be a resident of that county in
                     which it has its principal place of business in that district.

         (2)  Non-Resident defendant. If no defendant is a resident of a county in this district, please set forth the county
               wherein the cause of action arose or the event complained of occurred.
         COUNTY:

        (3)   Other Cases. If no defendant is a resident of this district, or if the defendant is a corporation not having a principle
              place of business within the district, and the cause of action arose or the event complained of occurred outside
              this district, please set forth the county of the plaintiff's residence.
        COUNTY

IV.    The Counties in the Northern District of Ohio are divided into divisions as shown below. After the county is
        determined in Section III, please check the appropriate division.

        EASTEIRN DIVISION

                   AKRON                      (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscarawas and Wayne)
                                              (Counties: Ashland, Ashtabula, Crawford, Cuyahoga, Geauga,
               ✓ CLEVELAND
                                              Lake, Lorain, Medina and Richland)
                  YOUNGSTOWN                  (Counties: Columbiana, Mahoning and Trumbull)

        WESTERN DIVISION

                   TOLEDO                     (Counties: Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                               Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                              VanWert, Williams, Wood and Wyandot)
                Case 2:23-cv-04347-AH-E    Document
                       Case: l:23-cv-00752-JG
 JS 44 Reverse (Rev. 10/20)                   Doc #: 149-3
                                                     1-2 Filed:Filed 05/30/25
                                                                  04/14/23       Page
                                                                           3 of 3.    701 of
                                                                                   PagelD #: 703
                                                                                              29 Page
                                                     ID #:2388
                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

 The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
 required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
 required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
 Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

 L(a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
      only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
      the official, giving both name and title.
  (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
      time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
      condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
      in this section "(see attachment)".

II,      Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section IH below; NOTE: federal question actions take precedence over diversity
         cases.)

UI.      Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.      Origin. Place an "X" in one of the seven boxes.
        Original Proceedings. (1) Cases which originate in the United States district courts.
        Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
        Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
        date.
        Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
        Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
        multidistrict litigation transfers.
        Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
        Section 1407.
        Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
        PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
        changes in statue.

VI.     Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
        statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VH.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
        Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
        Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
Case 2:23-cv-04347-AH-E   Document 149-3 Filed 05/30/25   Page 702 of 703 Page
                                   ID #:2389




                          Exhibit 17
      Case 2:23-cv-04347-AH-E
               Case: 1:23-cv-00752-JGDocument
                                          Doc #:149-3
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                                                                                         66 Page
                                                 ID #:2390
The Court approves the dismissal without prejudice
s/ James S. Gwin
JAMES S. GWIN
UNITED STATES               IN THE UNITED STATES DISTRICT COURT
DISTRICT JUDGE               FOR THE NORTHERN DISTRICT OF OHIO
                                          EASTERN DIVISION

       CLEARWIRE SPECTRUM HOLDINGS II                 )   CASE NO. 1:23-cv-00752
       LLC,                                           )
                                                      )   JUDGE JAMES S. GWIN
                     Plaintiff,                       )
                                                      )   MAGISTRATE JUDGE JAMES E. GRIMES,
              v.                                      )   JR.
                                                      )
       LORAIN COUNTY COMMUNITY                        )
       COLLEGE,                                       )
                                                      )
                     Defendant.                       )


                      STIPULATION OF DISMISSAL WITHOUT PREJUDICE

             Plaintiff Clearwire Spectrum Holdings II LLC (“Clearwire II”) and Defendant Lorain

      County Community College (“LCCC”) hereby stipulate and agree as follows:

         1. On June 23, 2023, LCCC withdrew its authorization to sell its Educational Broadband

             Service (“EBS”) License (EBS Station WHR777) to WCO Spectrum LLC. As a result,

             LCCC rescinded its March 16, 2023 “Notice of Receipt of Offer to Purchase EBS Station

             WHR777” to Clearwire II.

         2. In light of this development, the issues raised in Clearwire II’s complaint are moot.

         3. Accordingly, pursuant to Rule 41(a)(ii), Fed. R. Civ. P., the parties stipulate to dismissing

             this action without prejudice. Each party will bear its own fees and costs.

                                                   Respectfully submitted,

                                                   PORTER WRIGHT MORRIS & ARTHUR LLP


                                                   /s/ Jill G. Okun
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                                                   950 Main Avenue, Suite 500
                                                   Cleveland, OH 44113
                                                   Telephone: (216) 443-2508
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